        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 1 of 223




                          UNITED STATES DISTRICT COURT

                           DISTRICT OF MASSACHUSETTS


                           CIVIL ACTION NO. 2015-CV-12978



                                  DIRK GREINEDER,
                                      Petitioner

                                           v.

                                  SEAN MEDEIROS,
                             Superintendent of MCI-Norfolk,
                                       Respondent




                       MEMORANDUM OF LAW IN SUPPORT OF
                       PETITION FOR WRIT OF HABEAS CORPUS



                                        Respectfully submitted,
                                        DIRK GREINEDER,
                                        By his attorney,


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            Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 2 of 223




                                                 TABLE OF CONTENTS

INTRODUCTION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

PRIOR PROCEEDINGS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 1

STATEMENT OF RELEVANT FACTS. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

I.        SUMMARY OF THE EVIDENCE AND PROCEEDINGS AT TRIAL (2001). . . . . . . . 2

          A.         Overview of Evidence Presented at Trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

                     1.        The Commonwealth’s Case. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

                               a.         Civilian observations of Greineder on the morning of the killing. . 3

                               b.         Police investigation. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

                                          (1)       Interaction with Greineder. . . . . . . . . . . . . . . . . . . . . . . . . 3

                                          (2)       Items found at scene.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

                                          (3)       Evidence found in the Greineder home. . . . . . . . . . . . . . . . 4

                                          (4)       Other investigation.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5

                                          (5)       Sex evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 6

                                          (6)       DNA evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 7

                                          (7)       Testimony of the medical examiner.. . . . . . . . . . . . . . . . . . 8

                                          (8)       Blood spatter evidence.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

                                          (9)       Footprint evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

                                          (10)      Other evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9

                     2.        Evidence Presented by the Defense at Trial.. . . . . . . . . . . . . . . . . . . . . . . . 9

                               a.         Greineder’s testimony about what happened. . . . . . . . . . . . . . . . . . 9

                               b.         Evidence about Greineder’s marriage and sexual activities. . . . . . 9

                               c.         Response to DNA evidence. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11


                                                                   i
            Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 3 of 223




                                d.          Response to other scientific evidence. . . . . . . . . . . . . . . . . . . . . . 12

                                e.          Third-party culprit evidence.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

II.       PROCEEDINGS ON GREINEDER’S FIRST MOTION FOR NEW TRIAL (2005-
          2007). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

          A.         Greineder’s Claims. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

                     1.         Ineffective assistance of counsel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12

                     2.         Exposure of deliberating jury to extraneous matter. . . . . . . . . . . . . . . . . . 13

                     3.         Recantation of expert testimony. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

          B.         Additional Evidence Presented to Motion Judge.. . . . . . . . . . . . . . . . . . . . . . . . . 13

                     1.         Ineffective assistance of counsel. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13

                     2.         Exposure of deliberating jury to extraneous matter. . . . . . . . . . . . . . . . . . 15

                     3.         Recantation of expert testimony. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

          C.         The Motion Judge’s Decision. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15

III.      REMAND PROCEEDINGS IN THE TRIAL COURT RESPECTING
          GREINEDER’S PUBLIC TRIAL CLAIM (2009-2010). . . . . . . . . . . . . . . . . . . . . . . . . . 15

IV.       PROCEEDINGS IN THE MASSACHUSETTS SUPREME JUDICIAL COURT
          (2010).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
.
V.        PROCEEDINGS IN THE UNITED STATES SUPREME COURT (2011-2012). . . . . . 18

VI.       REMAND PROCEEDINGS IN THE MASSACHUSETTS SUPREME JUDICIAL
          COURT (2013). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18

VII.      FURTHER PROCEEDINGS IN THE UNITED STATES SUPREME COURT
          (2013).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

VIII.     PROCEEDINGS ON GREINEDER’S SECOND MOTION FOR NEW TRIAL
          (2014).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

ARGUMENT.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19




                                                                      ii
      Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 4 of 223




I.   GREINEDER WAS DENIED HIS CONSTITUTIONAL RIGHTS TO A PUBLIC
     TRIAL AND TO A FAIR AND IMPARTIAL TRIBUNAL IN DECIDING HIS
     PUBLIC TRIAL CLAIM. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

     A.        Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

               1.        Relevant material in the trial record.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19

               2.        Proceedings on remand. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

                         a.         Remand order of the Massachusetts SJC. . . . . . . . . . . . . . . . . . . . 23

                         b.         Trial judge’s initial response and aftermath.. . . . . . . . . . . . . . . . . 23

                         c.          Greineder’s motion for an evidentiary hearing and motion to
                                    recuse. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

                         d.         Evidence presented at the evidentiary hearing.. . . . . . . . . . . . . . . 25

                                    (1)         Greineder’s key evidence. . . . . . . . . . . . . . . . . . . . . . . . . 25

                                    (2)        The Commonwealth’s key evidence. . . . . . . . . . . . . . . . . 28

                         e.         The trial judge’s second response to the court’s remand order
                                    . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 29

               3.        The SJC’s decision as to Greineder’s public trial rights. . . . . . . . . . . . . . 30

     B.       Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31

               1.        Constitutional right to a public trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 31

               2.        De facto closures of the courtroom. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 33

               3.        Violation of the public trial right is a structural error. . . . . . . . . . . . . . . . 35

               4.        Waiver. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35

               5.        Due process right to a fair and impartial tribunal. . . . . . . . . . . . . . . . . . . 38

               6.        Standard of review under AEDPA.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 41

     C.        Application of Law to Facts. .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 46

               1.        Greineder was deprived of a fair and impartial tribunal. . . . . . . . . . . . . . 46


                                                             iii
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 5 of 223




            2.        A federal evidentiary hearing as to the public trial claim is warranted
                      due to the denial of a fair and impartial tribunal in deciding the public
                      trial claim. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50

            3.        In the alternative, de novo review of the state court record is required
                      because the state court never addressed the Waller factors. . . . . . . . . . . . 52

            4.        Under any standard of review, Greineder is entitled to habeas relief
                      due to violation of his constitutional right to a public trial. . . . . . . . . . . . 53

                      a.         The individual voir dire was, in fact, closed to the public.. . . . . . 54

                                 (1)        Jury selection in this case took place in the context of
                                            the longstanding practice of the Norfolk Superior
                                            Court to close the courtroom during individual juror
                                            voir dire. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 54

                                 (2)        The courtroom was, in fact, closed to the media. . . . . . . . 56

                                 (3)        The courtroom was, in fact, closed to the defendant’s
                                            family members and to the general public. . . . . . . . . . . . . 61

                      b.         The closure violated Greineder’s constitutional right to a
                                 public trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 66

                      c.         Greineder is entitled to habeas relief. . . . . . . . . . . . . . . . . . . . . . . 67

II.   GREINEDER’S CONFRONTATION CLAUSE RIGHTS WERE VIOLATED BY
      ADMISSION OF TESTIMONY OF A DNA EXPERT REGARDING THE DNA
      TEST RESULTS OBTAINED BY A NON-TESTIFYING ANALYST.. . . . . . . . . . . . . 70

      A.    Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 70

            1.        DNA evidence presented at trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 70

                      a.         Overview. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 70

                      b.         Testimony of Dr. Cotton on direct examination. . . . . . . . . . . . . . 71

                                 (1)        Forensic DNA testing in general. . . . . . . . . . . . . . . . . . . . 71

                                 (2)        Interpretation of DNA results in general. . . . . . . . . . . . . . 71

                                 (3)        Testing conducted by Cellmark in this case.. . . . . . . . . . . 72



                                                           iv
 Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 6 of 223




                         (4)        Test results in this case. . . . . . . . . . . . . . . . . . . . . . . . . . . 72

                                    (a)        Overview. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 72

                                    (b)        Test results on the knife. . . . . . . . . . . . . . . . . . . . . 73

                                    (c)        Test results on the right-hand work glove. . . . . . . 75

                                    (d)        Test results on the left-hand work glove. . . . . . . . 76

              c.         Testimony of Dr. Cotton on cross-examination.. . . . . . . . . . . . . . 77

              d.         Dr. Cotton’s role. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 78

              e.         Testimony of DNA defense experts.. . . . . . . . . . . . . . . . . . . . . . . 79

              f.         Closing arguments and jury deliberations. . . . . . . . . . . . . . . . . . . 80

     2.       Cellmark’s reports. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 81

     3.       Critique of Cellmark testing by Dr. Eisenberg.. . . . . . . . . . . . . . . . . . . . . 83

     4.       Resolution of the issue by the Massachusetts SJC.. . . . . . . . . . . . . . . . . . 85

              a.         Issue raised on appeal. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 85

              b.         The SJC’s resolution of the issue prior to remand.. . . . . . . . . . . . 85

              c.         Arguments presented to SJC on remand. . . . . . . . . . . . . . . . . . . . 87

              d.         The SJC’s decision on remand.. . . . . . . . . . . . . . . . . . . . . . . . . . . 88

B.   Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 91

     1.       Melendez-Diaz. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 91

     2.       Bullcoming. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 92

     3.       Williams. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 93

              a.         The facts in Williams. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 93

              b.         The plurality opinion (“targeted accusation” requirement). . . . . . 94

              c.         Justice Thomas’s concurrence (“formality” requirement). . . . . . . 95


                                                    v
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 7 of 223




                         d.        The dissenting opinion (basic “evidentiary purpose” test). . . . . . 96

       C.      Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96

       1.      The introduction of Dr. Cotton’s testimony violated Greineder’s Sixth
               Amendment rights set forth in Bullcoming. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96

                         a.        Greineder’s right to confront the witnesses against him was
                                   violated.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 96

                         b.        The constitutional error was preserved. . . . . . . . . . . . . . . . . . . . 100

                         c.        The error was prejudicial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 100

                         d.        The importance of confrontation as to forensic evidence. . . . . . 101

               2.        Habeas relief is required. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 104

                         a.        The SJC decision was based on an unreasonable
                                   determination of the facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 104

                         b.        The SJC decision was contrary to clearly established Federal
                                   law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 108

                         c.        The SJC decision involved an unreasonable application of
                                   clearly established Federal law. . . . . . . . . . . . . . . . . . . . . . . . . . 109

                         d.        Even if its legal analysis were accepted, the SJC’s
                                   harmlessness analysis was unreasonable. . . . . . . . . . . . . . . . . . . 113

III.   GREINEDER WAS DEPRIVED OF HIS CONSTITUTIONAL RIGHT TO THE
       EFFECTIVE ASSISTANCE OF COUNSEL. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 115

       A.      Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to
               Exclude or Challenge Scientifically Unreliable DNA Results.. . . . . . . . . . . . . . 115

               1.        Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 115

                         a.        Post-trial expert analysis. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 115

                                   (1)        The scientific unreliability of interpreting DNA test
                                              results based upon low copy number (“LCN”) DNA
                                              mixtures. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 116




                                                             vi
Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 8 of 223




                   (2)        Cellmark’s flawed validation studies and
                              interpretation guidelines for LCN analysis. . . . . . . . . . . 116

                   (3)        Cellmark’s reported results were scientifically
                              unreliable and invalid.. . . . . . . . . . . . . . . . . . . . . . . . . . . 118

                   (4)        Scientific errors committed by Cellmark in its
                              statistical analysis of the Greineder evidence. . . . . . . . . 119

          b.       The DNA defense investigation prior to April 17, 2001. . . . . . . 120

          c.       Defense counsel’s state of mind respecting DNA evidence on
                   April 17, 2001. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 121

                   (1)        What defense counsel knew.. . . . . . . . . . . . . . . . . . . . . . 121

                   (2)        What defense counsel did not know. . . . . . . . . . . . . . . . 123

          d.       Defense counsel’s “plan”.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 124

          e.       Defense counsel’s decision to waive a motion to exclude
                   Cellmark’s inculpatory DNA test results as scientifically
                   unreliable. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 124

          f.       Defense counsel’s response to Cellmark’s inculpatory DNA
                   test results at trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 125

          g.       The motion judge’s decision. . . . . . . . . . . . . . . . . . . . . . . . . . . . 126

          h.       The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 127

    2.    Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 128

          a.       Exclusion of unreliable scientific evidence. . . . . . . . . . . . . . . . . 128

          b.       Ineffective assistance of counsel. . . . . . . . . . . . . . . . . . . . . . . . . 128

    3.    Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 130

          a.       Defense counsel blundered in failing to move to exclude the
                   Commonwealth’s scientifically unreliable DNA results. . . . . . . 131

          b.       Defense counsel blundered in failing to challenge the DNA
                   evidence or call a DNA forensic scientist or statistical expert
                   at trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 136


                                            vii
 Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 9 of 223




               c.         Greineder was prejudiced by defense counsel’s blunders. . . . . . 138

               d.         This Court should grant habeas relief. . . . . . . . . . . . . . . . . . . . . 139

B.   Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to File
     a Meritorious Motion to Suppress the Nails Receipt. . . . . . . . . . . . . . . . . . . . . . 139

     1.        Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 139

               a.         Pretrial and trial proceedings. . . . . . . . . . . . . . . . . . . . . . . . . . . . 139

               b.         Greineder's motion for new trial. . . . . . . . . . . . . . . . . . . . . . . . . 141

               c.         Testimony at post-trial hearing. . . . . . . . . . . . . . . . . . . . . . . . . . 141

               d.         The motion judge's decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 142

               e.         The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 143

     2.        Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 143

               a.         Constitutional prohibition on general warrants. . . . . . . . . . . . . . 143

               b.         Standard of review under AEDPA.. . . . . . . . . . . . . . . . . . . . . . . 144

     3.        Application of Law to Facts. .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 145

               a.         Trial counsel was deficient for failing to file a meritorious
                          motion to suppress. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 145

               b.         The state court’s determination that there was no prejudice
                          was an unreasonable determination of the facts.. . . . . . . . . . . . . 146

               c.         This Court should order habeas relief. . . . . . . . . . . . . . . . . . . . . 147

C.   Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to File
     a Meritorious Motion to Suppress the Fruits of a Search of Greineder’s
     Toyota Avalon. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 148

     1.        Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 148

               a.         Search of Toyota Avalon in Greineder's driveway. . . . . . . . . . . 148

               b.         Pretrial testimony. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 148



                                                viii
      Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 10 of 223




                        c.        Defendant's use of towel at trial.. . . . . . . . . . . . . . . . . . . . . . . . . 148

                        d.        Commonwealth trial evidence regarding towel. . . . . . . . . . . . . . 149

                        e.        Claim of ineffective assistance of counsel respecting towel. . . . 149

                        f.        The motion judge's decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 151

                        g.        The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 152

              2.        Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 152

                        a.        Scope of a residential search warrant.. . . . . . . . . . . . . . . . . . . . . 152

                        b.        Limited exception to warrant requirement for automobile
                                  searches. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 152

                        c.        Filing of motion to suppress during trial. . . . . . . . . . . . . . . . . . . 152

                        d.        Standard of review under AEDPA.. . . . . . . . . . . . . . . . . . . . . . . 153

              3.        Application of Law to Facts. .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 153

                        a.        Trial counsel was deficient for failing to file a meritorious
                                  motion to suppress. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 153

                        b.        The motion judge’s reasoning and the SJC’s affirmance were
                                  unreasonable. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 154

                        c.        Counsel’s failure to move to suppress was prejudicial. . . . . . . . 154

                        d.        This Court should order habeas relief. . . . . . . . . . . . . . . . . . . . . 155

      D.      The Cumulative Effect of Counsel’s Failures Amounted to Ineffective
              Assistance of Counsel Entitling Greineder to Habeas Relief. . . . . . . . . . . . . . . 155

IV.   GREINEDER’S CONSTITUTIONAL RIGHTS TO DISCLOSURE OF
      EXCULPATORY INFORMATION AND A FAIR TRIAL BASED ON RELIABLE
      EVIDENCE WERE DENIED BASED ON THE RECANTATION OF THE
      PROSECUTION’S FOOTWEAR EXPERT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 156

      A.      Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 156

              1.        Prosecutor’s opening statement. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 157



                                                           ix
Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 11 of 223




     2.        Testimony of Deborah Rebeiro. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 157

     3.        Testimony of Greineder. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 158

     4.        The prosecutor’s closing argument. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 159

     5.        Greineder’s motion for new trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 159

     6.        Rebeiro’s post-trial affidavit. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 159

     7.        Defendant’s amended motion for new trial. . . . . . . . . . . . . . . . . . . . . . . 160

     8.        The motion judge’s decision. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 160

     9.        The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 161

B.   Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 161

     1.        Constitutional right to disclosure of exculpatory information. . . . . . . . . 161

     2.        Constitutional right to fair trial based on reliable evidence.. . . . . . . . . . 162

     3.        Standard of review under AEDPA.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . 163

C.   Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 164

     1.        Greineder’s Brady and due process claims must be reviewed de novo
               . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 164

     2.        Rebeiro’s trial testimony was false, and her recantation was credible.. . 165

     3.        Rebeiro’s erroneous trial testimony seriously prejudiced the defense.. . 165

     4.        Greineder is entitled to relief under federal constitutional law. . . . . . . . 167

               a.         Brady violation.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 167

               b.         Due process violation.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 168

     5.        Greineder is entitled to habeas relief.. . . . . . . . . . . . . . . . . . . . . . . . . . . 168




                                                      x
      Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 12 of 223




V.    GREINEDER’S CONSTITUTIONAL RIGHT TO A FAIR TRIAL WAS
      VIOLATED BASED ON THE ERRONEOUS ADMISSION OF AND
      PROSECUTORIAL MISUSE OF IRRELEVANT AND HIGHLY PREJUDICIAL
      EVIDENCE ABOUT GREINEDER’S EXTRAMARITAL SEXUAL ACTIVITIES
      . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 169

      A. Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 169

                 1.          Pretrial proceedings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 169

                 2.          The Commonwealth's presentation of extramarital sex evidence at
                             trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 170

                 3.          Limiting instruction. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 171

                 4.          The defendant's response at trial. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 171

                 5.          The prosecutor's closing.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 172

                 6.          The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 172

      B.         Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 173

                 1.          Mistaken evidentiary rulings may violate due process. . . . . . . . . . . . . . 173

                 2.          Prosecutorial misconduct may violate due process. . . . . . . . . . . . . . . . . 174

                 3.          Combined effect of trial errors may violate due process.. . . . . . . . . . . . 175

      C.         Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 176

                 1.          The repeated admission of extensive, lurid, prejudicial sex evidence
                             at the trial of this case and the prosecutor’s misuse of this evidence
                             during closing argument deprived Greineder of his right to due
                             process. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 176

                 2.          This court should grant habeas relief.. . . . . . . . . . . . . . . . . . . . . . . . . . . 178

VI.   GREINEDER’S FUNDAMENTAL RIGHT TO TRIAL BY JURY WAS DENIED
      BASED ON THE DELIBERATING JURY’S EXPOSURE TO EXTRANEOUS
      EVIDENCE THROUGH THE JURY’S UNAUTHORIZED BANANA
      EXPERIMENT. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 181

      A.         Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 181



                                                                    xi
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 13 of 223




             1.        Trial testimony. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 181

             2.        Closing arguments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 182

             3.        Jury’s request for a millimeter ruler.. . . . . . . . . . . . . . . . . . . . . . . . . . . . 182

             4.        Post-verdict inquiry. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 183

             5.        The motion judge’s decision. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 184

             6.        The SJC’s decision.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 185

       B.    Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 185

             1.        Jury experiment as extraneous information. . . . . . . . . . . . . . . . . . . . . . . 185

             2.        Prejudice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 186

       C.    Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 187

             1.        The banana experiment exposed the jury to extraneous information. . . 187

             2.        The Commonwealth did not prove the absence of prejudice.. . . . . . . . . 189

VII.   GREINEDER’S FUNDAMENTAL RIGHT TO TRIAL BY JURY WAS DENIED
       BASED ON THE DELIBERATING JURY’S EXPOSURE TO EXTRANEOUS
       INFORMATION (STAINS ON THE BACK OF GREINEDER’S JACKET) WHICH
       HAD BEEN EXCLUDED FROM THE EVIDENCE AT TRIAL. . . . . . . . . . . . . . . . 192

       A.    Statement of Relevant Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 192

             1.        Pre-Trial Proceedings.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 192

             2.        Trial proceedings. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 192

             3.        Post-conviction developments. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 195

             4.        Motion judge’s ruling in denying relief. . . . . . . . . . . . . . . . . . . . . . . . . . 196

             5.        The SJC’s denial of Greineder’s gatekeeper application. . . . . . . . . . . . . 197

       B.    Summary of Applicable Law. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 198

             1.        Constitutional right to jury trial based on the evidence. . . . . . . . . . . . . . 198



                                                          xii
           Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 14 of 223




                     2.        Extraneous information. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 198

                     3.        Evaluation of prejudice. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 201

          C.         Application of Law to Facts.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 202

                     1.        The jury was exposed to extraneous material. . . . . . . . . . . . . . . . . . . . . 202

                     2.        The defendant was prejudiced. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 203

                     3.        In the alternative, Greineder’s right to the effective assistance of
                               counsel was violated. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 207

                     5.        This Court should order habeas relief. . . . . . . . . . . . . . . . . . . . . . . . . . . 208

CONCLUSION. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 209




                                                                xiii
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 15 of 223




                                               INTRODUCTION

         Petitioner Dirk Greineder [“Greineder”] is presently incarcerated at MCI-Norfolk, where he

is serving a life sentence for first degree murder. His conviction and custody are in violation of the

Fifth, Sixth, and Fourteenth Amendments to the United States Constitution. Greineder has exhausted

the remedies available in the state courts of Massachusetts as required by 28 U.S.C. §2254(b). He

therefore seeks habeas corpus relief in this Court. In this memorandum, the petitioner sets forth

factual and legal support for the claims raised in his petition.

                                          PRIOR PROCEEDINGS1

         Dirk Greineder was indicted by a Norfolk County, Massachusetts, grand jury for the first

degree murder of his wife Mabel, who was found dead on October 31, 1999 in a public park in

Wellesley, Massachusetts. Greineder went to trial before the Honorable Paul A. Chernoff and a jury

on May 23, 2001. On June 29, 2001, the jury returned a verdict of first degree murder by deliberate

premeditation, and Greineder was sentenced to life in prison without the possibility of parole.

         On July 27, 2005, Greineder filed a Motion for New Trial. On October 31, 2007, Judge

Chernoff denied his Motion for New Trial. In April 2009, Greineder filed a Consolidated Direct

Appeal and Appeal from Denial of Amended Motion for New Trial in the Massachusetts Supreme

Judicial Court [“SJC”]. The SJC remanded the case to the trial court for further proceedings

respecting his claim that he was denied a public trial. Following remand proceedings as to the public

trial claim, on November 4, 2010, the SJC affirmed Greineder’s conviction and the denial of his

Amended Motion for New Trial. Commonwealth v. Greineder, 458 Mass. 207 (2010).

         In 2012, the United States Supreme Court granted Greineder’s petition for writ of certiorari,


         1
                   References herein will be abbreviated as: pretrial proceedings (Tr. date/page), trial transcript (Tr.
vol./page), post-trial evidentiary hearing proceedings (Tr. date/page); Record Appendix filed in the Massachusetts SJC
in April 2009 (2009 R. page), Supplemental Appendix attached to defendant’s brief-in-chief filed in the SJC in March
2010 (2010 R. page), Record Appendix filed in the SJC in September 2012 (2012 R. page), Addendum attached to
Petition under 28 U.S.C. § 2254 (Add.).
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 16 of 223




vacated the conviction, and remanded to the Massachusetts SJC for reconsideration of the

defendant’s confrontation claim in light of Williams v. Illinois, ___ U.S.___, 132 S.Ct. 2221 (2012).

Greineder v. Massachusetts, 133 S.Ct. 55 (2012). On remand, in 2013, the Massachusetts SJC again

affirmed Greineder’s conviction and denial of his motion for new trial. Commonwealth v. Greineder,

464 Mass. 580 (2013). The United States Supreme Court denied Greineder’s second petition for writ

of certiorari on October 7, 2013. Greineder v. Massachusetts, 134 S.Ct. 166 (2013).

         With the denial of Greineder’s second petition for writ of certiorari on October 7, 2013, the

one year limitations period for filing a petition for writ of habeas corpus began to run. After 162

days, the 365-day clock was tolled on March 18, 2014, when Greineder filed a Motion for Post-

Verdict Jury Inquiry and New Trial. On July 24, 2014, without further hearing, the Superior Court

(Brassard, J.)2 denied that motion in a written Memorandum of Decision and Order. Greineder

sought leave to appeal that ruling to the SJC. On December 30, 2014, Justice Spina of the SJC

denied Greineder’s application under M.G.L. c. 278, s. 33E for leave to appeal that ruling. That left

203 days, running from December 30, 2014, with a final deadline of July 21, 2015. Greineder’s

Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. §2254 is timely filed herewith.

                                 STATEMENT OF RELEVANT FACTS

I.       SUMMARY OF THE EVIDENCE AND PROCEEDINGS AT TRIAL (2001).

         A.       Overview of Evidence Presented at Trial.3

         Greineder was indicted, tried, and convicted for first degree murder by deliberate

premeditation of his wife, Mabel. There were no eyewitnesses to the killing, which occurred in


         2
                  The trial judge (Chernoff, J.) had retired in the interim.
         3
                   This section is intended as a non-exhaustive summary of key evidence introduced at trial. A detailed
recapitulation of evidence respecting the specific issues addressed herein appears in the sections of this memorandum
devoted to those issues.

                                                          -2-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 17 of 223




broad daylight at a public recreation area, and no motive was established. The Commonwealth’s

case against Greineder rested principally upon circumstantial and forensic evidence, including DNA

test results, blood spatter evidence, and footprints found near Ms. Greineder’s body. Expert evidence

about this forensic evidence was the linchpin of the prosecution’s case.

               1.      The Commonwealth’s Case.

                       a.      Civilian observations of Greineder on the morning of the killing.

       William Kear was walking on a paved path to Morse Pond in a public park in Wellesley on

the morning of October 31, 1999, when he observed Greineder walk rapidly behind a concrete

planter, then reappear 45-90 seconds later. Greineder asked to borrow Kear’s cellular phone,

explaining that his wife had been attacked. When Kear said he had no phone, Greineder continued

up the path toward the park entrance. Tr. VI/182-190. Further up the path, Greineder met Rick

Magnan, a runner, and asked him if he had a phone. Tr. V/210. When Magnan responded negatively,

Greineder continued up towards the park entrance. Id.

                       b.      Police investigation.

                               (1)    Interaction with Greineder.

       The Wellesley Police Department Dispatcher received Greineder’s call from his car phone

at 8:56 am and dispatched emergency personnel. Tr. VI/74-86. Wellesley police and EMTs

responded and found Ms. Greineder’s body by a dirt path near the pond. Tr. IV/90-97; V/18-20.

Greineder told police that he and his wife had gone for a walk with their dog when she slipped and

hurt her back. He continued walking with the dog down to the pond. As they headed back to meet

her, the dog ran off. When Greineder caught up, he found the dog licking his wife’s face as she lay

near a dirt path. He checked her injuries and went to get help. Tr. V/257-261; VI/114-120, 253-261.

        State Trooper Martin Foley arrived and interviewed Greineder, who repeated his account of


                                                -3-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 18 of 223




what had transpired. Foley testified that Greineder was wearing a yellow windbreaker stained with

blood. He described a cuff stain which “end[ed] abruptly.” He noted blood stains on Greineder’s

sneakers and on a pair of glasses that hung from Greineder’s sweatshirt. Tr. X/33-60.

       At the Wellesley police station, Greineder voluntarily gave his clothes and clippings of his

fingernails to the police and consented to a search of his van and home. Tr. X/60-61, 73. Foley

inspected and photographed Greineder’s hands at the police station, noting no evidence of staining.

Id. at 76. No forensic testing of Greineder’s hands was conducted. Tr. VII/95; XI/128.

                               (2)    Items found at scene.

       State police investigators collected a blue glove, a white trash bag, zip-loc bags, a ball, an

E-Z foil loaf pan, and a container of lighter fluid from the area near the body. Tr. VII/151-186. A

second blue glove was found on Ms. Greineder’s hand. A police dog alerted on a storm drain near

the planter at the end of the paved path to the pond. Tr. VI/227-229. Items recovered from that storm

drain included a two pound Estwing drilling hammer, a folding knife, and a brown cotton work glove

partially covered with raised dimples. Tr. X/102-104. The next day, police discovered a matching

brown work glove in a storm drain across from the park entrance. Tr. IX/112.

                               (3)    Evidence found in the Greineder home.

       During the execution of a search warrant at the Greineder home on November 1, 1999,

Wellesley Police Detectives McDermott and Vargas searched a Toyota Avalon parked in the

driveway and observed a hand towel on the floor of the driver’s seat. At trial, McDermott testified

that a bloodstained towel later turned over by the defense to the police was not the one she had

observed during that search. McDermott testified that she observed no blood stains in the Toyota

on November 1st. Tr. VII/40,42,136.

       During a second search of the Greineder home on November 12th, McDermott seized two


                                                -4-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 19 of 223




hand-drawn diagrams of Morse Pond from a wastebasket. Tr. VII/55-61. Wellesley Police Chief

Terrance Cunningham found a pair of brown work gloves with raised dimples in a dog house. Tr.

IX/165-167. In a work area, Trooper Foley noticed items bearing stickers from a local hardware

store, Diehl’s. He seized a Diehl’s receipt for a purchase made on September 3, 1999. Tr. X/180-

182; XXV/118-120.

                                (4)     Other investigation.

        The receipt seized by Foley documented the purchase of nails at the cash register of Lynne

Martarelli. Tr. X/181; XIV/179-180. The treasurer of Diehl’s, Beth Murphy, testified that five two

pound Estwing hammers were sold by Diehl’s in 1999 through the end of October, and the only sale

of such a hammer during the month of September occurred at Martarelli’s cash register on

September 3rd at 8:55:38 a.m. Tr. XIV/197-204. Murphy noted that the sale of nails reflected on the

receipt seized from the Greineder home occurred at 8:58:05 a.m., and that no other sales at that

register took place between the sale of the hammer and the sale of the nails. Id. at 204-205.

        Murphy also noted that Diehl’s sold a brand of “mini-dot gloves” like those found in the

storm drains. Tr. XIV/194. Philip Boucher, a sales representative for an importer of the gloves,

testified that his company was their sole distributor and that the next closest store which carried them

was in Southwick. He opined that the gloves found in the Greineders’ doghouse and those recovered

from the Morse Pond storm drains were all consistent with the brand distributed by his company. Tr.

XV/75-78. He did not know whether the Chinese company which manufactures the gloves sold to

any other regional distributor. Id. at 81. The Commonwealth also presented the testimony of two

fiber experts, who described similarities among fibers found under Greineder’s fingernails, fibers

from the doghouse gloves, fibers from the storm drain gloves, and fibers from a sample pair of mini-

dot gloves purchased at Diehl’s. Tr. XIV/94-102; XV/91-101.


                                                 -5-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 20 of 223




                                   (5)      Sex Evidence.

        Prior to trial, the Commonwealth gave notice of its intention to offer evidence pertaining to

Greineder’s extramarital sexual activities, including his use of an alias and telephone “sex lines,”

access to dating and pornographic websites, contact with prostitutes, and sexual paraphernalia found

in his garage. Greineder moved to exclude such evidence. At a pretrial hearing, the Commonwealth

argued that the evidence was probative of Greineder’s motive to murder his wife. P. Tr. 1/25/01/42.

Ruling that evidence of Greineder’s sexual activities was relevant to the “entire relationship”

between him and his wife, the trial judge admitted evidence of Greineder’s extramarital sexual

activities during the week prior to Ms. Greineder’s death, but excluded evidence of earlier activities.

            In his opening statement, the prosecutor described Greineder as “a man of secrets.” Tr.

IV/41. This was a clear reference to Greineder’s extramarital sexual activities. The Commonwealth

introduced evidence about a box of sex-related items, including Viagra and a dozen condoms, which

was found in the Greineders’ garage during the November 12, 1999 search. Tr. X/191-193.4

            The Commonwealth presented a number of witnesses who testified at length about

Greineder’s use of an escort service during a trip to New Jersey on October 22-23, 1999, his contacts

with several Boston prostitutes, and his use of online dating and pornography sites. Tr. XV/135-167;

XVI (a.m.)/58-77, 91-92. Witnesses read and re-read to the jury a series of explicit e-mails they

received from Greineder. Tr. XVI (a.m.)/116-164; XVI (p.m.)/4-43. The e-mails were introduced

by the Commonwealth as exhibits. The Commonwealth introduced a (redacted) nude picture of

himself Greineder sent to a couple interested in group sex. Tr. XVI (p.m.)/44. Several witnesses

testified to Greineder’s use of a pseudonym during these activities. Tr. XV/130-146.


        4
                  The trial judge allowed the Commonwealth to introduce the Viagra and condoms, but excluded the
remaining items in the box. Tr. X/94-95. Nevertheless, the prosecutor questioned Greineder about the other items on
cross-examination, and subsequently introduced them into evidence, all without objection. Tr. XXI/186-188, 196.

                                                      -6-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 21 of 223




       The Commonwealth presented some evidence apparently intended to suggest that Ms.

Greineder may have discovered her husband’s secret, on-line sex life prior to her death. Luis Rosado

was doing repair work in the Greineder home on October 29, 1999. He testified that Greineder asked

Ms. Greineder if she had been using his computer, and she responded “No.” The Commonwealth

also presented evidence that two of Ms. Greineder’s school papers were saved on Greineder’s

computer hard drive on the night prior to her death. Tr. XVI (a.m.)/101-103,110.

                                (6)   DNA evidence.

       Gwen Pino of the State Police Crime Lab made cuttings of evidence, which she sent to a

forensic laboratory, Cellmark Diagnostics, for DNA analysis. Tr. IX/68-79. Dr. Robin Cotton,

Cellmark’s laboratory director, testified about the results of forensic DNA testing conducted by

Wendy Magee and reviewed by Dr. Jennifer Reynolds and Dr. Lewis Maddox. Tr. XI/207; XIII/20,

26-27. Neither Magee, Reynolds, nor Maddox testified at trial, and Cotton did not review the raw

data herself. Tr. XII/28. The testing, conducted on an ABI 310 Autoanalyzer using Cofiler and

Profiler test kits and Genescan and Genotyper software, involved the amplification and interpretation

of extremely small quantities of DNA mixtures extracted from various pieces of evidence. Tr. XI

/184, 247; XII/82; XIII/1-60.

       The majority of the samples taken from the storm drain gloves and knife produced no

readable DNA. Tr. XIII/32, 44. Dr. Cotton testified that fragments of DNA found on the knife and

both the left and right-hand brown work gloves found in the storm drains partially matched

Greineder’s DNA profile. Tr. XII/27-28, 40-42, 53-57. She presented statistics suggesting that it

would be extraordinarily rare for a random individual’s DNA profile to match the DNA found on

the gloves and knife at as many points as Greineder’s. Id. No motion challenging the admissibility

of Cellmark’s DNA test results was filed by Greineder prior to trial.

                                                -7-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 22 of 223




                               (7)     Testimony of the medical examiner.

       Dr. Stanton Kessler, who conducted an autopsy on Ms. Greineder’s body, testified that the

cause of death was one of two stab wounds to her neck. There were other stab wounds to the head

and chest. Dr. Kessler also noted a single wound to the back of Ms. Greineder’s head made with a

blunt object. He testified that she was dragged by her shoulders, based on scrape marks he observed

on her lower back and buttocks. Tr. XIX/14-37.

                               (8)     Blood spatter evidence.

       Based upon the defendant’s motion in limine to exclude the Commonwealth’s proffered

blood spatter evidence, the trial court conducted a hearing as to the admissibility of such scientific

evidence pursuant to Commonwealth v. Lanigan, 419 Mass. 15, 25-26 (1994). Following the

hearing, the court found all of the proffered evidence admissible, with the exception of expert

opinion evidence based on the experimental use of stage blood and observations concerning protein

stains on the back of Greineder’s jacket.

       State Trooper Kenneth Martin testified that stains on Greineder’s shoes and windbreaker

were “medium velocity impact spatter.” He opined that some of Ms. Greineder’s wounds were

inflicted before she was dragged from the path, and others were inflicted afterwards. Martin observed

that dot patterns on the gloves found in the storm drain matched patterns found on the hammer,

knife, and plastic bags recovered from the scene. Tr.XVII/93-135.

        Rod Englert, a bloodstain analyst called by the Commonwealth, concurred with Martin’s

testimony regarding medium velocity blood spatter, dragging, and dot patterns. He also testified to

a grabbing pattern on the sleeves of Greineder’s windbreaker and to the presence of a pattern on a

streak on Greineder’s jacket and on the left lens of his glasses, as depicted in photographs taken at

the scene, similar to the dot pattern observed on the work gloves. Tr. XVIII at 90-185.


                                                -8-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 23 of 223




                               (9)     Footprint evidence.

       State Police Sgt. Deborah Rebeiro testified that footwear impressions from Greineder’s shoes

matched an impression on the ground “in front of the victim or the final resting place of the victim,

and ... in close proximity to – in fact, overlapping some of the bloodstain in that area on the trail.”

Tr. VIII/29-36. She stated that one footwear impression (#7) was oriented so that the wearer’s heel

would be pointed in the same direction as the head of the victim. Rebeiro observed a drag mark

which “starts in the area of footwear track No. 7 and leads back towards the area of the victim or the

final resting place of the victim.” Id. at 36-37.

                               (10)    Other evidence.

       The Commonwealth presented the testimony of Ms. Greineder’s sister, Ilse Stark, and her

niece, Belinda Markel, who stated that the Greineders had grown apart in the months prior to Ms.

Greineder’s death. Tr. XIV/22-31; 227-234. These witnesses testified to Greineder’s preoccupation

with the police investigation in the days immediately following his wife’s death. Tr. XIV/ 42-43, 45-

47, 57-59, 244-46;XV/6-40. Markel testified that Greineder told her that he and his wife had sexual

intercourse on the morning of her death. Tr. XIV/241-246. Stark testified that her sister suffered

frequent nosebleeds and wore a back brace. Id. at 27.

               2.      Evidence Presented by the Defense at Trial.

                       a.      Greineder’s testimony about what happened.

       Greineder testified that on the evening of October 30, 1999, he helped his wife with a paper

by typing the bibliography on his computer. The next morning, they decided to go to Morse Pond

to walk their dog. Ms. Greineder had a nosebleed as Greineder was struggling to get the dog into

their Chrysler mini van, and Greineder reached into his Toyota Avalon for a towel that he kept there.

Ms. Greineder used the towel to staunch her nosebleed. As Greineder collared the dog, its head


                                                    -9-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 24 of 223




banged into his nose, which began to bleed. Greineder used the same towel to wipe his nose, and

then threw it back into the Toyota.5 They then drove to the park in the van. Tr. XX/36-59.

        Greineder testified that they parked near the Turner Road gate. As they walked on a path

through the woods, Ms. Greineder slipped and hurt her back. Greineder continued on with the dog,

arranging to meet his wife at a designated meeting place. The dog, which was unleashed, found Ms.

Greineder prone by an unpaved path. Greineder noticed a cut on his wife’s forehead and tried

unsuccessfully to rouse her and to pick her up. Tr. XX/55-82.

        Greineder then went looking for help. He encountered Kear, who didn’t have a cell phone,

so Greineder ran up the access road towards the park entrance and called the police from his car. He

denied any role in his wife’s death. Tr. XX/37, 82-89.

                          b.       Evidence about Greineder’s marriage and sexual activities.

        Greineder testified that his sexual relationship with his wife ended, by her choice, in the mid-

1990s, when she began experiencing pain during sex. Tr. XIX/248. He then began engaging in a

series of extramarital sexual activities, beginning with phone sex, which escalated to the use of

prostitutes and later to having sex with people he met on the Internet. Tr. XIX/248-261; XX/8-18.

Greineder emphasized that he was very happily married, and that his sexual activities were collateral.

Tr. XIX/258, 259, 261; XX/18,19-20. He testified that he was not sure if his wife knew about his

sexual activities, but she had discovered his supply of Viagra during the summer of 1998, long after

they had stopped having sex. Tr. XX/17-18.

        Colin Greineder testified that his mother didn’t know how to use the Internet. Tr. XXIV/43.

He discovered his father’s pornography and Internet sex activities while using his father’s computer



        5
                  Greineder testified that he turned the towel over to his attorney on November 5, 1999. Tr. XX/132.
It was introduced into evidence as Exhibit 440. Id. at 48.

                                                      -10-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 25 of 223




in 1998. Id. at 47-53. He never shared that discovery with his mother. Id. at 56. During the summer

of 1999, Colin asked his mother about her marriage. She replied that she was happy, but their sex

life could be better. “I think your dad has his own way of dealing with that now,” she added. Id. at

55. Colin also testified that his mother had a chronic back problem and frequent nosebleeds. Id. at

37-38, 40. Kirsten Greineder testified that her parents had a “wonderful” relationship. Tr. XIX/220.

                        c.      Response to DNA evidence.

        Dr. Christie Davis was retained prior to trial as a defense expert. Davis sat at counsel table

while Dr. Cotton was testifying to assist defense counsel with cross-examination. Tr. XI/4. She was

not called as a defense witness at trial.

        Dr. Daniel Krane testified as a defense expert. He reviewed Cellmark’s DNA test results on

the key pieces of evidence and pointed out some alleles which were inconsistent with both Dirk and

Mabel Greineder. Tr. XXII/33-56. On cross-examination, Krane admitted that he was not a forensic

scientist, did not utilize the Genescan and Genotyper software utilized by Cellmark, and had no

formal training on the forensic use of the ABI autoanalyzer. Id. at 100-105, 113, 128, 130, 138.

        Dr. Krane pointed to specific examples from Cellmark’s analysis to show that the putative

presence of Greineder’s DNA on the knife and brown work gloves was consistent with transfer of

DNA from Greineder to his wife, and then to the knife and gloves, without there necessarily having

been any direct contact between Greineder and the objects themselves. Tr. XXII/82-96. Krane

provided the jury with a review of scientific literature supporting this theory. Id. at 58-69. Marc

Taylor, a forensic scientist, testified that he had conducted experiments on DNA transfer and opined

that transfer of Greineder’s DNA to the knife and gloves could have occurred without any direct

contact between Greineder and those objects. Id. at 224-226, 232-236. Over defense objection, the

trial judge precluded Taylor from providing specific details about his DNA transfer experiments.


                                               -11-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 26 of 223




                       d.     Response to other scientific evidence.

       Stuart James, a defense expert, testified that the spatter stains on Greineder’s shoes, jeans,

shirt, and windbreaker, which the prosecution asserted were indicative of his presence at the time

of Ms. Greineder’s killing, could have been created in other ways. Tr. XXIII/44,47,56, 58-67, 70-73.

He noted: “[I]f one received a single blow to the head with a blunt object, the possibilities [of]

spatter being produced by that event are quite, quite remote.” Id. at 41-42. James agreed with the

prosecution experts that the dot patterns on the knife and hammer matched those found on the work

gloves. The defense presented no response to the prosecution’s expert testimony about footprints.

                       e.     Third-party culprit evidence.

       On cross-examination, Trooper Foley acknowledged that when he responded to Morse Pond

on October 31, 1999, he knew that there had been two unsolved homicides in recreation areas in

Norfolk County during the preceding 12 months. Tr. XI/42. The trial judge allowed a single

question on this subject and prohibited defense counsel from eliciting any details of those unsolved

homicides or the resulting police investigations. Memorandum and Order (5/21/01).

II.    PROCEEDINGS ON GREINEDER’S FIRST MOTION FOR NEW TRIAL (2005-
       2007).

       A.      Greineder’s Claims.

               1.      Ineffective assistance of counsel.

       Greineder’s first motion for new trial raised myriad claims of ineffective assistance of

counsel. Greineder argued that his trial counsel, Martin F. Murphy, failed to present a meritorious

pretrial challenge to the admissibility of the Commonwealth’s DNA test results, a critical component

of the prosecution case. In a submission supported by expert affidavits, Greineder argued that the

test results obtained by Cellmark on tiny, mixed samples of DNA were scientifically unreliable, and



                                              -12-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 27 of 223




that the statistical results presented by Cellmark were calculated improperly. Accordingly, Greineder

argued, a motion to exclude that flawed scientific evidence would properly have been allowed, so

counsel’s failure to file such a motion was manifestly unreasonable. Greineder argued that his

counsel was also ineffective in failing to present expert testimony at trial which would have

substantially negated the inculpatory impact of Cellmark’s DNA test results.

        Greineder argued that trial counsel was seriously deficient in other respects. First, he failed

to present expert testimony to contest the Commonwealth’s inculpatory expert evidence about

footprints. Second, he failed to object to the admission of unfairly prejudicial, irrelevant evidence

respecting Greineder’s extramarital sexual behavior, to the prosecutor’s improper piling on of that

evidence, and to the misuse of that evidence in closing argument. Third, he failed to file a

meritorious motion to suppress the fruits of an automobile search conducted by police on November

1, 1999, which exceeded the scope of the underlying warrant. Fourth, he failed to specifically

challenge the seizure of a hardware store receipt by police on November 12, 1999 pursuant to an

improper general warrant once that receipt became critical to the Commonwealth’s case.

        Greineder argued that these serious omissions by defense counsel fell measurably below the

established professional standard of competence and likely affected the jury’s verdict. Indeed, he

asserted, the exclusion of the scientifically unreliable DNA evidence alone would have dramatically

tilted the balance at trial in his favor. Greineder asserted that his trial counsel’s specific omissions

deprived him of effective assistance of counsel under both the United States Constitution and the

Massachusetts Declaration of Rights.

                2.      Exposure of deliberating jury to extraneous matter.

        In his motion for new trial, Greineder also claimed that the jury was exposed to extraneous

matter during its deliberations when it conducted an unauthorized experiment using trial exhibits and


                                                -13-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 28 of 223




a banana. Greineder requested an evidentiary hearing to determine whether this event had in fact

occurred and whether it tainted the jury’s verdict.

               3.      Recantation of expert testimony.

       In support of his motion for new trial, Greineder filed an expert’s affidavit challenging the

accuracy of trial testimony presented by Sergeant Deborah Rebeiro, the Commonwealth’s footprint

expert. On May 9, 2007, nearly two years later, Rebeiro filed an affidavit admitting that her trial

testimony linking Footprint #7 to the heel of Greineder’s sneaker was erroneous. That testimony

had been relied upon by the Commonwealth in opening statement and closing argument to support

its theory that Greineder had dragged his wife’s body off the trail at Morse Pond after murdering her.

In the wake of Rebeiro’s recantation, Greineder filed an amended new trial motion arguing that her

belated admission about the falsity of her trial testimony warranted judicial relief.

       B.      Additional Evidence Presented to Motion Judge.

               1.      Ineffective assistance of counsel.

       Greineder filed a number of affidavits in support of his motion for new trial, including a

lengthy affidavit by a DNA expert, Dr. Arthur J. Eisenberg, and affidavits by his trial counsel’s DNA

expert, Dr. Christie T. Davis; an expert in DNA statistical analysis, Dr. Charles H. Brenner; and a

footprint expert, William J. Bodziak. The trial court heard the testimony of Greineder’s trial counsel,

Martin F. Murphy, at an evidentiary hearing. Greineder subsequently filed two additional affidavits

by Dr. Eisenberg. Greineder’s motion to call Dr. Eisenberg as a witness at the evidentiary hearing

was denied. The Commonwealth filed two affidavits by its DNA trial expert, Dr. Robin W. Cotton,

and an affidavit of Joanne Sgueglia, Technical Manager of Forensic Biology at the Massachusetts

State Police Crime Laboratory.




                                                -14-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 29 of 223




               2.      Exposure of deliberating jury to extraneous matter.

       The trial court heard testimony by Linda Rosencrance, an author who had interviewed one

of the deliberating jurors and recounted that interview in a published book about the case. The court

also admitted into evidence a tape-recording of that interview. Testimony from six members of the

deliberating jury was taken during the evidentiary hearing.

               3.      Recantation by the Commonwealth’s footprint expert.

       On this issue, the Court received the affidavit filed by Sgt. Rebeiro. The Court also admitted

into evidence a video recording of the relevant portion of the prosecutor’s closing argument.

       C.      The Motion Judge’s Decision.

       On October 31, 2007, Judge Chernoff issued a 68-page decision denying Greineder’s

Amended Motion for New Trial, accompanied by a 51-page appendix, which Judge Chernoff

described as an “attempt to abstract the information” he considered in adjudicating the motion.

III.   REMAND PROCEEDINGS IN THE TRIAL COURT RESPECTING GREINEDER’S
       PUBLIC TRIAL CLAIM (2009-2010).

       On direct appeal to the Massachusetts SJC, in his brief-in-chief filed in April 2009, Greineder

argued myriad legal issues, including, inter alia, a claim that Greineder was denied his right to a

public trial. Following oral argument, on October 23, 2009, the SJC noted that the trial record failed

to present “a sufficient factual record for meaningful consideration” of the public trial claim and

remanded the case to the trial judge for specific findings. Five days later, the trial judge submitted

a detailed written response to the SJC relying on his own unrefreshed memory, with no input from

the parties. The very next day, the trial judge informed counsel that he had received further

information and notified the SJC not to act on the case until after he met with counsel. On

November 18, 2009, Greineder filed a motion for evidentiary hearing, together with a motion to



                                               -15-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 30 of 223




recuse or disqualify the trial judge from conducting such hearing or making any findings of fact. The

trial judge denied the recusal motion and granted the motion for evidentiary hearing. An evidentiary

hearing was held. Following the hearing, the trial judge made adverse factual findings respecting the

public trial claim in a second response to the SJC filed on February 16, 2010. The parties filed

supplemental briefs in the SJC focusing on the public trial issue.

IV.     PROCEEDINGS IN THE MASSACHUSETTS SUPREME JUDICIAL COURT (2010).

        Upon receipt of the trial judge’s second response and the parties’ supplemental briefs, the

Massachusetts SJC proceeded to decide all of Greineder’s appellate claims (including the public trial

claim). Commonwealth v. Greineder, 458 Mass. 207, 239 (2010). The court rejected all of

Greineder’s claims and affirmed his conviction, as summarized below.

        First, Greineder argued that his constitutional right to a public trial was violated when the

entirety of juror voir dire took place in private, and that his constitutional right to a fair tribunal was

violated when the trial judge refused to recuse himself from ruling on the public trial claim. The SJC

held that individual voir dire was not closed in violation of the right to a public trial, and that the trial

judge did not abuse his discretion in refusing the recuse himself. 458 Mass. at 226-234.

        Second, Greineder argued that the admission of inculpatory DNA test results, over objection,

through the testimony of a witness who neither conducted the testing nor reviewed the raw data

violated his constitutional right to confrontation and the rule against hearsay. The SJC addressed

the confrontation issue by separating it into two distinct parts. First, it addressed what it

characterized as Greineder=s challenge to the admission of Cotton=s “opinion” testimony detailing

statistical likelihoods based on the DNA testing. It found no error, holding that this was admissible

expert opinion testimony. 458 Mass. at 236. The SJC then separately addressed the admission of

Cotton’s testimony enumerating the specific DNA test results. The SJC found that the admission


                                                   -16-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 31 of 223




of this evidence was error, but held that this error was not prejudicial. Id. at 226-239.

         Third, Greineder argued that the admission of irrelevant and unfairly prejudicial evidence

regarding his extramarital sexual activities deprived him of a fair trial. The SJC held that the

probative value of evidence of Greineder’s extramarital sexual activity outweighed any possible

undue prejudice. 458 Mass. at 239-242.

         Fourth, Greineder argued that the post-trial recantation of key opinion testimony presented

at trial by the Commonwealth’s footwear expert warranted a new trial. The SJC held that the post-

trial recantation of the footwear expert did not create a substantial likelihood of the jury reaching a

different result, and the trial judge was within his discretion to deny the claim. 458 Mass. at 244-245.

         Fifth, Greineder argued that an experiment conducted by the deliberating jury using materials

not in evidence exposed the jury to prejudicial extraneous information, requiring a new trial. The

SJC held that the experiment was within the scope of the evidence presented at trial and cumulative

of expert testimony, thus did not constitute extraneous matter. 458 Mass. at 246-248.

         Sixth, Greineder argued that he was deprived of constitutionally effective assistance of

counsel due to his trial counsel’s failure to move: (a) to exclude scientifically unreliable DNA test

results or challenge those results at trial; (b) to suppress an important receipt seized pursuant to an

unconstitutional, general search warrant; and (c) to suppress the fruits of an unconstitutional car

search. The SJC held that counsel’s performance was not deficient. 458 Mass. at 247-255.

         Finally, Greineder argued that the myriad errors committed at trial, considerately individually

and cumulatively, warrant relief under M.G.L.c. 278, §33E. The SJC held that there was no reason

to grant such relief. 458 Mass. at 255-256.6

         6
                   Greineder also argued that the prosecutor’s misconduct in unfairly exploiting his pre-arrest right to
remain silent under Massachusetts law, to prepare and present a defense, and to attend his trial violated his constitutional
right to due process and deprived him of a fair trial. The SJC held that the defendant had not exercised his right to remain
                                                                                                           (continued...)

                                                          -17-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 32 of 223




V.       PROCEEDINGS IN THE UNITED STATES SUPREME COURT (2011-2012).

         On January 27, 2011, Greineder petitioned the United States Supreme Court for a writ of

certiorari on this issue:

         Does the Confrontation Clause preclude a witness from offering an inculpatory
         expert conclusion based on forensic laboratory tests that she did not herself perform
         or observe, where the reported results of those tests involved highly subjective and
         discretionary analysis by a nontestifying witness and the expert's conclusion was the
         product of the application of straightforward arithmetical computation to those
         reported results?

         Following the filing of this petition, the Supreme Court decided two cases involving the

Confrontation Clause and forensic evidence, Bullcoming v. New Mexico, 131 S.Ct. 2705 (2011), and

Williams v. Illinois, 132 S.Ct. 2221 (2012). On June 29, 2012, the Supreme Court granted

Greineder’s petition and issued this order:

         Judgment vacated, and case remanded to the Supreme Judicial Court of
         Massachusetts for further consideration in light of Williams v. Illinois, 567 U.S. ___,
         132 S.Ct. 2221, 183 L.Ed.2d 89 (2012).

__ U.S.__, 133 S.Ct. 55 (2012).7

VI.      REMAND PROCEEDINGS IN THE MASSACHUSETTS SUPREME JUDICIAL
         COURT (2013).

         On remand, the Massachusetts SJC once again affirmed Greineder’s conviction, holding that

(1) Williams v. Illinois did not require any change to the Massachusetts rule allowing an expert to

testify to his or her independent opinion even if based on data not in evidence, and (2) Greineder’s

confrontation rights were not violated by admission of the testimony of Dr. Cotton, despite her


         6
             (...continued)
silent and the prosecutor did not commit misconduct. 458 Mass. at 242-244. Greineder does not raise that claim in this
habeas petition.
         7
                    The Supreme Court has stated that such an order is appropriate when “intervening
developments...reveal a reasonable probability that the decision below rests upon a premise that the lower court would
reject if given the opportunity for further consideration, and where it appears that such a redetermination may determine
the ultimate outcome.” Lawrence v. Chater, 516 U.S. 163, 167 (1996)(per curiam).

                                                        -18-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 33 of 223




reliance on the DNA test results obtained by a non-testifying analyst. Commonwealth v. Greineder,

464 Mass. 580 (2013).

VII.   FURTHER PROCEEDINGS IN THE UNITED STATES SUPREME COURT (2013).

       Greineder again petitioned the United States Supreme Court for a writ of certiorari.

Greineder’s second petition for writ of certiorari was denied on October 7, 2013.

VIII. PROCEEDINGS ON GREINEDER’S SECOND MOTION FOR NEW TRIAL (2014).

       On March 18, 2014, Greineder filed a Motion for Post-Verdict Jury Inquiry and New Trial.

He asserted a claim that the jury’s consideration of cast-off stains on the back of a jacket which had

been excluded by the trial judge violated his Sixth Amendment right to be convicted based solely

upon the evidence presented in the courtroom. On July 24, 2014, without further hearing, the

Superior Court (Brassard, J.) denied that motion in a written Memorandum of Decision and Order.

Greineder sought leave to appeal that ruling to the SJC. On December 30, 2014, Justice Spina of the

SJC denied Greineder’s application under M.G.L. c. 278, s. 33E for leave to appeal that ruling.

                                            ARGUMENT

I.     GREINEDER WAS DENIED HIS CONSTITUTIONAL RIGHTS TO A PUBLIC
       TRIAL AND TO A FAIR AND IMPARTIAL TRIBUNAL IN DECIDING HIS
       PUBLIC TRIAL CLAIM.

       A.      Statement of Relevant Facts.

               1.      Relevant material in the trial record.

       On May 17, 2001, four days before the start of trial, the trial judge ruled on Greineder’s

motion for individual voir dire. In so doing, he noted:

       My strong inclination is to give the jury a questionnaire and ask jurors to respond and
       then through some mechanism, I’m not quite sure how we will do it with the jurors
       sitting in a seat in the courtroom or at the sidebar or whatever, make a query of each
       or at least a number of the jurors - based upon their answers to certain questions
       perhaps even ask a question that deals with the logistics of the trial in this case as part


                                                 -19-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 34 of 223




         of an individual voir dire.

PT Tr. (5/17/01), pp. 120-121. At the end of the May 17th hearing, the judge indicated that he

intended to meet with representatives of the media the following morning:

         [T]here have been a number of inquiries made with the clerk about the media’s
         presence at trial. We’ve scheduled a meeting at a quarter of 9 tomorrow morning
         between representatives of the media and myself and the attorneys to talk about those
         issues and so if anybody from the media has an interest in that particular issue, I’d
         invite you to be here at quarter of 9 tomorrow morning.

PT Tr. (5/17/01), pp. 127-128 (emphasis added).

         Following the non-recorded meeting with the media,8 and at the outset of recorded

proceedings on May 18th, the trial judge briefly discussed what occurred at that meeting:

         Good morning. I would like the record to reflect that earlier this morning at about a
         quarter of nine I had an opportunity to meet with the people from the different
         branches of the media who have an interest in being present during the public part
         of this case. And we attempted to and I think have worked out almost all, if not all
         of the logistical issues as far as the case is concerned.

PT Tr. (5/18/01), pp. 3-4 (emphasis added).

         From there, the judge proceeded to discuss the process that would be used during

empanelment of the jury. In so doing, the judge indicated that the First Session in the courthouse (the

Main Courtroom) would serve as “Staging Area # 2” and would “not be a courtroom for purposes -

for jury empanelment, it’s just going to be a more comfortable place where the jurors can stretch

out.” PT Tr. (5/18/01), p. 36. In describing the process that would be utilized for the individual voir

dire, the judge explained:

         [W]e’ll either do them up at the sidebar or off to the side in a sideroom for jurors’
         private conversations with the Court. We’ll try to work that out.

Id. (emphasis added).


         8
                    The judge’s meeting with the media was not transcribed, and it is uncontested that the meeting was
“off-the-record.”

                                                        -20-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 35 of 223




         The trial commenced on the following Monday, May 21, 2001. The judge explained to the

potential jurors that questionnaires were going to be distributed. He followed up with:

         Then, after you fill out the questionnaire, the way we do our empanelment is that we
         would like to give you this room as a room to spread out in. You can stretch. You can
         chat about anything you want except not about this case if you happen to know
         anything about it, and then we will invite you one-at-a-time to come into a side
         room where I will have an opportunity to talk to you about a couple of issues.

Tr. I/5 (emphasis added).

         Individual voir dire commenced shortly thereafter, at the outset of which the judge stated:

          First of all, we are in Room 8. The record should reflect that we are in Room 8 for
         the purposes of conducting a non-public individual voir dire of the jurors.

Id. at 37 (emphasis added). The judge then proceeded to conduct the individual voir dire of

prospective jurors for the remainder of the day. Tr. I/38-320. The individual voir dire proceeded in

a similar fashion the following day, May 22nd. Tr. II/3-236.

         During the two days of individual voir dire, when speaking to individual jurors, the judge

repeatedly referred to the attorneys having previously introduced themselves, and repeatedly referred

to the courtroom where the prior introduction had occurred as “open court” or “the open

courtroom,” in contrast to Courtroom 8 where the “non-public individual voir dire of the jurors”

was taking place.9 The jurors were individually brought in to speak with the judge, and then simply



         9
                  Tr. I/55 (“You have also had today the opportunity to have the attorneys introduce themselves to you
in open court”); 76 (“You also had today in open court the benefit of having all of the attorneys introduce themselves
to you”); 113 (“[T]his morning in the open courtroom the attorneys had an opportunity to introduce themselves to
you.”); 133 (“Some people have been introduced to you, namely, the attorneys in open court this morning”); 139 (“The
attorneys introduced themselves to you in open court this morning”); 146 (“You also had this morning the opportunity
to have each attorney introduce themselves in open court”); 152 (“This morning the attorneys actually introduced
themselves to you in the open courtroom”); 180 (“The attorneys introduced themselves to you in open court this
morning”); 228 (“This morning the attorneys had an opportunity to introduce themselves to you in open court”); 292
(“The attorneys introduced themselves to you this morning in open court”); Tr. II/55 (“You also had yesterday the
opportunity of having each of the attorneys in this case introduce themselves to you in open court”); 123 (“The lawyers
introduced themselves to you yesterday in open court”); 137 (“The lawyers introduced themselves to you yesterday in
open court”); 203 (“The lawyers introduced themselves to you yesterday in open court”); 229 (“The lawyers in this
case had introduced themselves to you yesterday in open court”) (all emphases added).

                                                       -21-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 36 of 223




asked to “please step outside” while the judge and lawyers conferred. There was no mention in the

transcript of any “bench conference” held at any time during the proceedings in Courtroom 8.

         Following the completion of the individual voir dire, the proceedings were moved to

Courtroom 10, where the parties exercised their peremptory challenges and the jury was sworn. Tr.

II/247, 252-263, 279. The trial judge then informed the jurors that they would be going on a view

the following day, adding: “Usually a view is not for anyone other than the lawyers and the jury and

the judge with the court reporter and maybe some court staff.”Tr. II/273. He then called the attorneys

to a sidebar -- which the court reporter marked as a “BENCH CONFERENCE” on the transcript –

during which he stated: “I am going to tell the press that they cannot join us for the view” Tr. II/279-

280. After this conference with the attorneys, which the court reporter marked in the transcript as

“AFTER BENCH CONFERENCE,” the judge stated: “I would tell the members of the press as far

as the view tomorrow is concerned, the press will not go with the judge, the attorneys, and the jurors

on the view. You are welcome to go outside the gate of Morse Pond. If you are going to photograph,

I do not want faces of jurors to be photographed or videotaped.” Tr. II/283. The following day, the

judge stated: “The view is also closed to the public because it is between the jurors, the judge, and

the attorneys.” Tr. III/18.10




         10
                   Petitioner does not raise the exclusion of the public or media from the jury’s view of the crime scene
as a separate issue in this proceeding. However, the judge’s statements excluding the public and media from attending
or observing the jury’s view in a public park are indicative of his willingness to order such exclusion in the absence of
any findings on the record. Cf. State ex rel Cincinnati Enquirer v. Bronson, 945 N.E.2d 551 (Ohio 2010) (when a
member of the news media requests to be present at a jury view, the trial court must conduct a hearing, make appropriate
findings and enter its decision on the record, citing Press-Enterprise Co., 464 U.S. at 508); Commonwealth v. Davis,
635 A.2d 1062, 1066 (Pa. Super. 1993)(trial court’s order prohibiting photography of jury viewing of crime scene was
time, place, and manner restriction, and did not prohibit the public or media from attending or observing jury’s viewing,
citing Press-Enterprise Co., 464 U.S. at 508; Globe Newspaper Co. v. Superior Court, 457 U.S. 596 (1982)).

                                                        -22-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 37 of 223




                2.      Proceedings on remand.

                        a.      Remand order by the Massachusetts SJC.

        In his brief-in-chief on direct appeal, Greineder claimed, inter alia, a denial of his right to

a public trial. On October 23rd, 2009, following oral argument, the SJC issued a remand order to the

trial judge in order to create a “sufficient factual record for meaningful consideration of

[Greineder’s] claim” that the courtroom was closed during the individual voir dire. 2010 R. 16.

                        b.      Trial judge’s initial response and aftermath.

        Five days after the issuance of the remand order, the trial judge submitted a detailed, written

response, accompanied by photographs and a diagram. First Response to the Order of the SJC. 2010

R.18. Before submitting this response, the judge neither met with the parties nor invited their input.

There is no indication whatsoever that the trial judge relied on anything beyond his own untested

memory in preparing his response. The substance of his response was that the individual voir dire

was open to the public, no member of the press ever requested entry, and one or more members of

Greineder’s family were present during the proceedings. Id. However, the day after submitting this

response, the trial judge informed counsel that he had received some information which he wanted

to discuss with them. He indicated further that he had asked the SJC not to act on this case until after

he had met with counsel. Judge’s Memorandum to Counsel, 2010 R. 26.

                        c.      Greineder’s motion for an evidentiary hearing and motion to
                                recuse.

        On November 18, 2009, the defendant filed a motion for an evidentiary hearing along with

a supporting memorandum of law and exhibits. 2010 R. 27, 29. (At the outset of the evidentiary

hearing, the trial judge indicated that anything filed by the parties was deemed to be a part of the

record on remand. Tr. (1/14/10), p. 16). The attached exhibits consisted of materials from a variety



                                                -23-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 38 of 223




of sources substantially controverting the substance of the trial judge’s written submission to the SJC

on October 28th, including:

•      An affidavit of appellate counsel stating that he had been told by the defendant’s trial counsel
       and trial counsel’s law clerk that no member of the public or press was present at any time
       during the two days of individual voir dire. (2010 R.73).

•      A letter from Tom Farmer, who covered Greineder’s trial as Boston Herald reporter, to the
       trial judge dated October 28, 2009, stating, inter alia: “My recollection is that when we met
       with your [sic] prior to jury selection, you told us that the media would not be allowed to
       view the IV [individual voir dire] but if we objected, we could appeal to a Single Justice of
       the SJC . . . I personally sat outside the courtroom while the IV was conducted and I did not
       see anyone from the general public attempt to gain entry into the courtroom.” (2010 R. 78).

•      An article written by Michael Kunzelman, MetroWest Daily News Staff Writer, which was
       published on the Town On-Line web site on May 22, 2001, referring to the jury selection
       process as follows: “[Judge] Chernoff oversaw seven hours of jury selection yesterday. The
       process, which has been closed to the public, is scheduled to resume this morning.” (2010
       R. 81) (emphasis added).

•      Affidavits executed by the defendant’s three children, all indicating that they would have
       attended the individual voir dire (as they attended the remainder of the trial) if permitted to
       do so, but they were informed prior to the beginning of the proceedings that they would not
       be permitted to attend, and thus were not present at any time during individual voir dire.
       (2010 R. 87-94).

•      Excerpts from the evidentiary hearing in Com. v. David Cohen, Norfolk Superior Court No.
       05-129, at which Court Officer Larry Sullivan testified that it was a longstanding practice in
       Norfolk Superior Court to close the courtroom to the public during the jury selection process
       in every case, without exception. Further, Patricia Bellotti, Acting Chief Court Officer and
       Assistant Chief since 1994, testified that “[a]ll the lobby officers typically close the
       courtroom during empanelment . . . the way it’s done here is we close the courtroom.” (2010
       R. 95-103).

•      An affidavit filed in the case of Com. v. Daniel Holland, SJC No. 08737. Holland was being
       tried in the Main Courtroom of the Norfolk County Superior Courthouse when Greineder’s
       trial commenced in late May 2001. The affidavit of Holland’s trial counsel stated, in
       substance: (1) during the three days of jury selection in the Holland case, there was a sign
       on the door of the courtroom stating the courtroom was closed; (2) the public was not
       allowed in the courtroom during jury selection; and (3) based upon his experience in Norfolk
       Superior Court, it was common practice to close the courtroom to the public during jury
       selection. (2010 R.104).




                                                -24-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 39 of 223




       In his motion for an evidentiary hearing, Greineder contended that the trial judge had made

a good faith mistake in recalling that the individual voir dire had been open to the public. Greineder

argued that an evidentiary hearing was necessary to resolve the conflict between the trial judge’s

recollections and the overwhelming evidence to the contrary. The trial judge allowed Greineder’s

motion for an evidentiary hearing by written order. 2010 R. 111.

       In addition, Greineder filed a motion to recuse or disqualify the trial judge from conducting

the evidentiary hearing or making findings of fact. 2010 R.109. The crux of Greineder’s argument

was that the judge had prejudged the factual issues based on his own recollection and therefore he

could not reasonably be expected to objectively consider the evidence and alter his findings in

accordance with contradictory evidence. The judge denied the motion by written order. 2010 R.113.

                       d.      Evidence presented at the evidentiary hearing.

                               (1)     Greineder’s key evidence.

       Greineder presented the following witnesses at the evidentiary hearing:

•      Martin Murphy, the defendant’s trial counsel, testified that Greineder’s three children were
       extremely supportive of their father and believed him to be innocent. As part of his trial
       strategy, Murphy informed the children that their presence in the courtroom would send a
       “powerful message” to the jury, and they agreed to be there as much as physically possible.
       Tr. (1/14/10), pp. 19-20. Murphy testified unequivocally, and without any doubt, that no
       members of the general public, no members of the media, and none of Greineder’s three
       children were present in the courtroom during any portion of the individual jury voir dire
       held in courtroom 8. Id. at 27. He recalled that there was a piece of paper hung up at eye-
       level on the public door into courtroom 8, but he was not aware of what the paper said. Id.
       at 29-30. Murphy testified further that had the individual voir dire proceedings been open to
       the public, he would have done everything in his power to ensure that Greineder’s children
       were present, and he believes they would have complied. Id. at 30. Murphy did not recall
       exactly how he came to learn that the individual voir dire proceedings would be closed to the
       public. Further, he did not recall whether it was him or someone else who had informed
       Greineder’s children that they could not attend. Id. at 41-45. Murphy testified that he does
       not believe that he ever requested that individual voir dire take place in a courtroom closed
       to the public, nor did he recall assenting to that procedure. Id. at 21-22, 32. “I don’t
       remember expressing my assent, which is really the way that I would think about it. I didn’t
       say anything,” he explained. Id. at 46. Murphy had no recollection of having any discussion


                                               -25-
    Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 40 of 223




    with Greineder about his right to insist that the proceedings remain open. Id. at 31-32. While
    Murphy did not object to the closing of the courtroom during individual voir dire, he did not
    articulate any tactical reason for his forbearance.

•   Brandon Bigelow was Murphy’s law clerk, and he assisted him throughout Greineder’s
    trial. Bigelow testified that the persons present in courtroom 8 during the individual voir dire
    consisted of the judge, counsel, the defendant, and courtroom personnel. Bigelow testified
    that no member the media and none of Greineder’s three children were present in the
    courtroom during individual voir dire. Tr. (1/14/10), pp. 56-57. Bigelow recalled that there
    was something on the glass door to Courtroom 8 that blocked his ability to see outside, but
    he did not remember what that was. Id. at 57.

•   Tom Farmer - a reporter for the Boston Herald - covered the entirety of Greineder’s trial
    from start to finish. Tr. (1/14/10), p. 127. Farmer testified that he was present at the meeting
    with the trial judge on the morning of May 18th, 2001. Farmer testified that during that
    meeting, the trial judge stated that the media would not be allowed to attend the individual
    voir dire, and that if they objected, they could appeal to a Single Justice of the SJC. Farmer
    checked with the editors of the Boston Herald, who elected not to exercise their right to
    appeal. Since he was not allowed in the courtroom, Farmer remained in the hallway directly
    outside Courtroom 8 during the entirety of both days of individual voir dire. He did not recall
    any member of the public or of the media entering the courtroom at any time during either
    of those two days. Tr. (1/14/10), pp. 129-133. After attending the oral argument on
    Greineder’s appeal in October 2009, Farmer faxed a letter to the trial judge. S.A. at 78.
    Farmer’s subsequent hearing testimony mirrored that letter in all significant respects. Farmer
    testified that he believes Greineder to be guilty and hopes that his conviction will be
    affirmed. Id. at 127. Nonetheless, he stands by his testimony that Courtroom 8 was closed
    during individual voir dire.

•   Mac Daniel - who covered the entire trial as a reporter for the Boston Globe - had no
    recollection of attending the morning meeting with the trial judge on May 18th, 2001, but he
    did recall waiting outside in the hallway while the individual voir dire was taking place. He
    testified that had he been allowed to attend the individual voir dire, he would “more than
    likely” have done so. Further, he remembered seeing a sign outside a courtroom during trial,
    but he did not recall what that sign said. Tr. (1/14/10), pp. 146-152.

•   Bryan Lavietes - Field Producer for Court TV during Greineder’s trial, testified that “the
    media wasn’t allowed in to see individual voir dire.” He testified that had he been permitted
    into the courtroom, he “absolutely” would have been present to observe the individual voir
    dire because “we came to cover the trial, and we want to see as much of it as we can and you
    never know when something great is going to happen.” Tr. (2/1/10), pp. 49-54. Lavietes did
    not recall who told him that the media was not allowed in the courtroom, “but I know we
    weren’t allowed in because if we had been we would have gone in.” Id. at 64. Court TV did
    not bring a legal challenge because it was understood that no video or broadcast of the jurors
    would be permitted, and bringing a challenge would have “sort of get us off on the wrong
    foot with the judge to begin with.” Id. at 55.


                                            -26-
    Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 41 of 223




•   Vinnie Politan, who served as a correspondent at Court TV during Greineder’s trial,
    testified via affidavit. Politan stated that upon arrival at the courthouse on the first day of jury
    selection, he was informed that the individual voir dire was closed. He spent the remainder
    of that day, as well as the next, outside of Courtroom 8 where the individual voir dire was
    taking place. If he had been permitted to observe the individual voir dire, he would have
    done so. 2010 R.115.

    All three of Greineder’s children testified at the evidentiary hearing:

•   Britt Cavalletto testified that she was in the courthouse during both days that the individual
    voir dire was taking place, but she was not permitted into Courtroom 8. She testified that on
    May 21, 2001, she remained seated outside the Main Courtroom, where public entry was
    barred by both a sign outside the courtroom door and the affirmative actions of the court
    officers. Tr. (1/14/10), pp. 68-72. Instead of being permitted into the courtroom, Britt was
    told by a court officer on May 22 to remain seated on the first floor of the courthouse, and
    that she would be told when she could enter the courtroom. According to Britt, she was
    informed by both court officers and Murphy that she could not attend voir dire, and as a
    result of those communications, she did not enter Courtroom 8 at any time during either of
    the days. Id. at 73-83.

•   Colin Greineder, Greineder’s son, recalled that he and his siblings met with Murphy shortly
    before trial. During that meeting, Murphy stressed the importance of all three of them being
    in court every day so that the jury could see them supporting their father. In furtherance of
    that instruction, Colin took a leave of absence from medical school so that he could be
    present. Colin was informed that he could not attend the individual voir dire. He does not
    recall who told him, but noted that it was probably his sister, Britt. If Colin had been
    permitted to attend the individual voir dire, he certainly would have done so. This is
    evidenced by the fact that he attended each and every other day of trial from the opening
    statements on May 24th through the return of a verdict on June 29th. Tr. (1/14/10), 100-104.

•   Kirsten Greineder, Greineder’s eldest daughter, also described meeting with Murphy, who
    stressed that it was “absolutely, critically important that I attend every and all of the court
    proceedings.” Even though she was in the middle of her medical residency in Michigan, she
    agreed to Murphy’s wishes. Kirsten was present for every day of the trial, with the exception
    of one day that she missed due to work commitments. She did not attend the individual voir
    dire because Murphy told her that she was not permitted to be present: “If Mr. Murphy had
    said that I was able to be present, that he wanted me to be there, I would have been there.”Id.
    at 110-115.

•   Dirk Greineder, the defendant, testified that none of his friends or family members were
    inside Courtoom 8 during any part of the individual voir dire. While he very much wanted
    his children to be present, Murphy had told him that the voir dire would be closed. He was
    not aware that he had a constitutional right to have the public, including his children, present
    in the courtroom. Id. at 190. He never discussed that subject with Murphy, and he never


                                              -27-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 42 of 223




       agreed to waive that right. Id. He testified that had he known that he had such a right, “I
       would have insisted that [the courtroom] be open.” Id. at 191. Greineder stated that he
       probably learned that the courtroom would be closed during individual voir dire when he met
       with Murphy on Friday afternoon, May 18th. Id. at 205.

•      Patricia Bellotti, the Chief Court Officer at Norfolk Superior Court, claimed that she could
       not recall much of the testimony she gave at a hearing in the Cohen case on February 25,
       2008, but acknowledged that the following testimony given on that date was accurate: “Once
       the jury empanelment starts, the jury is a priority and we don’t want to contaminate them, we
       don’t want to disrupt the jury in the courtroom, the court procedures, so we close the
       courtroom. Once they’re sworn in, we allow the rest of the people in.” Tr. (1/14/10), p. 171.
       Bellotti also testified that she saw the “Do Not Enter” sign used in the Cohen case and had
       seen a sign like that before taped to a courtroom door. Id. at 174-175.

•      James McDermott, a long-time Assistant Clerk at Norfolk County Superior Court - who
       was not involved in Greineder’s trial - testified that as a general matter, “usually the court
       officers would ask people to step outside for the empanelment.” Tr. (1/14/10), p. 160.
       McDermott explained: “Especially on a criminal case, if there were a lot of jurors ordered,
       there would be a request by the clerks, by the court officers, or by the Clerk, to have everyone
       out of the courtroom during the empanelment we would ask people to leave the courtroom
       during the empanelment.” Id. at 159.

                              (2)     The Commonwealth’s key evidence.

       The Commonwealth called several witnesses who believed that Greineder’s daughter, Britt,

was present at the individual voir dire, notwithstanding her unequivocal testimony to the contrary.

•      Margaret Morris, the court reporter, testified that she “thought” Britt was present, but no
       other member of the public was present during individual voir dire. Tr. (1/14/10), 213-222.

•      Susan Corcoran, one of the prosecutors at trial, was “almost certain” that Britt was present
       and she recalled that the courtroom was full of people. Tr. (1/14/10), pp. 225, 236.

•      Robert Cosgrove, formerly a prosecutor (later a judge) testified that he sat in the back of the
       courtroom. Cosgrove testified that he did not have a particularly strong memory of the
       individual voir dire, but was “eighty percent” sure that Britt was there. He was unable to
       identify any other member of the public who was present in the courtroom. Tr. (1/14/10), pp.
       242-258.

•      Richard Grundy, the lead prosecutor at trial, testified that he had a clear memory of
       Cosgrove’s sitting at counsel table with him during individual voir dire - notwithstanding
       Cosgrove’s testimony to the contrary. He also testified that Britt was present, but he was
       unable to name any other member of the public who was there. Tr. (1/15/10), pp. 61, 78-80.



                                               -28-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 43 of 223




•      William Weed, a court officer during the trial, testified that it was his role to take care of the
       defendant during the trial. He sat behind Greineder in Courtroom 8. He didn’t see any paper
       on the doorway of Courtroom 8 or any court officer stationed at the doorway. He did not
       recall if there was any member of the media or public in Courtroom 8.

•      George Berube, a court officer in training during the trial, testified that he did not see any
       sign on the door saying “keep out” or personally tell anyone to stay out. Tr. (1/15/10), p. 4-6.

•      Elizabeth Collins, a court officer assigned to the trial, testified that she was stationed in the
       back hallway with jurors waiting to go into Courtroom 8. She could not see the public
       entrance to Courtroom 8 from her vantage point, and did not recall seeing anyone else in the
       back hallway. Tr. (1/15/10), p. 8-15.

•      Steven Minkofsky, the lobby officer working for Judge Chernoff during the trial, testified
       that his job was to bring jurors from the back hallway into Courtroom 8 individually for voir
       dire between the two attorneys and the judge. He did not see any sign on the door and did not
       personally keep anyone from the public out. He believed he remembers Britt being in the
       courtroom during individual voir dire and that no other member of the public - other than one
       person from the media he could not name - was present. Tr. (1/15/10), pp. 17-18, 20, 36-37.

•      Helen Litsas, who served as the law clerk for the trial judge, testified that there were two or
       three people in the spectator section of the courtroom during individual voir dire, including
       the defendant’s daughter. She did not recall seeing Cosgrove or Corcoran in Courtroom 8 at
       all. Tr. (2/1/10), pp. 11, 33-36.

       Several of the Commonwealth’s witnesses, including Judge Cosgrove, Mr. Grundy, and Ms.

Litsas, had read the trial judge’s October 28, 2009 response prior to testifying. None of the

Commonwealth’s witnesses could name a single member of news media or of the public, other than

Greineder’s daughter Britt, who supposedly attended any portion of the individual voir dire. Their

claim that Britt was present was contradicted by Britt’s unequivocal testimony that she was not

present. The Commonwealth did not produce any member of the public who claimed to have been

present during any portion of the individual voir dire.

                       e.      The trial judge’s second response to the court’s remand order.

       On February 16, 2010, the trial judge submitted his second response to the SJC, along with

a separate order disposing of two motions filed after the conclusion of the evidentiary hearing. 2010



                                                -29-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 44 of 223




R. 117, 131. The judge explained that he was making one set of findings based upon credible

evidence at the evidentiary hearing and a separate set based upon his own refreshed memory. 2010

R. at 118. He noted further that none of the witnesses who testified had “given any thought to the

events surrounding the voir dire empanelment for a period of eight-and-one-half years . . .” Id. In

answering specific questions posed by the Court, the trial judge made the following key findings:

•      The case generated “keen national interest.” There were so many media representatives
       present that there was “a virtual tent city outside of the courthouse.” The court staff was
       “concerned about a ‘media frenzy.’” 2010 R.121.

•      On Friday, May 18, 2001, the trial judge met with members of the press for a discussion
       regarding the logistics of covering the trial. Mr. Farmer’s recollection that the trial judge told
       the media during that Friday meeting that the courtroom would be closed to them during
       individual voir dire does not comport with the trial judge’s memory. 2010 R. 120-121.

•      No member of the press was present in the courtroom during the two days of individual jury
       voir dire. “Occasionally, a few unidentified persons who may well have been members of
       the public were present.” There is “conflicting credible evidence” as to whether Britt was
       present. Neither of Greineder’s other two children were present. 2010 R.118-119, 125.

•      No court officer or court employee affirmatively denied entry to the courtroom to anyone.
       Nevertheless, members of the press were under the impression that they could not attend the
       individual voir dire. Mr. Farmer “likely communicated that impression to other members of
       the press . . .” 2010 R.120-122.

•      Some of Greineder’s family members heard from a non-court source over the weekend
       preceding the voir dire that they could not or should not attend. If Britt Cavalletto was not
       in the courtroom, it was because of said communication, not because of instructions from
       court personnel or a posted sign. 2010 R.118-119, 125.

•      There was no sign on the door prohibiting entry to the courtroom where individual voir dire
       was being conducted. 2010 R. 123, 125.

•      Greineder’s attorney “assented to the procedure.” While such assent “fit into a strategy of
       selecting a fair jury,” it was not otherwise a matter of trial strategy. 2010 R.124.

•      Greineder did not affirmatively agree or assent to the process. Id.

               3.      The SJC’s decision as to Greineder’s public trial rights.

       Following the trial judge’s second response, the SJC proceeded to consider the claim on its


                                                -30-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 45 of 223




merits, finding that “the posture of the issue before us is similar to the review of a decision on a

motion for new trial.” Greineder, 458 Mass. at 225. The SJC focused its inquiry on whether the

courtroom was officially closed: “The ultimate question of fact before us is whether there was a court

order or other official action that excluded the public (or the media) from the room.” Id. at 222.

The court afforded great deference to the trial judge’s findings, and ruled that the defendant had not

shown that the judge clearly abused his discretion in concluding that: (1) members of the public and

Britt attended portions of the individual voir dire; (2) the defendant failed to show that the public,

including Britt, was excluded from the voir dire “in the constitutional sense”; and (3) the courtroom

was not closed to the media, in the constitutional sense, during the individual voir dire. Id. at 219-

235. As a result, the SJC did not proceed to consider whether the trial court complied with factors

under Waller v. Georgia, 467 U.S. 39, 46 (1984), for closing the court.

       Finally, the SJC ruled, rather perfunctorily, that the trial judge did not abuse his discretion

in denying the motion to recuse himself, finding that Greineder had not shown that the judge was

not fair or impartial, or that his impartiality might reasonably be questioned, and that there was not

evidence of bias or prejudice from an extrajudicial source. Id. at 235.

       B.      Summary of Applicable Law.

               1.      Constitutional right to a public trial.

       The Sixth Amendment to the United States Constitution grants criminal defendants the right

to a public trial, so “that the public may see he is fairly dealt with and not unjustly condemned, and

that the presence of interested spectators may keep his triers keenly alive to a sense of their

responsibility and to the importance of their functions.” Waller, 467 U.S. at 46 (1984) (quoting

Gannett Co., Inc. v. DePasquale, 443 U.S. 368, 380 (1979)). Indeed, the right to public trial is so

fundamental to our system of justice that it is guaranteed to the defendant, the general public, and


                                               -31-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 46 of 223




the press. Presley v. Georgia, 558 U.S. 209, 213 (2010) (right to public trial is protected by the First

and Sixth Amendments to the United States Constitution); Waller, 467 U.S. at 46 (right to public

trial functions for the benefit of the accused and the public); Press-Enterprise Co. v. Superior Court,

464 U.S. 501, 508 (1984) (conducting jury selection in open court permits members of the public

to observe trial proceedings and promotes fairness in the judicial system); In re Oliver, 333 U.S. 257,

270 (1948)(“The knowledge that every criminal trial is subject to contemporaneous review in the

form of public opinion is an effective restraint on possible abuse of judicial power.”); Herring v.

New York, 422 U.S. 853, 856-57 (1975) (describing the Sixth Amendment right, inter alia, to a

“speedy and public trial” as “fundamental”).

        The Supreme Court has been “pristinely clear that the Sixth Amendment right to a public trial

extends to the jury voir dire process.” U.S. v. Agosto-Vega, 617 F.3d 541, 546 (1st Cir. 2010), citing

Presley, 558 U.S. at 212. That is so because “[j]ury selection is the primary means by which a court

may enforce a defendant’s right to be tried by a jury free from ethnic, racial, or political prejudice...or

predisposition about the defendant’s culpability...” Owens v. United States, 483 F.3d 48, 61 (1st Cir.

2007). This requirement applies to the states. Presley, 558 U.S. at 212.

        The Supreme Court has held that a high standard must be met in order for a courtroom to be

closed without violating the Sixth Amendment:

        [T]he party seeking to close the hearing must advance an overriding interest that is
        likely to be prejudiced, the closure must be no broader than necessary to protect that
        interest, the trial court must consider reasonable alternatives to closing the
        proceeding, and it must make findings adequate to support the closure.

Presley, 558 U.S. at 214 (quoting Waller, 467 U.S. at 48). When only a few members of the public

have been excluded from a courtroom, but not the public at large, such exclusion still constitutes a

closure of the courtroom. In Presley, the Court ordered a new trial based on the exclusion of one lone



                                                  -32-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 47 of 223




spectator, the defendant’s uncle, during only one part of the trial proceedings, without any discussion

as to whether excluding one family member of the defendant was a substantial enough exclusion to

rise to a violation of the right to a public trial. 558 U.S. at 209. Under Presley, excluding even one

spectator from one portion of the proceedings does not excuse a court from its obligation under

Waller to make explicit findings and explore all possible alternatives before closure. Id. See also

Richmond Newspapers v. Virginia, 448 U.S. 555 (1980) (“it is only under the most exceptional

circumstances that limited portions of a criminal trial may be closed even partially to the public”);

Constant v. Pennsylvania Dept. of Corrections, 912 F.Supp.2d 279 (W.D. Pa. 2012) (defendant’s

right to public trial violated by exclusions of his wife and general public (but not the media) during

voir dire; habeas relief granted).11

                             2.       De facto closures of the courtroom.

         There is no rule that an unconstitutional courtroom closure can only occur as the result of an

affirmative order by the judge or other official action. To the contrary, the Supreme Court has held

that “[t]rial courts are obligated to take every reasonable measure to accommodate public attendance

at criminal trials.” Presley, 558 U.S. at 215. Accordingly, a courtroom “may be closed in the

constitutional sense without an express judicial order.” Cohen, 456 Mass. at 108. In United States

v. Negron-Sostre, __ F.3d __ (1st Cir. 2015), 2015 WL 3898794, the First Circuit recently held that


         11
                   Prior to Presley, various circuits held that partial courtroom closures required a lower level of scrutiny.
See United States v. Blanche, 149 F.3d 763, 769-770 (8th Cir. 1998) (exclusion of three members of the public
constituted partial closure); Cosentino v. Kelly, 926 F.Supp. 391, 394-395 (S.D.N.Y 1996), aff’d 102 F.3d 71 (2d. Cir.
1996) (exclusion of 4 people - both defendant’s wives and both of one of the defendant’s children - constituted a partial
closure.). Such courts held that a partial closure of a courtroom may still amount to a Sixth Amendment violation. See
e.g. United States v. Smith, 426 F.3d 567, 571 (2d Cir. 2005). However, in “such cases, there must only be a ‘substantial
reason,’ rather than an ‘overriding interest’ justifying the closure. Id. (quoting Woods v. Kuhlmann, 977 F.2d 74, 76 (2d
Cir. 1992)). See also United States v. Sherlock, 962 F.2d 1349, 1357 (9th Cir. 1992); Nieto v. Sullivan, 879 F.2d 743,
753 (10th Cir. 1989); Douglas v. Wainwright, 739 F.2d 531, 533 (11th Cir. 1984); Smith, 426 F.3d at 573-574 (remaining
three factors unchanged and must be satisfied). The First Circuit has repeated that a “substantial” interest, rather than
“compelling” interest, applies in “partial” closure cases, notwithstanding Presley. Bucci v. United States, 662 F.3d 18,
22 (2011).

                                                           -33-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 48 of 223




the district court clearly erred in not finding that a de facto courtroom closure during jury selection

had occurred through application of a longstanding practice, in the absence of any official order:

       In our review of the district court’s findings, we begin by noting that the court did not
       specifically determine that the courtroom was not closed. Instead it found that every
       seat in the courtroom was taken by potential jurors, the courtroom doors were not
       locked, and “the public was not excluded from the courtroom due to a Court order
       or a determination by the deputy marshal in charge.” In finding that neither the
       court nor the deputy marshals had “ordered’ the courtroom to be closed, the
       district court sidestepped the issue of whether the courtroom had in fact been
       closed despite the absence of any such order. However, the issue of whether there
       was an actual courtroom closure is key because, “even if the courtroom was closed
       because of inattention by the judge, court’s have expressed concern in the past where
       a court officer’s unauthorized closure of a courtroom impeded public access.” Owens
       483 F.3d at 63. That the courtroom closure was the result of inaction by the
       judge, rather than an affirmative order, is not dispositive. Id. (Whether the
       closure was intentional or inadvertent is constitutionally irrelevant.”)(quoting Walton
       v. Briley, 361 F.3d 431, 433 (7th Cir. 2004). What matters is that the public was
       barred. Id. (citing Martineau v. Perrin, 601 F.2d 1196, 1200 (1st Cir. 1979), for the
       proposition that the Sixth Amendment is implicated when marshals lock a courtroom
       without authorization).

       Here, the district court, without finding that the courtroom was closed, blamed the
       defense attorneys for “informing the family members that they could not enter.”
       Undeniably, the lawyers were partly at fault.[] However, it would be a misreading
       of the record to suggest that the lawyers were wholly to blame. Indeed, the court’s
       finding ignores CSO Sierra-Medina’s testimony that the general practice in Puerto
       Rico – in other words, the default rule – was to exclude members of the public
       from voir dire unless the attorneys made “arrangements” – that is, made requests in
       contravention of the general practice – with the judge beforehand. And in this case
       Sierra-Medina did not recall taking any actions that day that were contrary to that
       “tendency” to exclude the public. In that way, his testimony serves to corroborate the
       testimony of those family members who said that Sierra-Medina had turned them
       away from the door, an assertion he never denied during the hearing. His testimony
       makes clear that a courtroom closure occurred, accomplished not through locks
       and direct orders, but through the actions of a CSO familiar with the court’s
       regular practice.

       Our review of the record convinces us that the court clearly erred in not finding that
       a complete courtroom closure occurred during jury selection. Moreover, the closure
       was attributable to court personnel at least as much as to attorneys. The court clearly
       erred in finding that the attorneys were wholly responsible for the family members’
       exclusion from voir dire. . .



                                                -34-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 49 of 223




Negron-Sostre, 2015 WL 3898794 *5 (reversing conviction)(emphasis added).

                3.      Violation of the public trial right is a structural error.

        A violation of the right to a public trial is a “structural” error. Negron-Sostre, 2015 WL

3898794 *2, citing Owens, 483 F.3d at 64. Structural rights are “‘basic protection[s]’ whose precise

effects are unmeasurable, but without which a criminal trial cannot reliably serve its function.”

Owens, 483 F.3d at 64 (quoting Sullivan v. Louisiana, 508 U.S. 275, 281 (1993)). Structural errors

“‘defy harmless-error review’ and “require[] automatic reversal of the conviction because they infect

the entire trial process.” Brecht v. Abrahamson, 507 U.S. 619, 629-630 (1993) (quoting Neder v.

United States, 527 U.S. 1, 8 (1999)). Violations of the public trial right are thus not subject to

harmless error review; instead, prejudice is presumed and reversal is automatic. Id. Accord United

States v. Davila, 133 S. Ct. 2139, 2149 (2013) (“‘very limited class of errors’ that trigger automatic

reversal because they undermine the fairness of a criminal proceeding as a whole...include[s]...denial

of a public trial”)(citing United States v. Marcus, 560 U.S. 258, 263 (2010)); Waller, 467 U.S. at 49

n.9; Martineau, 601 F.2d at 1198 (“It is a settled rule of the federal courts that a showing of prejudice

is not necessary for a reversal of a conviction not had in public proceedings”).

                4.      Waiver.

        In Presley, the Court underscored the responsibility of the courts to assure public courtrooms:

        The public has the right to be present whether or not any party has asserted the
        right. In Press-Enterprise I, for instance, neither the defendant nor the prosecution
        requested an open courtroom during juror voir dire proceedings; in fact, both
        specifically argued in favor of keeping the transcript of the proceedings confidential.
        Id., at 503-504, 104 S.Ct. 819. The Court nonetheless found it was error to close the
        courtroom. Id. at 513, 1-4 S.Ct. 819.

558 U.S. at 130 (emphasis added). The Court also stated: “There is no legitimate reason, at least in

the context of juror selection proceedings, to give one who asserts a First Amendment privilege



                                                 -35-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 50 of 223




greater rights to insist on public proceedings than the accused has.” Id. at 203.

        Even though the right to a public trial is a structural right, “a criminal defendant can ‘waive

his constitutional right to a public trial.’ ” Martineau, 601 F.2d at 1199-1200 (quoting Singer v.

United States, 380 U.S. 24, 34-35 (1965)). However, where “a constitutional right is involved, there

ha[s] to be an intentional and knowing waiver.” Martineau, 601 F.2d at 1200 (citing Johnson v.

Zerbst, 304 U.S. 458, 464 (1938); Schneckloth v. Bustamonte, 412 U.S. 218, 237 (1973)) A mere

failure to object by counsel is not sufficient to meet this standard; much more is required. See, e.g.,

Martineau, 601 F.2d at 1197 (where petitioner’s attorney discovered part-way through trial that

courtroom had been locked for several days, made a tactical decision not to seek a mistrial, informed

the petitioner of the reasons for his tactical decision, and informed the petitioner that he could object

on his own, which the petitioner did not do, petitioner had “intentionally and knowingly” waived his

right to a public trial).

        In Walton, 361 F.3d at 433-434, the Seventh Circuit held that a defendant cannot waive his

or her right to the denial of a public trial resulting from the closure of the courtroom by simply

failing to object to the closure. The proceedings in that case continued into the night beyond the

court’s normal closing time, but the public was not permitted to gain entrance into the courthouse

after the doors were locked. Id. at 432. In response to a petition for a writ of habeas corpus pursuant

to § 2254, the lower court noted that the defendant’s counsel had “failed to object to the late trial or

to its effect of barring the public from attending the trial,” and therefore, the right to a public trial

had been waived. Id. at 433. On review, the Seventh Circuit reversed, noting the Supreme Court’s

comment in Schneckloth, 412 U.S. at 241-42 that “[t]he Constitution requires that every effort be

made to see to it that a defendant in a criminal case has not unknowingly relinquished the basic

protections that the Framers thought indispensable to a fair trial. Accordingly, ‘every reasonable


                                                 -36-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 51 of 223




presumption should be indulged against’” waiver of a fundamental right. Walton, 361 F.3d at 433,

quoting Hodges v. Easton, 106 U.S. 408, 412 (1882). The Walton court noted that this “heightened

standard of waiver has been applied to plea agreements, the right against self-incrimination, the right

to a trial, the right to a trial by jury, the right to an attorney, and the right to confront witnesses.” Id.

at 433, citing Brady v. United States, 397 U.S. 742, 748 (1970); Miranda v. Arizona, 384 U.S. 436,

444 (1966); Von Moltke v. Gillies, 332 U.S. 708, 723-26 (1948). The court noted that the common

element is that of all of these rights concern the fairness of the trial. Id.

        The right to a public trial also concerns the right to a fair trial . . . So, like other
        fundamental trial rights, a right to a public trial may be relinquished only upon a
        showing that the defendant knowingly and voluntarily waived such a right. . . and
        cannot be waived by failing to object at trial.

Id. at 434 (emphasis in original). Since the record did not indicate a knowing, voluntary, and

intelligent waiver, the court concluded that Walton had not waived his right to a public trial. Id. In

other words, because Walton did not give an explicit and informed waiver under Zerbst, 304 U.S.

at 464, and Schneckloth, 412 U.S. at 241-242, the court had to reach the issue of closure on its

merits. The mere failure of trial counsel to object to the closure was simply not sufficient to

constitute waiver of such a grave constitutional error. The Second Circuit followed a similar

approach in United States v. Canady, 126 F.3d 352, 359 (2d. Cir. 1997). In determining whether the

defendant waived his right to a public trial, the court stated that a “waiver of a constitutional right

must be voluntary, knowing and intelligent, that is, the act of waiver must be shown to have been

done with awareness of its consequences.” Id. (quoting United States v. Morgan, 51 F.3d 1105, 1110

(2d Cir. 1995), and found that the defendant’s failure to object did not amount to waiver. The Fourth

Circuit, in Hutchins v. Garrison, 724 F.2d 1425, 1431 (4th Cir. 1983), in considering waiver of the

right to a public trial, noted that “a waiver of a constitutional right is effective only if it is ‘an



                                                   -37-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 52 of 223




intentional relinquishment of a known right or privilege.’” (quoting Zerbst, 304 U.S. at 464).12

         Even if trial counsel’s failure to object to a courtroom closure could be deemed to constitute

a waiver, in the absence of a personal, voluntary, knowing, and intelligent waiver by the defendant,

such a waiver must be assessed under the rubric of ineffective assistance of counsel. Every criminal

defendant is guaranteed the effective assistance of counsel by the Sixth and Fourteenth Amendments

to the United States Constitution. Strickland v. Washington, 466 U.S. 668 (1984). Strickland created

a two part test for determining whether a violation of this right has occurred. The first prong seeks

to determine whether counsel’s performance was seriously deficient, as measured against an

objective standard of reasonableness. Wiggins v. Smith, 539 U.S. 510, 521 (2003). However,

deficient performance only amounts to a Constitutional violation if “there is a reasonable probability

that but for counsel’s unprofessional errors, the result of the proceeding would have been different.”

Strickland, 466 U.S. at 694. However, when the deficient performance resulted in the denial of a

structural right, prejudice is presumed, and this element is automatically satisfied. See e.g. Johnson

v. Sherry, 586 F.3d 439 (6th Cir. 2009)(ordering evidentiary hearing on ineffective assistance of

counsel claim for failure to object to courtroom closure, “if the closure were unjustified or broader

than necessary, prejudice would be presumed”). See also Brecht, 507 U.S. at 629-630.

                   5.       Due process right to a fair and impartial tribunal.

         A defendant in a criminal case is entitled “to an impartial and disinterested tribunal.”

Marshall v. Jerrico, Inc., 446 U.S. 238 (1980). “[A] fair tribunal is a basic requirement of due

process.” In re Murchison, 349 U.S. 133, 136 (1955). “Fairness of course requires an absence of

         12
                    See also United States v. Hershey, 20 M.J. 433, 437 (U.S. Ct. Military Appeals 1985)(waiver of public
trial right must be “intentional and knowing,” citing Zerbst); State v. Wise, 288 P.3d 1113 (Wash. 2012)(defendant’s
failure to object to moving part of voir dire proceedings into chambers was not sufficient to waive his public trial right);
State v. Frawley, 334 P.3d 1022 (Wash. 2014)(defendant did not knowingly, voluntarily, and intelligently waive right
to public trial); State v. Strode, 217 P.3d 310, 315 (Wash. 2009) (public trial right can be waived only by knowing,
intelligent, and voluntary waiver).

                                                          -38-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 53 of 223




actual bias in the trial of cases. But our system of law has always endeavored to prevent even the

probability of unfairness.” Id. See also Mistretta v. United States, 488 U.S. 361, 407 (1989) (“The

legitimacy of the Judicial Branch ultimately depends on its reputation for impartiality and

nonpartisanship.”) This requirement of neutrality “safeguards the two central concerns of procedural

due process, the prevention of unjustified or mistaken deprivations and the promotion of

participation and dialogue by affected individuals in the decisionmaking process.” Id. (citing Carey

v. Piphus, 435 U.S. 247, 259-262, 266-267 (1978)). “The neutrality requirement helps to guarantee

that life, liberty, or property will not be taken on the basis of an erroneous or distorted conception

of the facts or the law.” Id. (citing Matthews v. Eldridge, 424 U.S. 319, 344 (1976)).

       The Constitution requires recusal where “the probability of actual bias on the part of the

judge or decisionmaker is too high to be constitutionally tolerable.” Withrow v. Larkin, 421 U.S. 35,

47 (1975). The reviewing court’s inquiry is objective. Caperton v. A.T. Massey Coal Co., 556 U.S.

868, 881 (2009). The reviewing court does not ask whether the judge actually harbored subjective

bias; rather, it asks whether the average judge in his or her position was likely to be neutral or

whether there existed an unconstitutional potential for bias. Id. “Every procedure which would offer

a possible temptation to the average ... judge to forget the burden of proof required to convict the

defendant, or which might lead him not to hold the balance nice, clear, and true between the State

and the accused, denies the [accused] due process of law.” Tumey v. Ohio, 273 U.S. 510, 532 (1927).

       A judge is required to recuse himself when he is biased or prejudiced in such a way that he

cannot impartially judge the proceedings before him. See, e.g., Liteky v. United States, 510 U.S. 540

(1994). Bias derived from an extrajudicial source “is not a necessary condition for ‘bias or prejudice’

recusal, since predispositions developed during the course of a trial will sometimes (albeit rarely)

suffice.” Liteky, 510 U.S. at 554. See also Belue v. Leventhal, 640 F.3d 567, 573 (4th Cir. 2011). A


                                                -39-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 54 of 223




direct pecuniary interest in convicting a defendant would obviously require recusal, Tumey, 273 U.S.

at 523, as would other less direct financial interests. See Gibson v. Berryhill, 411 U.S. 564, 579

(1973). However, non-pecuniary interests may also require recusal. A judge must withdraw where

he or she acts as part of the accusatory process, Murchison, 249 U.S. at 137, “becomes embroiled

in a running, bitter controversy” with one of the litigants, Mayberry, 400 U.S. at 465, or becomes

“so enmeshed in matters involving [a litigant] as to make it appropriate for another judge to sit,”

Johnson v. Mississippi, 403 U.S. 212, 215-16 (1971). See, e.g., Harrison v. McBride, 428 F.3d 652

(7th Cir. 2005) (habeas relief granted on judicial bias claim where judge “abandoned the role of ‘an

impartial officer directing the judicial process of truth seeking and invaded the role of an

advocate’”)(internal citations omitted). In addition, “bias can be shown by a finding that the

adjudicator prejudged the issues.” Yamaha Motor Corp. v. Riney, 21 F.3d 793, 798 (8th Cir. 1994)

(citing Gibson, 411 U.S. at 577). See also Franklin v. McCaughtry, 398 F.3d 955, 962 (7th Cir. 2005)

(“when the judge has prejudged the facts or the outcome of the dispute before her... the

decisionmaker ‘cannot render a decision that comports with due process.’”) (citation omitted). “The

test is whether the adjudicator’s situation is one ‘which might lead him not to hold the balance

[between the parties] nice, clear and true.” Id. (quoting Tumey, 273 U.S. at 532).

       In Hurles v. Ryan, 752 F.3d 768, 789-90 (9th Cir. 2014), the Ninth Circuit found in a habeas

case that where a trial judge “found facts based on her untested memory of the events, putting

material issues of fact into dispute,” and “in effect...offered testimony,” the case presented “an

especially troubling example of defective fact-finding because the facts [the judge] ‘found’ involved

her own conduct, and she based those ‘findings’ on her untested memory and understanding of

events.” Id. See also Buffalo v. Sunn, 854 F.2d 1158, 1165 (9th Cir. 1988)(finding error when the

court relied on “personal knowledge” to resolve disputed issue of fact), cf. Murchison, 349 U.S. at


                                               -40-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 55 of 223




138 (“Thus the judge whom due process requires to be impartial in weighing the evidence presented

to him, called on his own personal knowledge and impression of what had occurred in the grand jury

room and his judgment was based in part on this impression, the accuracy of which could not be

tested by adequate cross-examination.”).

               6.       Standard of review under AEDPA. 13

       The Antiterrorism and Effective Death Penalty Act [AEDPA] provides:

       An application for a writ of habeas corpus on behalf of a person in custody pursuant
       to the judgment of a State court shall not be granted with respect to any claim that
       was adjudicated on the merits in State court proceedings unless the adjudication of
       the claim –

       (1)     resulted in a decision that was contrary to, or involved an unreasonable
               application of, clearly established Federal law, as determined by the Supreme
               Court of the United States; or

       (2)     resulted in a decision that was based on an unreasonable determination of the
               facts in light of the evidence presented in the State court proceeding.

28 U.S.C. § 2254(d).

       With regard to the first clause of Section 2254(d)(1), as the Supreme Court has explained,

a state court decision is considered contrary to federal law if the state court “applies a rule that

contradicts the governing law set forth” by the Supreme Court or “confronts a set of facts that are

materially indistinguishable from a decision of [the Supreme Court] and nevertheless arrives at a

result different from [its] precedent.” Williams v. Taylor, 529 U.S. 362, 405-406 (2000). Accord Bell

v. Cone, 535 U.S. 685, 694-698 (2002); Hensley v. Roden, 755 F.3d 724, 731 (1st Cir. 2014). The

“contrary to” prong “does not apply to a ‘run-of-the-mill state court decision applying the correct

legal rule from [the Supreme Court’s] cases to the facts of a prisoner’s case.” Hurtado v. Tucker,

245 F.3d 7, 15 (1st Cir. 2001) (quoting Williams, 529 U.S. at 406).


       13
               This section relates to all of the legal arguments set forth in this memorandum.

                                                    -41-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 56 of 223




       With regard to the second clause of Section 2254(d)(1), the application of federal law is

unreasonable where “the state court identifies the correct governing legal principle from [the

Supreme] Court’s decisions but unreasonably applies that principle to the facts of the prisoner’s

case.” Williams, 529 U.S. at 413. Accord Sanchez v. Roden, 753 F.3d 279, 299 (1st Cir. 2014). When

assessing unreasonableness, “a federal habeas court may not issue the writ simply because it

concludes in its independent judgment that the relevant state court decision applied clearly

established federal law erroneously or incorrectly. Rather, that application must also be

unreasonable.” Id. at 411. An “unreasonable application is different from an incorrect one.” Bell,

535 U.S. at 694. See White v. Woodall, 134 S.Ct. 1697 (2014) (the application must be “objectively

unreasonable,” not merely wrong; even ‘clear error’ will not suffice,” citing Harrington v. Richter,

562 U.S. 86, 103 (2011)). A “habeas petitioner must do more than merely identify an incorrect

result.” Jackson v. Coulter, 337 F.3d 74, 81 (1st Cir. 2003). In order to reach the level of

“unreasonable,” “some increment of incorrectness beyond error is required.” McCambridge v. Hall,

303 F.3d 24, 36 (1st Cir. 2002) (en banc). This “increment need not necessarily be great, but it must

be great enough to make the decision unreasonable in the independent and objective judgment of the

federal court.” Id. Accord Morgan v. Dickhaut, 677 F.3d 39, 46-47 (1st Cir. 2012).

       Section 2254(d)(2) authorizes habeas relief where a state court’s decision is based on an

“unreasonable determination” of the factual record. In contrast, 28 U.S.C. § 2254(e)(1) provides:

       In a proceeding instituted by an application for writ of habeas corpus by a person in
       custody pursuant to the judgment of a State court, a determination of a factual issue
       made by a State court shall be presumed to be correct. The applicant shall have the
       burden of rebutting the presumption of correctness by clear and convincing evidence.

Id. There is some dispute as to the circumstances under which the clear and convincing evidence

standard set forth in § 2254(e)(1) applies to habeas review under § 2254(d)(2). The Supreme Court



                                               -42-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 57 of 223




has never squarely addressed the relationship between the two provisions. In Wood v. Allen, 558

U.S. 290 (2010), the Supreme Court granted certiorari for the express purpose of addressing that

relationship, but ultimately declined to resolve the issue. In expressly reserving the question for the

future, the Court explained that any “statements we have made [in prior opinions] about the

relationship between §§ 2254(d)(2) and (e)(1)” should not be viewed as dispositive because these

prior “cases did not squarely present the issue.” See also Rice v. Collins, 546 U.S. 333, 339 (2006)

(declining to resolve the issue); Brumfield v. Cain, 135 S.Ct. 2269, 2282 (2015)(same). In the First

Circuit, the relationship between § 2254(d)(2) and § 2254(e)(1) remains unclear. See Robidoux v.

O'Brien, 643 F.3d 334, 338 n.3 (1st Cir. 2011) (“We have previously declined to delve into the

relationship between subsections (d)(2) and (e)(1), ...as has the Supreme Court,... and again have no

need to do so.”)(internal citations omitted).14

         A fair, persuasive, and coherent reading of the two provisions together was set forth in Taylor

v. Maddox, 366 F.3d 992, 999-1001 (9th Cir. 2004), ruling that § 2254(d)(2) deals with cases in

which no additional evidence is introduced in federal court and a federal habeas court's analysis is

necessarily limited to an examination of what a state court did with the evidence in the existing state

record. Section 2254(e)(1), on the other hand, deals with cases where extrinsic evidence is

introduced for the first time in federal court. Id. at 1000. “Significantly, the presumption of

correctness and the clear-and-convincing standard of proof only come into play once the state court's

         14
                   See also Forsyth v. Spencer, 595 F.3d 81, 85 n.3 (1st Cir. 2010) (“A different provision of the statute
requires clear and convincing evidence from the petitioner in order to defeat a state court factual finding, 28 U.S.C. §
2254(e)(1), but we need not consider whether this standard applies....”). The First Circuit has declined to definitively
resolve the relationship between these two provisions, but stated (prior to the Supreme Court’s 2010 Wood v. Allen
decision) that it would “follow the lead in Miller-El” See Teti v. Bender, 507 F.3d 50, 58 (1st Cir. 2007) (choosing to
apply the clear and convincing evidence standard in § 2254(e)(1) to the state court’s individual factual findings and
applying § 2254(d)(2) to the final decision reached by the state court). See Miller-El v. Cockrell, 537 U.S. 322, 341-42
(2003)(“AEDPA does not require petitioner to prove that a decision is objectively unreasonable by clear and convincing
evidence”....“The clear and convincing evidence standard is found in § 2254(e)(1), but that subsection pertains only to
state-court determinations of factual issues, rather than decisions. Subsection (d)(2) contains the unreasonable
requirement and applies to the granting of habeas relief rather than to the granting of a COA.”)

                                                         -43-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 58 of 223




fact-findings survive any intrinsic challenge; they do not apply to a challenge that is governed by the

deference implicit in the ‘unreasonable determination’ standard of section 2254(d)(2).” Id. See

Hertz, R. and Liebman, J., Federal Habeas Corpus Practice and Procedure, Sixth Edition § 20.2[c]

(Matthew Bender), pp. 1047-1048.

        Deference to state court fact-findings “does not require that the federal court place blinders

on its eyes before conducting habeas corpus review of a state court record.” Moore v. Johnson, 194

F.3d 586, 602-604 (5th Cir. 1999). The Supreme Court has stated that AEDPA deference “does not

imply abandonment or abdication of judicial review.” Miller-El v. Cockrell, 537 U.S. 322, 340

(2003) (“federal court can disagree with a state court’s credibility determination and, when guided

by AEDPA, conclude the decision was unreasonable.”). See, Brumfield v. Cain, 135 S.Ct. 2269

(2015) (state court’s findings that prisoner’s IQ score of 75 demonstrated that he could not possess

sub-average intelligence and that record failed to raise any question as to his impairment in adaptive

skills were unreasonable); Wiggins v. Smith, 539 U.S. 510, 527 (2003) (state court’s finding

regarding the content of social service records refuted by the Court’s independent examination of

the records and was “an unreasonable determination of the facts in light of the evidence presented

in the State court proceeding.”).15 In sum, if the state court’s decision was based on an unreasonable

determination of the facts, it is not entitled to deference.

        The provisions of AEDPA ordinarily require deference to a state court’s legal and factual

determinations. However, AEDPA deference is only due claims “adjudicated on the merits” in state

court. 28 U.S.C. §2254(d). The Supreme Court in Harrington, 131 S.Ct. at 780 set up a rebuttable

presumption: “When a federal claim has been presented to a state court and the state court has denied


        15
                   See also Nara v. Frank, 488 F.3d 187, 203 (3rd Cir. 2007) (petitioner rebutted the presumption of
correctness as to trial court’s competency determination); Mastracchio v. Vose, 274 F.3d 590, 598-99 (1st Cir. 2001)
(petitioner demonstrated clear and convincing evidence to rebut state factfindings).

                                                      -44-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 59 of 223




relief, it may be presumed that the state court adjudicated the claim on the merits in the absence of

any indication or state law procedural principles to the contrary.” Id. at 784-85. Harrington was

subsequently refined by the Supreme Court’s decision in Johnson v. Williams, 133 S.Ct. 1088, 1091

(2013), which held (in a case not involving a summary denial) that “[w]hen a state court rejects a

federal claim without expressly addressing that claim, a federal habeas court must presume that the

federal claim was adjudicated on the merits – but that presumption can in some limited

circumstances be rebutted.” Id. at 1096. The Court in Williams held that a number of factors in the

case supported the presumption that the federal claims had been adjudicated: the close similarity

between the state law and Sixth Amendment claims; the state appeals court’s reliance on Supreme

Court precedent, as well as state case law which discussed Supreme Court precedent; and the fact

that the defendant treated her state and federal claims as interchangeable. Id. at 1098-99. The

presumption must be rebuttable, the Court cautioned, because “an irrebuttable presumption that state

court never overlook federal claims would occasionally miss the mark.” Id. at 1097.16

         If a constitutional trial error has been established, the habeas court must determine whether

that error was “harmless.” The Supreme Court has made clear that a habeas petitioner’s claims of

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                    There have been a number of cases where this presumption has been rebutted. See e.g. McLellan v.
Rapelje, 703 F.3d 344, 348-351 (6th Cir. 2013)(Harrington’s presumption did not apply because state post-conviction
trial court had “explicitly’ rejected claim on procedural grounds and state court of appeals’ reviewed only application
and lower court order, not trial record, and thus “only reasonable inference to be drawn” is that court of appeals could
not have denied petitioner’s claim on the merits); Wooley v. Rednour, 702 F,3d 411, 421-422 (7th Cir. 2012) (Harrington
presumption did not apply to state court’s denial of Strickland on performance prong, where state court “explicitly
considered Strickland’s prejudice prong in isolation, deeming it ‘unnecessary’ to address any other issues raised by the
State regarding [trial] court’s findings on ineffectiveness,’” and “[i]t would be perverse, to say the least, if AEDPA
deference required this court to disregard a state’s expressed rationale for a decision”); Harris v. Thompson, 698 F.3d
609, 623-25 (7th Cir. 2012) (“Richter presumption and AEDPA deference...do not apply” because “we have ample reason
to think” that “appellate court’s silence” on claim of violation of right to present defense stemmed from “the very reasons
the state court actually gave, which were all based on state evidence law, not federal constitutional law”; “AEDPA
deference” does not “apply when the state court’s decision simply overlooked the constitutional issue, as happened
here.”); Balsavage v. Wetzel, 936 F.Supp.2d 505, 514-15 (E.D. Pa. 2013) (Petitioner rebutted the presumption that his
judicial vindictiveness claim had been adjudicated on the merits because “[i]n its decision, the Superior Court never
referred to any opinion of the United States Supreme Court, or any other federal court, nor did it refer to any state or
federal constitutional claims.” Instead, its entire decision revolved around “a state law claim that the trial court abused
its discretion.”), affirmed in part and vacated in part on other grounds in 545 Fed.Appx. 151 (2013).

                                                         -45-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 60 of 223




constitutional error in a state criminal trial are reviewed under the Brecht standard. Fry v. Pliler, 551

U.S. 112, 121-122 (2007), citing Brecht, 507 U.S. at 638. In Brecht, the Supreme Court found that

to obtain habeas corpus relief, a petitioner alleging a constitutional error must establish that the error

“had substantial and injurious effect or influence in determining the jury’s verdict.” 507 U.S. at 631;

see Sanna v. DiPaulo, 265 F.3d 1, 14 (1st Cir. 2001).17 When the reviewing court “is in grave doubt

about whether a trial error of federal law had ‘substantial and injurious effect or influence in

determining the jury’s verdict,’ that error is not harmless. And, the petitioner must win.” O’Neal v.

McAninch, 513 U.S. 432, 436 (1995).

         C.        Application of Law to Facts.

                   1.       Greineder was deprived of a fair and impartial tribunal.

         There can be no doubt that the trial judge prejudged the issues and was thereby incapable of

impartially weighing the testimony given at the evidentiary hearing. His prejudgment is evidenced

by his First Response to the Order of the SJC, in which he made findings of fact before considering

anything other than his own untested memory.18 These findings read, in pertinent part:

         It is my memory that there were a few other persons seated on a spectator bench
         during at least portions of the individual voir dire proceedings. My memory is that
         one or more members of the defendant’s family were present. I have a memory of a
         daughter sitting in the courtroom during the voir dire proceedings. . . .No [there was
         not a sign on the door to Room 8 stating that entry was not permitted]. . . . To my
         knowledge, the court officers and other court staff denied no one entry.


         17
                     Fry, 551 U.S. at 119, established that the Brecht standard is harder to satisfy than the standard under
Mitchell v. Esparza, 540 U.S. 12, 18-19 (2003) (“when a state court determines that a constitutional violation is harmless
[under Chapman v. California, 386 U.S. 18, 24 (1967)] a federal court may not award habeas relief under §2254 unless
the harmlessness determination itself was unreasonable”), therefore the Brecht standard “obviously subsumes” the
Esparza standard, and the federal courts need not formally apply both tests. In Connolly v. Roden, 752 F.3d 505, 511
(1st Cir. 2014), the First Circuit held that a federal court on habeas review may choose between two equally valid options:
the court may apply Esparza and then move on to the Brecht test only if the state court’s decision was an unreasonable
application of Chapman. Alternatively, the court may begin with the Brecht test directly. Id.

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                 And further, as demonstrated herein, there can be no doubt that these findings of fact influenced the
testimony of some of the Commonwealth’s witnesses, who had read his response prior to testifying.

                                                          -46-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 61 of 223




First Response to the Order of the SJC at 3, 4, 3/10 S.A. 20-21. Even if the trial judge subjectively

believed that he could somehow set aside his prior findings of fact and objectively evaluate the

conflicting evidence, such a subjective belief is insufficient. See Yamaha Motor Corp., 21 F.3d at

798 (“bias can be shown by a finding that the adjudicator prejudged the issues”; Franklin, 398 F.3d

at 962 (“when the judge has prejudged the facts or the outcome of the dispute before her... the

decisionmaker ‘cannot render a decision that comports with due process.’”); Oquendo-Rivera, 586

F.3d at 69 (“Where the judge is the decider of the facts, it is hard to ask him to put aside a belief

sincerely arrived at and look at the evidence through fresh eyes.”).

        Moreover, over Greineder’s objection, Judge Chernoff here presided over an evidentiary

hearing about a matter as to which he was also a percipient witness. Indeed, the prosecutor argued

that the defense position was “contradicted, your Honor, by six percipient witnesses and your

Honor as well makes seven.” Tr. (2/1/10) p. 116 (emphasis added). Although defense counsel was

permitted to cross-examine each of the other eleven witnesses called by the Commonwealth at the

evidentiary hearing Tr. (1/14/10), pp. 207-259, Tr. (1/15/10), pp. 4-84; Tr. (2/1/10), pp. 4-99, defense

counsel was not permitted to cross-examine Judge Chernoff, the most important percipient witness

in the case, regarding his potential bias, the quality of his memory, or the accuracy of his

observations, before Judge Chernoff himself made an adverse ruling regarding petitioner’s claim.

As in Hurles, 752 F.3d at 789-90, the trial judge here “found facts based on [his] untested memory

of the events, putting material issues of fact into dispute” and “in effect...offered testimony.” Just

like Hurles, this case presents “an especially troubling example of defective fact-finding because the

facts [the judge] ‘found’ involved [his] own conduct, and [he] based those ‘findings’ [at least in part]

on [his] untested memory and understanding of events.” Id. See also Buffalo, 854 F.2d at 1165

(finding error when the court relied on “personal knowledge” to resolve disputed issue of fact), cf.


                                                -47-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 62 of 223




Murchison, 349 U.S. at 138 (“Thus the judge whom due process requires to be impartial in weighing

the evidence presented to him, called on his own personal knowledge and impression of what had

occurred in the grand jury room and his judgment was based in part on this impression, the accuracy

of which could not be tested by adequate cross-examination.”). Cf. Brown v. Lynaugh, 843 F.2d 849,

850-851 (5th Cir. 1988)(defendant denied fair trial when prosecution established essential elements

of escape charge through testimony of the presiding judge; “It is difficult to see how the neutral role

of the court could be more compromised”).

       The blatant inappropriateness of Judge Chernoff’s dual role was highlighted at the

evidentiary hearing during the awkward testimony of Helen Litsas, Judge Chernoff’s law clerk

during Greineder’s trial. When asked on cross-examination when she first learned that Greineder

had raised an issue regarding courtroom closure, she was reluctant to answer, stating:

        I received a phone call, I believe - I struggle in answering that question because I still
       maintain an attorney/client or a confidentiality commitment to Judge Chernoff and
       to the superior court in terms of what I can and cannot answer. So if I disclose – I
       just caution you, I certainly want to tread lightly in that area.

Tr. (2/1/10) p. 18. After defense counsel requested that the witness be instructed to answer the

question, Judge Chernoff instructed the witness: “You may answer the question.” Ms. Litsas then

answered: “I received a telephone call from Judge Chernoff.” Tr. (2/1/10) p. 19. She went on, after

further being instructed by Judge Chernoff to answer:

       My memory is that Judge Chernoff told me that there was this issue that had been
       raised and he was informing me that I may – I may be contacted regarding this issue
       by one of the attorneys involved. . . . He asked me my memory of what I recall during
       the voir dire process. . . . I shared [my memories] with him.

Tr. (2/1/10) p. 19-20. Judge Chernoff “very minimally” shared his memories with her. Id. However,

she was later provided with a copy of Judge Chernoff’s First Response, although she did not recall

whether that was at her request or sua sponte. She then had a second phone call with Judge Chernoff:


                                                 -48-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 63 of 223




       What [the second telephone call] entailed was whether it was appropriate for me to
       speak to defense counsel about – because I believe you had called me and I did not
       feel it was appropriate for me to conduct an ex parte conversation, since I had an
       obligation that remained as a member of the court and as the law clerk to Judge
       Chernoff, and my interest is in remaining impartial because I am a member of – for
       purposes of this proceeding, I remain a member of the court. And so I contacted
       Judge Chernoff to inform him of this development and to ask his advice in terms
       of what he would like me to do. Would he like me to call you back or contact the
       attorney general’s office regarding this proceeding for the – general counsel for the
       superior court. And that is what I did.

Tr. (2/1/10) p. 21-22 (emphasis added).

       Thus, it is clear that Judge Chernoff contacted a potential witness who had a “confidentiality

commitment” to him and over whom he had a profound supervisory relationship, interviewed that

witness, “minimally” shared his own memories with that witness verbally, provided that witness with

a detailed typewritten memorandum regarding his specific recollections, and then advised her as to

her response to a defense request for information. As in Harrison, 428 F.3d at 670, the judge here

“invaded the role of an advocate’” and became “personally embroiled with the petitioner.” Cf.

Anderson v. Warden, 696 F.2d 296, 299 (4th Cir. 1982)(trial judge’s conduct in successfully pressing

two key witnesses to change their testimony violated defendant’s due process rights). Where a judge

becomes “so enmeshed in matters involving [a litigant] as to make it appropriate for another judge

to sit,” the judge should be recused. Johnson, 403 U.S. at 215-16. “The test is whether the

adjudicator’s situation is one ‘which might lead him not to hold the balance [between the parties]

nice, clear and true.” Id. (quoting Tumey, 273 U.S. at 532). An objective observer would here

reasonably question the trial judge’s impartiality, therefore recusal was mandatory.

       Having refused to recuse himself, the trial judge later prepared his second response in a

“hybrid,” bifurcated format. For each question posed, he answered in two ways: one “based on the

evidence from the evidentiary hearing alone” and the second “[b]ased on the trial judge’s present



                                              -49-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 64 of 223




memory.” That is, he tried to separate his dual roles of percipient witness and fact-finder. This was

a creative solution to a knotty problem, but a deeply flawed one. Essentially, the judge’s present

memory was a reflection of his memories from the initial response, as modified by having presided

over the evidentiary hearing. Yet permitting a witness to change his testimony after hearing the

testimony of other witnesses is generally deemed improper. The trial judge candidly admitted that

the testimony of other witnesses at the hearing “served to refresh my memory . . . .” 2010 R. at 118.

He was thus, effectively, the only unsequestered witness. Setting out his findings in this unusual way

only served to emphasize the conflict inherent in his presiding over this hearing. To suppose that

even an experienced trial judge with the best of intentions could perform the mental gymnastics

required to avoid tainting the fact-finding process would ignore basic human nature. Having set forth

his own recollections in detail as a witness, the trial judge should have recused himself from

conducting the evidentiary hearing and from making findings of fact. His failure to do so denied

Greineder’s constitutional right to a fair and impartial tribunal in deciding his public trial claim.

               2.      A federal evidentiary hearing as to the public trial claim is warranted
                       due to the denial of a fair and impartial tribunal in deciding the public
                       trial claim.

       There can be no doubt that given the trial judge’s partiality, as in Hurles, 752 F.3d at 789-90,

“the fact-finding procedure employed by the state court was not adequate to afford a full and fair

hearing,” and thus, a federal hearing is required. Townsend v. Sain, 372 U.S.293, 313 (1992).

Pursuant to Rule 8 of the Rules Governing § 2254 Cases, “the judge must review the answer, any

transcripts and records of state-court proceedings, and any materials submitted under Rule 7 to

determine whether an evidentiary hearing is warranted.” Whether an evidentiary hearing must be

held is governed by Townsend, 372 U.S. at 312, as modified by Keeney v. Tomayo-Reyes, 504 U.S.

1 (1992), and as further modified by 28 U.S.C. § 2254(e)(2). The court in Townsend, 372 U.S. at


                                                -50-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 65 of 223




312, held that “the federal court in habeas corpus must hold an evidentiary hearing if the habeas

applicant did not receive a full and fair evidentiary hearing in a state court.” In further elaborating

on this principle, the Court held that there are six circumstances in which a federal court must hold

an evidentiary hearing, including, inter alia,19 when “the fact-finding procedure employed by the

state court was not adequate to afford a full and fair hearing[, and] for any reason it appears that the

state trier of fact did not afford the habeas applicant a full and fair fact hearing.” Id. at 313.20

         When a habeas petitioner has raised concerns with judicial bias and impartiality relating to


         19
                   The six circumstances in which a hearing on habeas corpus is mandatory are: “If (1) the merits of the
factual dispute were not resolved in the state hearing; (2) the state factual determination is not fairly supported by the
record as a whole; (3) the fact-finding procedure employed by the state court was not adequate to afford a full and fair
hearing; (4) there is a substantial allegation of newly discovered evidence; (5) the material facts were not adequately
developed at the state court hearing; or (6) for any reason it appears that the state trier of fact did not afford the habeas
applicant a full and fair hearing.” 372 U.S. at 313.
         20
                    The court in Keeney, 504 U.S. at 4-6, modified this test only with regards to the fifth circumstance
requiring an evidentiary hearing when “the material facts were not adequately developed at the state court hearing.” In
that respect the court held that when the state court’s failure to develop material facts was attributable to either the
defendant or their counsel, it constitutes a procedural default that eliminates the right to a mandatory federal hearing,
unless the petitioner can establish “cause” and “prejudice” or that a denial to hold a hearing will result in a “fundamental
miscarriage of justice.” Id. at 11. This standard was further modified by 28 U.S.C. § 2254(e)(2), which provides:
          If the applicant has failed to develop the factual basis of the claim in State court proceedings, the court
          shall not hold an evidentiary hearing on the claim unless the applicant shows that –
          (A) the claim relies on-
                    (i) a new rule of constitutional law, made retroactive to cases on collateral review
                    by the Supreme Court, that was previously unavailable; or
                    (ii) a factual predicate that could not have been discovered through the exercise of
                    due diligence; and
          (B) the facts underlying the claim would be sufficient to establish by clear and convincing evidence
          that but for the constitutional error, no reasonable factfinder would have found the applicant guilty of
          the underlying offense.
In interpreting this provision, the Supreme Court has held that “a failure to develop the factual basis of a claim is not
established unless there is a lack of diligence, or some greater fault, attributable to the prisoner or prisoner’s counsel.”
Williams v. Taylor, 529 U.S. 420, 432 (2000). AEDPA’s 28 U.S.C. § 2254(e)(2) thus supercedes Tamayo-Reyes and
the portion of Townsend that Tomayo-Reyes itself had superceded respecting cases where petitioner neglected to meet
his or her responsibility to develop the relevant facts in state court. As such, Townsend remains good law with regards
to the other five situations calling for a mandatory hearing, and neither the modification in Tomayo-Reyes nor in the
AEDPA has any bearing on whether or not a hearing is required in the case at bar. Therefore, when “Section 2254(e)(2)
does not apply...it is then necessary to evaluate the request for an evidentiary hearing under pre-AEDPA standards.”
Matheney v. Anderson, 253 F.3d 1025, 1039 (7th Cir. 2001), cert. den. 535 U.S. 1030 (2002). See also Murphy v.
Johnson, 205 F.3d 809 (5th Cir. 2000) (when § 2254(e)(2) does not apply, assessment of petitioner’s entitlement to
federal hearing is governed by rules established in “[o]ur pre-AEDPA jurisprudence”); Wolfe v. Johnson, 565 F.3d 140,
168-169 (4th Cir. 2009) (If “§ 2254(e)(2) does not proscribe an evidentiary hearing, the court must then assess whether
[the petitioner] is entitled to one” under Townsend.).

                                                          -51-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 66 of 223




the findings of fact in the state court proceeding below such that the fact-finding procedure was not

adequate to afford a full and fair hearing, the habeas court must conduct an evidentiary hearing and

make independent findings of fact. Hurles, 752 F.3d at 791-792. In Hurles, the defendant moved for

the state trial judge to recuse herself from conducting the trial due to allegations of judicial bias. This

motion was denied, and on a petition for habeas corpus the District Court denied the claim without

holding an evidentiary hearing. On review, the Ninth Circuit noted that “[t]his case presents an

especially troubling example of defective fact-finding because the facts [the judge] ‘found’ involved

her own conduct, and she based those ‘findings’ on her untested memory and understanding of the

events.” Id. at 791. Because of these “flaws in the state court’s fact-finding process,” the court

concluded that the “decision resulted in an ‘unreasonable determination of the facts’ and is not

entitled to a presumption of correctness.” Id. Instead, the court remanded for an evidentiary hearing

because the petitioner had established “his entitlement to an evidentiary hearing pursuant to

[Townsend], and [that] the allegations, if true, would entitle him to relief.” Id. See also Rose v.

Mitchell, 443 U.S. 545, 563 (1979) (When there are concerns with judicial integrity relating to the

state court findings of fact, “independent federal habeas review of the allegation that federal rights

have been transgressed” must be undergone.); Murchu v. United States, 926 F.2d 50, 57 (1st Cir.

1991) (in reviewing trial judge’s summary dismissal of a claim of judicial vindictiveness based on

the trial judge’s own conduct, the court ruled that in order “to avoid any appearance of impropriety,

the matter should be decided by another factfinder” in a new hearing.). Accordingly, an evidentiary

hearing on Greineder’s public trial claim is warranted.

                3.      Alternatively, de novo review of the record by the federal court is
                        required because the state court never addressed the Waller factors.

        Even apart from Greineder’s claim that the trial judge was not a fair and impartial



                                                  -52-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 67 of 223




decisionmaker as to his public trial claim, he is entitled to de novo review of his claim due to the

failure of the state court to consider compliance with the Waller factors. As in Negron-Sostre, 2015

WL 3898794 at *6, “given the peculiar posture of this case – where no party affirmatively sought

to close the courtroom, and where the [trial court] erroneously found that there was no closure – the

Waller test was never applied.” Similarly, here, due to the state court’s unreasonable factual finding

that the courtroom was not closed, the Waller test was never applied. Accordingly, Greineder’s

federal constitutional claim – that the courtroom closure violated Waller and its progeny -- was

never adjudicated on the merits. See, e.g., Cone v. Bell, 556 U.S. 449, 472 (2009) (“Because the

Tennessee courts did not reach the merits of Cone’s Brady claim...the claim is reviewed de novo.”);

Johnson, 133 S.Ct. at 1090.

               4.      Under any standard of review, Greineder is entitled to habeas relief due
                       to violation of his constitutional right to a public trial.

       Even under AEDPA’s deferential standard of review, the SJC decision denying Greineder’s

public trial claim was an unreasonable application of clearly established federal law under Waller,

467 U.S. at 46 (6th Amendment expressly grants defendants right to public trial); Press-Enterprise

Co., 464 U.S. at 508 (conducting jury selection in open court permits members of the public to

observe trial proceedings and promotes fairness in the judicial system), and Presley, 558 U.S. at 214

(“trial courts are obligated to take every reasonable measure to accommodate public attendance at

criminal trials”). In ruling that the courtroom was not closed, the SJC claimed that the presence or

absence of the public during jury voir dire was insignificant, focusing instead solely on whether there

had been an “official” exclusion by stating: “The ultimate question of fact before us is whether

there was a court order or other official action that excluded the public (or the media) from the

room.” Greineder, 458 Mass. at 226 (emphasis added). That very formulation constituted an



                                                -53-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 68 of 223




unreasonable application of the principles of Waller, Press-Enterprise, and Presley to the facts of

this case. As set forth in Negron-Sostre, a courtroom may be closed “despite the absence of any such

order,” “due to inattention by the judge” “inadvertent[ly],” “accomplished not through locks and

direct orders” but rather via “default rule” and the court’s “general practice,” “attributable to court

personnel at least as much as to attorneys.” 2015 WL 3898794, * 5-6. “We reiterate, the ultimate

responsibility of avoiding ‘even the appearance that our nation’s courtrooms are closed or

inaccessible to the public’ lies with the judge.” Id. at *7. See also Owens, 483 F.3d at 63 (even if

courtroom was closed “because of inattention by the judge” violation of public trial right may be

found); Walton, 361 F.3d at 433 (“Whether the closure was intentional or inadvertent is

constitutionally irrelevant”).21 As in Negron-Sostre, this Court must conclude that Courtroom 8 was

in fact closed during the jury voir dire, for the reasons set out below.

                            a.       The individual voir dire was, in fact, closed to the public.

                                     (1)       Jury selection in this case took place in the context of the
                                               longstanding practice of the Norfolk Superior Court to
                                               close the courtroom during individual voir dire.

         It was the longstanding practice of the Norfolk County Superior Court to exclude the public

from jury voir dire. In Commonwealth v. Cohen, 456 Mass. 94, 114 (2010), a defendant who had

been tried in 2007 in the Norfolk Superior Court (the same court where Greineder’s 2001 trial

occurred) claimed that he had been denied the right to a public trial due to courtroom closure during

         21
                   It is well established that circuit precedents can shed light on the reasonableness of the state court’s
application of existing Supreme Court precedents. See, Rashad v. Walsh, 300 F.3d 27, 35 (1st Cir. 2002), cert. denied,
537 U.S. 1236 (2003)(“factually similar cases from the lower federal courts may inform...[the section 2254(d)(1)]
determination, providing a valuable reference point when the relevant Supreme Court rule is broad and applies to a
kaleidoscopic array of fact patterns.”); Coningford v. Rhode Island, 640 F.3d 478, 485 (1st Cir. 2011) (lower court
precedents may provide a “valuable reference point” so long as they are not used to “fill a gap” where the Supreme Court
has “expressly declined to lay down a rule”). See also Phoenix v. Matesenz, 233 F.3d 77, 83 n. 3 (1st Cir. 2000)
(“Although decisions issuing from [courts of appeals] are not ‘clearly established’ for the purposes of § 2254(d)(1)
because they do not issue from the Supreme Court, they provide significant insight on what constitutes reasonableness
for a particular fact pattern.”); White v. Coplan, 399 F.3d 18, 25 (1st Cir. 2005)(“There is no need for there to be a
Supreme Court case on all fours for a state decision to be unreasonable.”).

                                                         -54-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 69 of 223




jury impanelment. During a 2008 hearing on Cohen’s motion for new trial, Patricia Bellotti, Acting

Chief Court Officer and Assistant Chief since 1994, testified that “[a]ll the lobby officers typically

close the courtroom during impanelment...the way it’s done here is we close the courtroom.” Cohen

transcript excerpt, 2010 R. 95-103. The lobby court officer, Larry Sullivan, testified at the Cohen

hearing that it was his “practice as a court officer in the Norfolk Superior Court to close the

courtroom to the public during jury selection” “on each and every occasion” “without exception,”

meaning that he would “exclude all members of the public from the jury selection process.” Cohen,

456 Mass. at 102 n. 12. When asked how long that had been the practice of the court, Court Officer

Sullivan answered: “I’ve been a Court Officer since 1982...It’s been the practice since I’ve been a

Court Officer.” See Cohen transcript excerpt, 2010 R. 95.

       The Massachusetts SJC in Cohen credited that testimony and found that “the public

consistently was excluded from the court room based on established court policy.” 456 Mass. at 114.

That this established court policy was in effect during Greineder’s trial was supported by a plethora

of evidence. The defense lawyer in the case on trial in the Main Courtroom of the Norfolk Superior

Courthouse when the Greineder trial began attested that (1) during the three days of jury selection

in his case, there was a sign on the door of the courtroom stating the courtroom was closed; (2) the

public was not allowed in the courtroom during jury selection; and (3) based upon his experience

in Norfolk Superior Court, it was common practice to close the courtroom to the public during jury

selection. (2010 R. 104). Chief Court Officer Patricia Belloti acknowledged the accuracy of her prior

testimony from February 2008 that once jury impanelment starts “we close the courtroom.” Tr.

1/14/10, p. 171. Long-time Assistant Clerk James McDermott testified that as a general matter “we

would ask people to leave the courtroom during jury impanelment.” Tr. 1/14/10, p. 160.

       Whereas this established court policy was clearly in effect at the time of Greineder’s 2001


                                               -55-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 70 of 223




jury voir dire and was not condemned by the SJC until 2010, it follows that the Norfolk Superior

Court likewise excluded the public from the courtroom during Greineder’s jury voir dire. To suggest

that this was the one case in which the Norfolk Superior Court did not follow its longstanding

established procedure to exclude the public from voir dire is far-fetched, to say the least. As in

Negron-Sostre, the state court here sidestepped the issue of whether the courtroom had, in fact, been

closed by focusing solely on whether there was a “court order or other official action,” Greineder,

458 Mass. at 226, completely ignoring the overwhelming evidence that it was the Norfolk Superior

Court’s practice from at least 1982 until at least the time of the Cohen evidentiary hearing in 2008

to close the courtroom during jury impanelment “on each and every occasion,” and that Greineder’s

2001 trial fell squarely within the time period when such courtroom closure was the normal practice

of that court, as previously judicially determined by the SJC in Cohen. At the very least, this pattern

and practice evidence was important context and backdrop against which all of the other evidence

in this case must be viewed.

                                (2)     The courtroom was, in fact, closed to the media.

        Any claim that the long-standing general practice of the Norfolk Superior Court was

uncharacteristically violated in this particular case is dispelled upon consideration of the uncontested

fact that no member of the media was present in courtroom 8 during the individual jury voir dire.

See Second Response to the Order of the SJC at 9 (2010 R. 125); Greineder, 458 Mass.at 223-224

(“No member of the media was ever present during the individual voir dire.”). This is despite the

fact that the trial judge noted that this case drew “keen national interest” which led to the creation

of a “virtual tent city” outside the courthouse causing concern among the courthouse staff about a

“media frenzy.” Second Response to the Order of the SJC at 5 (2010 R. 121). This finding is

corroborated by the testimony of several media representatives, namely Farmer, Daniel, Lavietes,


                                                -56-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 71 of 223




and Politan, as well as both defense counsel Murphy and his law-clerk Bigelow. Clearly, the absence

of the media from voir dire was not the result of a lack of interest in this particular phase of the trial;

to the contrary, media representatives including as Farmer, Daniel, Lavietes, and Politan waited right

outside the courtroom, staying as close as possible to the proceedings so that they could interact with

the participants during breaks and not miss anything. See Tr.(1/14/10), 133-134. There can be no

doubt that had they been permitted to enter the courtroom during voir dire, they certainly would have

done so. They did not do so only because they believed they had been excluded. There is simply no

other reasonable explanation for why members of a “media frenzy” would not attempt to gain access

to the courtroom during a key phase of the trial. The trial judge admitted that “there were some press

persons who felt that the courtroom was closed to the press.” Second Response, p. 4 (2010 R. 120)

        The media’s absence from the courtroom followed an un-transcribed, off-the-record meeting

between the trial judge and media representatives. We can never know for sure what was said at the

judge’s off-the-record meeting with the media. But what was transcribed was the trial judge’s

statement immediately following that meeting that he had a discussion with members of the media

“who have an interest in being present during the public part of this case” (emphasis added). That

statement implied two things: (1) that there was a non-public part of the case; and (2) that the media

would not be allowed to be present during those non-public proceedings. This was further supported

by Judge Chernoff’s statements at the beginning of the individual voir dire that the proceedings were

“non-public”-- the very non-public phase of the trial to which he was referring earlier when

indicating that the media would not be allowed.

        Eight years later, the trial judge claimed these clear statements did not mean what they said:

        What I meant by that was I would take action, if necessary, to encourage candid
        answers from perspective jurors on sensitive issues. I was retaining the right to limit
        attendance of spectators if I saw that the presence of members of the public had a


                                                  -57-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 72 of 223




         chilling effect on a prospective juror’s ability to answer questions fully or honestly.
         It was not my intention to close the courtroom to the public or the press. It was my
         intention to be very attentive to any impact the presence of a spectator or spectators
         would have on prospective jurors. I was prepared to address the concerns of either
         the attorneys as well as my own concerns about the presence of any particular person
         or persons. It turned out I had no cause to limit access so I did not.

First Response to the Order of the SJC at 3-4, 2010 R. 20-21. This purported explanation simply

does not make sense. A courtroom cannot be considered “non-public” simply because the judge is

prepared to make it non-public if jurors are not being candid. On the contrary, it is only “non-public”

if the judge has already taken action to bar entry.

         Perhaps acknowledging that his first explanation amounted to near gibberish, in his Second

Response, the judge claimed that what he really meant was:

         In retrospect, I was referring to the fact that the many video and still photo media
         people, who were visible inside and outside of the courthouse and intended to video
         the trial for national consumption, were not going to be working either in a
         courtroom filled with jurors or in one hosting only an individual voir dire.

He further explained (to neatly coincide with his first nonsensical explanation):

         On Monday, I was also keeping my options open to exclude people from the
         courtroom should any of the prospective jurors feel inhibited when answering
         sensitive questions. I did not have to exercise that option and no one was excluded.

Second Response to the Order of the SJC, p. 6 (2010 R. 121-122).22

         Tom Farmer (who stated that he believes that Greineder is guilty and thus had no interest in

helping Greineder’s cause) had a recollection of the meeting that was quite clear: “I believe that [the

trial judge] said this hearing would be closed to the media and did anybody have a problem with

that” and further stated that if the media objected, they could appeal to the single justice of the SJC.

Farmer checked with his editors, who did not want to appeal. Tr.(1/14/10), 131. The off-the-record

         22
                  One wonders how the trial judge would have fared on cross-examination regarding these various
strained and evolving explanations, if defense counsel had been allowed to cross-examine him as a witness like all of
the other witnesses at the evidentiary hearing! That, however, did not occur, since the witness and the presiding judicial
officer was one and the same!

                                                         -58-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 73 of 223




meeting thus conveyed to at least one member of the media that he could not, or should not, attend

the individual voir dire. The trial judge claims that Farmer was mistaken, and that the other members

of the media who believed they were excluded must have gotten that impression from Farmer rather

than the judge, who insists that he did not “intend” to close the courtroom.23

         The dispute between the trial judge’s recollection and Farmer’s recollection, however, is

immaterial. Regardless of what the trial judge may have meant in his own mind, he did not state on

the record that video or still camera photography would not be permitted at the individual voir dire.

That order would have been unobjectionable. See Commonwealth v. Winfield, 464 Mass 672, 677

(2013) (“There is no constitutional right to bring cameras into or make audio or video recordings of

courtroom proceedings”), citing Nixon v. Warner Communications, Inc., 435 U.S. 589, 610 (1978).

Rather, he referred to “the media’s presence at trial” (PT Tr. 5/17/01, 127-128) and spoke of having

had a meeting about members of the media “who have an interest in being present” during the

“public part”of the case (PT Tr. 5/18/01, 3-4), mentioning that the jurors would either be brought

to sidebar or “off to the side in a sideroom for juror’s private conversations with the Court.”

(PT Tr. 5/18/01, 36). On the first day of trial, the judge told the jurors in open court: “we will invite

you one-at-a-time to come into a side room.” Tr. I/5 (all emphases added). Individual voir dire

then commenced in the “sideroom” of Courtroom 8, a small courtroom up a “narrow steep staircase”

that is “so situated that it seldom attracts the general public.” Is it any wonder that members of the



         23
                      The notion that the complete absence of the media was attributable solely to Farmer was ludicrous,
to say the least. It is unfathomable that every media representative - who were theoretically in competition with Farmer -
would take him at his word, without attempting to gain entry by themselves. Further, there was no evidence that Farmer
even communicated the fact that the courtroom was closed to other media representatives. The fact that these media
representatives were present at every single stage of the trial - and even waited in the hallway during the voir dire -
demonstrates that they would not have voluntarily chosen to stay outside the courtroom during voir dire unless they
believed they had been excluded, either due to the longstanding practice of the court, by inference (based on the sign on
the door of the simultaneous jury impanelment in the Holland case), due to the judge’s off-the-record or on-the-record
comments, or some combination thereof. There was no evidence that Farmer had anything to do with it!

                                                         -59-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 74 of 223




media, who camped immediately outside the door so as to catch any snippet of information from the

participants during breaks, believed that their presence in the courtroom was not permitted?

       In sum, it matters not what Judge Chernoff “meant” or “intended” in his own mind by

referring to the “non-public” part of the case. “[T]he ultimate responsibility of avoiding ‘even the

appearance that our nation’s courtrooms are closed or inaccessible to the public’ lies with the judge.”

Negron-Sostre, 2015 WL 3898794, *7; Owens, 483 F.3d at 63 (even if courtroom was closed

“because of inattention by the judge” violation of public trial right may be found); Walton, 361 F.3d

at 433 (“Whether the closure was intentional or inadvertent is constitutionally irrelevant”). Under

all of the circumstances, any member of the media hearing the judge’s remarks would have

reasonably believed, in accordance with common sense understanding of the English language, that

the jury voir dire was a “non-public” part of the trial, meaning that the public, including the media,

was excluded! Accordingly, members of the media camped themselves right by the door of the

courtroom, reasonably believing that they had been excluded. In the context of the longstanding

practice of the Norfolk Superior Court, in conjunction with the simultaneous closure of the main

courtroom for jury selection in the unrelated Holland case (complete with signs), and in light of the

judge’s public comments (regardless of what the judge subjectively “meant”), the media was, in fact,

excluded. The fact that the trial judge did not issue an express judicial order barring entry by the

media, and perhaps only politely elicited their absence is inapposite: “The mere fact that the

members of the press politely responded to a judicial request, rather than waiting to be compelled

by order, should not inure to their detriment.” United States v. Antar, 38 F.3d 1348, 1359 (3d. Cir.

1994). The state court’s ruling, despite overwhelming evidence to the contrary, that the absence of

the media was not attributable to the court was an “unreasonable determination of the facts in light

of the evidence presented.” 28 U.S.C. § 2254(d)(2).


                                                -60-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 75 of 223




                                (3)      The courtroom was, in fact, closed to members of the
                                         defendant’s family and the general public.

        While there was some conflicting testimony regarding whether or not any members of the

public were present in the courtroom, this Court should conclude, notwithstanding such conflicting

testimony, based on the overwhelming weight of the evidence, that the courtroom was, in fact, closed

to the public during the individual jury voir dire. To start, the judge’s statements referring to the just-

concluded meeting with members of the media “who have an interest in being present during the

public part of this case” (2010 R. 8) strongly implies that there was a non-public part of the case,

from which the public would be excluded. The judge’s statement that the individual voir dire was

to be held “in a side room” in order for the jurors to have “private conversations with the Court”

(2010 R. 10) would surely be understood by any member of the public sitting in the courtroom with

a common sense understanding of the English language that they were not welcome to attend.

Having removed the jurors to a back hallway in small groups of 4 or 5 jurors, then up a steep, narrow

staircase to enter this “side room” one at a time, the trial judge then referred to the proceedings on-

the-record as a “non-public individual voir dire of the jurors,” and mentioned some fourteen times

to individual jurors that they had previously been introduced to the attorneys “in open court” or “in

the open courtroom” in contrast to where they were now located in Courtroom 8 (all emphases

added). Further evidence of courtroom closure lies within the transcript itself, which does not

mention the term “bench conference” at all during proceedings held in Room 8, but does boldly

identify as a “BENCH CONFERENCE” a conversation between the judge and attorneys taking place

in Courtroom 10 (the “open courtroom”) after the conclusion of the individual voir dire. If

Courtroom 8 had indeed been open to the public, the judge’s conversations with the individual jurors

and counsel would surely have taken place during similarly marked “bench conferences.” See



                                                  -61-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 76 of 223




Cohen, 456 Mass at 117 (individual voir dire conducted out of hearing of the public permissible if

conducted in open court where public may observe process). That did not occur. There was no need

for bench conferences, because the proceedings were “non-public” and there were thus no members

of the public present to hear them! Once again, regardless of what the trial judge claims he “meant”

by these statements, where “the ultimate responsibility of avoiding ‘even the appearance that our

nation’s courtrooms are closed or inaccessible to the public’ lies with the judge,” Negron-Sostre,

2015 WL 3898794, *7, the judge here unmistakably gave the appearance of closing the courtroom

to any member of the public who may have wished to attend.

       That appearance of closure was strongly corroborated by the testimony given at the

evidentiary hearing. Both Greineder’s trial counsel, Murphy, and his law clerk, Bigelow, who

testified that no member of the public was in courtroom 8 during the individual voir dire. Further,

Farmer, who sat outside of courtroom 8 for the entire individual voir dire - because he reasonably

believed he had been excluded from entering - testified unequivocally that no member of the public

or the media entered the courtroom at any time. There is no evidence that either Greineder’s eldest

daughter, Kirsten, nor his son, Colin, were present in the courtroom during the individual voir dire.

The SJC so found. See Greineder, 458 Mass. at 231-232.

       Greineder’s youngest daughter, Britt, testified to being affirmatively denied entry into the

courtroom and forced to wait in a chair in the lobby of the courthouse despite her wish to be as near

to her father as possible. Britt’s unequivocal testimony that she was not present during voir dire was

supported by the testimony of Murphy, Bigelow, and Greineder. There were some Commonwealth

witnesses who believed that Britt was present during voir dire. Putting aside the fact that Britt would

know much better than these other witnesses - who would have seen her present in the courtroom

throughout the trial and could easily have mistakenly believed she was similarly present during voir


                                                -62-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 77 of 223




dire,24 the fact that the public at large and the media were excluded from voir dire still constituted

a closure of the courtroom, regardless of Britt’s presence or absence. While it is true that the

Commonwealth was able to present the testimony of certain individuals who “thought” they may

have seen people in the courtroom, it was clearly an unreasonable determination of the facts for the

trial judge to find from that ambiguous and sparse testimony that the courtroom was not generally

closed to the public.25 The trial judge found, at best, that “occasionally, a few unidentified persons

who may well have been members of the public were present.” Second Response to the Order of the

SJC at 2. (2010 R. 118) It just simply does not follow logically that only a few members of the public

would be present during such a high profile case if the courtroom were not closed. Further support

for the conclusion that the courtroom was closed during voir dire can be found in the article

published on May 22, 2001, stating that the jury selection process “has been closed to the public.”

See Kunzelman (2001), Townonline, 2010 R. at 81. Even if a few unidentified spectators entered the

room, that has no bearing on whether the courtroom was, in fact, closed. See Peterson v. Williams,

85 F.3d 39, 44 n. 7 (2nd Cir.), cert denied, 519 U.S. 878 (1996)(“possible existence of some


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                   This court should consider who would be most likely to remember accurately whether or not a
particular individual was seated in the spectator section of a courtroom during two days of individual voir dire at a trial
that occurred eight-and-one-half years prior to the evidentiary hearing. It was uncontested that Britt attended the entire
trial from May 24th through June 29th, 2001, and thus would have been a familiar face to those in the courtroom. There
is virtually no way that the Commonwealth’s witnesses could discern eight-and-one-half years later whether there were
certain phases of the trial that Britt was not present for. It is noteworthy that several of the Commonwealth’s witnesses
who now claim to remember seeing Britt, including Grundy, Cosgrove, and Litsas, read the trial judge’s first response -
which stated that Britt was present during voir dire - before testifying and they likely were subconsciously influenced
by what they had read. Finally, there was significant conflict in the testimony of the Commonwealth’s witnesses.
Specifically, while Corcoran and Cosgrove remember that the courtroom was quite full, Morris, Minkofsky, and Litsas
remember that it was nearly empty. Cosgrove remembered sitting in the back of the courtroom, yet Grundy had a clear
memory that Cosgrove sat at counsel table, and Litsas didn’t even remember seeing Corcoran or Cosgrove there at all.
To credit the testimony of these witnesses - whose stories greatly contradicted one another’s - while discrediting
Greineder’s witnesses - whose testimony all corroborated one another’s - is wholly unreasonable, to say the least.

         25
                     Morris testified that she “thought” Britt was present, but that no other member of the public was
present. Litsas testified that there were two or three people - including Britt - who were present in the spectator section.
Minkofsky was unable to recall any member of the public being present, though he believed that Britt and one other
unidentified person were present. Cosgrove testified that he was “eighty percent” sure that Britt was present. The judge
credited this testimony - despite the complete lack of confidence in any of the witnesses’ testimony.

                                                          -63-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 78 of 223




spectators brave or arrogant enough to seek admission does not convert the court room into an open

one.”); Commonwealth v. Cohen, 456 Mass. 94 (2010) (courtroom closure found despite presence

of three spectators who “saw the sign, but ignored it”). Based on the record as a whole, this Court

must find that the courtroom was, in fact, closed during individual juror voir dire.

       The trial judge, insisting that his words “non-public”were not to be accorded their plain

meaning due to his own contrary subjective intent, offered no explanation for the absence of the

general public from the individual jury voir dire. Instead, while crediting the fact that two of

Greineder’s children were not present, he found that “some Greineder family members heard from

a non-court source over the weekend preceding the voir dire that they could not or should not attend

the individual voir dire.” Second Response to the Order of the SJC at 9. (2010 R. 125) The trial

judge thus attempted to deflect blame for the closure of the courtroom away from the court itself and

onto some non-court source. That non-court source would appear to be defense counsel Murphy. It

is unclear precisely when Murphy learned that the courtroom would be closed, but the evidence

suggests that it was Friday, May 18, the same day that the trial judge informed the media off-the-

record as to their interest “in being present” during the “public part” of the case, and describing the

process of the individual voir dire as occurring either “up at sidebar” or “off to the side in a

sideroom” for juror’s “private conversations” with the court. The trial judge noted that it was likely

late on the 18th that he informed Murphy that the voir dire would take place in Courtroom 8 (the

“sideroom” option). Both Britt Cavalletto and Dirk Greineder recalled that Murphy informed them

about the closure. It does not follow logically that Murphy would have told Britt and Dirk that the

proceedings were closed if he did not receive that understanding from the court, in the context of the

longstanding practice of the Norfolk Superior Court, in conjunction with the simultaneous closure

of the main courtroom for jury selection in the unrelated Holland case (complete with signs), and


                                                -64-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 79 of 223




in light of the judge’s public comments (regardless the judge subjective “intent”). This notion is

supported by the fact that part of Murphy’s trial strategy was to have Dirk’s children present in the

courtroom as often as possible in order to show the jury that they supported their father and believed

in his innocence. So why then would Murphy inform Dirk and his children that the proceedings were

closed if they were not, in fact, closed? The simple answer is that he wouldn’t have!

        One can debate whether or not the judge’s public statements on the record constituted a

formal order of exclusion, but in any event such a formal order is not necessary to keep the public

and the media out. A courtroom “may be closed in the constitutional sense without an express

judicial order.” Cohen, 456 Mass. at 108. Indeed, “trial courts are obligated to take every reasonable

measure to accommodate public attendance at criminal trials.” Presley, 558 U.S. at 215. Farmer’s

disputed testimony that the trial judge told the media not to attend and Britt’s disputed testimony that

there was a sign on the door and that she was told to remain seated in the hallway are not necessary

to the analysis. In sum, whether by stating on-the-record that the individual voir dire would be “non-

public” and that jurors’ “private conversations” would be held “in a sideroom,” by holding voir dire

in a courtroom “so situated that it seldom attracts the general public,” by the simple inaction of the

trial judge in failing to alter the longstanding default rule in Norfolk Superior Court, well-known to

attorneys, court officers, and court clerks, that “what we do is close the courtroom,” or by the

combination of those factors, it is clear that a courtroom closure occurred regardless of the judge’s

“intentions,” and that court personnel bear at least as much responsibility as the trial attorney for the

absence of the general public from two days of voir dire at this high profile trial. Cf. Negron-Sostre,

2015 WL 3898794 *5. To the extent that the state court below found otherwise, such a finding was

clearly an “unreasonable determination of the facts in light of the evidence.” 28 U.S.C. § 2254(d)(2).




                                                 -65-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 80 of 223




                        b.      The closure violated Greineder’s constitutional right to a public
                                trial.

        Greineder had a constitutional right to have individual voir dire open to the public. Despite

this right, both the media and the general public were, in fact, excluded from courtroom 8, regardless

of the trial judge’s subjective intent. Such closure amounted to a violation of Greineder’s 6th

Amendment right, unless the four Waller factors were met. See Owens, 483 F.3d at 66 (“[C]losure

of jury selection to the public for an entire day without meeting the strict requirements of Waller

would violate a defendant’s right to a public trial.”) However, the trial judge made no effort to

consider those factors before closing the courtroom. There was no overriding interest that justified

closing the courtroom. There was no “substantial reason” either, thus even if this Court finds that

only a partial closure occurred, Greineder’s constitutional right to a public trial was still violated.

        Individual voir dire can be conducted at sidebar out of hearing of the public, so long as the

public may observe the process. See Cohen, 456 Mass at 117 (individual voir dire conducted out

of hearing of the public permissible if conducted in open court where public may observe the

process). In effect, what the trial judge did was to convert Courtroom 8 -- a small out-of-the-way

courtroom -- into a non-public “sideroom” that functioned as a “sidebar,” for the convenience of the

court. However, even if one could justify holding the individual voir dire in a separate courtroom

so that the remaining jurors can relax, that does not justify the de facto exclusion of the media and

the public from observing the proceedings held in that separate courtroom. There was no evidence

of a lack of space requiring exclusion of observers in Courtroom 8. There were four benches that

would accommodate about 20 people and room for an additional ten single chairs. Second Response,

p. 3 (2010 R. 119). In any event, a generalized lack of space will rarely, if ever, suffice to justify any

but the most temporary closures, if in fact, the room is filled to capacity. See Bucci, 662 F.3d at 26



                                                 -66-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 81 of 223




(“even if the courtroom were completely filled with prospective jurors, it would likely not

justify...closure...Presley made clear that alternative methods of increasing the available public

seating, such as splitting the venire, must be adopted if reasonable.”); Owens, 483 F.3d at 62 (in

absence of on-the-record findings, “it is difficult for us to discern whether it was necessary for the

entire courtroom to be cleared of spectators to permit the jury pool to enter...Most justifications for

trial closure have involved the need to protect witnesses or maintain courtroom order...[and not] on

the basis of convenience to the court...Given the strong interest courts have in providing public

access to trials, the district court could have considered whether a larger courtroom was available

for jury selection.”) No reasonable alternatives to a closure were considered, and no specific findings

were made. Cf Negron-Sostre, 2015 WL 3898794 *6 (“Because the courtroom was in fact closed

absent the balancing of interests required by Waller, that closure was a clear and obvious error”).

       Finally, since this violation was a structural error, which defies harmless error review, if

Courtroom 8 was in fact closed, reversal of Greineder’s conviction is required without any further

showing of prejudice. Neder, 527 U.S. at 8. “Unlike trial rights, structural rights are ‘basic

protection[s] whose precise effects are unmeasureable.’” Owens, 483 F.3d at 64 (quoting Sullivan,

508 U.S. at 281). “Structural error in the form of a denial of the public trial right prejudices a

defendant notwithstanding that the prejudice may be difficult to detect.” Negron-Sostre, 2015 WL

3898794 *6. Because denial of a public trial is a structural error, “it would be impossible for

[petitioner] to establish prejudice, and as such, it must be presumed.”Owens, 483 F.3d at 66.

                       c.      Greineder is entitled to relief.

       In his second response to the SJC of Massachusetts, the trial judge asserted: “The defendant’s

attorney assented to the procedure.” 2010 R. 124 However, to the extent that the trial judge was

claiming that defense counsel assented to the closure of the courtroom to the public, such an


                                                -67-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 82 of 223




assertion was clearly erroneous. While defense counsel may have assented to the individual voir dire

being held in courtroom 8, that is beside the point. If such a finding was intended to suggest that by

failing to explicitly voice an objection, counsel “assented” to the closure of the courtroom, such a

claim is erroneous as a matter of law. And in any event, even if counsel had assented to the closure

of the courtroom, such assent would be insufficient as a matter of law to establish a waiver of

Greineder’s constitutional right to a public trial. Further, there was an inherent contradiction in the

trial judge’s second response, suggesting both that the courtroom was not closed and that the

defendant assented to the closure of the courtroom. Obviously, both cannot be true. There was no

evidence that either defense counsel or Greineder affirmatively agreed to closing the courtroom. A

review of the record makes it clear that any such finding would be unreasonable.

        As noted above, the right to a public trial is a constitutional right of structural dimension.

Consequently, an affirmative knowing, voluntary, and intelligent waiver is required by the defendant

himself in order to waive that right. Martineau, 601 F.2d at 1200; Walton, 361 F.3d at 433.

Accordingly, even if it could be said that defense counsel assented to the closure of the courtroom,

in the absence of a knowing, voluntary, and intelligent waiver by Greineder himself, the public trial

right was not waived. Here, there was no evidence whatsoever suggesting that Greineder waived his

right to a public trial. Nor did he submit to a colloquy in which he waived his right to a public trial.

On the contrary, Greineder’s testimony strongly suggests that not only did he not affirmatively

waive this right, but he was not even aware that he had such a right! Indeed, the trial judge so found.

See Second Response to the Order of the SJC at 8 (“The defendant did not affirmatively agree or

assent to the process.”). Therefore, it must be said as a matter of law that Greineder could not have

knowingly, voluntarily, and intelligently waived that right. Since there was an unwaived structural

error at Greineder’s trial, reversal of his conviction by the state court was mandated.


                                                -68-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 83 of 223




        In the alternative, if counsel were required to object at trial, his failure to do so constituted

ineffective assistance. There was no evidence presented at the evidentiary hearing that defense

counsel made a tactical decision not to object to the closure of the courtroom, nor was there any

obvious strategic justification for his failure to object. Indeed, the trial judge so found. See Second

Response to the Order of the SJC at 9 (in response to a question about whether any assent to the

conduct of non-public individual voir dire was done as a matter of trial strategy, the judge

responded: “Defense counsel’s assent to the procedure used fit into a strategy for selecting a fair jury.

Other than that, the answer is no.”). 2010 R. 125. Based on the trial strategy which defense counsel

disclosed at the hearing - namely, to have Greineder’s children present at all stages of the trial - it

would have furthered that strategy for the proceeding to be open, so that Greineder’s children could

attend and be seen as supporting their father by the potential jurors. On this record, there can be no

finding that counsel acted pursuant to any deliberate strategy with regard to the closure of the

courtroom. In addition, the trial judge found that trial counsel “did not request or assent to a

procedure because of its potential for creating an appellate issue.” 2010 R. 125.

        If indeed counsel’s failure to object to the closure of the courtroom constituted a waiver of

Greineder’s right to a public trial, such failure to object constituted ineffective assistance of counsel

in violation of the Sixth Amendment. As in Owens: “Counsel’s failure to object to closing the trial

for an entire day of jury selection, one of the most important phases of a criminal trial, deprived

Owens of a substantial fair trial right . . . [W]e do not see how the failure to object to the closure

could have been sound trial strategy.” 483 F.3d at 64; see also Owens v. United States, 517

F.Supp.2d 570, 575 (D. Mass. 2007) (“Owen’s counsel should have known the applicable law, and

should have objected to the courtroom closure. Their failure to do so fell below an objective standard

of reasonableness.”). Indeed, defense counsel’s acknowledged failure to inform his client that he had


                                                 -69-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 84 of 223




a constitutional right to insist that the courtroom was open to the public during individual voir dire

constituted ineffective assistance of counsel in and of itself. Such a failing leads to a presumption

of prejudice, warranting relief. McGurk v. Stenberg, 163 F.3d 470 (8th Cir. 1998).26 Greineder is

entitled to relief under this analysis as well.

II.      GREINEDER’S CONFRONTATION CLAUSE RIGHTS WERE VIOLATED BY
         ADMISSION OF TESTIMONY OF A DNA EXPERT REGARDING THE DNA TEST
         RESULTS OBTAINED BY A NON-TESTIFYING ANALYST.

         A.       Statement of Relevant Facts.

                  1.       DNA evidence presented at trial.

                           a.       Overview.

         A key component of the Commonwealth’s case at trial was DNA test results linking

Greineder to the knife and brown work gloves presumably used by his wife’s killer. The

Commonwealth presented those results through the testimony of Dr. Robin Cotton [“Cotton”], the

laboratory director of Cellmark Diagnostics, which conducted the testing. Charts detailing the

specific test results were marked as chalks, displayed during Cotton’s testimony, and distributed to

each juror during her testimony and again during deliberations. All of Cellmark’s testing in this case

was conducted by Wendy Magee and reviewed by Jennifer Reynolds or Lewis Maddox, none of

whom testified at trial.

         Over two days of direct examination, Cotton testified (over objection) about the specific test

results reported by Magee which, she told the jury, matched portions of Greineder’s DNA profile to

tiny mixtures of DNA recovered from the knife and gloves. She also described those partial matches

in statistical terms which established that it would be extremely unlikely for a random individual’s


         26
                  See also Com. v. Patry, 48 Mass. App. Ct. 470, 475 (2000) (Defense counsel waived defendant’s
presence and agreed to trial judge’s presentation of supplemental instructions to jury in deliberation room without ever
discussing with defendant his right to a public trial; relief required.).

                                                        -70-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 85 of 223




DNA profile to match the DNA found on the knife and gloves at as many loci as Greineder’s. On

cross-examination, defense counsel challenged the reliability of Cellmark’s testing process and the

accuracy of its test results.

                        b.      Testimony of Dr. Cotton on direct examination.

                                (1)     Forensic DNA testing in general.

        Cotton, an experienced forensic scientist, described the overall process of DNA testing to the

jury. As she explained, STR-testing involves identifying specific alleles at 13 designated loci on the

DNA molecule found in cellular material. Tr. XI/183-185; 2012 R. 46-48. The testing laboratory

receives evidentiary samples, extracts the DNA, quantitates it, amplifies it, and subjects it to

mechanical analysis, resulting in the production of computer-generated electropherograms containing

identifiable peaks at each locus. Id. at 178-185; 2012 R. 41-48. Filters applied by the analyst limit

which peaks will actually appear on the electropherograms. Id. at 194-195; 2012 R. 57-58. Unfiltered

or raw electronic data, on the other hand, would show all peaks detected by the machine. Id. at

243;2012 R. 106. As Cotton noted on voir dire: “It’s possible to display the data in a lot of different

ways, and adjust the scales of the data....” Tr. XII/7; 2012 R. 130.

                                (2)     Interpretation of DNA results in general.

        Cotton explained that the analyst conducting the testing instructs the computer which peaks

to label as alleles and which to ignore, based on the analyst’s own interpretation of the data. Tr.

XI/190; 2012 R. 53. Actually, the computer makes the allelic calls initially, but the analyst can

override them. Id. at 190-191; 2012 R. 53-54. It is quite common, she testified, for the computer to

label a peak as an allele, and the analyst to override that call. Id. at 195; 2012 R. 58. Once alleles

are identified at some or all of the 13 loci tested, a statistical calculation is carried out, quantifying

how frequently the particular combination of alleles identified by the analyst appears in the general


                                                 -71-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 86 of 223




population. Id. at 202-206; 2012 R. 65-69.

                                     (3)      Testing conducted by Cellmark in this case.

         Cotton testified that Cellmark received evidence samples in this case and tested them on six

different dates. Id. at 206;2012 R. 69. All of the testing was conducted by Wendy Magee. Id. at 207;

2012 R. 70. During the first test run, conducted in January, 2000, Cellmark identified Greineder’s

DNA profile from his fingernail clippings. Id. at 230-234; 2012 R. 93-97. Cotton acknowledged that

in the midst of carrying out testing in this case, Cellmark changed its peak threshold (the level at

which it would make allelic calls) from 40 RFUs to 60 RFUs. Tr. XII/79-83; 2012 R. 200-206.

                                     (4)      Test results in this case.

                                              (a)       Overview.

         Cotton proceeded (over objection)27 to testify in great detail about the test results reported

by Cellmark on the three key pieces of evidence (knife and two work gloves), as well as other items.

Tr. XI/211-234; Tr. XII/12-100; 2012 R. 74-97, 135-223. Her allele-by-allele and locus-by-locus

comparison of those results with Greineder’s DNA profile was illustrated by blown-up charts,

marked as chalks, which were distributed to the jurors during her testimony. “CC”(knife); “”GG”

(right work glove), “HH” (left work glove); 2012 R. 609-611. Cotton’s recounting of the test results

on the knife and two work gloves appears at Tr. XII/17-27, 27-36, and 51-59, respectively; 2012 R.

140-150, 150-159, 174-182. After detailing the results on each, she presented an estimate of the

likelihood in statistical terms (as calculated by Cellmark and set forth verbatim in Magee’s reports,

2012 R. 612-655) that the particular combination of alleles in those items matching Greineder’s


         27
                    Just before Cotton began recounting the specific test results on direct-examination, defense counsel
stated at sidebar: “I would like to register my objection to Dr. Cotton’s testifying about the data in this case given the
fact that she hasn’t done any of the work on it.” Tr. XI/208;2012 R. 71. In response, the trial judge noted that Wendy
Magee was on the witness list, and the prosecutor indicated: “She may very well be called.” Id. at 209; 2012 R. 72. But
she never was.

                                                         -72-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 87 of 223




DNA profile would match someone randomly selected from the general population. Tr. XII/38-47

(knife); 47-51 (right glove); 59-60 (left glove); 2012 R. 161-170, 170-174, 182-183.

                                      (b)     Test results on the knife.

        Cotton recited the test results on all three key pieces of evidence, utilizing blown-up charts

which presented those results visually. Her direct testimony about the test results on the knife

commenced as follows:

       Q:      Dr. Cotton, I have now placed a chalk in front of the jury and before you,
               indicating two particular items -- a hammer and a knife, with the
               Massachusetts Criminal Laboratory numbers of 1 and 2. And that was
               reported in the Cellmark report of January 6th, as amended on February 22nd.
               Is that correct?
       A:      Yes.

Tr. XII/13; 2012 R.136. She continued: “The data from the knife indicates that there’s a primary

source and a secondary source. And the primary source is from a female, and the secondary source

is from a male.” Id. at 19; 2012 R.142. She noted that the “primary profile includes Mabel Greineder,

using eight of the nine locations.” Id. at 20; 2012 R.143. She then painstakingly described the

secondary profile using the chart:

               So, in the chart that you see here we have a 15.17 listed. When you look at
       the profile, the 15 is a primary. The peak height is quite large. And the 17 is very
       much smaller. So, we know that we have the presence of a 15. And we have a large
       15, and a small 17. That presence of that 15 includes Mabel Greineder. Dr.
       Greineder has a 17, and therefore he also is included at that locus.
               When you go to the next locus, there’s a 15.17. Mabel Greineder is a 15.17.
       And both of these peaks are large. So we know we have a lot of them. Because Dr.
       Greineder is a 17, he is also included at that locus. There is no secondary source
       observed at FGA.
               The next area where there’s a secondary source is D8. And at D8 there is a
       large 12, and a large 13, and a small 15. So Mabel is included because she is a
       12.13.... Dr. Greineder is included because he is a 13-15.
               The next locus where there is a secondary source observed is D5, shown here.
       There’s a large 9-10, and a small 11-13. And at D5 Mabel Greineder is a 9-10. Dr.
       Greineder is a 11-13. So they are both included. Those are the only four locations
       where we see a secondary source. There is no other secondary source information.


                                               -73-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 88 of 223




         And, therefore, he cannot be excluded as a secondary source.

Id. at 22-23; 2012 R.145-146 (emphasis added).

          Cotton proceeded to recount the statistical significance of the secondary source results as set

forth in Magee’s report of February 23, 2000 (2012 R. 618-619)28:

         Q:        With respect to the knife, there were actually two different calculations made.
                   Is that correct?
         A:        Yes.
         Q:        And the first calculation indicated that it made no assumptions at all. Is that
                   correct?
         A:        Yes.
...
                   So, for the knife, using only the four locations that indicate there is a mixture,
                   where both Mr. and Mrs. Greineder are included, a calculation like that was
                   done.
         Q:        And what were the results of that calculation – making no assumption at any
                   of those locations?
         A:        Making no assumptions – and this calculation is broken down into figures
                   that would represent Caucasians and figures that would represent African
                   Americans, as those two groups may not always have the same frequency of
                   a particular allele. The calculation for African Americans is that
                   approximately 1 in 210 individuals would be included as possible
                   contributors to the mixture seen at D3, vWA, D8 and D5.
                   And that same figure for Caucasians is 1 in 160 people -- approximately 1 in
                   160 people would be included as possible contributors to the mixture that was
                   observed at the four loci that I just mentioned.
...
         Q:        And again, Dr. Cotton, you made a second calculation. Is that correct?
         A:        Yes, we did.29
         Q:        And again now we’re referring to the knife – excuse me, the sample 2.2 still.
                   Is that correct?
         A:        Yes.
         Q:        Could you tell the jurors what, if any, assumptions you made, and how that
                   would change how you would conduct the statistical analysis?


         28
                  It is not clear from the record whether Cotton was literally reading from Magee’s report when she
recounted the results of the statistical analysis. It seems quite likely that she was, given that she had the reports with her
on the witness stand. For the knife as well as the two other key pieces of evidence, the random match probabilities as
stated by Cotton were identical to those detailed in Magee’s reports, and there was no suggestion that Cotton redid the
mathematical computations herself.
         29
              By “we”, Cotton presumably meant Cellmark. In this case, the work at Cellmark was carried out by
Wendy Magee, who signed all the reports detailed the test results and statistical calculations.

                                                           -74-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 89 of 223




       A:      I already described the first calculation we did, which was a very general one.
               We did a second calculation and stated the assumptions that we used along
               with that second calculation. And those assumptions were that there were
               only two contributors, and that Mabel Greineder was one of the contributors.
               Using that assumption, we went back to then figure out what are all the
               possible secondary sources that could be in there....
               With the assumption there are only two sources, and Mabel Greineder is one
               of them, is that 1 in 1,400 African Americans would be included in -- and,
               again, these numbers are approximations. And the figure for Caucasian is
               approximately 1 in 2,200 individuals who are Caucasian would be included
               as a possible secondary donor.

Tr. XII/38-40,44-46; 2012 R. 161-163, 167-169 (emphasis added).

                                      (c)     Test results on the right-hand work glove.

        Cotton presented Magee’s test results on the right-hand work glove in a similar fashion:

       Q:      Dr. Cotton, I’ve placed before you at this time what is designated by the
               Massachusetts Crime Laboratory as samples from an item labeled 3, and also
               reported in the Cellmark report of January 6, 2000, as amended on February
               22nd. Now, with respect to what is identified as a brown work glove, right-
               handed, samples 3.2 and 3.3 were provided to you. Is that correct?
       A:      Yes, that’s correct.

Id. at 27-28; 2012 R. 150-151. As to 3.3, a profile was developed. The primary source was a female,

and the secondary source was a male. The primary source matched Mabel Greineder. Cotton stated:

“With regard to the secondary source, using eight out of the thirteen loci, Dr. Greineder cannot be

excluded as a secondary source.” Id. at 29-30; 2012 R.152-153.

       She continued:

               The profile on the glove is shown [on the chart] at the top here. And the
       profile has a 15, a weaker 17, and also a weaker 19. I need to point out [the] 19 is not
       consistent with either Mabel or Dirk Greineder, and the 19 is in parentheses,
       indicating that we’re not sure whether it’s an artifact or real. The 17 at D3 is
       consistent with the profile from Dr. Greineder.
               [T]he vWA is a strong 15-17. Mabel Greineder is included at that 15-17.
       Because Dr. Greineder is a 17, he is also included. At FGA there is a 20, a 22, and
       a much smaller 26 observed. Mabel Greineder is a 20-22. Dr. Greineder is a 23-26.
       His 26 is consistent with this 26. His 23 is not observed. So that locus is inconclusive
       with regard to whether he’s included, because we’re not seeing the 23.... At D18


                                               -75-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 90 of 223




       there’s a 12, 13 and 15. Mabel Greineder is a 12-13. Dr. Greineder is a 13-15. The
       15 is small. The 12 and 13 are primary. So he’s included here.
               At D21 there is a 28 and 29 that are small, and a 30 and 31 that are primary.
       Mabel Greineder has a 30.31. Dr. Greineder has a 28-29. So he is included as a
       secondary at that locus; and she is included as a primary.
               A D18 is the next one. There are four alleles observed – a 12, 14, 16 and 19.
       Mabel Greineder is a 16-19. Dr. Greineder is a 12-14. So he is included as a
       secondary source at that locus....
               At D5 there’s a 10, a possible 11 that’s shown in parentheses, and a 13,
       parentheses, same meaning that I’ve discussed before. Mabel Greineder is a 9-10.
       She’s included as the primary. Dr. Greineder is an 11-13. Because that 11 is in
       parentheses that locus is inconclusive with respect to whether he’s included as a
       secondary source there.
               The next locus is D13. There’s a small 8 and a large 12.14. Mabel Greineder
       is a 12.14. Dr. Greineder is an 8.11. That locus is also inconclusive with respect to
       him as a secondary source. At D7 in profiler plus we observed a minor type of a 7.9
       and a primary type of an 11. Mabel Greineder is an 11. Dr. Greineder is a 7.9....
               At TH01 there’s a 7, a 9, and a 9.3. And Mabel is a 7-9.3. Dr. Greineder – Dr.
       Greineder is a 9-9.3. So he is included at that locus.

Id. at 30-33; 2012 R 153-156 (emphasis added).

        Cotton proceeded to recount the statistical significance of that “inclusion,” exactly as set

forth in Magee’s February 23, 2000 report. (2012 R.618-619) With no assumptions, 1 in 59,000

African Americans would be included, and 1 in 20,000 Caucasians. Assuming only two contributors,

including Mabel Greineder, the random match probability diminishes to 1 in 680,000 African

Americans and 1 in 170,000,000 Caucasians. Tr. XII/48-49; 2012 R. 171-172.

                                      (d)     Test results on the left-hand work glove.

        Cotton’s testimony about the test results on the left-hand work glove followed the same

sequence. First she recounted the results reported by Magee, locus-by-locus, using a chart:

                The chart here in the middle are the results from the evidence sample. And
       at D3 there is a 17, which is consistent with the type from Dr. Greineder. At vWA
       there’s a 17 also consistent with a type at vWA from Dr. Greineder. At FGA there
       is a 22, a 23 and a 26. The 23 and the 26 are consistent with Dr. Greineder’s types at
       that locus. A 22 is present. Mabel Greineder is a type 20-22. We only see a 22. So
       that would be inconclusive with regards to her. There’s an X and Y observed, a 12,
       13 and 15. The 13 and 15 are consistent with the types from Dr. Greineder. At D21


                                              -76-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 91 of 223




       there’s a 28 in parentheses, and a 29. Dr. Greineder is a 28-29. Because this 28 is in
       parentheses, that locus is inconclusive with regard to Dr. Greineder.
                At D18 there’s a 12-14. That’s consistent with Dr. Greineder’s types. At D5
       a 9, 11 and 13 are observed. Dr. Greineder is an 11-13, so he is included. At D13 an
       8 and an 11 are observed. Dr. Greineder’s types at that locus are an 8 and a 11. And
       at D7 a 9 is observed. And I don’t know that you can see this, but there’s a little
       asterisk beside that 9. That reflects the little asterisk that’s in our report. And what
       that’s indicating is that the peak height is low, and we would be unable to tell if that
       9 was a 9-9 or a 9-something else. And therefore, that locus – Dr. Greineder is a 7-9.
       So with regard to him that locus would be inconclusive.

Tr. XII/55-56; 2012 R. 178-179 (emphasis added). Cotton then recounted the statistical significance

of the seven loci matching Greineder’s profile, exactly as set forth in Magee’s report dated March

27, 2000 (2012 R.623): “The calculation for African Americans is one in fifteen million. And the

calculation for Caucasians is one in 680,000.” Tr. XII/60; 2012 R. 183.

                       c.      Testimony of Dr. Cotton on cross-examination.

       In cross-examining Cotton, defense counsel reviewed the entire DNA testing process

employed by Cellmark, including the role of the analyst in interpreting the data. Tr. XII/133-198; Tr.

XIII/20-26; 2012 R. 256-321, 380-386. Cotton acknowledged that Cellmark had no protocol in place

delineating the peak shape of a true allele, as opposed to an artifact. Id. at 179; 2012 R. 539.

Electropherograms reflecting the test results did not include all of the electronic data, as some had

been filtered out at the analyst’s direction. Tr. XII/196-197; 2012 R.319-320.

       Defense counsel challenged Cotton on Cellmark’s validation studies, its reliance upon an

RFU threshold for allelic calls substantially below that recommended by the manufacturer of the

testing kits (150) or employed by the FBI (200), and its mid-case shift in RFU threshold from 40 to

60. Tr. XII/203-231; 2012 R.326-354. Cotton acknowledged that had the evidence been analyzed at

an RFU level of 200, all of the allele calls linking Greineder’s DNA profile to the knife and left work

glove would disappear. Tr. XII/237-239; Tr. XIII/53-57; 2012 R. 360-362, 413-417. Regarding the



                                                -77-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 92 of 223




right work glove, defense counsel challenged Cellmark’s failure to exclude Greineder as a possible

contributor, since six of his alleles were not detected. Id. at 57-81; 2012 R.417-441. Cotton

acknowledged that Cellmark knew Greineder’s DNA profile when it tested the samples in this case,

stating: “In this case we knew who the knowns were.” Id. at 194; 2012 R. 555 (emphasis added).

        Cotton explained that it was up to the analyst and the technical reviewer “to decide how

deeply into the [electronic] data to look.” Id. at 175-176; 2012 R. 535-536. For example, they could

choose to “zoom in” on a particular region to help decide whether a particular peak detected by the

computer should be characterized as a true allele. Id. at 180-182; 2012 R. 540-542. She agreed that

making the correct decision about whether to look more deeply into the data was important. Id. at

190; 2012 R. 551.

       In sum, the bulk of defense counsel’s cross-examination of Cotton was devoted to attacking

the reliability and accuracy of Cellmark’s reported test results. Using hypothetical questions, as

required by the trial judge, he also asked Cotton about unfiltered electropherograms prepared by the

defense from Cellmark’s electronic data, seeking to show the presence of peaks on several items

tested inconsistent with the DNA of Dirk or Mabel Greineder. Tr. XIII/93-191; 2012 R. 453-552.

                       d.     Dr. Cotton’s role.

       As noted above, all of Cellmark’s testing in this case was carried out by Wendy Magee. Tr.

XI/207; 2012 R.70. Cotton did not perform any of the testing, nor did she serve as a technical

reviewer. Id.; Tr. XIII/26-27; 2012 R.386-387. She did not personally review the underlying

electronic evidence with the filters applied by Magee removed, either. Id. at 28, 163-164; 2012 R.

388, 523-524. She did not know whether or when Magee chose to look more deeply into the

electronic data before making her allele calls. Id. at 23-25, 175-176; 2012 R. 383-385, 535-536.

Cotton testified that she did review the documentary casefile, including the electropherograms


                                              -78-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 93 of 223




printed by Magee, prior to testifying. Tr. XI/207; Tr. XIII/23-24; 2012 R.70, 383-384.30

                            e.       Testimony of DNA defense experts.

         The defendant called two DNA experts at trial in an effort to blunt the force of Cellmark’s

inculpatory test results. Dr. Daniel Krane, an associate professor of biological sciences, testifed that

he reviewed the underlying electronic data produced by Cellmark, as well as its written file. Tr.

XXII/23; 2012 R. 682. In his opinion, allelic calls should not be made based solely upon a review

of paper electropherograms containing filtered data, particularly in a case like this one involving

DNA mixtures detected in tiny quantities. Id. at 29-30; 2012 R. 688-689. Krane criticized Cellmark

for changing its RFU threshold in the middle of the case. Id. at 31-32; 2012 R. 690-691. He also

described a number of low-RFU peaks present in the electronic data on some of the items tested by

Cellmark, inconsistent with the DNA profiles of Dirk and Mabel Greineder and not characterized

by Cellmark as true alleles. Id. at 33-59, 86-87,94; 2012 R. 692-718, 745-746, 753. On cross-

examination, Krane opined that the RFU threshold employed by Cellmark was too low and

acknowledged that the presence of a third contributor to a DNA sample was unlikely based upon the

detection of a single unexplained allele. Id. at 123, 197; 2012 R. 783, 857. Krane also stated that the

presence of Greineder’s DNA in minute quantities on the key items tested could possibly be

explained by the phenomenon of secondary or tertiary DNA transfer from one surface to another. Id.

at 65-82, 91-92, 94-98; 2012 R. 724-741, 750-751, 753-757.

         Marc Taylor, a forensic scientist, testified for the defense about experiments he conducted

involving the phenomenon of DNA transfer. Tr. XXII/224-228; 2012 R. 875-879. Responding to


         30
                  When older forensic DNA technology was in use, the laboratory’s case file generally contained all of
the raw, empirical data relied upon by the analyst in interpreting test results. See, e.g., Commonwealth v. Hill, 54 Mass.
App. Ct. 690, 695 n.5 (2002). With the mechanized STR analysis employed here, however, the printed electropherograms
constituted abridged, filtered versions of the underlying electronic data, produced according to the parameters set by the
testing analyst.

                                                         -79-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 94 of 223




hypothetical questions, Taylor opined that Dirk Greineder’s DNA could have been transferred to

Mabel Greineder’s face by a towel they shared, and then from her face to the gloves and knife used

by Mabel’s assailant. Id. at 228-237; 2012 R. 879-888. On cross-examination, Taylor acknowledged

that there were no published, peer-reviewed studies on the phenomenon of DNA transfer,31 and that

he wasn’t able to assess the likelihood of its occurrence in any particular set of circumstances. Id.

at 241-247; 2012 R. 892-898.

                           f.       Closing arguments and jury deliberations.

         In his closing, defense counsel criticized Cellmark for its low RFU threshold and for

changing that threshold mid-case. Tr. XXV/43; 2012 R. 958. He also criticized the Commonwealth

for presenting a DNA witness who had not examined the underlying electronic data. Id. at 44; 2012

R. 959. Defense counsel argued that the trace amounts of DNA extracted from the key items of

evidence were too small to justify allelic calls, and that any of Greineder’s DNA which may have

been present on those items could be innocently explained by transfer. Id. at 44-47; 2012 R. 959-962.

He also argued that the presence of alleles inconsistent with Dirk or Mabel Greineder warranted the

jury in having a reasonable doubt as to the defendant’s guilt. Id. at 48-50; 2012 R. 963-965.

         In his closing, the prosecutor repeatedly attacked the defense DNA transfer theory. Tr.

XXV/62-63,77-83,85-87; 2012R.977-978, 992-998, 1000-1002. He briefly discounted the

significance of alleles inconsistent with Dirk or Mabel. Id. at 84-85; 2012 R. 999-1000. He told the

jury that Greineder’s DNA “was in those gloves, on the murder weapon.” Id. at 94; 2012 R. 1009.

“The defendant’s DNA is all over her,” he exclaimed. Id. at 80; 2012 R. 995.



         31
                  Since Greineder’s trial, however, there have been a number of peer-reviewed, published articles about
DNA transfer and the dangers of relying upon LCN mixtures. E.g. Lowe, et al., “The Propensity of Individuals to Deposit
DNA and Secondary Transfer of Low-Level DNA from Individuals to Inert Surfaces,” Forensic Science Int’l., Vol. 129,
pp. 25-34 (2002).

                                                       -80-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 95 of 223




         During jury deliberations on June 27 and June 28, 2001, respectively, the jurors asked for and

received copies of the DNA results charts, which had been marked as “chalks”. Exhibits ZZZZZ,

BBBBBB, and CCCCCC for identification; 2012 R. 1012-1014. The jury also requested copies of

the electropherograms, which were not provided. Id. The jury returned its verdict on June 29th.

                   2.       Cellmark’s reports.32

         All of Cellmark’s reports follow a similar format. As a representative example, consider the

first report, dated January 6, 2000. 2012 R. 612. It is on Cellmark letterhead and entitled “REPORT

OF LABORATORY EXAMINATION.” The footer states: “Accredited by the American Society of

Crime Laboratory Directors/ Laboratory Accreditation Board.” The report begins:

         Polymerase chain reaction (PCR) testing was performed on the following items
         which were received for analysis on November 29, 1999:
...

         I-3.3     One material cutting labelled “I-3.3 Glove...”

         It then describes the testing process:

         DNA isolated from the material cutting labelled I-3.3 glove, the two nail clippings
         labelled I-15 fingernails, and the blood swatch labelled Mabel Greineder was
         amplified using the PCR and typed for thirteen STR loci and Amelogenin. The
         samples were amplified using the AmpFlSTR Profiler Plus and the AmpFlSTR
         Cofiler PCR Amplification Kits. The appendices attached to this report list the STR
         loci tested and the types obtained for each sample.

Id.

         The section labeled “CONCLUSION” reads:

         The data indicate that DNA from more than one individual was obtained from the
         material cutting labelled I-3.3 glove. The primary source of the DNA obtained from
         the material cutting labelled I-3.3 glove is from a female; a secondary source is male.

         32
                   The written reports prepared by Cellmark detailing Magee’s test results and statistical calculations were
not introduced at trial, but were included in the post-trial record as Exhibit 5 to the Affidavit of Arthur J. Eisenberg,
discussed infra. Those reports are important here for comparison to Dr. Cotton’s testimony respecting the test results,
including the statistical significance of those results, to assist the Court in determining the extent to which Dr. Cotton
served as a conduit of Magee’s reports.

                                                          -81-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 96 of 223




          The primary DNA profile obtained from the material cutting labelled I-3.3 glove
          matches the DNA profile obtained from the blood swatch labelled Mabel
          Greineder....

Id.
          The report then provides random match statistics regarding the inclusion of Mabel Greineder.

Id. The report is signed by “Wendy C. Magee, Staff DNA Analyst,” and “Jennifer E. Reynolds,

Ph.D., Identity Laboratory Director.” Id.

          Charts listing the exact alleles identified at each locus are appended to the report. These

charts formed the basis for the chalks shown to the jury at trial:

                                     ALLELES DETECTED - COfiler

 Sample         D3S1358      D16S539      AMEL         TH01       TPOX        CSF1PO1      D7S820

 I-3.3          15,17        10,12        X,Y          7,9, 9.3   6,8         10           11

 Glove

                             ALLELES DETECTED - PROFILER PLUS




 Sample         D3S1358      vWA          FGA          AMEL       DS81179     D21S11       D18S51

 I-3.3 Glove    15,17 (19)   15,17        20,22,26     X,Y        12,13,15    28,29,30,3   12,14,16,1

                                                                              1            9


 D5S818         D13S317      D7S820

 9,10, (11),    8,12, 14     7,9,11

 13

          A follow-up report was prepared by Magee on February 23, 2000, apparently in response to

a request. It states:

                 As you requested, an alternative statistical calculation was performed to
          determine the frequency of the occurrence within the general population of possible
          DNA donors to the I-2.2 knife swab and the material cutting labelled I-3.3 glove.
                 Using the ... data previously reported in the Report of Laboratory

                                                     -82-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 97 of 223




         Examination dated January 6, 2000, the approximate frequencies of individuals in the
         African American and Caucasian populations who could be included as possible
         sources of the DNA obtained from the material cutting labelled I-3.3 glove, making
         no assumptions regarding the number of DNA sources, are as follows:

         Population Database                            Frequency

         African American                               1 in 59,000
         Caucasian                                      1 in 20,000

                Using the assumptions that: 1) there were only two sources of DNA obtained
         from the material cutting labelled I-3.3 glove and 2) Mabel Greineder is one of the
         sources of the DNA obtained from the material cutting labelled I-3.3 glove, the
         approximate frequencies of individuals in the African American and Caucasian
         populations who could be possible secondary sources of the DNA obtained from the
         material cutting labelled I-3.3 glove are as follows:

         Population Database                   Frequency

         African American                      1 in 680 million
         Caucasian                             1 in 170 million

         The statistical frequencies provided in this letter were calculated using
         Recommendation 4.1 from the 1996 National Research Council report.

2012 R. 61-62. This report is also signed by Magee and Reynolds.

                  3.        Critique of Cellmark testing by Dr. Eisenberg.33

         Dr. Eisenberg [“Eisenberg”] noted that minute quantities of DNA from more than one source

are known as Low Copy Number or “LCN” mixtures. He described the analysis of such samples as

“fraught with peril,” explaining that “[t]he critical problem, as yet unsolved by the forensic

community, is how to distinguish reliably” between true alleles and artifacts in LCN mixtures. 2012

R.1050,1052. Much of the DNA analyzed by Cellmark on the key pieces of evidence in this case falls

into the category of LCN mixtures. 2012 R.1021.

         33
                   Following Greineder’s conviction, Dr. Arthur J. Eisenberg, former Chairman of the United States DNA
Advisory Board to the Director of the FBI, see 42 U.S.C. § 14131, was retained by the defense to analyze Cellmark’s
work in this case, including its underlying electronic data and reported results. Dr. Eisenberg detailed his findings in a
lengthy affidavit and exhibits filed in support of a motion for new trial (2012 R.1015-1321), which sheds substantial light
on the particular problems posed by the testing in this case.

                                                         -83-
          Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 98 of 223




          Eisenberg found that Cellmark’s validation studies were “seriously flawed” and its

interpretation guidelines “woefully inadequate.” 2012R.1066,1072. He noted that Cellmark

“committed numerous errors in the interpretation of its own mixture validation studies,” 2012 R.

1068, adding that those studies demonstrated that it was not possible to determine reliably whether

a peak appearing on an electropherogram was a true allele or an artifact. 2012 R.1069. Cellmark

produced no validation studies of LCN mixture testing at interpretation thresholds of less than 100

RFUs and did not validate either the 40 RFU or 60 RFU interpretation thresholds it employed during

its work in the Greineder case. 2012 R.1066-1071.34

         Eisenberg found that Cellmark’s interpretation guidelines lacked virtually all of the essential

criteria required to make consistent and reliable interpretations of DNA test results. Rather, they

“invited analysts to make biased and inconsistent calls.” 2012 R.1073-1074. As Eisenberg noted:

         When the key pieces of evidence were analyzed by Cellmark, there were no written
         guidelines specifying when a particular peak should be labeled as an allele and when
         it should be labeled as an artifact. That key determination was left to the undirected
         discretion of the analyst and technical reviewer.

2012 R.1023.

          Eisenberg found that Magee knew the DNA profiles of Dirk and Mabel Greineder before

making allelic calls on the key pieces of evidence. 2012 R. 1078-1081. “In exercising her discretion

in analyzing the evidence in this case,” he noted, “Cellmark’s technical analyst [Magee] made

inconsistent calls from locus to locus and sample to sample for no apparent reason.... These

subjective calls left entirely to the discretion of the analyst consistently induced bias against the

accused.” 2012 R.1023. In sum, according to Eisenberg:

         The data suggests that Cellmark committed an egregious bias in the interpretation of
         results based on the known reference samples. This was scientifically unacceptable

         34
                  An interpretation threshold denotes the minimum level below which any possible peaks will not be
regarded as reportable alleles. The height of a peak is measured in “Relative Fluorescence Units,” or RFUs. 2012 R.1050.

                                                        -84-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 99 of 223




       and grossly improper.

2012 R.1081.

       After analyzing all of the underlying electronic data on the three key items of evidence (knife

and work gloves), Eisenberg concluded that the test results should have been reported as

“inconclusive,” adding:

       Absolutely no statistical data indicating any likelihood of association between Dirk
       Greineder and the three key pieces of evidence should have been calculated or
       presented.

2012 R.1110.

               4.      Resolution of the issue by the Massachusetts SJC.

                       a.      Issue raised on appeal.

       On direct appeal to the Massachusetts SJC, Greineder argued that Cotton=s testimony

reporting the inculpatory DNA test results produced by Wendy Magee was testimonial hearsay.

Thus, the admission of that evidence, over objection, violated Greineder=s right to confrontation

under the Sixth and Fourteenth Amendments to the United States Constitution. While Cotton did

review the case file prior to testifying, she admitted that she did not examine the raw, unfiltered,

empirical data. Rather, she only saw what remained after Magee instructed the computer which data

to filter out, which peaks to label as actual DNA alleles, and which to treat as artifacts of the

amplification process. Cotton was simply parroting the results of another scientist=s exercise of

judgment and discretion. Given the importance of the inculpatory DNA evidence to the

Commonwealth=s overall case, Greineder argued, this preserved constitutional error was clearly not

harmless beyond a reasonable doubt and required reversal.

                       b.      The Massachusetts SJC’s resolution of the issue prior to remand.

       In its 2010 decision, the SJC rejected Greineder=s claim. Greineder, 458 Mass. at 239. The


                                               -85-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 100 of 223




SJC addressed the confrontation issue by separating it into two distinct parts. First, it addressed what

it characterized as Greineder=s challenge to the admission of Cotton=s “opinion” testimony detailing

statistical likelihoods based on the DNA testing. It found no error, holding that this was admissible

expert opinion testimony:

        Opinion testimony may, as here, be based on hearsay and not offend the Sixth
        Amendment. If the particular hearsay is independently admissible (the defendant does
        not argue that Magee could not have testified as to details contained in her reports
        and on which Dr. Cotton relied) and if it is the kind of evidence on which experts
        customarily rely as a basis for opinion testimony (which it is ...), then an expert may
        give opinion testimony based on such material.... Such testimony does not violate the
        Sixth Amendment because the expert witness is subject to cross-examination about
        her opinion, as well as Athe risk of evidence being mishandled or mislabeled, or of
        data being fabricated or manipulated, and as to whether the expert's opinion is
        vulnerable to these risks.@... The defendant had an adequate opportunity to conduct
        such cross-examination, and he availed himself of that opportunity, with vigor, for
        the better part of two days.

458 Mass. at 236 (citations omitted).

        Having found no error in the admission of the inculpatory “opinion” testimony, the SJC then

separately addressed the admission of Cotton’s testimony enumerating the specific DNA test results,

including the allele calls made by Wendy Magee on each item of evidence. The SJC found that the

admission of this evidence was error. It wrote:

        The defendant next challenges Dr. Cotton's testimony as to the details and results of
        DNA tests conducted by Magee. His objection at trial to such testimony was precise:
        AI would like to register my objection to Doctor Cotton's testifying about the data in
        this case given the fact that she hasn't done any of the work on it.@ This evidence,
        while providing basis for Dr. Cotton's opinion, was hearsay. As such, it was error to
        permit her to testify on direct examination to the details of the test results obtained
        by Magee.... Inquiry into the hearsay basis for expert opinion is the decision of the
        cross-examiner.

Id. at 236-237. The SJC held that this error was not prejudicial, reasoning that the evidence would

likely have been admitted anyway, either to support a defense of third-party involvement or to

Areduce some of the sting of Dr. Cotton=s opinion@ by attacking her credibility. Id. at 239.


                                                -86-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 101 of 223




                       c.     Arguments presented to SJC on remand.

       After the defendant filed a petition for writ of certiorari, the Supreme Court vacated the

judgment of the SJC and remanded it for further consideration in light of Williams, 132 S.Ct. 2221.

See Greineder v. Massachusetts, 133 S.Ct. 55 (2012). On remand, Greineder presented similar

constitutional arguments, refined by the Supreme Court’s intervening decisions in Bullcoming, 131

S.Ct. 2705, and Williams. He argued that Dr. Cotton’s testimony essentially parroted the reports

from Magee since Cotton told the jury, locus-by-locus and allele-by-allele, exactly what portions of

Greineder's DNA profile Magee had identified in the Low Copy Number DNA mixtures on the knife

and brown work gloves Magee had extracted, quantitated, amplified, tested, and interpreted.

       Greineder also argued that characterizing Cotton’s testimony about the random match

probabilities of the portion of Greineder's DNA profile identified by Magee on each of those three

key pieces of evidence as an “independent” “opinion” was specious. In fact, those same statistics

were all set forth in Magee's reports and repeated word-for-word and number-by-number by Cotton

in her direct testimony. Further, the random match probabilities reported by Cotton were not

presented to the jury as "opinion," let alone as her opinion. Rather, as Cotton acknowledged, they

reflected merely rote mechanical computations carried out by computer. “You could do it by hand,”

she testified, “but it's kind of tedious.” Tr. XII/236-237; 2012 R. 359-360. Indeed, if any portion

of Dr. Cotton's testimony reflected “opinion,” it was Magee's interpretive calls, duly reported by

Cotton, about which peaks detected in the raw electronic data on the key pieces of evidence

represented true alleles and which did not. Consequently, he argued, the SJC’s bifurcated analysis,

which separately addressed the test results and an “opinion” based entirely on those results, was an

invalid means of circumventing the requirements of the Confrontation Clause.

       For these reasons, Greineder argued, based on the Supreme Court's majority opinion in


                                              -87-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 102 of 223




Bullcoming and a combination of opinions expressing the views of a majority of the Court in

Williams, Dr. Cotton's direct testimony recounting the substance of Magee's written reports regarding

the key pieces of evidence was testimonial hearsay, admitted in violation of the Confrontation Clause

of the Sixth Amendment. She told the jurors what evidence Magee tested; she told them what alleles

Magee identified on those items; she told them which of those alleles matched Greineder's DNA

profile (as determined by Magee); and she told them what Magee determined to be the random

likelihood of these partial matches. That was constitutional error.

                       d.      The SJC’s decision on remand.

       On remand, the SJC again rejected Greineder’s arguments, largely endorsing its earlier

decision and relying on it directly in certain respects. The SJC began by examining its longstanding

precedent dealing with expert testimony, stressing the distinction drawn between underlying facts

and resulting opinions:

       In Massachusetts, we draw a distinction between an expert's opinion on the one hand
       and the hearsay information that formed the basis of the opinion on the other, holding
       the former admissible and the latter inadmissible....The admission of expert opinion
       but exclusion of its hearsay basis protects a criminal defendant's Federal and State
       constitutional right to confront witnesses.... Expert opinion testimony, even if based
       on facts and data not in evidence, does not violate the right of confrontation because
       the witness is subject to cross-examination concerning his or her expert opinion and
       the reliability of the underlying facts and data.

464 Mass. at 584. After discussing recent confrontation decisions by the Supreme Court, the SJC

turned to the “import” of Williams:

       Of great significance for our present purposes is that Williams focused on the
       admissibility of evidence of the basis of the expert's independent opinion, and not the
       admissibility of the expert opinion itself.... Five members of the Supreme Court
       concluded, albeit for different reasons, that such basis evidence is admissible without
       violating a defendant's confrontation right.... As we explained earlier, under
       Massachusetts jurisprudence, a forensic expert's opinion that relies on the data or
       conclusions of a nontestifying analysis is bifurcated from its basis. We allow an
       expert to testify to his or her independent opinion even if based on data not in
       evidence; we do not allow expert witnesses to testify to the specifics of hearsay
                                               -88-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 103 of 223




       information underlying the opinion on direct examination.

Id. at 592. Based on this, it concluded: AThus, our rules of evidence and the protections they afford

are not inconsistent with Williams. Williams does not interpret the confrontation clause to exclude

an expert's independent opinion testimony, even if based on facts or data not in evidence and

prepared by a nontestifying analyst.@ Id. at 592-593. It continued:

       Moreover, where five Justices concluded that admission of underlying facts that
       formed the basis of an expert's opinion did not offend the confrontation clause,
       Williams allows even more than an expert's independent opinion in evidence.... As
       is clear by now, our evidentiary rules afford a defendant more protection than the
       Sixth Amendment.

Id.

       The SJC went on to reiterate its Abifurcation of admissible expert opinion from its

inadmissible, hearsay basis,” rejecting Greineder=s claim that the two were inextricably linked in the

context of DNA analysis. It wrote:

       We disagree. There is a clear distinction between the allelic information that
       establishes genetic makeup and the statistical significance of the data that establishes
       how frequently a genetic combination appears in the population at large.... As we
       said in Barbosa ..., it is the statistical significance of a DNA match that is of greatest
       use to a jury; information about the prevalence of a particular gene combination gives
       meaning to the underlying fact of allelic presence.

Id. at 599. The SJC also stated that “with DNA analysis, the testing techniques are so reliable and

the science so sound that fraud and errors in labeling or handling may be the only reasons why an

opinion is flawed.” Id. at 587, quoting Commonwealth v. Barbosa, 457 Mass. 773, 790 (2010).

       The SJC acknowledged that Justice Kagan’s dissent in Williams both implicitly rejected the

bifurcation of underlying data from the expert “opinion” based on that data and emphasized that the

factfinder would necessarily need the underlying data in order to evaluate the expert=s conclusion.

Id. at 599-600. It reasoned, however, that this simply meant that, unless the defendant opened the

door on cross-examination, the underlying data would not be presented, and the jury Amay properly
                                                -89-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 104 of 223




accord less weight to the expert=s opinion.@ Id. at 600.

        As to the numerous violations of the SJC=s own rule in reported case law,35 where prosecutors

introduced basis evidence during their case-in-chief with impunity, the SJC rejected the suggestion

that this was a sign of a Aflawed system@ warranting remedial action. It concluded, rather, that better

training for prosecutors would resolve this problem:

        It merely reveals either a lack of emphasis on the prohibition of expert basis evidence
        on direct examination, or the scarcity of practical skills training to aid prosecutors in
        eliciting only opinion and not its hearsay basis from expert witnesses.

Id. at 601.

        The SJC went on to apply its unchanged legal standard to the facts of this case. It recognized

that the analyst=s report was testimonial, given that Athe defendant was targeted as a suspect at the

time Cellmark conducted DNA testing, and demonstrates that the DNA testing was conducted for

the purpose of obtaining evidence for later use at trial,@ and that the analyst would reasonably

anticipate her conclusions being used against him. Id. at 594 n.15. As to the argument that Cotton

had merely repeated Magee=s opinions or findings, it concluded that she was not just a conduit:

        Nonetheless, and as we determined previously, the record reflects that Dr. Cotton
        reviewed the nontestifying analyst's work, including six prepared reports, and then
        conducted an independent evaluation of the data.... She then Aexpressed her own
        opinion, and did not merely act as a conduit for the opinions of others.@... Moreover,
        we will not exclude expert opinion just because statistics indicating the significance
        of the genetic information have been included in the report provided to the expert....
        In fact, similar views on the statistical significance of allelic information extrapolated
        from test samples only lends credence to an expert's independent opinion.

Id. at 595. It did so while acknowledging that Athe expert had only reviewed the filtered, printed data

(as opposed to the raw, electronic data).@ Id. at 595 n.16. The SJC then reasoned that, because

Greineder could cross-examine the lab director about Cellmark’s testing procedures, his



        35
                 An amicus brief detailed some twenty-one violations of this principle reflected in reported
Massachusetts case law.
                                                  -90-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 105 of 223




confrontation rights were fulfilled. Indeed, the SJC claimed, Dr. Cotton was actually Ain a better

position@ than Magee to answer certain questions about the testing process. Id. at 597-598. See also

id. at 584, 585, 586, 595, 596, 599 (asserting that cross-examining substitute analyst is sufficient).

       With respect to the admission of the underlying data on Cotton’s direct examination, the SJC

merely reiterated its prior conclusion that there was no prejudice since the defense used some of the

data to support a theory that there was a third party who committed the murder and to attack Dr.

Cotton=s credibility. Id. at 602-603. Accordingly, the SJC refused on remand to alter either its legal

standard for determining the admissibility of substitute expert testimony or its decision affirming

Greineder’s conviction.

       B.      Summary of Applicable Law.

               1.      Melendez-Diaz.

       In Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009), the Court held that the

Confrontation Clause, as interpreted in Crawford v. Washington, 541 U.S. 36 (2004), barred

introduction of drug certificates in the absence of live testimony by a laboratory analyst. Justice

Scalia, writing for the majority, explained:

       In short, under our decision in Crawford the analysts' affidavits were testimonial
       statements, and the analysts were “witnesses” for purposes of the Sixth Amendment.
       Absent a showing that the analysts were unavailable to testify at trial and that
       petitioner had a prior opportunity to cross-examine them, petitioner was entitled to
       “‘be confronted with’” the analysts at trial.

557 U.S. at 311.

       The Court specifically addressed the argument that, because of its special nature, scientific

evidence should be exempt from the constitutional requirement of confrontation. Surveying recent

studies and cases, it rejected the suggestion that “[f]orensic evidence is [] uniquely immune from the

risk of manipulation.” Id. at 318. The Court went on to emphasize the particular importance of


                                               -91-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 106 of 223




confrontation in this area:

        Confrontation is designed to weed out not only the fraudulent analyst, but the
        incompetent one as well. Serious deficiencies have been found in the forensic
        evidence used in criminal trials. One commentator asserts that “[t]he legal
        community now concedes, with varying degrees of urgency, that our system
        produces erroneous convictions based on discredited forensics.”

Id. at 319.

                2.      Bullcoming.

        Just two years later, the Court again addressed the interaction of the Sixth Amendment and

scientific evidence. In Bullcoming v. New Mexico, 131 S.Ct. 2705 (2011), the defendant was charged

with DWI. At trial, the principal piece of evidence against him was a forensic laboratory certificate

specifying his blood-alcohol level. The analyst who did the testing and signed the certificate was not

called as a witness. Instead, another analyst who was familiar with the testing procedures, but not

involved in the analysis of Bullcoming’s sample, testified for the prosecution about the testing results

as set forth in the report, which was admitted into evidence as a business record.

         The Court found this to be violative of the Sixth Amendment, once again rejecting the

argument that the inherent reliability of the evidence made it admissible. It summarized its decision:

        The question presented is whether the Confrontation Clause permits the prosecution
        to introduce a forensic laboratory report containing a testimonial certification—made
        for the purpose of proving a particular fact—through the in-court testimony of a
        scientist who did not sign the certification or perform or observe the test reported in
        the certification. We hold that surrogate testimony of that order does not meet the
        constitutional requirement. The accused's right is to be confronted with the analyst
        who made the certification, unless that analyst is unavailable at trial, and the accused
        had an opportunity, pretrial, to cross-examine that particular scientist.

Id. at 2710. It noted that its evaluation was not dependent on the quality of the underlying analysis:

        [T]he analysts who write reports that the prosecution introduces must be made
        available for confrontation even if they possess “the scientific acumen of Mme. Curie
        and the veracity of Mother Teresa.”

Id. at 2715, quoting Melendez-Diaz, 557 U.S. at 319, n.6. The Court noted that “surrogate testimony”
                                                -92-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 107 of 223




would not enable a defendant to probe the details of the testing process or explore questions of

competence or dishonesty of the non-testifying analyst. Id. Finally, the Court held that the report was

testimonial even though it was not notarized. Id. at 2717.

       In a concurring opinion, Justice Sotomayor wrote, in part to “emphasize the limited reach of

the Court’s opinion.” To do so, she “highlight[ed] some of the factual circumstances that this case

does not present.” Id. at 2721-2722 (Sotomayor, J., concurring). First, she wrote, this was not a case

with an alternate purpose or alternate primary purpose for the report. Second, it was not a case “in

which the person testifying is a supervisor, reviewer, or someone else with a personal, albeit limited,

connection to the scientific test at issue,” but rather one where the testifying witness did not observe

any part of the conduct of the testing. Id. at 2722. Third, it was not a case “in which an expert

witness was asked for his independent opinion about underlying testimonial reports that were not

themselves admitted into evidence.” Id. at 2722. Finally, it was not a case where the prosecution

introduced “only machine-generated results.” Id.

       Justice Kennedy, joined by three other justices, dissented. He wrote: “Before today, the

Court had not held that the Confrontation Clause bars admission of scientific findings when an

employee of the testing laboratory authenticates the findings, testifies to the laboratory’s methods

and practices, and is cross-examined at trial.” Id. at 2723 (Kennedy, J., dissenting).

               3.      Williams.

       Less than one year later, on June 18, 2012, the Supreme Court decided Williams v. Illinois,

132 S.Ct. 2221 (2012).

                       a.      The facts in Williams.

       The defendant in Williams was charged with rape. At his bench trial, the prosecutor called

an expert from the state police lab who testified that a male DNA profile obtained by Cellmark from


                                                -93-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 108 of 223




the victim’s vaginal swab matched the profile produced by the state police lab from a sample of the

defendant’s blood. The defendant moved to exclude the expert’s testimony “with regards to testing

done by [Cellmark]” under the Confrontation Clause. 132 S.Ct. at 2229. The trial judge refused to

exclude the expert’s testimony and found the defendant guilty.

         Cellmark had conducted its testing at a time when no suspect had been identified, and it had

no access to the defendant’s DNA profile. After Cellmark reported the DNA profile found in the

vaginal swab, it was compared to the state DNA database, resulting in a “cold hit” on the defendant’s

profile. The victim subsequently picked the defendant out of a lineup. The DNA evidence was

introduced under Illinois Rule 703, which, like FRE 703, admits expert opinion testimony based on

information not in evidence, as well as underlying facts supporting that opinion testimony, though

not for their truth.

                           b.        The plurality opinion (“targeted accusation” requirement).

         Justice Alito authored an opinion on behalf of himself, along with Chief Justice Roberts and

Justices Kennedy and Breyer,36 affirming the conviction. The plurality concluded that the expert’s

testimony about the source of the DNA tested by Cellmark was not admitted for its truth and, in any

event, that Cellmark’s report was non-testimonial because it had been prepared before any suspect

had been identified, so it was not intended to produce evidence against a targeted individual. 132

S.Ct. at 2228, 2243-2244. That contrasted with the circumstances present in Melendez-Diaz and

Bullcoming, where the lab reports were prepared “for the purpose of proving the guilt of a particular

criminal defendant at trial.” Id. at 2243-2244. Moreover, there was “no suggestion that anyone at


         36
                   Justice Breyer also wrote a separate concurring opinion, in which he lamented the Court’s failure to
delineate a “generally applicable” rule respecting the admissibility of forensic evidence produced by crime labs under
the Confrontation Clause and advocated setting the case for reargument. Alternatively, he adhered to his dissenting views
as set forth in Melendez-Diaz and Bullcoming and reiterated his position that reports documenting laboratory testing,
which “takes place behind a veil of ignorance,” should be deemed reliable and admissible for all purposes. 132 S.Ct. at
2244-2254.
                                                        -94-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 109 of 223




Cellmark had a sample of [Williams’] DNA to swap in by malice or mistake.” Id. Under the

circumstances, “there was no ‘prospect of fabrication’ and no incentive to produce anything other

than a scientifically sound and reliable profile.” Id. The plurality also noted that the trial witness

didn’t quote from or read from the Cellmark report, nor did she identify it as the source of any of her

opinions. Id. at 2230. The plurality noted also the importance of the fact that the trial was in front

of a judge instead of a jury. Id. at 2236-2237.

                       c.      Justice Thomas’s concurrence (“formality” requirement).

       In a separate concurrence, Justice Thomas rejected the plurality’s conclusion that the

statements from Cellmark’s report were not introduced for their truth. He stated:

       There is no meaningful distinction between disclosing an out-of-court statement so
       that the factfinder may evaluate the expert's opinion and disclosing that statement
       for its truth.

Id. at 2257. Justice Thomas noted that “[t]he validity of [the testifying expert’s] opinion ultimately

turned on the truth of Cellmark’s statements.” Id. at 2258. He also described the potential dangers

of the plurality’s approach:

       It is no answer to say that “safeguards” in the rules of evidence will prevent the abuse
       of basis testimony.... To begin with, courts may be willing to conclude that an expert
       is not acting as a “mere condui[t]” for hearsay ... as long as he simply provides some
       opinion based on that hearsay.

Id. at 2259. “I share the dissent’s view of the plurality’s flawed analysis,” he added. Id. at 2255.

       Yet despite his general agreement with the dissenting Justices and his disagreement with the

plurality opinion of Justice Alito, Justice Thomas concluded that, in his view, the signed, yet

unsworn, Cellmark report underlying the expert’s trial testimony lacked sufficient indicia of

formality to qualify as “testimonial” evidence under the Confrontation Clause. Accordingly, on that

specific ground, adopted by no other member of the Court, he concurred that the admission of the

testimony at issue did not violate the Constitution and joined the plurality in voting to affirm the
                                                  -95-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 110 of 223




defendant’s conviction. Id. at 2259-2264.

                         d.    The dissenting opinion (basic “evidentiary purpose” test).

       Four Justices (Kagan, Scalia, Ginsburg, and Sotomayor) dissented in an opinion written by

Justice Kagan. They noted at the outset:

       In two decisions issued in the last 3 years [Melendez-Diaz and Bullcoming], this
       Court held that if a prosecutor wants to introduce the results of forensic testing into
       evidence, he must afford the defendant an opportunity to cross-examine an analyst
       responsible for the test.

132 S.Ct. at 2264. “Under our Confrontation Clause precedent,” they declared, “this is an open and

shut case.” Id.

       Justice Kagan proceeded to explain why the defendant clearly had the right to cross-examine

the analyst who conducted Cellmark’s testing and why a substitute expert would not pass

constitutional muster:

       “[W]hen the State elected to introduce” the substance of Cellmark's report into
       evidence, the analyst who generated that report “became a witness” whom Williams
       “had the right to confront.” Bullcoming, 564 U.S., at ––––, 131 S.Ct., at 2716. As we
       stated just last year, “Our precedent[s] cannot sensibly be read any other way.” Ibid....
               Williams's attorney could not ask questions about that analyst's “proficiency,
       the care he took in performing his work, and his veracity.” 564 U.S., at ––––, n. 7,
       131 S.Ct., at 2716, n. 7. He could not probe whether the analyst had tested the wrong
       vial, inverted the labels on the samples, committed some more technical error, or
       simply made up the results.... “Nor could such surrogate testimony expose any lapses
       or lies” on the testing analyst's part.

132 S.Ct. at 2267.

       C.         Application of Law to Facts.

                  1.     The introduction of Dr. Cotton’s testimony violated Dr. Greineder’s
                         Sixth Amendment rights as set forth in Bullcoming.

                         a.    Greineder’s right to confront the witnesses against him was
                               violated.

       This is a straightforward case under federal precedent. The SJC’s evasion of that precedent


                                                 -96-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 111 of 223




was deeply flawed, both in its factual predicates, its logic, and its legal applications. Before

discussing these flaws, it is appropriate to set out the proper analysis of the issue under governing

Supreme Court precedent.

         The facts supporting this argument are clear. As even the SJC acknowledged on remand: (1)

the non-testifying laboratory analyst prepared reports which, based on their anticipated use against

an already-identified defendant, were Atestimonial@; (2) information regarding the alleles as well as

the statistics about the likelihood of the match were contained in the reports generated by the

laboratory analyst; (3) the testifying expert witness repeated the information contained in the reports,

both details and results, including allele calls as well as their statistical significance, to the jury; and

(4) the testifying expert witness had never reviewed the unfiltered electronic data, and had reviewed

only the data as limited and filtered by the analyst through the use of the analyst=s independent

judgment.37 Under Bullcoming, these facts -- that testimonial statements were introduced for their

truth without an opportunity to cross-examine the person who made them -- establish a clear

violation of the Confrontation Clause. See 131 S.Ct. at 2716. The only difference from Bullcoming

-- that the content of the reports was repeated orally by a witness rather than simply introduced into

evidence as a business record -- is without constitutional significance. See Young v. United States,

63 A.3d 1033, 1044 (D.C. 2013) (A[L]awyers may not circumvent the Confrontation Clause by

introducing the same substantive testimony in a different form@). Indeed, Justice Sotomayor’s

concurring opinion in Bullcoming, offered to limit the scope of that decision, makes it abundantly

clear that the present case falls squarely within its ambit: the report here was generated with the

         37
                   See 464 Mass. at 594 n.15 (Awe also conclude that Dr. Cotton's testimony regarding the DNA analyst's
test results was admitted in error for the additional reason that the nontestifying analyst's report was testimonial@); id. at
595 (AThe multiple reports submitted by Cellmark included statistical calculations on the frequency that the genetic
makeup recovered from evidence collected from the crime scene appears in the population, as well as conclusions
regarding whether the defendant could be excluded as a source of DNA obtained from these samples@); id. at 602
(AGranted, in this case, Dr. Cotton did testify, to the details and results of the nontestifying analyst=s DNA test results@);
id. at 595 n.16 (Athe expert had only reviewed the filtered, printed data (as opposed to the raw, electronic data)”).
                                                           -97-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 112 of 223




purpose of incriminating Dr. Greineder; Cotton had no personal involvement in the testing; Cotton

was not asked for an independent opinion about unadmitted underlying information; and it did not

involve only machine-generated results. See 131 S.Ct. at 2721-2722 (Sotomayor, J., concurring).

Compare State v. Lopez, 45 A.3d 1, 13 (R.I. 2015) (no confrontation issue where testifying analyst

from Cellmark “personally reviewed and independently analyzed all the raw data, formulated the

allele table, and then articulated his own final conclusions concerning the DNA profiles and their

corresponding matches”).

       This application of the holding of Bullcoming is not changed by Williams. Indeed,

Williams reinforces this conclusion, based upon the reasoning expressed by a majority of the

members of the Court. Based upon the views of Justice Kagan and her three colleagues who joined

her opinion, this, too, should be “an open and shut case.” 132 S.Ct. at 2264. For all of the reasons

expressed in that opinion, Greineder had the right to challenge the DNA test results introduced at

trial by confronting the analyst who produced those results, not someone else. Further, the plurality

opinion of four other Justices authored by Justice Alito also supports Greineder here. The plurality

deemed Cellmark's report in Williams non-testimonial because it was produced before a suspect had

been identified, it was not intended for use against the defendant at trial, and the lab neither knew

the defendant's DNA profile nor possessed a sample of his DNA when it tested the crime scene

sample. 132 S.Ct. at 2228, 2243-2244. Here, by contrast, Greineder had already been targeted as the

suspect, the testing was performed to buttress the Commonwealth's case against him at trial, and

Cellmark had a sample of his DNA which it used to determine his DNA profile before Magee tested

the key pieces of evidence and made her allele calls. That makes the substance of Magee's reports,

as recounted by Dr. Cotton, testimonial under the plurality’s “primary purpose” test.38

       38
               Justice Alito's opinion made much of the fact that Williams was tried by a judge, not a jury, so the
                                                                                                  (continued...)
                                                    -98-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 113 of 223




         In sum, under Williams, seven39 members of the U.S. Supreme Court would presumably

characterize Cotton=s direct testimony as testimonial hearsay admitted in violation of the

Confrontation Clause. One court has characterized the result of Williams as follows: AWhile Justice

Alito's rationale and Justice Thomas's rationale may not be includible within each other, the different

tests they utilize to determine whether a statement is testimonial are subsumed within and narrower

than the dissenters' test.” Young, A.3d at 1043. When these various positions are considered

together, a meaningful rule -- at least to some sets of facts -- can be deduced:

         It therefore is logically coherent and faithful to the Justices' expressed views to
         understand Williams as establishing – at a minimum – a sufficient, if not a necessary,
         criterion: a statement is testimonial at least when it passes the basic evidentiary
         purpose test plus either the plurality's targeted accusation requirement or Justice
         Thomas's formality criterion. Otherwise put, if Williams does have precedential value
         as the government contends, an out-of-court statement is testimonial under that
         precedent if its primary purpose is evidentiary and it is either a targeted accusation
         or sufficiently formal in character.

Id. Under Williams, regardless of which test is applied, Magee=s reports must be considered

testimonial because they were made with anticipation of their likely use at the jury trial of a known

suspect. See also State v. Kennedy, 735 S.E.2d 905, 917 (W.Va. 2012) (unnecessary to determine

Anarrowest grounds@ of Williams where autopsy report qualified as testimonial under both a Aprimary

purpose@ test and a Atargeted individual@ test); Martin v. State, 60 A.3d 1100 (Del. 2013) (relying on

Williams and Bullcoming to require testimony of testing analyst, not just substitute analyst, where

statements would qualify as testimonial both under dissent=s test and plurality=s primary purpose

         38
              (...continued)
information from Cellmark would presumably not have been (improperly) considered for its truth. Here, Greineder was
tried by a jury, and the prosecution did everything it could (including blown-up color charts displayed and distributed
to the jurors during Cotton's testimony and deliberations) to ensure that the finder-of-fact would rely substantively on
Magee's test results.
         39
                   Based on his separate concurrence, Justice Breyer might have no problem with Cotton's testimony.
But see 132 S.Ct. at 2250 (emphasizing Aveil of ignorance,@ which does not exist in this case). Justice Thomas might
adhere to his uniquely-held position that the absence of a formal sworn certification or attestation from Magee's official,
signed reports somehow insulated their contents from being characterized as “testimonial” when repeated by someone
else -- even though the SJC concluded that the reports were testimonial.
                                                         -99-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 114 of 223




test); State v. Norton, --- A.3d ----, 2015 WL 4130230 (Md. July 9, 2015) (finding forensic DNA

case report to be testimonial both under test derived from opinions in Williams and Bullcoming).40

                            b.       The constitutional error was preserved.

         Just before Cotton began her detailed testimony about Cellmark’s test results, defense

counsel objected at sidebar to her “testifying about the data in this case given the fact that she hasn’t

done any of the work on it.” Tr. XI/208. That “data” included both the allele calls and the resulting

random match probability statistics as set forth in Magee’s reports. This objection clearly put the trial

judge on notice that it was defense counsel’s position that the results of Magee’s testing could not

properly be presented through Cotton. Indeed, the trial judge, in response to defense counsel’s

objection, wondered aloud whether the Commonwealth was planning on calling Magee as a trial

witness. Under the circumstances, where defense counsel timely objected to a witness testifying

about test results contained in reports written by a non-testifying analyst, counsel’s objection was

adequate to preserve the issue.

                            c.       The error was prejudicial.

         While the Commonwealth’s circumstantial case against Greineder was comprised of several

components, the inculpatory DNA test results were its centerpiece. If the jury concluded that

Greineder’s DNA was on the knife and brown work gloves ostensibly used by Mabel’s killer, then

the defense faced an exceedingly difficult task (which ultimately proved insurmountable) to engender

doubt that Greineder was, in fact, that killer. Defense counsel surely tried -- by suggesting that

Greineder’s DNA could somehow have been transferred onto those items from other surfaces -- but

         40
                   See also United States v. Dollar, 69 M.J. 411 (C.A.A.F. 2011) (per curiam) (admission of drug testing
reports during testimony of government expert witness was error, where author of drug testing reports did not testify and
expert acted as “surrogate” witness for the author of the reports); United States v. Cavitt, 69 M.J. 413 (C.A.A.F. 2011)
(per curiam) (admission of testimony of expert who relied on and relayed information contained within urinalysis report
was error because author of report did not testify); United States v. Trotman, 406 Fed. Appx. 799 (4th Cir. 2011)
(unpublished) (reversal of conviction where testifying chemist had not actually tested substances or observed the testing).

                                                        -100-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 115 of 223




that speculative theory fizzled during cross-examination of the two defense experts. More

importantly, no “innocent explanation” of Magee’s test results on the key pieces of evidence would

have been necessary had the trial judge prohibited Cotton from presenting them.41 There can be no

serious dispute that the DNA test results played an important role in the outcome of this trial. Its

admission had a “substantial and injurious effect” on the jury’s verdict. The writ should be issued.

Cf. Merolillo v. Yates, 663 F.3d 444 (9th Cir. 2011) (admission at trial of non-testifying autopsy

pathologist’s opinion violated Sixth Amendment right to confront witnesses and was not harmless

where pathologist’s opinion was the only expert testimony supporting prosecution’s causation

theory; habeas relief granted).

                            d.       The importance of confrontation as to forensic evidence.

         It should be understood that the right of confrontation is not, and was not in this case, merely

a technicality without significant practical importance. The ability to cross-examine the forensic

analyst who provides inculpatory conclusions can be critical. As forensic evidence plays an ever-

growing role in criminal prosecutions, courts have become increasingly attuned to both the power

of such evidence in producing convictions and the potential for mistakes which may lead to grave

miscarriages of justice. As recently as 2005, the SJC erroneously characterized reports

memorializing the results of drug testing as “neither discretionary nor based on opinion; rather, they

merely state the results of a well-recognized scientific test determining the composition and quantity

of the substance.” Commonwealth v. Verde, 444 Mass. 279, 283 (2005). Since then, the Supreme

Court has repeatedly emphasized the myriad errors which can occur at various stages of the forensic

testing process. See, e.g., Melendez-Diaz, 557 U.S. at 319; Bullcoming, 564 U.S. at 2711,n.1. See

         41
                    The defense also tried to make something of the presence of a handful of peaks on items tested by
Cellmark (for the most part on items other than the three key pieces of evidence) which matched the alleles of neither
Dirk nor Mabel Greineder, suggesting that a third person may have been present at the scene. Once again, this highly
speculative theory, which did not exculpate Greineder in any event, fell flat at trial. Surely, the defense would have been
infinitely better off had there been no DNA test results in the case at all to contend with!
                                                        -101-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 116 of 223




also National Research Council, Strengthening Forensic Science in the United States: A Path

Forward (2009) (chronicling deficiencies). We now know that the end product of forensic testing

(the results) can be rendered utterly invalid by deliberate malfeasance or negligent mistakes

occurring anywhere during the testing process.42

         In the field of forensic DNA analysis of LCN mixtures, the risk of error is at its lowest at the



         42
                   A dramatic and recent illustration of this very real phenomenon is the unraveling of numerous drug
convictions which relied upon tainted testing carried out by Annie Dookhan at the DPH crime lab in Boston. See
Bridgeman v. District Att’y for Suffolk Dist., 471 Mass. 465 (2015), Commonwealth v. Scott, 467 Mass. 336 (2014).
Ms. Dookhan admitted to “dry-labbing,” altering, and faking test results, compromising tens of thousands of cases, and
wa s convicted and sentenced after p lead ing guilty to falsifying d r ug te s t s . S e e
http://www.boston.com/news/local/massachusetts.2013/11/22/annie-dookhan-former-state-chemist-who-mishandled-
drug-evidence-agrees-plead-guilty/1hgmwd9U3J8eh4tNBS63N/story.html. A similar scandal is currently ongoing
involving whether former state crime lab chemist Sonja Farak, who pleaded guilty in 2014 to charges of stealing cocaine
from the lab, may have tampered with thousands of samples going back in time as much as nine years earlier than
previously thought. See http://www.westernmassnews.com/story/29495486/thousands-of-cases-possibly-impacted-by-
drug-tampering-case#ixzz3fJBF0txb Similarly, the FBI recently admitted, as to forensic hair analysis, that “nearly every
examiner in an elite FBI forensic unit gave flawed testimony in almost all trials in which they offered evidence against
criminal defendants over more than a two-decade period before 2000.” Spencer Hsu, “FBI admits flaws in hair analysis
over decades,” Washington Post, April 18, 2015 (http://www.washingtonpost.com/local/crime/fbi-overstated-forensic-
hair-matches- in-nearly-all-criminal-trials-for-decades/2015/04/18/39c8d8c6-e515-11e4-b510-962fcfabc310_story.html).
          Such problems are not limited to drug labs or hair analysis. Numerous problems relating to forensic DNA
laboratories have also come to light. See “Tarnish on the Gold Standard: Understanding Recent Problems in Forensic
DNA Testing,” The Champion, January/February 2006 (collecting cases). For example, the Houston Police Department
(HPD) shut down the DNA and serology section of its crime laboratory in early 2003 after a television expose revealed
serious deficiencies in the lab’s procedures which were confirmed by subsequent investigation. See
www.chron.com/content/chronicle/special/03/crimelab/index.html In Virginia, post-conviction DNA testing in the high
profile case of Earl Washington, Jr. (who was falsely convicted and came within hours of execution) contradicted DNA
tests on the same samples performed earlier by the State Division of Forensic Sciences. An outside investigation
concluded that the state crime lab had botched the analysis of the case, failing to follow proper procedures and
misinterpreting its own test results. The governor ordered a broader outside investigation of the lab. See, e.g., Confusion
over DNA a threat to Justice, Virginian-Pilot, Aug. 29, 2005; Frank Green, Study will assess whether errors in
Washington case are ‘endemic to the system.’ Richmond Times-Dispatch, June 14, 2005; In 2004, an investigation by
the Seattle Post-Intelligencer documented 23 DNA testing errors in serious criminal cases handled by the Washington
State Patrol laboratory. See http://seattlepi.nwsource.com/specials/crimelab. In North Carolina, the Winston-Salem
Journal published a series of articles documenting numerous DNA testing errors by the North Carolina Bureau of
Investigation. See http://crimeandscience.journalnow.com and Phoebe Zerwick, State crime lab is faulted: Lawyer’s
Group calls for probe, cites DNA errors in three cases, Winston-Salem Journal, July 20, 2005. The Illinois State Police
cancelled a contract with Bode Technology Group, one of the largest independent DNA labs in the country, expressing
“outrage” over poor quality work. See Frank Green, Mistakes by state DNA firm alleged: The Illinois State Police
‘outraged’ by findings, end their contract with the firm, Richmond Times-Dispatch, August 20, 2005.
          Moreover, DNA analysts have been fired for scientific misconduct, specifically falsification of test results, by
a number of forensic laboratories, including labs operated by the FBI (see U.S. Department of Justice Office of the
Inspector General, The FBI DNA Laboratory: A Review of Protocol and Practoce Vulnerabilities, available at
http://www.usdoj.gov/oig/special/0405/index.html , Orchid Cellmark (see Laura Cadiz, Md.-based DNA lab fires
analyst over falsified tests, Baltimore Sun, Nov. 18, 2004), and the United States Army (see Associated Press, Worker
in Army la may have falisified DNA test result, August 27, 2005). In all of these cases, the analysts were caught faking
the results of control samples designed to detect instances in which cross-contamination of DNA samples occurred.
                                                        -102-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 117 of 223




end of the testing process -- when someone simply plugs the allele calls made on the evidentiary

sample along with the suspect’s reference DNA profile into a software program which automatically

computes the random match probability statistics. Indeed, that part of the process is “neither

discretionary nor based on opinion.” But there are numerous steps before that final mechanical one

where critical mistakes may be made -- in cutting the sample, extracting the DNA, quantitating it,

amplifying it, running it through the testing apparatus, and interpreting the results by deciding which

peaks to treat as alleles and which to ignore as artifacts. Many of these steps require the proper

application of specific testing protocols, and some involve the exercise of discretion and judgment.

If any of the steps along the way are infected with error, the test results ultimately translated into

statistical terms will be utterly invalid. “Garbage in, garbage out.”

       As Dr. Eisenberg explained in his affidavit in this case, the potential for error and extent of

unguided discretion were particularly acute in the instant case. Given the LCN mixtures she was

interpreting at unusually low RFU thresholds, Magee had to make subjective calls on numerous

peaks in the underlying electronic data to decide which ones to treat as alleles. There were no

objective protocols in place to assist her in making those calls, which may well have been influenced

by her prior knowledge of Greineder’s DNA profile. It was Magee’s interpretation of the electronic

data, resulting in her allele calls, which determined the random match probabilities reported by

Cotton at trial. Those calls, right or wrong, led inexorably to the inculpatory statistics used to

convict the defendant.

       Yet Cotton, who had never seen the underlying, unfiltered data, was in no position to justify

Magee’s allele calls. As Eisenberg noted:

       There is no way to determine from the Genotyper electropherograms produced by
       Cellmark why each of those subjective calls were made. Only the analyst herself (or
       someone who had examined the electronic data interpreted by the analyst) could
       explain and defend those critical calls.
                                               -103-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 118 of 223




2012 R. 1116. Cotton couldn’t say, for example, whether or to what extent Magee had “looked more

deeply” into the data, or whether Magee had Greineder’s DNA profile in mind when she made her

calls. In short, Magee’s absence from the witness stand effectively insulated her critical allele calls

and the process by which she made them from meaningful inquiry or review of any kind, and

Greineder was deprived of an opportunity to challenge the validity of her work before the jury.

Cross-examining Cotton was a grossly inadequate substitute.43

                  2.       Habeas relief is required.

         The SJC erred in refusing to accept this straightforward logic. In doing so, it adopted an

approach quite different from that used by the Supreme Court. That approach was based on a twisted

evaluation of the trial transcript and on a logical progression that, frankly, makes little sense. The

SJC acknowledged some of the federal precedent before essentially ignoring it in favor of its own

jurisprudence. Given its misreading and misapplication both of the transcript and of legal precedent,

it is much easier to explain the confrontation violation than it is to explain exactly where the SJC’s

internally-inconsistent and careless opinion departed from correct analysis. That is, it is hard to say

precisely what the SJC did wrong because it is hard to comprehend what the SJC actually did. In

any event, the errors of the SJC can be approached through a variety of lenses, corresponding to the

different theories of relief under AEDPA.

                           a.       The SJC decision was based on an unreasonable determination
                                    of the facts.

         First, the SJC’s decision is based on factual determinations which are not defensible on the

         43
                    It is noteworthy that in opposing defense counsel’s efforts to put electropheragrams prepared by the
defense from Cellmark’s underlying electronic data into evidence without calling the person who produced them as a
witness, the prosecutor argued:
          This is a complex set of information, run through a complex program. And there’s a lot of variables,
          including the filters ... to take out stutter, to take out artifacts. And the person who did this and made
          those decisions to run it in a certain way needs to get up there and verify that: This is what I
          did; and this is why it appears in this way.
Tr. XIII/7; 2012 R. 376D (emphasis added). That is precisely why Cotton could not serve as a substitute for Magee as
a prosecution witness at this trial.
                                                       -104-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 119 of 223




record in this case. The SJC explicitly based its reasoning on several related factual statements as

to Dr. Cotton’s testimony. It stated that “Dr. Cotton reviewed the nontestifying analyst’s work...and

then conducted an independent evaluation of the data.”464 Mass. at 595. It stated that she “expressed

her own opinion,” and was not “a conduit for the opinions of others.” Id. It also stated that Cotton

had reached “similar views on the statistical significance of allelic information” as Magee. Id. These

statements, which form the predicate for the SJC’s analysis, are not supported by the record.

        Cotton was a conduit for Magee’s work. Contrary to the SJC, Cotton was not presented to

the jury as having produced her own independent opinions. This is not to make a sophisticated

argument that her conclusions were somehow subconsciously altered by her review of Wendy

Magee’s reports. This is not to argue that the SJC should have disbelieved Cotton in some way as

to what she did. It is simply to argue that when she testified on direct examination as to the DNA

results in this case, Cotton did not even claim to have reached independent opinions. Rather, she

repeated, based on the reports, the information and conclusions generated by Wendy Magee. When

her testimony first turned to the specific results in this case, in explaining her role in the case, she

was questioned as follows:

        Q:      Now, Doctor Cotton, did Cellmark Diagnostics receive samples in this case,
                the case of the Commonwealth versus Dirk Greineder, the Commonwealth
                of Massachusetts, for testing?
        A:      Yes, we did.
        Q:      And, in fact, you received samples on six separate dates; is that correct?
        A:      Yes.
        Q:      Over a period of time, correct?
        A:      Yes.
        Q:      And at some point each of those were tested and responded to by Cellmark
                in the form of a report; is that correct?
        ...
        A:      Yes, that’s correct.
        Q:      And have you had an opportunity to review those reports?
        A:      Yes, I have.
        Q:      And did you actually conduct the individual testing?
        A:      No, I did not.
                                                -105-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 120 of 223




         Q:        And do you know who, in fact, did conduct the individual testing?
         A:        Yes, I do.
         Q:        And who was that?
         A:        Wendy Magee.
         Q:        And what else did you have an opportunity to review, other than the reports
                   with respect to all of the items that were submitted on this case?
         A:        The information that I have reviewed – there are a lot of items in this case, so
                   the black binder that I’m holding onto right here and the white binder that’s
                   at my feet contain the entirety of the data that was produced in this case.
                           Wendy did the work. It was initially reviewed by two other Ph.D.
                   scientists in our lab. They are unavailable for court, and I have reviewed the
                   information in preparation for coming to court.

Tr. XI/206-208.

         From this, and the rest of her testimony, it was clear to the jury that she was conveying results

obtained by someone else. Cotton told the jury that items had been sent to Cellmark, that employees

at Cellmark had generated electropherograms, that based on those the employees had generated

tables of alleles, and then they had produced statistical calculations, by computer, of random match

probabilities. She never claimed to have done any of these things personally. Her role at the trial

was to present, and attempt to defend, Cellmark’s (i.e., Wendy Magee’s) work. She was there to

explain Cellmark’s reports, and her testimony was based around those reports which were

specifically referenced. Cotton she was very careful in couching her testimony, as to each step of the

work, either in the passive voice (i.e., these steps were done) or in the plural (i.e., “we” [meaning

Cellmark] did this). She never asserted that she had done anything prior to testifying, other than

review some (though not all) of the raw data and read Magee’s reports.44 To conclude that Cotton’s

testimony was presented to the jury as an independent evaluation or that she expressed her own

expert opinion is to disregard the record.

         Similarly, it makes no sense to assert that Cotton reached “similar views” regarding the

         44
                   It was never made clear exactly how much time Dr. Cotton had spent with the files in this case (other
that she had never seen the unfiltered data nor had she done any statistical calculations). What is clear is that the she was
never presented to the jury as an expert having independent opinions. She was presented to the jury as defending
Cellmark’s data and conclusions.
                                                         -106-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 121 of 223




“statistical significance” of the allelic information, when it was clear that she had not herself done

any statistical evaluations herself and was merely repeating the computer-generated statistics

supplied in Magee’s reports. There were not two sets of statistical analyses that happened to come

to the same result. There was only one, done by Wendy Magee, and read into evidence by Cotton.

       In sum, the SJC’s conclusion that Cotton had offered “her own opinion” or conducted “an

independent evaluation” is simply not borne out by the testimony given at trial. The SJC’s analysis

depends on a fantasy that Cotton somehow was presented to the jury as having herself repeated all

of Magee’s analytical thought-processes and having reached the exact same conclusions. This is not

what the jury was told. The jury was not asked to accept her opinions. It was asked to accept

Cellmark’s opinions as developed by Magee. The SJC’s determination on these critical points was

unreasonable under AEDPA. Yet without those factual predicates, the SJC’s analysis collapses.

       There is perhaps a reason for this otherwise inexplicable treatment of the trial transcript.

After Bullcoming and Williams, there are some knotty legal issues lurking regarding the admissibility

of forensic opinion testimony. Those issues relates to the exact limits that an expert, in formulating

opinion testimony, can rely on analytical work performed by a separate, non-testifying witness. This

can present a difficult question of line-drawing. Must the expert have been involved in some way

in the underlying testing? If not, how much of the analytical process can be performed by non-

testifying witnesses? Can the data generated by those witnesses be directly introduced into evidence?

What if the generation of that data involves discretionary decisions? What if there are multiple non-

testifying analysts? Despite repeated requests, and frustration from the lower courts, see People v.

Lopez, 286 P.3d 469, 483 (Cal. 2012) (Liu, J., dissenting), the Supreme Court has declined to address

these kinds of questions after Williams. It was these issues, perhaps, that the SJC was trying

(unsuccessfully) to wrestle with in Greineder.


                                               -107-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 122 of 223




       The problem in this present case is that, despite the SJC’s assumptions to the contrary, this

trial simply did not present those issues. Had Cotton indicated while presenting the results from the

reports that she used Magee’s underlying data to reach an independent opinion of her own and that

she was called as a witness for that purpose, then that issue would have arisen. But she didn’t. She

was presented, and understood by the jury to be, merely a conduit -- a highly-educated, qualified,

knowledgeable conduit, but a conduit nonetheless. The SJC’s decision addressed a hypothetical trial

that never happened.

                       b.      The SJC decision was contrary to clearly established Federal law.

       As explained above, the SJC’s decision is contrary to clearly established Federal law, as set

out in the decisions of the Supreme Court. Bullcoming made it clear that the prosecution cannot

introduce the results of a non-testifying analyst into evidence against a defendant without affording

the defendant an opportunity to cross-examine the analyst. This case is virtually identical to

Bullcoming. The only difference is that Magee’s reports were not introduced into evidence, but

simply repeated (indeed, likely simply read) into evidence by Dr. Cotton. See United States v.

Ramos-Gonzalez, 664 F.3d 1 (1st Cir. 2011) (introduction of drug testimony of analyst familiar with

official procedure and who merely “recit[ed]” the testing analyst’s report was wrongly admitted in

light of Bullcoming). The Supreme Court has never held, or even hinted, that such a distinction has

constitutional relevance. See Panetti v. Quarterman, 551 U.S. 930, 953 (2007) (“AEDPA does not

‘require state and federal courts to wait for some nearly identical factual pattern before a legal rule

must be applied’.”). Although Williams does not lend itself to a clear rule in all situations, it

reinforces the holding of Bullcoming as to the instant situation, where the logic of at least seven of

the justices supports finding of a constitutional violation here. The holding of Bullcoming, as

confirmed by Williams, mandates a conclusion of a constitutional violation. Based on the clear


                                               -108-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 123 of 223




misapplication of the Supreme Court’s precedent, habeas relief is warranted here.

                           c.       The SJC decision involved an unreasonable application of clearly
                                    established Federal law.

         For many of the same reasons outlined above, the SJC unreasonably applied federal law in

developing a phony distinction between data and opinions (between Magee’s laboratory work and

Cotton’s in-court statistical conclusions). That is, even putting aside the factual mistakes outlined

above, the SJC’s opinion does not stand on its own terms. To be sure, a bifurcation between data

and opinion does make sense in some contexts. For example, the following testimony from an

expert would likely not violate the Confrontation Clause: AI have looked at both DNA Profile X and

DNA Profile Y. I do not know where these profiles derive from nor anything about the DNA testing

processes that produced them. Based on the profiles alone, I can state that they correspond to a

degree that would occur in 1 in 10,000 randomly selected profiles.” This was essentially the

example given by Justice Kagan in her Williams dissent, which she characterized                                 as a

“straightforward application” of expertise. 132 S.Ct. at 591. Yet such testimony, absent other

testimony or evidence establishing the provenance of the two DNA profiles, would be of no value

to the jury. See Young, 63 A.3d at 1045 (“Without [repetition of the substance of out-of-court

statements by absent technicians], what would have been left of [the expert’s] testimony – that she

matched two DNA profiles she could not herself identify – would have been meaningless”). It is

without value standing alone for the same reason that it is constitutionally permissible – it conveys

no information about the truth of any out-of-court statements.45

         The SJC’s approach, however, draws the line between fact and opinion in a DNA case at an

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                  As the Young court observed: “Craig acknowledged in the course of her testimony that she did not
personally perform the DNA testing and computer analysis that generated the DNA profiles she compared and the RMP
[random match probabilities] she reported. Nor did Craig claim that she personally observed the receipt and handling
of the evidence and the performance of the lab work preparatory to the DNA testing.... In other words, all Craig could
say from personal knowledge was that she compared electropherograms and they matched; she could not say from
personal knowledge whose electropherograms they were or how they were derived.” Id. at *3.
                                                      -109-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 124 of 223




entirely different point. It considers the witness’s “opinion” to be something like: “I have compared

DNA Profile X, an accurate profile generated from the defendant's blood, and DNA Profile Y, an

accurate profile generated from the glove found at the scene, and they correspond to a degree that

would occur in 1 in 10,000 randomly selected profiles.” That opinion, even in the absence of other

information, is hardly meaningless. It conveys to the jury all the information necessary to convict

– i.e., that the profiles accurately reflect significant pieces of evidence and correspond in a powerful

way. Absent effective rebuttal, such testimony may well prove dispositive.

       Those two lines are obviously very different. However, in its decision on remand, the SJC

took the Williams dissent’s straightforward explication of a possible fact/opinion division and relied

upon it as confirming its own, entirely different bifurcation. The SJC opined:

       The four dissenters also determined that the laboratory report that included the DNA
       test results ostensibly offered for the limited purpose of explaining the basis of the
       expert opinion was testimonial and, therefore, statements that implicated it were
       admitted in violation of the confrontation clause.... Importantly, however, the dissent
       concluded:

       AThere was nothing wrong with [the expert's] testifying that two DNA profiles – the
       one shown in the ... report and the one derived from [the defendant's] blood –
       matched each other; that was a straightforward application of [the expert's] expertise.
       Similarly, [the expert] could have added that if the ... report resulted from
       scientifically sound testing of [a DNA sample recovered from the victim], then it
       would link [the defendant] to the assault. What [the expert] could not do was what
       she did: indicate that the ... report was produced in [a particular] way....” Id. at 2270
       (Kagan, J., dissenting).

       Thus, no member of the Supreme Court plainly concluded that the expert opinion
       testimony was improper.

Id. at 591. The SJC continued, again citing this passage from the dissent: AWilliams does not interpret

the confrontation clause to exclude an expert's independent opinion testimony, even if based on facts

or data not in evidence and prepared by a nontestifying analyst.” Id. at 593. The SJC thus concluded

that, based on Williams, there are no constitutional problems presented by such Aopinion@ testimony.


                                               -110-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 125 of 223




         This constitutes a gross misreading of the dissent in Williams, and is not supported by

Bullcoming. The dissent in Williams was making an obvious point, not implicitly abandoning

longstanding precedent. It was certainly not condoning the SJC=s fact / opinion split. This is

evidenced by the relevant footnote in Williams, where Justice Kagan explained:

         But the statement Aif X is true, then Y follows@ differs materiallyCand
         constitutionallyCfrom the statement AY is true because X is true (according to Z).@
         The former statement is merely a logical proposition, whose validity the defendant
         can contest by questioning the speaker. And then, assuming the prosecutor tries to
         prove the statement's premise through some other witness, the defendant can rebut
         that effort through cross-examination. By contrast, the latter statement as well
         contains a factual allegation (that X is true), which the defendant can only effectively
         challenge by confronting the person who made it (Z). That is why recognizing the
         difference between these two forms of testimony is not to insist on an archaism or a
         formality, but to ensure, in line with the Constitution, that defendants have the ability
         to confront their accusers.

Id. at 2270 n.2. The dissent could not have been clearer that it was approving only opinion testimony

that did not implicitly convey as true a portion of the factual predicate -- which is exactly what

“opinion” as defined by the SJC does.46

         In sum, the validity of a distinction between fact and opinion necessarily depends on where

the line is drawn. The Williams dissent made the unremarkable observation that, if the line is drawn

where the expert conveys none of the underlying information as true, then the opinion itself may not

violate the Confrontation Clause. However, the SJC misinterpreted this observation to condone an

entirely different practice, concluding that even if the expert conveys much of (or at least the crucial

portion of) the underlying information itself, the testimony does not violate the Confrontation Clause

-- so long as it is characterized as an “opinion.” The SJC divorced this language from its context and

interpreted it as essentially an abandonment of Bullcoming and other precedent by the dissenting


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                  In the context of this case, the “opinion” referred to by the SJC is something like: “Dr. Greineder’s
profile matches the profile accurately derived from the sample taken from the knife at a level that would be matched only
by 1 in 2,200 randomly-selected individuals.”

                                                       -111-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 126 of 223




justices in Williams (and thus implicitly by the entire Court). It has misinterpreted the Williams

dissent to support the opposite of what it said and what it meant.

       Indeed, and relatedly, focusing on the line between fact and opinion is something of a fool=s

errand in the context of forensic DNA analysis. Other than in the hypothetical situation outlined

above (which probably never occurs in an actual courtroom), it is in practice with respect to DNA

almost impossible to separate the two. Testimony regarding DNA is almost always presented in an

intertwined manner, as it was here. That is, Dr. Cotton did not tell the jury that she was going to

present some facts and then offer an opinion based on them. Rather, she provided lengthy answers

(based directly on Magee=s reports) that described in detail all the critical results, from allele calls

to statistical calculations, that Cellmark had generated. There was no differentiation in how these

facts from the reports (allele calls versus statistical comparisons) were stated to the jury. Any juror

asked to specify what were Cotton=s Aopinions” and what was merely the Abasis” for those opinions

would have been completely flummoxed. The statistics were presented just as factually as the allele

calls, if not more so. As one court has correctly explained, the two cannot be bifurcated:

       [T]he government suggests we break down the expert testimony, ignoring direct
       references to the inadmissible hearsay conclusions of the analysts who conducted the
       testing, and solely consider the independent opinions of the experts. This would
       require an impossible feat of mental gymnastics. Dr. Cotton's and [another expert=s]
       explicit reliance on and references to the reports prepared by third parties make it
       impossible to disaggregate their opinion testimony from evidence admitted in
       violation of the Confrontation Clause.

Gardner v. United States, 999 A.2d 55, 62 (D.C. 2010).

       To put it another way, the SJC labeled certain statistics that Dr. Cotton apparently simply

read from Magee=s report, and which she had not personally calculated or even double-checked, her

Aindependent opinion,” rendering it admissible. The SJC had to call this testimony Aopinion” or its

entire analysis would fall apart. But it was not an opinion in any ordinary sense of the word. It


                                               -112-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 127 of 223




differed from the so-called data only in that someone (not Cotton) had run that data through one

additional computerized calculation, an automated step involving no exercise of judgment

whatsoever, and quantified it.47 Yet that “opinion” was effectively insulated from meaningful cross-

examination since Cotton had not even reviewed the raw data which produced those statistics.

                  4.        Even if its legal analysis were accepted, the SJC’s harmlessness
                            evaluation was unreasonable.

         Finally, and largely independent from the arguments made above, the SJC erred in

concluding that the admission of the details of the DNA test results was harmless. That is, even

accepting the SJC’s reasoning as to the admission of the (largely nonexistent) “opinion” testimony,

the SJC also held that the other DNA data, such as the reports of the allele calls, was improperly

admitted. It went on to conclude, however, that such admission was harmless. The Supreme Court

has indicated that, in evaluating this question, the issue is whether the harmlessness decision under

Chapman was unreasonable. Davis v. Ayala, 135 S.Ct. 2187, 2199 (2015). The SJC’s decision was

indeed unreasonable. The admission of the DNA data (even apart from the statistical information)

had an enormous impact on the case.

         It is important here to be very precise. Under the SJC’s analysis, the only part of Dr. Cotton’s

testimony that was admissible was the statistical opinion. Therefore, under the SJC’s analysis, Dr.

Cotton was permitted to say that she had concluded that Dr. Greineder’s DNA corresponded to the

sample from the left-hand work glove at a level expected of 1 in 170,000,000 randomly selected

Caucasians. She was not permitted, however, to testify that the sample had a 17 at locus D3, a 26 at

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                    As an example of how far the SJC’s decision in this case was divorced from reality, consider its
statement that “similar views on the statistical significance of allelic information extrapolated from test samples only
lends credence to an expert’s independent opinion.” 464 Mass. At 595. Plausible on its face, in context that statement
becomes ridiculous. On the facts of this case, that means that Dr. Cotton’s repetition of the statistics, which she read
from Magee’s report, was somehow “len[t] credence” by the fact that Magee agreed with them. Of course Magee would
agree – they were her calculations! Dr. Cotton never suggested that she had herself done any of the calculations. To
put it another way, even if the Commonwealth had called a hundred different experts to read Magee’s report verbatim
to the jury, that sheer repetition would not have increased the reliability of the statistics in that report in any way or
complied with the Confrontation Clause.
                                                        -113-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 128 of 223




locus FGA, a 15 at locus D18, etc., which corresponded with Dr. Greineder’s DNA profile. The

question therefore is whether the introduction of this DNA data, the allelic comparison, likely had

an impact on the outcome of the case. Is there a possibility that the case would have ended differently

had Cotton testified, on direct examination, only to the statistical opinion and not to the allele calls?

        The simplest way to approach this question is in a practical way. The Commonwealth clearly

understood the importance of the inculpatory DNA test results on the three key items of evidence.

It presented those results through Cotton in great detail, allele-by-allele, using blown-up charts to

display the partial matches to the jury while Cotton was reporting them. The Commonwealth even

distributed color copies of those charts to the individual jurors to help them follow along. There was

nothing haphazard or impromptu about the Commonwealth’s presentation of this evidence. It was

designed to maximize its impact upon the jury. During their deliberations, the jurors twice

specifically requested (and received) those same DNA results charts to assist them in reaching a

verdict. Is it likely that the Commonwealth would have gone the expense of preparing extensive

chalks, and then spent the jury’s time (hours of testimony) painstakingly walking through all the

DNA data, if that was going to be irrelevant to the jury’s evaluation of the case? Of course not. The

Commonwealth went to those lengths precisely because they were important. The Commonwealth

introduced the detailed, step-by-step data in order to have the jury view the Cellmark analysis and

Dr. Cotton’s statistical “opinion” as rigorously scientific.

        To look at it another way, if all Dr. Cotton had testified to was her statistical “opinion,”

unsupported by any recitation of the data consistent with that opinion, then jury would likely have

given it far less weight. As even Justice Alito wrote in Williams, disclosure of underlying data serves

to “help the factfinder understand the expert's thought process and determine what weight to give

to the expert's opinion.” 132 S.Ct. at 2240. Absent any factual support or explanation of how the


                                                -114-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 129 of 223




statistical “opinion” was reached, the jury would surely have regarded Dr. Cotton’s “opinion” with

a significant measure of skepticism. If none of the “data” had been presented, defense counsel could

surely have developed a devastating attack in closing argument on the Commonwealth’s key expert

witness. He could have argued that she had been handsomely paid to provide inculpatory evidence

against Dr. Greineder, and had duly done so in the form of a statistical comparison, yet had failed

to offer any justification for how that comparison was reached. An expert who cannot “show her

work” -- indeed, who makes no attempt to show her work -- is unlikely to be trusted by a jury.

       The SJC avoided this conclusion by reasoning that the Magee data would have come into

evidence anyway, given its use at trial by the defense in attacking Cellmark’s credibility and in

presenting the stranger-allele argument.464 Mass. at 602-603. But this is an unwarranted assumption.

If the prosecution had merely presented an unsupported statistic from Dr. Cotton, the defense might

well have chosen not to elicit the related data in cross-examination (thereby waiving the

confrontation issue). It might have chosen to present data only through Dr. Krane, or even not at all.

The defense might have recognized that a jury would simply not credit unsupported, unexplained

statistical “opinions.” In short, the entire trial might have proceeded quite differently, and much

more favorably for the defense, had the DNA data (which even the SJC recognized was wrongly

admitted) not been presented to the jury. The SJC’s determination to the contrary was unreasonable.

III.   GREINEDER WAS DEPRIVED OF HIS CONSTITUTIONAL RIGHT TO THE
       EFFECTIVE ASSISTANCE OF COUNSEL.

       A.      Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to
               Exclude or Challenge Scientifically Unreliable DNA Results.

               1.      Statement of Relevant Facts.

                       a.      Post-trial expert analysis.

       As mentioned at pp. 83-85, supra, following Greineder’s conviction, the Commonwealth’s


                                               -115-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 130 of 223




DNA evidence and discovery was reviewed by Arthur J. Eisenberg, Ph.D., former chairman of the

United States DNA Advisory Board to the Director of the FBI. Dr. Eisenberg’s detailed findings and

analysis are set forth in his affidavit and exhibits. 2009 R. 368-682. Dr. Eisenberg concluded that

Cellmark’s reported results in this case on the knife and brown work gloves were “unscientific,

unreliable, and unfairly biased.” He further opined that those results properly should have been

reported as “inconclusive.” Eisenberg Aff. 99 (2009 R. 471).

         The Commonwealth’s DNA evidence was also submitted post-trial to Charles M. Brenner,

Ph.D. for his review. Dr. Brenner’s findings and analysis are set forth in his affidavit. 2009 R 258-

276. Dr. Brenner, a forensic mathematician, concluded that Cellmark violated elementary statistical

principles in its analysis and employed a methodology which was unfairly biased and scientifically

invalid. 2009 R. 269-270.

                                     (1)      The scientific unreliability of interpreting DNA test
                                              results based upon low copy number (“LCN” DNA
                                              mixtures.

         In his affidavit, Dr. Eisenberg discussed the particular problems involved in interpreting the

results of testing extremely minute quantities of DNA from more than one source. Such analysis is

generally known in the forensic DNA field as Low Copy Number or “LCN.”48 That is precisely the

type of analysis employed by Cellmark on the key evidentiary samples in this case. Eisenberg Aff.

31-42 (2009 R. 403-414).

         Dr. Eisenberg described the forensic analysis of LCN mixtures as “fraught with peril.”

Eisenberg Aff. 31 (2009 R. 403). He explained: “The critical problem, as yet unsolved by the forensic

community, is how to distinguish reliably between [true alleles and artifacts] in LCN mixtures.”

Many problems can occur during the analysis of LCN mixtures, including allelic drop-out, allelic


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                   Some courts and commentators have also referred to such DNA tst results as “high sensitivity analysis.”
See, e.g., People v. Collins, 2015 WL 4077176 (N.Y. Supp. July 2, 2015).
                                                        -116-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 131 of 223




drop-in, and increased prevalence of stutter. Although these problems can occur with any LCN

testing, they are “greatly magnified for evidentiary samples which may contain DNA from more than

one source.” Eisenberg Aff. 36 (2009 R. 408). As Dr. Eisenberg explained:

         Mixture analysis of LCN samples is generally not reliable because of the increased
         imbalance of heterozygous alleles, increased production of stutter products, and
         prevalence of allelic drop-in. Absent specific validation for LCN analysis of DNA
         mixtures by a forensic laboratory ... such analysis must be deemed scientifically
         unreliable and the results reported as “inconclusive.”

Eisenberg Aff. 36-37 (2009 R. 408-409).49

                                    (2)      Cellmark’s flawed validation studies and interpretation
                                             guidelines for LCN analysis.

         Dr. Eisenberg found that Cellmark’s validation studies were “seriously flawed” and its

interpretation guidelines “woefully inadequate.” Eisenberg Aff. 47, 53 (2009 R. 419, 425). He noted

that Cellmark “committed numerous errors in the interpretation of its own mixture validation

studies.” Eisenberg Aff. 49 (2009 R. 421) According to Dr. Eisenberg, Cellmark’s validation studies

demonstrated that it was not possible to determine reliably whether a peak appearing on an

electropherogram was a true allele or an artifact in the mixtures present in the evidentiary samples

tested here. Cellmark produced no validation studies of LCN testing at interpretation thresholds of

less than 100 RFUs and did not validate either the 40 RFU or 60 RFU interpretation thresholds it

employed during its work in the Greineder case. Eisenberg Aff. 50-53 (2009 R. 422-425).

         Dr. Eisenberg found that Cellmark’s interpretation guidelines lacked virtually all of the

essential criteria required to make consistent and reliable interpretations of DNA test results.

Eisenberg Aff. 54 (2009 R. 426). Rather, they “invited analysts to make erroneous or unsupportable


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             In addition, the risk of inadvertent, innocent transfer of DNA is greatly increased when analyzing LCN
samples. As Dr. Eisenberg explains: “Transfer of cells can occur by casual contact between two or more people and/or
objects and result in mixed DNA profiles. Therefore, DNA profiles obtained from LCN evidentiary samples following
PCR amplification may not necessarily be relevant to the identification of the appropriate perpetrator of the crime.”
Eisenberg Aff, p. 2., 2009 R. 374.
                                                      -117-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 132 of 223




conclusions on forensic casework samples in Commonwealth v. Greineder.” Eisenberg Aff. 53 (2009

R. 425). Cellmark’s 1999 interpretation guidelines, presumably in effect when the critical evidence

in this case was analyzed by Cellmark in early 2000, gave unguided discretion to the analyst to

reduce the peak detection threshold from 100 RFUs to as low as 40 RFUs. Cellmark failed to provide

objective criteria for the exercise of that discretion or require that such interpretations be conducted

prior to analyzing known samples from potential suspects in order to prevent the injection of analyst

bias into the process. Eisenberg Aff. 55 (2009 R. 427).

                               (3)     Cellmark’s reported results were scientifically unreliable
                                       and invalid.

       Dr. Eisenberg concluded that the only verifiable interpretation threshold which Cellmark

could reliably employ in this case was 100 RFUs. That was the minimum threshold which Cellmark

validated for its own equipment.        Moreover, the overwhelming majority of forensic DNA

laboratories in the United States will not make allele calls to include a potential contributor below

100 RFUs. Yet, in the midst of analyzing the critical evidence in this case, Cellmark arbitrarily and

unjustifiably lowered its threshold to 40 and later 60 RFUs, generating “grossly unreliable test

results.” According to Dr. Eisenberg: “That lowering of the RFU threshold was contrary to accepted

scientific practice and virtually unprecedented in my experience as a forensic scientist.” Eisenberg

Aff. 84-85 (2009 R. 456-457) To make matters worse, after lowering the RFU peak detection

threshold, Cellmark arbitrarily treated peaks between 40 and 100 RFUs as alleles when they matched

Greineder’s DNA profile, but ignored peaks at those same RFU levels which did not match his

DNA. Id. Cellmarks interpretations were consistently and unscientifically biased in favor of the

prosecution’s theory of the case. Eisenberg Aff. 66, 76 (2009 R. 438, 448)

       Dr. Eisenberg noted that at a peak detection threshold of 100 RFUs, no reliable scientific

conclusion could have been drawn that Greineder was a potential contributor to any of the three key
                                               -118-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 133 of 223




items of evidence – the knife or the two brown work gloves: “Absolutely no statistical data

indicating any likelihood of association between Dirk Greineder and the three key pieces of evidence

should have been calculated or presented.” Nevertheless, the jury was provided with “biased and

scientifically unreliable statistics which incorrectly included the defendant as a potential, and indeed

likely, contributor to the DNA extracted from those items.” Eisenberg Aff. 85-91 (2009 R.457-463).

                               (4)     Scientific errors committed by Cellmark in its statistical
                                       analysis of the Greineder evidence.

       Based on his analysis of Cellmark’s work, Dr. Brenner, a Ph.D. forensic mathematician who

specializes in the combination of mathematics, statistics, population genetics, and computer software

applied to DNA identification (see 2009 R. 258), found that Cellmark often failed to take into

account the possibility that peaks located in a stutter position actually masked true alleles. Cellmark

did so, according to Dr. Brenner, only when the potentially masked alleles matched Greineder’s

DNA profile. Similarly, Dr. Brenner found that Cellmark only considered the possibility of allelic

drop-out when such drop-out inculpated Greineder, not when it resulted in a call inconsistent with

his DNA profile. “These errors committed by Cellmark,” Dr. Brenner opined,“ violated basic

scientific principles and unfairly biased the statistical results against the defendant.” Brenner Aff.

9 (2009 R. 266). Under the circumstances presented here, “there is no objective way to quantify

accurately the random inclusion probability on the right-hand work glove and other pieces of

evidence tested by Cellmark.” Id. The DNA statistics provided by Dr. Cotton to the jury “were

erroneous” and “greatly inflated the inclusion probabilities ... to the detriment of the defendant.”

Brenner Aff. 12-13 (2009 R. 269-270).




                                               -119-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 134 of 223




                          b.      The DNA defense investigation prior to April 17, 2001.50

        This was the very first case involving DNA evidence which Greineder’s trial counsel, Martin

F. Murphy, had been involved in. He had no scientific background and no training or experience with

the Cofiler/Profiler testing kits employed by Cellmark. Tr.(8/14/06)/10-12. Murphy knew that DNA

evidence was an important part of the Commonwealth’s case against Greineder. On May 8, 2000,

he retained William Thompson, a California lawyer, to consult with him about DNA-related issues.

On Thompson’s recommendation, Murphy retained Dr. Christie Davis, a forensic scientist. Murphy

sent Dr. Davis DNA discovery materials, including Cellmark’s validation studies, on September 22,

2000. At that time, it was Murphy’s intention to call Dr. Davis as a defense witness at trial. Tr.

(8/14/06)/16-23.

        The court set a trial date of mid-May 2001. On February 13, 2001, Murphy retained Marc

Taylor. Taylor, who had no graduate degree, was asked to conduct defense experiments involving

the innocent transfer of DNA from one surface to another. Tr. (8/14/06)/30-32.

        On March 17, 2001, two months before trial, Murphy retained Daniel Krane as a DNA

expert. Murphy knew that Krane was an academic, not a forensic scientist, and that he had never

worked in a forensic lab. Murphy did not send Krane Cellmark’s validation studies or its standard

operating procedures. When he retained Krane, Murphy expected that Davis would testify as the lead

DNA defense expert at trial and that Krane would “backstop” her testimony and present the defense

theory respecting the innocent transfer of DNA. Murphy never retained an expert in DNA statistics.

Tr. (8/14/06)/24-35.




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                 April 17, 2001 is the date on which defense counsel informed the trial court in writing that the
defendant was not challenging the admissibility of the Commonwealth’s DNA evidence on Daubert/Lanigan grounds.
                                                    -120-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 135 of 223




                        c.      Defense counsel’s state of mind respecting DNA evidence on
                                April 17, 2001.

                                (1)     What defense counsel knew.

        Mr. Murphy testified that as of April 17, 2001 [hereinafter “the waiver date”], he knew that

DNA test results produced by Cellmark on three key items of evidence (knife and two brown work

gloves) inculpated Greineder. He knew that Cellmark’s results were based upon an analysis of DNA

mixtures containing an extremely tiny quantity of DNA. He understood that analysis of low-RFU

or Low Copy Number “LCN” DNA was particularly problematic, that it was difficult to distinguish

real alleles from artifacts in such mixtures, and that LCN alleles might represent innocent transfer

of trace DNA. He knew about specific problems associated with low-RFU DNA analysis, including

stutter, allelic dropout, and stochastic effects. He also understood that a laboratory’s internal

validation was critical to establishing the scientific reliability of its testing. Tr. (8/14/06)/39-46.

        Murphy testified that he knew Cellmark had conducted its first two rounds of testing, when

the three key items were analyzed, using a threshold of 40 RFUs to make allelic calls. He knew that

Cellmark’s protocols gave its DNA analysts discretion to lower the RFU threshold from 100 to 40,

and that no specific criteria were set forth in those protocols as to when the threshold should be

lowered. Murphy knew that different DNA forensic labs used different RFU thresholds, but he was

not aware of any other laboratory making allelic calls using an ABI 310 at a threshold of under 100

RFUs. He knew that the hardware manufacturer recommended an RFU threshold of 150 or 200. He

also knew that the FBI would not make inclusionary allelic calls at an RFU threshold below 150 or

200. Both Dr. Davis and Thompson told Murphy that Cellmark’s RFU threshold was lower than that

employed by other laboratories. Tr. (8/14/06)/41-60; Tr. (9/13/06)/69.

        Murphy testified about a lot of other information casting doubt on the scientific reliability

and validity of Cellmark’s testing that he knew of by the waiver date. On January 8, 2001, Dr. Davis
                                                -121-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 136 of 223




told Murphy that the lowest threshold at which Cellmark had validated its DNA analysis work with

mixtures was 100 RFUs, and he had no information to the contrary. Dr. Davis told Murphy on that

same date that Cellmark had not run a substrate control in this case. Murphy knew that Cellmark had

made its inculpatory allelic calls on the knife and brown work gloves only after first typing the

reference samples for Dirk and Mae Greineder. Dr. Davis told Murphy before the waiver date that

Cellmark had made inconsistent allelic calls in this case, and that Cellmark had improperly combined

the results from two different injections of the same sample. Tr. (8/14/01)/53-67.

       In their communications with Murphy prior to the waiver date, both Dr. Davis and Thompson

were sharply critical of Cellmark’s work in this case. Dr. Davis described Cellmark’s testing

methodology as “the shot in the dark method.” She told Murphy that Cellmark had stretched DNA

technology in this case beyond the point of scientific reliability, and that part of what Cellmark did

was “bad science.” Thompson told Murphy that there were lots of problems with what Cellmark had

done, and that Cellmark’s statistical analysis in this case was improper. Tr. (8/14/06)/58-72; Tr.

(9/13/06)/69-70. Murphy testified that he was advised that there were “lots of arguments that you

could make” against Cellmark’s use of an RFU threshold below 100. He believed that “a good

argument could be made” that it was scientifically improper for Cellmark to have lowered the RFU

threshold for analyzing the key pieces of evidence from 100 to 40. Davis and others told Murphy that

it was “highly questionable” to do so. In a memorandum he sent to Thompson, Murphy wrote, inter

alia, that Cellmark’s flawed work in this case “seems to me to be a powerful argument against

admitting the results....” Tr. (8/14/06)/58; Tr. (9/13/06)/71, 64; Hg. Ex. 15D (emphasis added).

        Murphy testified that as of the waiver date, he was familiar with Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), Commonwealth v. Lanigan, 419 Mass. 15 (1994), and

their progeny. He had also read all of the reported decisions respecting DNA evidence decided by


                                               -122-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 137 of 223




Massachusetts appellate courts. Tr. (8/14/06)/77-78. Murphy also testified that he was not aware of

any reported decision from any court admitting DNA test results where an analysis threshold as low

as 40 RFUs had been employed. Id. at 59. He was not aware of any reported appellate decision from

any court specifically addressing low RFU or LCN analysis. Id. at 148. As of the waiver date,

Murphy knew of a single trial in Massachusetts at which the trial judge had admitted Profiler/Cofiler

DNA test results, but there had not yet been any appellate decision in that case. Id. at 47-48.

                                    (2)      What defense counsel didn’t know.

         Murphy had retained both Krane and Taylor, hoping that they could persuade the jury that

the presence of DNA alleles matching Greineder on the knife and brown work gloves could be

attributed to innocent third-party transfer. Tr. (8/14/06)/28-29. Yet Murphy acknowledged that as

of the waiver date, he had no idea what either of these individuals could testify to or whether their

testimony would help the defense. Murphy found Krane “very hard to reach,” and he had no written

report from him by the waiver date. Id. at 76. While Taylor had been asked to conduct laboratory

experiments about DNA transfer, Murphy had not received any test results from him as of that date.

Id. Murphy thus had no idea whether Taylor’s results would be helpful to the defense, let alone

admissible. Id. at 33, 117.51

         On March 29, 2001, less than two months before the scheduled start of trial, an Australian

court issued a decision (Karger), which was harshly critical of Dr. Davis, who had testified in that

case as a defense expert. Tr. (8/14/06)/72-73. Once he heard about Karger, Murphy had substantial

doubts about calling Dr. Davis as a defense witness at trial. Id. at 87-88. Although she was the only

forensic DNA scientist the defense had retained, id. at 88, Murphy did not know as of the waiver




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                    Murphy did not file any pretrial motion addressing the admissibility of Taylor’s experiments. The
specific results of those experiments were ultimately excluded by the court at trial.
                                                      -123-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 138 of 223




date whether he could actually put her on the stand.52

                           d.       Defense counsel’s “plan.”

         Murphy testified that he understood that the prosecution was going to present evidence from

Cellmark that Dirk Greineder’s DNA was found on the knife and brown work gloves recovered near

the scene of Ms. Greineder’s body. As of the waiver date, Murphy hoped to present a two-part

response to that evidence at trial. First, he would seek to provide the jury with an innocent

explanation of how the defendant’s DNA could be on those objects. That theory was secondary or

tertiary DNA transfer. Murphy hoped that Krane would explain the theory to the jury, and Taylor

would testify about his experiments supporting the innocent transfer theory. Tr. (8/14/06)/28-32.

         The second part of Murphy’s planned DNA response was to try to use evidence of “stranger

alleles” attributable to neither Dirk nor Mabel Greineder “as a way of trying to create a reasonable

doubt.” Tr. (8/14/06)/130; Tr. (9/13/06)/86. Some of those “3rd party peaks” were referred to in

Cellmark’s own reports, while others were discernible from Cellmark’s raw data. Up until the

release of the Karger decision, Murphy’s plan was to present this aspect of Greineder’s defense

primarily through the testimony of Dr. Davis. Id.

                           e.       Defense counsel’s decision to waive a motion to exclude
                                    Cellmark’s inculpatory DNA test results as scientifically
                                    unreliable.

         Murphy offered five reasons why he decided not to challenge the admissibility of Cellmark’s

inculpatory DNA test results under Daubert/Lanigan: (1) such a motion would probably fail; (2)

even if all allelic calls below 100 RFUs were excluded, substantial inculpatory DNA results on the

three key items of evidence (knife and two brown work gloves) would remain; (3) litigating such a

motion pretrial would provide the Commonwealth with a preview of Greineder’s trial defense; (4)


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                  Dr. Davis ultimately was not called as a defense witness at trial, and no other DNA forensic scientist
was retained to replace her.
                                                       -124-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 139 of 223




the exclusion of allelic calls under 100 RFUs would weaken a trial defense that “stranger alleles”

not attributable to Dirk or Mabel Greineder were also present; and (5) a successful challenge to

Cellmark’s statistical analysis would lead only to a modest reduction in the calculated likelihood that

Dirk Greineder contributed DNA to the evidentiary items at issue.

                       f.      Defense counsel’s response to Cellmark’s inculpatory DNA test
                               results at trial.

       Having decided not to challenge the admissibility of Cellmark’s inculpatory test results,

Murphy proceeded to present a two-part response to those results at trial. Rather than attacking

Cellmark’s scientifically unreliable results directly or disputing that Greineder’s DNA was on the

knife and brown work gloves presumably used by the killer, Murphy offered the jury a theory

(secondary transfer) as an innocent explanation of how the ostensible presence of the defendant’s

DNA on those items did not necessarily implicate him in the crime. In addition, the defense offered

evidence that there were DNA alleles on those items and others attributable to someone other than

Dirk or Mabel Greineder, suggesting the possible presence of some other person at the scene.

       Murphy relied upon two witnesses, Krane and Taylor, to present the innocent transfer theory

to the jury. Krane testified that it was possible that the presence of Greineder’s DNA on certain

evidentiary items could have resulted from secondary transfer, rather than from his direct contact

with those items. Tr. XXII/58-82. Taylor was permitted to testify that he had conducted some

transfer experiments and to respond to hypothetical questions establishing the possibility that

innocent transfer could explain the presence of Greineder’s DNA on the brown work gloves used

by Ms. Greineder’s attacker. Tr. XXII/218-236. The specific details and results of Taylor’s transfer

experiments were excluded, and Taylor conceded on cross-examination that none of his transfer

studies had been published or subjected to external peer review. Id. at 240-241.

       Murphy presented evidence respecting the presence of third-party alleles on some of the
                                               -125-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 140 of 223




items analyzed by Cellmark through cross-examination of Dr. Cotton and the testimony of Professor

Krane. Neither electropherograms which Dr. Davis had prepared from Cellmark’s raw data nor

printouts of the raw data contained on the CD-Rom produced by Cellmark showing low-RFU peaks

not attributable to Dirk or Mabel Greineder were admitted into evidence. Rather, the court required

Murphy to use hypothetical questions in examining Dr. Cotton about them. Tr. XIII/106-111. On

cross-examination, Krane conceded that he had only been involved in the case briefly, that he was

not a forensic scientist, and that he had never conducted forensic testing. Id. at 99-111.

       Murphy did not ask Dr. Cotton a single question about Cellmark’s lack of validation studies,

its inadequate interpretation guidelines, its uniqueness in making allelic calls as low as 40 RFUs, or

its flawed statistical analysis. He did not ask Krane or Taylor about those subjects, either.

Nevertheless, in closing argument, Murphy belatedly sought to cast doubt upon the scientific validity

of Cellmark’s testing:

       Are you satisfied with the work that Cellmark did in this case.... Is that the kind of
       science that you expect to have before you consider whether to convict someone of
       murder?

Tr. XXV/43.

        Murphy testified that if the trial had been continued for six months, he would have been able

to find a DNA forensic scientist to replace Dr. Davis as a witness, but decided not to seek a

continuance. Murphy explained that Greineder was eager to go to trial, Greineder’s daughter,

Kirsten, was getting married in August 2001, and Murphy was worried that she would be unavailable

to attend the trial if it were continued. Yet Kirsten never told him she would be unable to be present

at her father’s trial if the trial date were postponed. Tr. (8/14/06)/900-904.

                         g.    The motion judge’s decision.

       The motion judge stated that he was “not persuaded” that Cellmark’s test results were


                                               -126-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 141 of 223




excludable as scientifically unreliable, and that he would most likely have rejected a Lanigan

challenge to Cellmark’s test results “despite the serious issues raised by Dr. Eisenberg.” Findings

of Fact, Rulings of Law, and Order on Defendant’s Amended Motion for New Trial, 54 (2009 R.

965) Accordingly, defense counsel could reasonably conclude that a Lanigan motion would probably

fail, and his decision not to file such a motion was not manifestly unreasonable when made on April

17, 2001. The motion judge further concluded that Murphy’s decision not to retain an expert in DNA

statistics was not manifestly unreasonable “given that the DNA results were only one of numerous

pieces of incriminating evidence in the case against the defendant.” Id. at 57, (2009 R. 968). The

judge concluded that Murphy’s failure to seek a continuance of trial to retain a new DNA forensic

scientist to testify as a defense expert was reasonable given “the likelihood that further delay would

result in the loss of support and presence at trial of the defendant’s eldest daughter, Kirsten.” Id.

                        h.      The SJC’s decision.

        The SJC affirmed the motion judge’s decision. Commonwealth v. Greineder, 458 Mass. 207

(2010), finding that the motion judge’s conclusion was supported by the record and was not an abuse

of discretion because even though LCN mixtures were at issue, Cellmark’s analysts were capable

of considering and accounting for issues of stutter and dropout based on their experience and

expertise, and the issues raised by the defense expert went to weight rather than admissibility. “We

conclude that the judge did not abuse his discretion or commit other error of law in concluding that

the defendant probably would not have prevailed on a pretrial Lanigan motion.” As to the handling

of the DNA evidence at trial, the SJC found that the third party culprit defense did not “fall flat,” the

decision not to request a continuance was reasonable in light of the risk of losing Kirsten’s presence,

and the decision not to retain a statistics expert was not manifestly unreasonable, so the motion

judge’s findings and conclusions were not an abuse of discretion. Id.


                                                -127-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 142 of 223




               2.       Summary of Applicable Law.

                        a.       Exclusion of unreliable scientific evidence.

       The admission of unreliable evidence against a criminal defendant may violate his

constitutional right to due process under the Fifth and Fourteenth Amendments to the United States

Constitution and Article XII of the Massachusetts Declaration of Rights. See, e.g., Manson v.

Brathwaite, 432 U.S. 98, 112 (1977); Commonwealth v. Johnson, 420 Mass. 458, 461-463 (1995).

In Massachusetts, under Lanigan and its progeny, the trial judge serves as a “gatekeeper” in making

a “preliminary assessment” of whether proffered scientific evidence is sufficiently reliable to be

admitted at trial. The gatekeeper role encompasses, not only the underlying scientific principles and

methodology, but also whether those principles and methodology were applied in a scientifically-

valid fashion. E.g. Commonwealth v. McNickles, 434 Mass. 839, 850 (2001). Scientifically

unreliable evidence must be excluded “because evidence of this character has too great a potential

for affecting a jury’s judgment.” Commonwealth v. Curnin, 409 Mass. 218, 222 n.7 (1991). The

admissibility of DNA test results should be determined on a case-by-case basis, Commonwealth v.

Mathews, 450 Mass. 858, 871 (2008), and novel applications of an otherwise reliable technique

“must be independently tested against the Lanigan-Daubert standard.” Commonwealth v. Patterson,

445 Mass. 626,655 (2005). In this context, a judge must determine as a threshold matter, “whether

the testing was properly performed.” Id. at 647-648.

                        b.       Ineffective assistance of counsel.53

       Every criminal defendant is guaranteed effective assistance of counsel by the Sixth and

Fourteenth Amendment to the United States Constitution. Strickland, 466 U.S. 668. Claims of

ineffective assistance of counsel are evaluated under a two-pronged test. The first prong is whether



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               This summary applies to all of Greineder’s ineffective assistance claims.
                                                   -128-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 143 of 223




counsel’s performance was seriously and objectively deficient, measured against a objective standard

of reasonableness. Wiggins, 539 U.S. at 521; Strickland, 466 U.S. at 687-691. The second prong

requires a showing of prejudice: “The defendant must show that there is a reasonable probability that

but for counsel’s unprofessional errors, the result of the proceeding would have been different. A

reasonably probability is a probability sufficient to undermine confidence in the outcome.”

Strickland, 466 U.S. at 694. See Wiggins, 539 U.S. at 537 (findings prejudice where there was “a

reasonable probability that at least one juror would have struck a different balance”). “‘Strickland

clearly allows the court to consider the cumulative effect of counsel’s errors in determining whether

a defendant was prejudiced.’” Dugas v. Coplan, 428 F.3d 317, 335 (1st Cir. 2005) (citation omitted).

        The First Circuit has held that Massachusetts law respecting ineffective assistance of counsel

under Commonwealth v. Saferian, 366 Mass. 89 (1974), is at last as protective of defendants as the

federal standard, and therefore the First Circuit “presume[s] the federal law adjudication to be

subsumed within the state law adjudication.” Teti v. Bender, 507 F.3d 50, 56 (1st Cir. 2007)(internal

citation omitted); Ouber v. Guarino, 293 F.3d 19, 32 (1st Cir. 2002) (“for habeas purposes, Saferian

is the functional equivalent of Strickland).

       Trial counsel has a duty to conduct an adequate, independent investigation of any scientific

evidence the Commonwealth seeks to rely upon to prove the defendant’s guilt. Strickland, 466 U.S.

at 691. Failure to consult with an expert witness may constitute ineffective assistance of counsel.

Dugas, 428 F.3d at 328. Unless counsel attempts to determine whether the findings and conclusions

of the Commonwealth’s experts are accurate, he simply has no way of making a reasonable tactical

judgment. See, e.g. Showers v. Beard, 635 F.3d 625 (3rd Cir. 2011)(counsel ineffective in failing to

enlist expert witness to rebut prosecution’s expert on key issue and relying instead on ill-informed




                                               -129-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 144 of 223




cross-examination of prosecution’s expert).54 The failure of trial counsel to file and litigate a pretrial

motion may constitute ineffective assistance of counsel. Kimmelman v. Morrison, 477 U.S. 365, 385-

386 (1986) (attorney failed to make obvious and meritorious objection to tainted evidence). Defense

counsel has a clear duty to seek to exclude inadmissible evidence harmful to the defendant’s case.

See, e.g., Tice v. Johnson, 647 F.3d 87 (4th Cir. 2011) (counsel ineffective for failing to file motion

to suppress, which, if it had been made, the trial court would have little choice but to grant).55 The

defendant has the burden to demonstrate a likelihood that the motion would have been successful

if filed, and that having prevailed, there is a reasonable likelihood that the verdict would have been

different absent the excludable evidence. Kimmelman, 477 U.S. at 375.

                   3.       Application of Law to Facts.

         The SJC’s determination that defense counsel was not ineffective was an objectively

unreasonable application of Strickland v. Washington, 466 U.S. 668 (1984) for the reasons below.




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                  See also Bell v. Miller, 500 F.3d 149 (2nd Cir. 2007)(trial counsel ineffective in failing to consult with
a medical expert to ascertain the possible effects of trauma and pharmaceuticals on key prosecution witness); Richey v.
Bradshaw, 498 F.3d 344 (6th Cir. 2007)(trial counsel ineffective in relying on defense expert’s opinion to forego defense
without “consult[ing] with that expert to make an informed decision about whether . . .[the] particular defense . . . was
viable”); Sanders v. Ryder, 183 Fed. Appx. 666 (9th Cir. 2006)(counsel ineffective in failing to consult or hire a child
abuse interview expert regarding proper interview techniques or a DNA expert); Draughon v. Dretke, 427 F.3d 286 (5th
Cir. 2005)(counsel failed to obtain forensic examination of physical evidence that would have contradicted state’s theory
of how fatal shooting occurred); Soffar v. Dretke, 368 F.3d 441 (5th Cir. 2004) (counsel failed to consult a ballistics
expert); Pavel v. Hollins, 261 F.3d 210 (2nd Cir. 2001) (counsel’s failure to call expert could not be deemed strategic
because counsel failed to consult with expert beforehand and lacked “education [and] experience necessary” to make
determination without advice from expert).
         55
                      See also Gentry v. Sevier, 597 F.3d 838 (7th Cir. 2010) (counsel ineffective in “failing to move to
suppress or object to the admission of ...evidence” on 4th Amendment grounds); Thomas v. Varner, 428 F.3d 491 (3rd
Cir. 2005) (counsel ineffective in failing to file meritorious motion to suppress identification evidence); Owens v. United
States, 387 F.3d 607 (7th Cir. 2004)(counsel’s motion to suppress tangible evidence erroneously forfeited meritorious
claim); A.M. v. Butler, 360 F.3d 787 (7th Cir. 2004) (counsel ineffective in failing to move for suppression of confession,
inter alia, as fruit of unlawful arrest); Joshua v. Dewitt, 341 F.3d 430 (6th Cir. 2003) (counsel ineffective in failing to
litigate 4th Amendment issue, which reasonable trial attorney would have raised, given that “there is nothing in the record
to reflect that...trial counsel considered and declined to raise [issue]...for strategic reasons); Northrup v. Trippett, 265
F.3d 372 (6th Cir. 2001)(counsel ineffective in failing to file meritorious motion to suppress evidence; claim of strategic
judgment rejected because “it is difficult to imagine what tactical advantage, or cost, could justify [counsel’s] decision”).
                                                         -130-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 145 of 223




                        a.      Defense counsel blundered in failing to move to exclude the
                                Commonwealth’s scientifically unreliable DNA results.

        Cellmark’s DNA test results, purporting to link Greineder to the knife and brown work

gloves used by Ms. Greineder’s killer, provided powerful support for his conviction. Faced with such

obviously damaging evidence, it was incumbent upon defense counsel to explore grounds for

excluding it at trial and to seek to do so if such grounds existed. Here, counsel had several

compelling arguments available to keep Cellmark’s inculpatory test results out. His own experts had

told him that Cellmark’s work in this case was grossly deficient in numerous respects and stretched

the technology beyond the point of scientific reliability. He knew that Cellmark had failed to

validate allelic calls below 100 RFUs, that necessary controls were missing, that Cellmark had

fiddled with the results, and that its statistical analysis was improper. He knew of no published court

decision endorsing the kind of LCN work Cellmark had performed. Indeed, in a file memorandum

he wrote shortly before electing not to file a Lanigan motion, Greineder’s counsel wrote that

Cellmark’s flawed work “seems to me to be a powerful argument against admitting the

results....” Tr. (8/14/06)/58, Tr. (9/13/06)/71, Hg. Ex. 15D. (emphasis added)

        The exhaustive post-conviction analysis of Cellmark’s work in this case carried out by Dr.

Eisenberg and Dr. Brenner conclusively established the scientific invalidity of that work and the

unreliability of Cellmark’s test results. Dr. Eisenberg demonstrated that Cellmark’s interpretation

of LCN DNA mixtures at an RFU peak detection threshold below 100 was unreliable, unscientific,

improperly validated, and unfairly biased against Greineder. Indeed, Cellmark’s approach was “the

antithesis of proper scientific practice.”Eisenberg Aff. 62 (2009 R. 434).

        The unreliability of Cellmark’s test results also permeated the statistical analysis presented

to the jury. As Dr. Brenner explained in his uncontroverted affidavit, Cellmark’s statistical analysis

“violated basic scientific principles” and was “scientifically invalid.” According to Dr. Brenner, there
                                                -131-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 146 of 223




was “no objective way to quantify accurately the random match probability on the right-hand work

glove and other pieces of evidence tested by Cellmark.” Brenner Aff. 12-13 (2009 R. 269-270).

While Greineder’s trial counsel never bothered to retain a statistical expert, he was aware that

Cellmark’s statistical analysis was improper. Tr. 9/13/06, 69-70.

       None of the five justifications offered by Murphy for his failure to file a Lanigan motion to

exclude the DNA results withstands scrutiny. First, Murphy testified that he believed on April 17,

2001 that a motion to exclude Cellmark’s results as scientifically unreliable was “unlikely to be

successful.” Tr. 8/14/06, 131.Yet based upon his knowledge of Cellmark’s seriously-flawed work

in this case, that prediction was utterly baseless. Murphy knew that Cellmark had not validated its

testing of mixtures below 100 RFUs, that reducing its RFU threshold from 100 to 40 was both

unprecedented and unjustifiable, and that the RFU threshold employed by Cellmark was substantially

below that employed by other forensic laboratories or recommended by the manufacturer. Murphy’s

own experts were sharply critical of Cellmark’s work and advised him that Cellmark had engaged

in improper analysis and bad science. Moreover, he knew of no reported court decision upholding

the admission of DNA test results utilizing such a low RFU threshold in analyzing mixtures.

       Under these compelling circumstances, Murphy had ample reason to believe that a motion

to exclude Cellmark’s test results was meritorious and would thus be allowed by a fair judge. At the

very least, all allelic calls by Cellmark based upon peaks below 100 RFUs were ripe for exclusion.

Clearly, the filing of a Lanigan motion in this case would not have been an exercise in futility, and

Murphy’s apparent belief to the contrary was manifestly unreasonable.

       Second, Murphy testified that even if he had succeeded in excluding all allelic calls under

100 RFUs, the jury still would have heard DNA results that “conclusively linked” the right-hand

work glove to Greineder based solely on peaks above 100 RFUs. Tr. (9/13/06)/79-80. According to


                                              -132-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 147 of 223




Dr. Eisenberg, Murphy is wrong. The reality is that virtually all of the peaks relied upon by Cellmark

to associate Greineder with the DNA recovered from the key three pieces of evidence were less than

100 RFUs. Supplemental Affidavit of Arthur J. Eisenberg, Ph.D. (11/3/06), ¶6; 2009 R. 685. With

respect to the right-hand work glove specifically mentioned by Murphy, Dr. Eisenberg reviewed

Cellmark’s results locus-by-locus, concluding that “the only scientifically justifiable conclusion that

can be reported is that Mabel Greineder must not be excluded as a potential contributor...” and that

the results over 100 RFUs do not implicate Dirk Greineder at all. Id., ¶¶8-12, 2009 R. 686-689.

       Murphy’s third justification for failing to file a Lanigan motion to exclude Cellmark’s DNA

test results was that such a motion would give the Commonwealth and its witnesses a helpful

preview of the defense Murphy was planning to spring at trial. Yet, at trial, defense counsel failed

to challenge the scientific reliability of Cellmark’s testing before the jury. In cross-examining Dr.

Cotton, Murphy did not ask a single question about Cellmark’s lack of validation studies for calling

allelic peaks and DNA mixtures at less than 100 RFUs, its absence of specific criteria for lowering

the RFU threshold from 100 to 40, its lack of substrate controls, or its flawed statistical analysis.

Accordingly, filing a Lanigan motion challenging the admissibility of Cellmark’s DNA test results

would not have revealed Murphy’s trial strategy since he did not attack those results during trial. In

any event, if the effect of filing such a motion would be to render the prosecution’s inculpatory DNA

test results inadmissible, any clues about how defense counsel was planning to combat the evidence

at trial would be rendered academic.

       Fourth, Murphy testified that a successful motion to exclude Cellmark’s allelic calls under

100 RFUs would have undermined the defense strategy of suggesting that a third person was present

at the scene of Ms. Greineder’s death. Indeed, Murphy opined that the exclusion of such allelic calls

would have “largely eliminated the stranger DNA argument....” Tr. (9/13/06)/79. There are several


                                               -133-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 148 of 223




critical flaws in Murphy’s analysis. As Dr. Eisenberg pointed out in his supplemental affidavit, the

defense ultimately failed at trial to demonstrate the presence of a significant number of “stranger

alleles” on any of the three key items of evidence. Rather, only one such allele was identified on each

item. Supplemental Affidavit of Arthur J. Eisenberg, Ph.D., ¶¶13-14; 2009 R. 689-690. Moreover,

as Murphy himself conceded, Tr. (9/13/06), p. 87, the defense could have presented its “stranger

allele” argument based entirely upon peaks identified by Cellmark and found on Ms. Greineder’s

blue gloves -- peaks in excess of 100 RFUs.

        On any rational assessment of the case, Murphy’s planned “stranger allele” argument, relying

upon a smattering of unidentified alleles to suggest that a third person may have been present at the

scene, paled in significance when compared to the highly incriminating force of the

Commonwealth’s evidence linking Greineder’s DNA to the knife and brown work gloves. Murphy

acknowledged that there were “far fewer alleles attributed by the defense to a stranger than there

were alleles attributed by the prosecution to Dr. Greineder” on those key items of evidence. Id. at

88. Even if the jury could have been persuaded that a third person may have been present, that would

not have exculpated Greineder. On the other hand, if the defense had successfully moved to exclude

Cellmark’s low-RFU, inculpatory results on the knife and brown work gloves, there would have been

no provable connection between Greineder and those pieces of evidence, fatally weakening the

Commonwealth’s case. In sum, anything the defense had to lose by forfeiting its ability to rely on

a handful of low-RFU allelic calls was vastly outweighed by what the defense would have gained

by eliminating all such calls at trial.

        Finally, Murphy testified that he didn’t retain an expert in DNA statistics or challenge the

admissibility of Cellmark’s test results on that basis because he believed that any statistical

calculation would still have significantly inculpated Greineder. Tr. (8/14/06)/158. Yet by not


                                               -134-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 149 of 223




bothering to retain a statistical expert to review Cellmark’s work, Murphy failed to discover that

Cellmark’s statistical analysis “violated basic scientific principles” and was “scientifically invalid.”

See Brenner Aff; 2009 R. 266. If Brenner is correct (and the Commonwealth presented no evidence

controverting his opinion), then Cellmark’s inculpatory test results in this case would have been

subject to exclusion on that ground as well. Accordingly, Murphy’s decision to forego filing a viable

Lanigan motion under these circumstances was manifestly unreasonable.

         In his decision denying Greineder’s motion for a new trial, Judge Chernoff concluded that

the bulk of Dr. Eisenberg’s criticisms went to the weight, not the admissibility, of Cellmark’s DNA

test results. Findings of Fact, Rulings of Law, and Order on Defendant’s Amended Motion for New

Trial, 53 (2009 R. 964). Accordingly, Judge Chernoff stated: “[T]his Court, in its discretion, would

most likely have rejected a Lanigan challenge to Cellmark’s test results in this case, despite the

serious issues raised by Dr. Eisenberg.” Id. 54 (2009 R. 965).56 Based on the record before him,

however, Judge Chernoff’s conclusion is an unreasonable determination of the facts in light of the

state court record. If Dr. Eisenberg is correct in his analysis, Cellmark’s application of DNA

technology in this case was scientifically invalid and unreliable.57 Under Lanigan and its progeny,

a motion to exclude such junk science would properly have been allowed.58

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                  Judge Chernoff does not appear to question Dr. Eisenberg’s credibility or doubt his conclusions. Since
Judge Chernoff denied Greineder’s motion to call Dr. Eisenberg as a witness at the evidentiary hearing, this Court is in
as good a position as Judge Chernoff to consider the substance of Dr. Eisenberg’s affidavits, as well as the affidavit of
Dr. Brenner and those proffered by the Commonwealth.
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                  Th SJC’s decision in Commonwealth v. Gaynor, 443 Mass. 245, 263-270 (2005) is not to the contrary.
In Gaynor, “only test results based on a single source of DNA” or results yielding “strong evidence of a primary
contributor” were used. Id. at 251. In this case, by contrast, Cellmark interpreted LCN mixtures containing extremely
weak signals from a putative secondary contributor, stretching DNA technology well beyond validated, reliable limits.
         58
                    At least two courts have recently excluded LCN STR-based DNA test results from admission into
evidence at trial on the basis of scientific unreliability. United States v. McCluskey, 954 F.Supp.2d 1224 (D.N.M. 2013);
People v. Collins, 2015 WL 4077176 (N.Y. Sup. July 2, 2015). In McCluckey, the court noted, inter alia, that “[a]
number of leading authorities in the field take the position that LCN testing is not reliable” and that “[m]ost laboratories
in the U.. Do not perform LCN testing.” 954 F.Supp.2d at 1280, 1277. The court observed that such testing is carried
out by the New York City Office of Chief Medical Examiner [“OCME”], but that the OCME uses special procedures
                                                                                                           (continued...)
                                                         -135-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 150 of 223




         Judge Chernoff’s conclusion that Murphy’s decision to eschew a motion challenging the

admissibility of Cellmark’s test results was defensible for tactical reasons is completely beyond the

pale. This evidence was devastating to the defense, and none of Murphy’s proffered justifications

passes muster. Any reasonable lawyer faced with the choice of keeping this highly inculpatory

evidence out of the trial or trying to make the best of it would choose the former over the latter. Any

other choice, whether viewed in foresight or in hindsight, would be manifestly unreasonable.

                               b.    Defense counsel blundered in failing to challenge the
                                     Commonwealth’s DNA evidence or call a DNA forensic scientist
                                     and statistical expert to testify at trial.

         Having failed to prevent the Commonwealth from introducing Cellmark’s highly inculpatory

DNA test results at trial, Murphy compounded that error by failing to challenge or attack that

evidence before the jury. The forensic scientist who was supposed to spearhead the defense response

to DNA evidence at trial, Dr. Davis, was jettisoned by trial counsel and never replaced. Instead,

Murphy chose to rely upon Professor Krane, who was not a forensic scientist and had been retained

only just before trial. Krane had never done forensic testing, utilized the software or hardware

employed by Cellmark, or reviewed Cellmark’s validation studies. He was thus in no position to

critique Cellmark’s work and didn’t even try to do so. To make matters worse, the defense failed to

challenge Cellmark’s scientifically invalid statistical analysis at trial, either on cross-examination

of Dr. Cotton or by presenting an expert in DNA statistics. As in Leonard v. Michigan, 256


         58
              (...continued)
for such testing, including the use of 31 amplification cycles rather than the standard 28. Id. In the instant case, as in
McCluckey, Cellmark’s own validation studies did not support the reporting of the LCN test results. See Eisenberg
Affidavit at 51-52, 62.
           In Collins, the court stated that with the exception of the OCME, “no American laboratory produces high
sensitivity [aka LCN] conclusions for use in a criminal case.” The court in Collins concluded that the special procedures
employed by the OCME for such testing were not recognized as sufficiently reliable to warrant admissibility at trial. But
see, e.g., United States v. Morgan, 53 F.Supp.3d 732 (S.D.N.Y. 2014) (admitting such evidence). The Collins court also
noted that even the prosecution experts acknowledged that “moving from standard DNA analysis to high sensitivity
analysis means crossing a border to a different world.” Slip. Op. at 8, 14. Yet Greineder’s trial counsel never even
bothered to challenge the admissibility of such evidence, which would properly have been excluded.
                                                        -136-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 151 of 223




F.Supp.2d 723, 730 (W.D.Mich. 2003), counsel’s cross-examination of the Commonwealth’s expert

“was minimal and failed to address any areas of controversy, such as methodology, lack of expertise,

or bias.” As a result, Cellmark’s biased, scientifically unreliable, yet highly inculpatory test results

were essentially unchallenged at trial.

        Trial counsel’s alternative plan to address Cellmark’s DNA test results was utterly lame,

hence manifestly unreasonable. Since Dr. Davis wasn’t called as a witness, the electropherograms

she had prepared to illustrate the “stranger allele defense” were not admitted into evidence. That

defense, which relied upon a smattering of low-RFU alleles, fell flat. Taylor’s DNA experiments

illustrating secondary DNA transfer were also excluded, so that defense theory was significantly

weakened as well. Counsel’s decision to pin his client’s fate on inadmissible exhibits and

experiments and to forego a powerful attack upon the Commonwealth’s most incriminating evidence

cannot be defended under any standard of review.

        Judge Chernoff’s justifications for Murphy’s failure to retain a substitute for Dr. Davis and

a statistical expert to testify at trial are not supported by the record and should be rejected. The

motion judge says it was reasonable for Murphy to eschew a continuance based upon his fear that

Greineder’s eldest daughter, Kirsten, would attend trial in May and June, but not after her August

wedding. Findings of Fact, Rulings of Law, and Order on Defendant’s Amended Motion for New

Trial, 57 (2009 R. 968). Yet Murphy admitted that he never asked Kirsten if she would refuse to

attend her father’s trial if a continuance were necessary, and his fears on that front were entirely

speculative, hence unreasonable.

        Judge Chernoff concluded that Murphy’s decision not to retain a statistical expert was not

manifestly unreasonable “given that the DNA results were only one of numerous pieces of

incriminating evidence in the case against the defendant.” Id. 57 (2009 R. 968). That is hardly an


                                                -137-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 152 of 223




excuse for failing to challenge the most incriminating evidence in the case. Murphy’s negligence was

a clear abdication of his responsibilities to his client.

                        c.      Greineder was prejudiced by defense counsel’s blunders.

        There can be no doubt that the admission of Cellmark’s inculpatory DNA test results at trial

contributed significantly to Greineder’s conviction. The Commonwealth’s case was entirely

circumstantial and depended largely upon forensic evidence, particularly DNA. Accordingly,

Greineder is entitled to constitutional relief if a pretrial motion to exclude at least a substantial

portion of those results would have been meritorious. He is also entitled to relief if Murphy’s failure

to challenge the DNA test results at trial deprived him of a substantial defense.

        Assessing the appropriate outcome of a Lanigan motion at this juncture requires the Court

to consider and weigh the affidavits filed by Dr. Eisenberg (2009 R. 472-682) and Dr. Brenner (2009

R. 258-276) on one hand and those filed by Dr. Cotton (2009 R. 700-720) and Ms. Sgueglia (2009

R. 721-735) on the other. Since the motion judge refused to hear live expert testimony, this Court

is in as good a position as the motion judge to make that assessment. Dr. Eisenberg’s devastating

critique of Cellmark’s work remains unrebutted, and Dr. Brenner’s critique of Cellmark’s statistical

analysis hasn’t been addressed at all. Accordingly, this Court should conclude that a Lanigan motion

to exclude all of Cellmark’s inculpatory DNA test results (or at least those relying on allelic calls

based on peaks under 100 RFUs) would properly have been allowed, as would a motion to exclude

Cellmark’s statistical analysis of those results.

        Moreover, this Court should conclude that Greineder was further prejudiced by Murphy’s

failure to challenge the scientific validity of Cellmark’s inculpatory test results before the jury.

Cellmark’s testing was highly vulnerable to attack, but such an attack never took place. Greineder

was deprived of the effective assistance of counsel, and he is entitled to relief.


                                                -138-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 153 of 223




                        d.      This Court should grant habeas relief.

        The SJC’s determination that defense counsel was not ineffective in failing to move to

exclude the DNA results and in addressing the DNA at trial was an objectively unreasonable

application of Strickland, 466 U.S. 668. The process which produced the DNA test results that

inculpated Greineder, a cornerstone of the Commonwealth’s case, was riddled with serious flaws and

such unreliable DNA test results never should have been presented to the jury. Accordingly, it is this

Court’s duty, upon strict application of the relevant constitutional principles, to grant habeas relief.

        B.      Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to File a
                Meritorious Motion to Suppress the Nails Receipt.

                1.      Statement of Relevant Facts.

                        a.      Pretrial and trial proceedings.

        On November 12, 1999, Trooper Foley filed an application and affidavit for a search warrant

of the Greineder home, seeking, inter alia:

        ... a cake pan, containers of lighter fluid, trash and/or plastic bag type containers,
        receipts for any of the above....

Affidavit in Support of Application for a Search Warrant, ¶ 2; 2009 R. 335. (emphasis added).

        The magistrate issued the requested search warrant, which read, in relevant part:

        YOU ARE THEREFORE COMMANDED within a reasonable time ... to search for
        the following property:

        ... receipts, and/or other evidence of financial transactions, zip-lock bags, lighter
        fluid, cake or loaf pans, latex gloves, the packaging of any of these materials....

Search Warrant, 2009 R. 349. (emphasis added). One item seized was a Diehl's Hardware receipt

for nails dated September 3, 1999 (hereinafter "nails receipt"). See Return of Officer, 2009 R. 350.

        The defendant filed a Motion to Suppress Physical Evidence on July 10, 2000, arguing, inter

alia, that the lack of specificity in the warrant made it an unlawful general warrant, and that all


                                                -139-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 154 of 223




evidence seized during the execution of the search warrant should be suppressed. See Defendant's

Post-Hearing Memorandum at 3. 2009 R. 28.

       In its October 18, 2000 Memorandum of Decision, the court concluded that the November

12 warrant was a general warrant with respect to certain items. It wrote:

       [T]he Court concludes that the November 12th search warrant is a general
       warrant as far as its mandate to search and seize "computers and terminals,
       receipts and/or other evidence of financial transactions." It is not a general
       warrant as to the stated items including "zip-lock bags, lighter fluid, cake or loaf
       pans, latex gloves, the packaging of any of these materials, checks or cancelled
       checks, as well as tool mark impressions."

Memorandum of Decision at 39 (emphasis added), 2009 R. 68. The court observed:

       Given their descriptions in the affidavit, the items listed in the warrant were capable
       of more specificity. The warrant does not limit the search of the computer(s) and the
       search of the financial transactions, including the receipts, to the acquisition of stated
       items (i.e. cake pans, lighter fluid, etc.), but would seem to allow on its face an open-
       ended search of computers and financial records. To this extent, the warrant is a
       general warrant.

Id. at 45, 2009 R. 74.

       The court found that the affidavit partially "cured" the unlawful general warrant, so

suppression was not warranted for those items that were specified in the affidavit. See id. at 47-49,

2009 R. 76-78. At the same time, the court found that certain enumerated items not listed in the

affidavit were outside the scope of the warrant, and that the seizure of these items was not justified

by the plain view doctrine as there was no "nexus between these items and the crime of murder or

solicitation." The court therefore suppressed these items. Id. at 59, 2009 R. 88.

       The issue of whether the nails receipt was validly within the scope of the warrant was not

specifically argued by Greineder prior to trial. Id. at 38 n.15, 2009 R. 67. This was not surprising as

neither Greineder nor the Commonwealth then had any reason to ascribe any probative value to the

nails receipt. The Court briefly addressed a set of seized items which ostensibly included the nails


                                               -140-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 155 of 223




receipt in a footnote. It wrote:

        Although not specifically argued by the defendant, this Court would also conclude
        that that the other items seized, including the loaf pans, the tin foil containers, the
        Diehl Hardware and Home Depot receipts, the Roche Brothers grocery bags, the
        plastic bag containing latex gloves, the box containing latex gloves, the boxes of Zip-
        Lock bags, the packaging for the EZ-Foil loaf pan, and the Roche Brothers receipt
        would fall under the scope of the warrant.

Id. at 49 n.24, 2009 R. 78. (emphasis added)

        Mid-trial, on June 4, 2001, the Commonwealth produced to the defense for the first time

another receipt from Diehl's showing the purchase of an Estwing hammer on September 3, 1999, the

same model as a bloody hammer found in a storm drain at Morse Pond. That receipt indicated that

the hammer was bought within minutes of the purchase reflected on the nails receipt and at the same

cash register. Defense counsel objected to this late-disclosed evidence, arguing that both receipts

should be excluded because of the tardy production. Tr. X/5-10. The court refused to exclude the nail

receipt, and it was introduced into evidence as Exhibit 236. Id. at 182; 2009 R. 352.

                        b.          Greineder's motion for new trial.

        In his motion for new trial, Greineder argued that defense counsel was ineffective in failing

to file a meritorious motion to suppress the nail receipt once its evidentiary value to the

Commonwealth became clear. Under the logic of the court's prior suppression decision, a motion to

suppress would have been successful since the search warrant was a general warrant with respect to

the nails receipt, that receipt was not listed in the search warrant affidavit, and its incriminating

character was not "immediately apparent" at the time of the seizure. 2009 R. 204-212.

                        c.         Testimony at post-trial hearing.

        Murphy testified that, prior to trial, he did not regard the nails receipt as being a "particularly

significant piece of evidence." Tr. 5/30/06, 68. When the Commonwealth informed him during trial

that it had been able to link the nails receipt to the purchase of an Estwing hammer, Murphy
                                                 -141-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 156 of 223




recognized that the nails receipt had become highly significant, and he objected to its admission on

grounds of late disclosure. Id. at 71. However, he did not move to suppress the receipt on

constitutional grounds or ask the Court to reconsider its prior ruling. He acknowledged that he did

"not recall thinking about the nails receipt in Fourth Amendment terms after the trial started." Id. at

73. He had "no recollection of making a conscious evaluation about whether I ought to renew or seek

to...ask the Judge to reconsider or to file a motion for reconsideration." Tr. 7/5/06, 22. Murphy stated

that based on the court’s reasoning, the receipt should have been excluded. Id. at 19.

                        d.      The motion judge's decision.

        In his decision, the motion judge concluded: "[T]his Court cannot say with certainty whether

it would have allowed such a [suppression] motion." He reasoned that it might have concluded that

the nails receipt was within the scope of the warrant. He noted that, based on its footnote that

admittedly "could have been clearer," defense counsel could have concluded that the nails receipt

had already been ruled admissible, and that the court would not have reconsidered the issue. The

judge went on to acknowledge that there is a "serious argument that seizure of the nails receipt was

not within the scope of the warrant," and that he "might have" allowed a motion to suppress the

receipt. Findings of Fact, Rulings of Law, and Order on Defendant’s Amended Motion for New Trial

at 34-37; 2009 R. 945-948.

        The motion judge rejected the defendant's ineffective assistance argument, holding that even

if the nails receipt itself were suppressed, the jury would have nonetheless "learned of its existence

and contents." Specifically, he asserted, the Commonwealth could have presented testimony

regarding the contents of the receipt, even to the extent of using the receipt itself to refresh the

witness's recollection of its contents. Id. at 37; 2009 R. 948. Moreover, the judge found that there

was no reasonable possibility that the verdict would have been different had the nails receipt been


                                                -142-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 157 of 223




suppressed since the "nails receipt as evidence of guilt [was] tenuous at best," and it was not a "key

piece" of evidence implicating the defendant. Id. at 36-38, 2009 R. 947-949.

                       e.      The SJC’s decision.

       In its decision, the SJC held: “We need not decide the question of the motion to suppress

because we agree that regardless of its resolution there was no substantial likelihood of a miscarriage

of justice.” Greineder, 458 Mass. at 253. The SJC noted that the trial judge ruled even if Greineder

would have prevailed on a motion to suppress the nails receipt, trial counsel’s failure to file such

motion would not have created a substantial likelihood of a miscarriage of justice (and therefore did

not constitute ineffective assistance of counsel). The SJC noted that the trial judge had found that

although the nails receipt created a strong inference that Greineder purchased the Estwing hammer

minutes after the nails purchase, Greineder’s son testified that he had purchased the nails. More

importantly, according to the SJC, the motion judge found that the receipt was not a key piece of

evidence because Greineder had purchased other items at the same hardware store, and the judge

noted the strength of the Commonwealth’s case. Id.

               2.      Summary of applicable law.

                       a.      Constitutional prohibition on general warrants.

       Under the Fourth Amendment to the United States Constitution and Article XIV of the

Massachusetts Declaration of Rights, search warrants must describe the articles to be seized with

particularity. See Commonwealth v. Valerio, 449 Mass. 562, 566 (2007); Commonwealth v. Cefalo,

381 Mass. 319, 327 (1980); United States v. Ferreras, 192 F.3d 5, 10 (1st Cir. 1999); see also G.L.

c. 276, §§1, 2. As the Supreme Court has written: "The uniformly applied rule is that a search

conducted pursuant to a warrant that fails to conform to the particularity requirement of the Fourth

Amendment is unconstitutional." Massachusetts v. Sheppard, 468 U.S. 981, 988 n. 5 (1984); Groh


                                               -143-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 158 of 223




v. Ramirez, 540 U.S. 551, 558-560 (2007). If a warrant lacks specificity as to the items to be seized,

the fruits of that seizure must be suppressed. See, e.g., Commonwealth v. Forish, 61 Mass. App. Ct.

554, 561 (2004). For example, a warrant that merely authorized seizure of "[s]tolen handguns,

jewelery [sic] and coins" was deemed an unlawful general warrant in Commonwealth v. Rutkowski,

406 Mass. 673, 674-675 (1990). The Court noted that the "the generic reference in this case to items

generally and lawfully available in our society ... fails to meet the minimum standard of

particularity." Id. at 676. A warrant that lacks a specific description of the items to be seized may

be saved or cured if accompanied by an affidavit that gives a specific description of those items, if

the affidavit is physically attached and is present when the search is executed. See Commonwealth

v. Sheppard, 394 Mass. 381, 390 (1985); Valerio, 449 Mass. at 567–568; Forish, 61 Mass. App. Ct.

at 560–561. In making the determination of whether suppression is required, the Court may consider

whether the officers conducting the search believed their authority was limited to the items set forth

in the affidavit, and therefore reached the same result as if the warrant had not been defective.

Sheppard, 394 Mass. at 390. The Court can also consider whether the officers exploited, or

attempted to exploit, the illegality of the warrant. Id.59

                            b.        Standard of review under AEDPA.

         While habeas relief is generally not available for Fourth Amendment claims, Stone v. Powell,

428 U.S. 465, 494 (1976), a petitioner may bring a Sixth Amendment claim arising from a Fourth


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                   Even if a search warrant is invalid, a search or seizure may still be justified if it fits into one of the
exceptions to the warrant requirement. One such exception is the plain view doctrine. See Commonwealth v. Sleich-
Brodeur, 457 Mass. 300, 306 (2010). Under the Fourth Amendment to the U.S. Constitution, the plain view doctrine
applies (1) where the police are lawfully in a position to view the object; (2) where the police have a lawful right of
access to the object; and (3) in cases concerning (a) contraband, weapons, or other items illegally possessed, where the
incriminating character of the object is immediately apparent, Id., citing Horton v. California, 496 U.S. 128, 136 (1990);
Commonwealth v. D'Amour, 428 Mass. 725, 730-731 (1999); or (b) other types of evidence (“mere evidence”), where
the particular evidence is plausibly related to criminal activity of which the police are already aware. Id., citing
Commonwealth v. Accaputo, 380 Mass. 435, 5447 (1980); Commonwealth v. Bond, 375 Mass. 201, 206 (1978). Article
14 of the Massachusetts Declaration of Rights adds the requirement that the police come across the object inadvertently.
Id., citing Commonwealth v. Balicki, 436 Mass. 1, 9-10 (2002) (declining to abandon inadvertence requirement).
                                                         -144-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 159 of 223



Amendment issue if his counsel's failure to litigate the alleged Fourth Amendment violation

adequately is the core of the ineffectiveness claim. Kimmelman v. Morrison, 477 U.S. 365, 375

(1986). To assert a meritorious claim of ineffective assistance of counsel based upon a failure to file

a motion to suppress evidence, the petitioner must first establish that the underlying motion to

suppress must itself have merit. Id. at 382. Second, the petitioner must establish that the result of the

proceeding would have been different but for the excludable evidence. Barry v. Ficco, 392 F. Supp.

2d 83, 94 (D. Mass. 2005). On a habeas petition, the task before this Court is not to apply the

Strickland test in the first instance but instead to determine whether the SJC's application of the test

was “unreasonable.” Harrington, 562 U.S. at 101 (“The pivotal question is whether the state court's

application of the Strickland standard was unreasonable.”). The federal habeas court “look[s] to the

‘last reasoned opinion’ of the state court to discern the grounds for its decision. Lee v. Corsini, 777

F.3d 46 (1st Cir. 2015), citing Ylst v. Nunnemaker, 501 U.S. 797 (1991).

                3.      Application of law to facts

                        a.      Trial counsel was deficient for failing to file a meritorious motion
                                to suppress.

        The SJC never ruled on the merits of the motion to suppress issue, ruling that “We need not

decide the question of the motion to suppress because we agree that regardless of its resolution there

was no substantial likelihood of a miscarriage of justice.” Greineder, 458 Mass. at 253. The SJC

thus did not apply federal law or federal constitutional principles to this failure of counsel. In this

case, the search warrant was an impermissible general warrant. Through this device, the

Commonwealth took a host of materials from Greineder’s home, hoping that further investigation

might render them useful. This is precisely what the Constitution prohibits. While a general warrant

may be cured by an affidavit that provides sufficient specificity, that principle does not apply to the

seizure of the nails receipt because the nails receipt was not mentioned in the affidavit.

                                                -145-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 160 of 223



Accordingly, the nails receipt was subject to suppression as the fruit of an unlawful general warrant.

        Trial counsel was constitutionally deficient for failing to move to suppress the nails receipt.

As counsel testified at the hearing on the motion for new trial, he never even thought about filing a

motion to suppress. Such inattention was not the result of a strategic decision based on investigation

of all of the facts. See Gentry, 597 F.3d at 851-52 (counsel was ineffective in “failing to move to

suppress or object to the admission of... evidence” on Fourth Amendment grounds); Joshua, 341

F.3d at 440 (counsel was ineffective in failing to litigate Fourth Amendment issues, which

“reasonable trial attorney would have raised” based on applicable law and facts of the case, given

that “there is nothing in the record to reflect that... trial counsel considered and declined to raise

[issue] for strategic reasons.”).

                b.      The state court’s determination that there was no prejudice was an
                        unreasonable determination of the facts.

        In denying Greineder's motion for new trial, the motion judge clearly erred in opining that

even if the nails receipt were suppressed, the Commonwealth would have been able to present

testimony by the seizing officers as to its contents. The essence of the exclusionary rule is that

neither the object of an illegal seizure, nor the fruits thereof, may be introduced at trial against a

defendant. See Mapp v. Ohio, 367 U.S. 643, 654-656 (1961); Commonwealth v. Blood, 400 Mass.

61, 77 (1987); 6 W.R. LaFave, Search and Seizure, §11.4, at 255 n.1 (4th ed. 2004) (evidence to be

suppressed includes "not only the physical evidence discovered but also ... testimony about its

discovery"). The motion judge's position effectively eviscerates the exclusionary rule. Additionally,

the motion judge made a clear error in applying the state law. See Taylor, 366 F.3d at 1001

(“Obviously, where the state court's legal error infects the fact-finding process, the resulting factual

determination will be unreasonable and no presumption of correctness can attach to it.”). Contrary

to the motion judge’s ruling, the officers could not have refreshed their recollection by use of the

                                                -146-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 161 of 223



receipt, since any use of illegally-obtained evidence, including to refresh recollection for testimony,

is prohibited as fruit of the poisonous tree. Commonwealth v. Woodbine, 461 Mass. 720, 731 (2012)

(before witness is permitted to testify concerning an event after his memory has been refreshed by

his review of material that is suppressed due to violations of a defendant’s rights under the Fifth

Amendment to the United States Constitution and art. 12 of the Massachusetts Declaration of Rights,

the judge must ensure that the Commonwealth has met its burden of establishing that the witness will

not testify from a memory of the suppressed statement, which by definition is not to be placed in

evidence, but from an independent memory of the separate event).

       Contrary to the SJC’s ruling, there is a reasonable likelihood that the verdict would have been

different if the nails receipt had been suppressed. In closing argument, the prosecutor argued that the

nails evidence was “important.” Tr. 25/89-90. As the prosecutor stated, the receipt played an

important part in the Commonwealth’s circumstantial case, seeking to tie Greineder to a hammer

which may have been used in the murder. While there was certainly other evidence presented at trial,

none of it was overwhelming, and there is no way to determine what tipped the balance towards a

guilty verdict. Cf. United States v. Melvin, 730 F.3d 29, 40 (1st Cir. 2013) (relying on prosecutor's

closing argument to determine whether improperly admitted testimony was sufficiently important

to the government's case so as to require vacatur of the defendant's conviction).

                       c.      This Court should order habeas relief.

       The SJC’s determination that defense counsel was not ineffective in failing to move to

exclude the DNA results and in handling the DNA at trial was an objectively unreasonable

application of Strickland, 466 U.S. 668. Defense counsel’s failure to move to suppress the nails

receipt render his assistance constitutionally ineffective. Where defense counsel fails to made an

obvious and meritorious objection to tainted evidence important to the state’s case, habeas relief is

warranted. See Kimmelman, 477 U.S. at 375 (1986).
                                          -147-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 162 of 223



       C.      Greineder’s Trial Counsel Was Constitutionally Ineffective in Failing to File a
               Meritorious Motion to Suppress the Fruits of a Search of Greineder’s Toyota
               Avalon.

               1.       Statement of relevant facts.

                        a.       Search of Toyota Avalon in Greineder's driveway.

       On November 1, 1999, Trooper Foley applied for and obtained a warrant to search

Greineder's residence at 56 Cleveland Road in Wellesley and Greineder's van, which was in police

custody. The warrant authorized officers to search for various specified items of evidence, such as

gloves, receipts for a knife or hammer, and bloody clothing or instruments. 2009 R. 360.

       The search warrant was executed on November 1st. At the beginning of the search, the keys

to Greineder's Toyota Avalon (a different vehicle from the van) were seized by law enforcement.

Det. McDermott and Det. Vargas spent 15-20 minutes searching the Avalon, which was parked in

the driveway located in front of Greineder's garage. Tr. VII/107-111, 41-42; Tr. IX/116, 160.

                        b.       Pretrial testimony.

       At a pretrial hearing, Trooper Foley testified that during the November 1st search, two

investigators looked into the Avalon and saw a white towel that appeared to have bloodstains on it,

but did not seize that towel. Pr.Tr. 7/18/00/94-96.

                        c.       Defendant's use of towel at trial.60

       Greineder testified that his wife's nose began to bleed while the two stood in the driveway

of their house on the morning of October 31, 1999. Tr. XX/47. Greineder reached into the Toyota

Avalon and got a towel. Id. He put the dog into the van while his wife used the towel to clean up

from her nosebleed. Id. at 52-53. As Greineder was getting the dog into the van, the dog bumped him

and his nose began to bleed as well. Id. Greineder used the same towel to stanch the blood. Id. He

gave that towel back to Ms. Greineder, and, when she was done with it, he "threw it [the towel] back

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               For reasons of clarity, the defense evidence on this issue is addressed first.
                                                    -148-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 163 of 223



in the Toyota." Id. Greineder testified that he had brought the towel home from the Atlanta Ritz-

Carlton. Id. at 48. Greineder turned the towel over to his attorney on November 5, 1999. Id. at 132.

The towel was subsequently turned over to the Commonwealth pursuant to court order, and was

introduced into evidence at trial as Exhibit 440. Id. at 48.

       The towel provided a crucial link in the defense's DNA transfer theory. Bloodstains on the

towel were found to contain DNA material matching both Ms. Greineder's and Greineder's profiles.

Id. Defense expert Daniel Krane testified that Greineder's DNA could have been transferred to Ms.

Greineder's face when she used that towel on the morning of October 31st. He further testified that

Greineder's DNA could then have been transferred from Ms. Greineder's face to the knife found at

the crime scene. Tr. XXII/98. This DNA transfer theory provided an innocuous explanation for some

of the most damaging evidence in the case.

                       d.      Commonwealth trial evidence regarding towel.

       At trial, Det. McDermott stated that Exhibit 440 was not the towel she had seen in the Avalon

on November 1, 1999. Tr. VII/42. Chief Cunningham, who was also present at the search, testified

that he saw the towel McDermott looked at, and it did not have a Ritz-Carlton emblem on it. Tr.

IX/160. No photographs were taken during the November 1st search of the Avalon. Tr. VII/111.

                       e.      Claim of ineffective assistance of counsel respecting towel.

       The defense did not move to suppress the fruits of the search of the Toyota Avalon, either

prior to or during trial. In his motion for new trial, Greineder contended that his trial counsel was

ineffective for failing to move to suppress the Commonwealth's testimony regarding the towel

observed during the search, testimony that undermined the DNA transfer theory and cast grave doubt

on Greineder's credibility. At the evidentiary hearing on the motion for new trial, Murphy testified

that on November 5, 1999, Greineder turned over to him a bloodstained hand towel with a Ritz-

Carlton logo on it. Tr. 5/30/2006/75. Greineder told him that both he and Ms. Greineder had bled
                                             -149-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 164 of 223



onto the towel on the morning of October 31, 1999. Id. at 76. Murphy put the towel in a paper bag

and eventually turned it over to the prosecution in response to a court order. Id.

       Murphy testified that the towel "was a significant item to the defense." Id. at 77. It

corroborated Greineder's statements made shortly after Ms. Greineder's death about their

simultaneous nosebleeds and shared use of the towel, and it supported the defense's DNA transfer

theory which explained how Greineder's DNA could have innocently ended up on the gloves and

knife allegedly used by the murderer. Id. at 78-79. Based on his conversations with Greineder,

Murphy believed that this towel had been in the Toyota Avalon on November 1. Id. at 78. He

realized that if the Ritz-Carlton towel had not been in the Avalon on November 1, it would "certainly

suggest that [Greineder] was lying to a number of people, including a number of members of his

close family about an event that was important to the defense." Id. at 79.

       Murphy testified that prior to trial, he thought the officers' testimony on this subject would

"actually [be] a piece of evidence that favored the defendant." Id. at 86. However, Murphy never

asked McDermott during the suppression hearing to describe the towel that she had seen on

November 1. Id. at 88. His explanation was that he did not realize that she was one of the two

officers who had conducted the search and because he "liked the state of the record the way it was,

and ... thought that it was good for the defense, and sometimes if you ask additional questions, you

get answers you don't like." Id. at 89. Consequently, Murphy did not realize that McDermott was

going to testify that the Ritz-Carlton towel was not the towel she had seen in the Avalon on

November 1 until she so stated at trial. Id. at 11. This testimony surprised him. Id. at 28.

       Although Murphy did not recall doing any legal research on whether the officers'

observations could be suppressed, he understood that observations made during an unlawful search

were subject to suppression. Id. at 25. He testified that it was unlikely that he researched the issue

of whether the police could lawfully search the Avalon, though he thought that "if it [the Avalon]
                                             -150-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 165 of 223



was not in the garage, I would have suspected the police needed a separate search warrant for it." Id.

at 25. Once McDermott testified at trial that she had seen a different towel in the Avalon, Murphy

realized her testimony "wasn't directly helpful," and contradicted Greineder's subsequent trial

testimony. Id. at 27, 28. Murphy believed that McDermott's trial testimony did present some

opportunities for him to exploit in that the police had failed to take photographs during the

November 1 search and McDermott's testimony was inconsistent with Sergeant Foley’s. Id. at 29.

Despite the harmful nature of McDermott's testimony about the towel at trial, Murphy did not

consider the possibility of moving to strike it as the fruit of an unconstitutional search. Id. at 28.

                          f.   The motion judge's decision.

       The motion judge adopted the suppression argument made in Greineder's new trial motion,

holding that the "driveway was not within the curtilage of 56 Cleveland Road," that the warrant "did

not extend to the Toyota Avalon," and that the warrant was not justified under the automobile

exception to the warrant requirement. Findings at 40; 2009 R. 951. The judge concluded that "the

November 1 search of the Avalon was unlawful and a motion to suppress the officers' observations

of the dirty towel would have succeeded." Id.

       The judge nonetheless found that counsel was not ineffective because "counsel recognized

that the fruits of the Avalon search were suppressible," and "deliberately chose not to move to

exclude that evidence." Id. The judge explained:

       [D]efense counsel wanted the jury to hear the testimony about the simultaneous
       nosebleeds, which was crucial to the defense's DNA transfer theory. This was a
       reasonable tactical decision. Once McDermott testified at variance with the pretrial
       testimony, defense counsel attempted impeachment with the prior testimony and
       argued that the conduct of the police with respect to the towel demonstrated a sloppy
       investigation. This strategy was not manifestly unreasonable.

Id. at 41; 2009 R. 952.



                                               -151-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 166 of 223



                      g.      The SJC’s decision.

       The SJC concluded, like the trial judge, that counsel’s decision to forego any challenge to

the fruits of the search of the Toyota was “a reasonable tactical decision” and was “not manifestly

unreasonable.” Greineder, 458 Mass. at 255.

               2.     Summary of applicable law.

                      a.      Scope of a residential search warrant.

       A search warrant for a residence covers vehicles found within the curtilage of the residence

but not those outside. Commonwealth v. McCarthy, 428 Mass. 871, 873 (1999). In Commonwealth

v. Simmons, 392 Mass. 45, 48 (1984), the SJC held that a private driveway adjacent to a home where

there was no clearly reasonable expectation of privacy was outside the curtilage. See McCarthy, 428

Mass. at 874; United States v. Dunn, 480 U.S. 294, 301 (1987) (listing factors to be applied in

determining whether driveway is within curtilage of home for Fourth Amendment purposes);United

States v. Diehl, 276 F.3d 32, 38 (1st Cir. 2002); Commonwealth v. Fernandez, 458 Mass. 137, 145

(2010) (“the driveway in the present case was within the curtilage of the defendant's apartment”).

                      b.      Limited exception to warrant requirement for automobile
                              searches.

       Under both the Fourth Amendment and Article XIV, police may not search an automobile

without a warrant unless they can make a showing of probable cause and exigent circumstances. The

Commonwealth must show that there is probable cause that the automobile contains contraband or

evidence of a crime. See Carroll v. United States, 267 U.S. 132, 149 (1925); Commonwealth v. Ortiz,

376 Mass. 349, 353 (1978). The exigent circumstances requirement is met only when it is

"impracticable" to obtain a warrant. Commonwealth v. Alvarado, 420 Mass. 542, 554 (1995).

                      c.      Filing of motion to suppress during trial.

       While motions to suppress are generally required to be filed prior to trial, there is an

                                             -152-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 167 of 223



exception for a motion to suppress evidence that counsel could not anticipate would be introduced

at trial. See, e.g., Commonwealth v. Carter, 39 Mass. App. Ct. 439, 440-441 (1995); Commonwealth

v. Watkins, 33 Mass. App. Ct. 7, 13 n.6 (1992); Blumenson, Fisher, & Kanstroom, 2 Massachusetts

Criminal Practice § 15.2D (1998 & Supp. 2001).

                  3.        Application of law to facts.

                            a.       Trial counsel was deficient in failing to file a meritorious motion
                                     to suppress.

         Greineder’s car was parked in his driveway, which was not within the curtilage of the house.

As in Simmons, the driveway was openly visible from the public road and was the normal means of

access to the house. There was no gate separating the driveway from the public road; there were no

trees, fence or shrubbery shielding the driveway from the public road; and there were no "No

Trespassing" signs posted. See Simmons, 392 Mass. at 47. Accordingly, the search warrant for the

house did not authorize a search of the car. As the motion judge correctly concluded, A. 951, a

motion to suppress the evidence obtained as a result of the car search would have been meritorious.

         Once Detective McDermott testified that the towel she saw in the Avalon was not the Ritz-

Carlton towel, defense counsel should have moved to suppress the fruits of the search of the Avalon

and to strike her testimony. Counsel claims he had hoped McDermott’s testimony would be helpful

in corroborating Greineder's story. But once it was clear that McDermott's testimony about the search

was harmful to the defense, counsel's failure to move to suppress and strike was grossly negligent.

Under the circumstances, the court could properly have entertained a motion to suppress during

trial.61 There was no strategic reason not to file such a motion. By his own admission, counsel simply

failed to consider doing so. As in Wiggins v. Smith, 539 U.S. 510, 534 (2003), this failure "was the

         61
                  While motions to suppress are generally required to be filed prior to trial, there is an exception for a
motion to suppress evidence that counsel could not anticipate would be introduced at trial. See, e.g., Carter, 39 Mass.
App. Ct. at 440-441; Watkins, 33 Mass. App. Ct. at 13 n.6; Blumenson, Fisher, & Kanstroom, 2 Massachusetts Criminal
Practice §15.2D (1998 & 2001 Supp.). In this instance, defense counsel was surprised by McDermott’s trial testimony.
                                                        -153-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 168 of 223



result of inattention, not reasoned strategic judgment."

                       c.      The motion judge's reasoning and the SJC’s affirmance were
                               unreasonable.

       The motion judge's decision rejecting this claim rested on a faulty premise – that defense

counsel's failure to move to suppress the evidence was a "deliberate" decision. A. 951. Similarly, the

SJC ruled: “We conclude, as did the judge, that counsel’s decision to forego any challenge to the

fruits of the search of the Toyota was a reasonable tactical decision and was not manifestly

unreasonable.” Greineder, 458 Mass. at 255. However, counsel testified that he did not consider

moving to suppress and strike the testimony in the middle of trial. Tr. (5/30/06)/28. Therefore, the

motion court's conclusion and the SJC’s affirmance of his conclusion that this was a strategic

decision was unreasonable. See, e.g., United States v. Mercedes-De La Cruz, 787 F.3d 61, 67-69 (1st

Cir. 2015) (“That a timely motion to suppress would likely have been meritorious and without

repercussion to other defense strategies confutes any argument that counsel’s failure to file such a

motion was professionally reasonable”). In any event, any such decision would have been manifestly

unreasonable once the damaging nature of Detective McDermott’s testimony became clear.

                       d.      Counsel's failure to move to suppress was prejudicial.

       There is a reasonable likelihood that the verdict would have been different had the evidence

regarding the towel been suppressed. The Commonwealth's case was based entirely on circumstantial

evidence, and Greineder's testimony about the towel was the linchpin of the DNA transfer theory

presented by the defense at trial. Testimony by Detective McDermott that the towel produced by

Greineder was not the one observed in Greineder's vehicle during the search devastated Greineder's

credibility by making him appear dishonest. Further, it completely undermined the defense's DNA

transfer theory, making it look more like a concoction supported by fabricated evidence than a

reasonable explanation of the otherwise-damning DNA test results. Greineder suffered substantial

                                               -154-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 169 of 223



prejudice and is entitled to relief.

                        e.      This Court should order habeas relief.

        The SJC’s determination that defense counsel was not ineffective in failing to move to

exclude the DNA results and in handling the DNA at trial was an objectively unreasonable

application of Strickland, 466 U.S. 668. In light of the DNA evidence, as discussed above, defense

counsel’s failure to move to suppress the towel was “a blunder in the first magnitude.” Owens, 387

F.3d at 608. Nor was defense counsel’s failure to file a motion to suppress a reasonable tactical

decision because he never even thought to file one and, as discussed above, the defendant was

prejudice thereby. As Judge Ponser has stated:

        The “prejudice” essential to a violation of the Sixth Amendment right to the effective
        assistance of counsel is not being convicted though one is innocent, although that is
        the worst kind; it is being convicted when one would have been acquitted, or at least
        would have had a good shot at acquittal, had one been competently represented.

Owens, 387 F.3d at 610. Because defense counsel failed to raise, let alone adequately litigate, a

meritorious suppression motion, which resulted in the admission of seriously inculpatory evidence,

habeas relief is warranted.

        D.      The Cumulative Effect of Counsel’s Failures Amounted to Ineffective Assistance
                of Counsel Entitling Greineder to Habeas Relief.

        If a court finds numerous deficiencies in a counsel’s performance, it need not rely on the

prejudicial effect of a single deficiency if the combined effect of all of counsel’s deficiencies

establishes prejudice. See Dugas, 428 F3d. at 335 (“Strickland clearly allows the court to consider

the cumulative effect of counsel's errors in determining whether a defendant was prejudiced,” citing

Kubat v. Thierat, 867 F.2d 351, 370 (7th Cir. 1989); Gonzales v. McKune, 247 F.3d 1066, 1078 n.4

(10th Cir. 2001)( “Strickland . . . makes it clear that all acts of inadequate performance may be

cumulated in order to conduct the prejudice prong.”); Washington v. Smith, 219 F.3d 620, 634-635

(7th Cir. 2000)(“Evaluated individually, these errors may or may not have been prejudicial to [the
                                              -155-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 170 of 223



defendant], but we must assess the ‘totality of the omitted evidence’ under Strickland, rather than

the individual errors”); DeShields v. Shannon, 338 Fed. Appx. 120, 2009 (3rd Cir. July 10,

2009)(“cumulative effect of counsel’s failures” amounted to ineffective assistance even if failures,

“taken individually,” would be insufficient).

        Due to the combined effect of myriad mistakes by his lawyer, Greineder was deprived of

effective assistance of counsel under the federal constitution, and his resulting murder conviction

cannot be deemed fair or just. Having failed to exclude the unreliable, inadmissible, inculpatory

DNA test results, trial counsel also failed to effectively address those DNA results at trial. He

further failed to file a meritorious motion to suppress the directly inculpatory nails receipt, as well

as failing to move to suppress the fruits of the search of Greineder’s Toyota, consisting of testimony

about a towel that severely undermined the defense transfer theory. Without trial counsel’s

inexcusable failures, Greineder would have had a strong chance of acquittal.               The SJC’s

determination that defense counsel was not ineffective on the basis of these cumulative failings was

an objectively unreasonable application of Strickland, 466 U.S. 668. On the basis of the cumulative

effect of trial counsel’s failings, relief is warranted.

IV.     GREINEDER’S CONSTITUTIONAL RIGHT TO DISCLOSURE OF
        EXCULPATORY INFORMATION AND HIS RIGHT TO A FAIR TRIAL BASED
        ON RELIABLE EVIDENCE WERE DENIED BASED ON THE RECANTATION OF
        THE PROSECUTION’S FOOTWEAR EXPERT.

        A.      Statement of Relevant Facts.

        The Commonwealth’s theory at trial was that after attacking his wife in the middle of a dirt

path at Morse Pond, Greineder dragged her body backwards to the edge of the path. The

Commonwealth’s evidence to support its theory consisted primarily of a drag mark found in the path,

along with expert testimony about a heel mark next to the drag mark. If believed, the testimony about

Greineder’s heel mark strongly supported the Commonwealth’s case against him.

                                                 -156-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 171 of 223



               1.      Prosecutor’s opening statement.

       In his opening statement, the prosecutor outlined his theory. He argued:

               You will hear, ladies and gentlemen, that that sandy area where May
       Greineder's body was was examined for the footprints that were in it and that
       everybody that went there into that area had photographs of their footwear taken so
       that Sergeant Deborah Rebeiro could look at that footwear, compare it to those
       footprints, and try and reconstruct where people were.
               May Greineder's body was moved. She was struck in the back of the head.
       She fell face forward, and as she lay in the middle of the pathway her neck was cut
       open, and she was stabbed in the head and chest. There was a large pool of blood in
       the center of the path.
               The body was off to the side, and there was a drag mark with blood off
       to the side of the heel, led right to her left heel. As Sergeant Rebeiro tried to
       eliminate different footwear she also got the defendant's footwear, and you will
       hear in a position that would be backwards to the victim's body that there are
       heel marks which had the same size as the defendant's heels and had some of the
       manufacturing characteristics.

Tr. 5/24/2001 at 50-51 (emphasis added).

               2.      Testimony of Deborah Rebeiro.

       State Police Sergeant Deborah Rebeiro testified that she went to Morse Pond on October 31,

1999, where she observed a drag mark inside a bloodstain on a dirt path. Tr. VII/243-244. Rebeiro

testified in detail about Footprint #7, which overlapped some of the bloodstains. She noted a

connection between Footprint #7 and the drag mark, which “starts in the area of footwear track no.

7 and leads back toward the area of the final resting place of the victim.” Tr. VIII/30. She opined:

“[T]he left footwear of Dirk Greineder could have made impression no. 7.” Id. at 36. The direct

examination continued:

       Q:      And how would a person be situated or standing? Which way would they be
               facing in order to make that impression?
       A:      Their back, or the heel area of their footwear, would be in front of, or
               the heel would be towards the back of the victim as she was in her final
               resting position. (emphasis added)

Id. At the prosecutor’s request, Rebeiro marked one photograph (Exhibit 123) with an arrow


                                              -157-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 172 of 223



indicating “the way the foot would be directed,” and an “X” showing the course of the drag mark.

Id. at 37. She explained: “The drag mark appears to be starting in the general vicinity of the

heel area going back towards the victim.” (emphasis added) Id.

       Defense counsel did not cross-examine Rebeiro about Footprint #7. On redirect examination,

the Commonwealth introduced side-by-side photographs of the overlay of Greineder’s left sneaker

and the dental stone cast of Footprint #7. Rebeiro reiterated that, in her opinion, the overlay of the

shoe corresponded with that impression. Id. at 98-100.

               3.      Testimony of Greineder.

       In his testimony, Greineder described his actions at the scene where he discovered his wife's

body. His dog, Zephyr, had run ahead of him. Greineder followed, and the dog led him to his wife

lying on the edge of the path. He ran over to her, and pushed the dog aside. He leaned over to take

her pulse on the left side, but observed a lot of blood there, so he attempted to take her pulse on the

right side. He could not feel a pulse. He shook her, and then leaned down to check for respiration.

He then tried to pick her up, but could not. He first attempted to pick her up while kneeling at her

right side, and then stepped over her and tried again. When that did not work, he went to the other

side of her body, squatted down, and again tried to lift her, unsuccessfully. Tr. 6/19/01 at 78-82.

        Greineder then left to get help. After attempting unsuccessfully to find someone who had

a telephone, he returned to his car and called the police. After speaking to the police, he started

running back to the scene, and was picked up by a police car. When the car arrived at the scene,

Greineder went back to Ms. Greineder's body. He tried to take her pulse again and tried to listen for

a heartbeat. The police then asked him to back away from her body, and he backed away on his

knees. Someone then grabbed his elbow and escorted him out of the area. Id. at 82-94.

       The prosecutor relied repeatedly on Rebeiro’s testimony about Footprint #7 in attacking

Greineder’s credibility on cross-examination and implying that Greineder was tailoring his testimony
                                              -158-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 173 of 223



to the evidence presented at trial: “[Y]ou never said that before you heard Deborah Rebeiro talk

about your heelmark, did you?” Tr. XX/150; see also Tr. XXI/103.

               4.      The prosecutor’s closing argument.

       In closing argument, the prosecutor focused on Greineder’s supposed heelmark as an

important part of the Commonwealth’s case. He argued, in pertinent part:

       Remember Sergeant Rebeiro – Deborah Rebeiro. She was the tall one. OK, you do
       remember. That’s important evidence, ladies and gentlemen.... Is it probable that this
       person dragged another body without leaving any footwear impressions? Is that
       probable? I suggest to you it’s not, ladies and gentlemen. And I suggest to you it’s
       not, because we have that footwear. It’s the defendant’s heel mark, right where
       he would have picked her up, with bloody arms under the jacket, he dragged
       her backwards.... That, ladies and gentlemen, is evidence, strong, powerful
       evidence, that the wearer of those shoes dragged May Greineder to right where
       that heel sits, and that that heel stayed there until the police were there.

Tr. XXV/74-76 (emphasis added).

               5.      Greineder’s motion for new trial.

       In his motion for new trial, Greineder argued, inter alia, that his trial counsel had been

constitutionally ineffective in failing to rebut Rebeiro’s inculpatory testimony about Footprint #7.

In support of his claim, Greineder filed an affidavit by William J. Bodziak, a former forensic

examiner for the FBI and the author of a leading treatise in the field. Based on his independent

review of the evidence, Bodziak opined that Footprint #7 was not the heel of Greineder’s left shoe,

but rather the toe of Greineder’s right shoe. He concluded:

       In sum, in my opinion to a reasonable degree of scientific certainty, Sergeant Rebeiro
       was incorrect when she testified that the footprint evidence was consistent with Dirk
       Greineder having dragged May Greineder to the location where May’s body was
       found.

Exhibit 5 to Memorandum of Law in Support of Greineder’s Motion for New Trial; 2009 R. 280.

               6.      Rebeiro’s post-trial affidavit.

       On May 9, 2007, the Commonwealth filed an Affidavit of Deborah A. Rebeiro. 2009 R. 889-

                                              -159-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 174 of 223



890. Rebeiro stated that she had reviewed both Bodziak’s affidavit and the dental casts of Footprint

#7. She continued:

       [A]fter examining the photographs and the dental casts of impression #7, I concur
       with Mr. Bodziak that impression #7 represents two areas of the defendant’s right
       sneaker, one impression being from the toe area, not the heel area, as I previously
       reported....

Id. at ¶ 5. In short, Rebeiro admitted that her trial testimony about Footprint #7 was erroneous.

               7.      Defendant’s amended motion for new trial.

       Shortly after Rebeiro’s affidavit appeared, Greineder filed an amended motion for new trial

adding a claim based upon Rebeiro’s admission that her inculpatory trial testimony about Footprint

#7 was false. Greineder argued that Rebeiro’s false testimony probably affected the jury’s

deliberations, so relief was required.

               8.      The motion judge’s decision.

       In his ruling, the motion judge rejected the Commonwealth’s argument that the change in

Rebeiro’s testimony was "immaterial," and concurred with Greineder that the change was

“significant.” Ruling at 63, 68; 2009 R. 974, 979. As Judge Chernoff recognized:

       The elimination of the heel print negates a facet of the Commonwealth’s theory that
       the defendant must have been the murderer because his heel print demonstrates that
       he dragged the victim’s body out of the center of the path, where the fatal assault
       commenced....

Id. Judge Chernoff also noted:

       The trial transcript, the video of the closing argument, and the judge’s recollection
       of the trial all showed that the Commonwealth pervasively drove home to the jury its
       theory that the heel print was strongly probative of the defendant’s identity as the
       dragger of the victim and thus the murderer.

Id. at 54-55; 2009 R. 965-966.

       Nevertheless, Judge Chernoff concluded that, in light of the other evidence presented by the

Commonwealth at trial, “the change in Rebeiro’s testimony, although significant, does not cast real

                                              -160-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 175 of 223



doubt on the justice of the defendant’s conviction.” Id. at 65-68; 2009 R. 976-979. In footnote 11,

the motion judge stated: “Because there is neither a hint of wrongdoing nor of bad faith, the Court

does not feel compelled to impose a strict due process standard of review, application of which might

well result in an order for a new trial.” Id. at 61; 2009 R 972.

               9.      The SJC’s decision.

       On appeal, the SJC ruled that the motion judge applied the correct standard under

Massachusetts newly-discovered evidence law (citing Commonwealth v. Grace, 397 Mass. 303, 307

(1986)), that he considered this “newly-discovered” evidence in light of specific strengths of the

Commonwealth’s case, and that his conclusion that the evidence “does not cast real doubt on the

justice of the defendant’s conviction” was not an abuse of discretion. The SJC decision made no

discussion of federal constitutional law whatsoever. Greineder, 458 Mass. at 244-246.

       B.      Summary of Applicable Law.

               1.      Constitutional right to disclosure of exculpatory information.

       Under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, a defendant is denied due

process when the prosecution fails to disclose material, exculpatory information prior to trial. Two

important features of the Brady rule expand its scope beyond intentional nondisclosure by a

malicious prosecutor. First, a prosecutor need not act in bad faith in order for there to be a due

process violation. United States v. Agurs, 427 U.S. 97, 110 (1976) (“nor do we believe the

constitutional obligation is measured by the moral culpability, or the willfulness, of the prosecutor”);

Brady, 373 U.S. at 87-88 (non-disclosure of material exculpatory evidence is a violation

“irrespective of the good faith or bad faith of the prosecution,” violation does not turn on whether

nondisclosure was product "of guile"); United States v. Bagley, 473 U.S. 667, 682 (1985).

       Second, knowledge by any member of the prosecutorial team is imputed to the prosecutor.

See, e.g., Kyles v. Whitley, 419 U.S. 419, 437 (1995). Indeed, under Kyles, the prosecutor “has a duty
                                                -161-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 176 of 223



to learn of favorable evidence” in the possession of all others who are “acting on the government’s

behalf in the case, including the police.” Id. See also Mastrocchio v. Vose, 274 F.3d 590 (1st Cir.

2001) (imputing the witness protection team’s knowledge of benefits given to a material witness to

the prosecutor). Taking these two rules together, a member of the prosecution team who has

exculpatory evidence in their possession need not act in bad faith in order for the non-disclosure to

amount to a Brady violation.

       However, even where there has been a non-disclosure of exculpatory information, there is

no Brady violation unless the non-disclosed evidence can be said to be “material either to guilt or

to punishment.” Brady, 373 U.S. at 87. Evidence is considered to be material only when there is

a “reasonable probability that, had the evidence been disclosed to the defense, the result of the

proceeding would have been different.” Bagley, 473 U.S. at 682. In determining whether such a

probability exists, “the question is not whether the defendant would more likely than not have

received a different verdict from the evidence, but whether in its absence he received a fair trial.”

Kyles, 419 U.S. at 434. The trial cannot be said to have been fair if the “government’s evidentiary

suppression ‘undermines confidence in the outcome of the trial.’” Id. (quoting Bagley, 473 U.S. at

678). Brady violations have been found as a result of the recantation of a prosecution witness’s

testimony. See, e.g., Wolfe v. Clarke, 691 F.3d 410, 417, 426 (4th Cir. 2012); Douglas v. Workman,

560 F.3d 1156, 1166, 1175 (10th Cir. 2009); State v. Ziegler, 159 So.3d 96 (Ala. 2014).

               2.      Constitutional right to fair trial based on reliable evidence.

       A defendant’s right to due process under the Fifth and Fourteenth Amendments protects him

from conviction based on unreliable evidence. California v. Green, 399 U.S. 149, 188 n.20 (1970)

(Harlan, J., concurring) (“Due process does not permit a conviction based on no evidence, or on

evidence [that is] unreliable and untrustworthy...”). A conviction based in part on false evidence,

even false evidence presented in good faith, hardly comports with fundamental fairness, for due
                                            -162-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 177 of 223



process purposes. To permit a conviction based on uncorrected false material evidence to stand is

a violation of a defendant’s due process rights under the Fourteenth Amendment. Maxwell v. Roe,

628 F.3d 486 (9th Cir. 2010) (habeas relief granted where defendant convicted based on false

testimony of jailhouse informant); Hall v. Director of Corr., 343 F.3d 976 (9th Cir. 2003)(per

curiam) (“false and material evidence was admitted at Hall’s trial in violation of his due process

rights”); Killian v. Poole, 282 F.3d 1204 (9th Cir. 2002) (habeas relief granted where prosecution’s

star witness testified falsely). The due process guarantee may require a new trial when newly-

discovered evidence, including a witness recantation, reveals that the conviction was obtained

through the use of unreliable evidence. In Coogan v. McCaughtry, the court wrote:

       In some situations newly-discovered evidence is so compelling that it would be a
       violation of the fundamental fairness embodied in the Due Process Clause not to
       afford a defendant a new trial at which the evidence could be considered.

958 F.2d 793, 801 (7th Cir. 1991).

       In the recantation context, fundamental fairness may require a new trial, even in the absence

of bad faith. United States v. Young, 17 F.3d 1201,1203 (9th Cir. 1994)(The “government’s

assurances that false evidence was presented in good faith are little comfort to a criminal defendant

wrongly convicted on the basis of such evidence. A conviction based in part on false evidence, even

false evidence presented in good faith, hardly comports with fundamental fairness.”). See also

Sanders v. Sullivan, 853 F.2d 218, 224 (2nd Cir. 1988)(reversing the denial of habeas relief, holding

that petitioner’s due process rights were violated when the petitioner was convicted based on

material testimony of a witness who recanted); United States v. Wallach, 935 F.2d 445, 473 (2nd Cir.

1991)(perjury of a key government witness, irrespective of whether the government knew of the

perjury at the time of the trial, “infected the trial proceedings” and required reversal).

               3.      Standard of review under AEDPA.

       The failure of the state court to address a petitioner’s federal constitutional claims may
                                            -163-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 178 of 223



constitute a lack of adjudication on the merits, rendering his claim eligible for de novo review. See,

e.g., Cone, 556 U.S. at 472 (“Because the Tennessee courts did not reach the merits of Cone’s Brady

claim...the claim is reviewed de novo.”); Johnson, 133 S.Ct. at 1090. Harrington, 562 U.S. at 99,

set up a rebuttable presumption that “[w]hen a federal claim has been presented to a state court and

the state court has denied relief, it may be presumed that the state court adjudicated the claim on the

merits in the absence of any indication or state-law procedural principles to the contrary.” However,

the presumption is rebuttable. Williams, 133 S.Ct. at 1091. See, e.g., McLellan, 703 F.3d at 348-351

(presumption rebutted); Wooley, 702 F.3d at 421-422 (same); Harris, 698 F.3d at 623-25 (same);

Balsavage, 936 F.Supp.2d at 505 (same); Funches, 2014 WL 4446670 at *4 (same); Pacheco, 2013

WL 6799036, at *6 (same).

         C.       Application of Law to Facts.

                  1.       Greineder’s Brady and Due Process claims must be reviewed de novo.

         Greineder’s claim respecting the false footwear evidence must be viewed by this court de

novo. The state court here completely ignored Greineder’s constitutional argument. As in Balsavage,

the SJC cited no federal cases and only reviewed the claim as to whether or not the motion judge

applied the correct standard governing motions for new trial on the basis of state newly-discovered

evidence law. The SJC did not mention due process or Brady, and instead relied on, and indeed

adopted the trial judge’s ruling on the motion for new trial by holding that there was no abuse of

discretion or other error of law.62 In so concluding, the SJC necessarily adopted the motion judge’s

explicit decision not to review the Due Process or Brady claims. See Commonwealth v. Greineder,

2007 WL 7008820 at n. 11 (2007) (“Because there is neither a hint of wrongdoing nor of bad faith,

         62
                  Moreover, it should be noted that Massachusetts state law procedural principles as articulated by the
SJC include a policy to avoid reaching constitutional questions where possible. See Commonwealth v. Paasche, 391
Mass. 18, 21 (1984) (“We do not decide constitutional questions unless they must necessarily be reached.”); Neff v.
Commissioner of Dep’t. of Indus. Accidents, 421 Mass. 70, 72-73, 76-77 (1995) (same); John Doe # 89230 v. Sex
Offender Registry Board, 452 Mass. 764, 77 (2008) (same).
                                                      -164-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 179 of 223



the Court does not feel compelled to impose a strict due process standard of review, application of

which might well result in an order for a new trial”). Notwithstanding the fact that it was contrary

to clearly established federal law to impose a requirement of bad faith before proceeding to a review

of a due process claim, this footnote and the SJC’s implicit adoption of it, clearly establish that the

state court below did not adjudicate the Brady and due process claims on the merits. Accordingly,

Greineder is entitled to de novo review of these claims.

               2.      Rebeiro’s trial testimony was false, and her recantation was credible.

       There can be no doubt that Rebeiro’s recantation was honest and reliable. She would not have

volunteered her affidavit, exposing herself to professional embarrassment and potentially imperiling

the conviction, unless it were true. Moreover, Rebeiro’s recantation is strongly corroborated by

Bodziak’s affidavit, the catalyst prompting Rebeiro to change her tune. Indeed, the Commonwealth

did not contest the credibility of the recantation, and the motion judge credited it as reliable.

Greineder, 2007 WL 7008820 (“This court credits Robeiro’s affidavit...”) Given the SJC’s implicit

adoption of the motion judge’s opinion, the SJC similarly credited this recantation. In sum, this

Court should credit Rebeiro’s recantation and conclude that her trial testimony that Greineder’s heel

mark was adjacent to a drag mark leading to Ms. Greineder’s body was false.

               3.      Rebeiro’s erroneous trial testimony seriously prejudiced the defense.

       The connection between Greineder’s alleged heel mark and the drag mark found near Ms.

Greineder’s body was a key part of the Commonwealth’s case. The “heel mark” was discussed by

the prosecutor in his opening, addressed at length by Rebeiro, and emphasized in the prosecutor’s

closing argument. The significance of this evidence was clear – if the jury believed Rebeiro’s

uncontradicted testimony about Footprint #7, it would undoubtedly conclude that Greineder had

dragged Ms. Greinder’s body to its final resting place and thus, almost certainly, was her killer.

Indeed, this evidence alone may well have caused some jurors to convict, and there is a reasonable
                                            -165-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 180 of 223



probability that without it, the jury would have acquitted him.

        The prosecutor was well aware of the extraordinary significance of this testimony, as shown

by his reliance on it in closing, referring specifically to Rebeiro’s testimony as showing that “it’s the

defendant’s heel mark, right where he would have picked her up, with bloody arms under the jacket,

he dragged her backwards.... That, ladies and gentlemen, is evidence, strong, powerful evidence, that

the wearer of those shoes dragged May Greineder to right where that heel sits, and that that heel

stayed there until the police were there.”Tr. XXV/74-76 (emphasis added). Further, the prosecution

was able to use this erroneous evidence to impeach Greineder’s version of events asserting his

innocence by claiming that Greineder had concocted his testimony to fit the evidence. Had Robeiro’s

testimony been accurate – or her recantation available to the defense prior to trial – it would have

supported Greineder’s testimony that he approached Ms. Greineder to check her pulse and not that

he had dragged her body to her final resting place. Given the extreme importance of Greineder’s

testimony to his chances of acquittal, it was of the utmost importance for the prosecution to discredit

him. The fact that the prosecutor was able to do so through the use of indisputably erroneous, yet

highly inculpatory, testimony rendered the trial fundamentally unfair in violation of due process.

        The defense did not offer any explanation of the “heel mark,” cross-examine Rebeiro about

Footprint #7, or give the jury any reason to disbelieve her testimony. Defense counsel said nothing

about Footprint #7 in closing argument, presumably because he had nothing to say. That evidence

thus stood as an important, unrebutted piece of the Commonwealth’s case. As the motion judge

noted, this evidence was "significant" in light of the Commonwealth's contention, "persuasively

dr[iven] home to the jury," that it was "strongly probative" of Greineder's guilt. A. 975-976, 979.

Rebeiro's recantation, if available at trial, would have completely eviscerated the inculpatory quality

of this unrebutted testimony.

        The recantation evidence would have been important for another reason as well. Much of the
                                            -166-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 181 of 223



Commonwealth's case was based on the credibility of its coterie of experts who testified, inter alia,

about blood spatter, footprint, fiber, and DNA evidence. If the defense had been able to present

Rebeiro's recantation to the jury, it would have had the probable effect of casting doubt on the

Commonwealth's entire phalanx of experts.

         Accordingly, there is a reasonable probability that, had the recantation been available to the

defense prior to trial, the result of the proceeding might have been different. Bagley, 473 U.S. at

682. In its absence, Greineder did not receive a fair trial, and the recantation seriously undermines

confidence in the verdict. Thus, the evidence was material under Bagley and Kyles.

                   4.        Greineder is entitled to relief under federal constitutional law.

                             a.        Brady violation.

         The significance that the recanting witness was a government agent cannot be overstated.

Under such circumstances, this Court should apply a Brady-type analysis. That line of cases is

specifically designed to deal with mistakes by a member of the prosecution team that affect the

accuracy of the information presented to the jury at trial. Here, it was the malfeasance of the

prosecution team itself that tainted the presentation of evidence to the jury, violating the defendant's

right to a fair trial.63 Under such circumstances, this Court should apply a "reasonable probability"

test in determining whether the prejudice flowing from the erroneous testimony requires a new trial.

Under that test, Greineder is clearly entitled to relief.64

         As discussed above, there can be no doubt that this exculpatory evidence is material to guilt.

In addition, Greineder’s pre-trial motion for all scientific test results – which was allowed by

         63
                    Consider the following two scenarios: In the first, Rebeiro testifies that the footprint was that of a heel,
while (unbeknownst to the prosecutor) there is a prior affidavit authored by Rebeiro which indicates that the print was
that of a toe, a document never turned over to the defendant in violation of Brady. In the second, as here, the conflicting
affidavit is produced after trial. It would be truly anomalous if a defendant in the first scenario were entitled to a new
trial, while the defendant in the second were denied any relief.
         64
                   In his Findings, the motion judge noted that if "a strict due process standard of review" were applied,
it "might well result in an order for a new trial." Findings at 61 n.11, 2009 R. 972.
                                                           -167-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 182 of 223



agreement (Docket #14, Tr. 4/10/00 at 5; A. 24) – was sufficiently specific to encompass Rebeiro’s

accurate opinion, as revealed in her post-trial affidavit. It is of no matter that Robeiro may have truly

believed that her testimony was accurate at the time she gave it, because had she exercised due

diligence, she would have formed the correct opinion, which constituted material exculpatory

evidence that was not disclosed to the defense. The Commonwealth’s failure to produce this

exculpatory evidence upon request amounts to a Brady violation, resulting in a trial tainted by the

presentation of false, unreliable expert testimony. Relief is required.

                        b.      Due process violation.

        The due process principle of fundamental fairness similarly entitles Greineder to relief.

Given the centrality of the footwear testimony to the Commonwealth’s case, it cannot fairly be said

that the erroneous evidence was not a real factor in the jury’s deliberations. Indeed, there is a strong

possibility that the outcome of the trial would have been different if Robeiro’s accurate opinion had

been presented to the jury. As another court wrote in a similar context:

        The ... expert’s testimony was damning – and it was false.... [the defendant] has the
        right to be tried, insofar as possible, on the basis of true and correct evidence; to deny
        him this right is to deny him a fair trial.... [T]o allow a conviction to be based even
        in part on such manifestly inaccurate and prejudicial testimony ... would be a serious
        injustice.

State v. Caldwell, 322 N.W.2d 574, 586 (Minn. 1982). The presentation of Robeiro’s erroneous

expert testimony rendered Greineder’s trial fundamentally unfair. He is entitled to relief.

                5.      Greineder is entitled to habeas relief.

        Since the state court below did not adjudicate Greineder’s Brady and due process claims on

the merits, he is entitled to de novo review and to relief for the reasons set forth above. In the event

that this Court concludes that these claims were adjudicated on the merits, Greineder is nonetheless

entitled to habeas relief, as the state court’s denial was contrary to, and constitutes an unreasonable


                                                -168-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 183 of 223



application of, clearly established federal law.

       The unreasonableness of the state court’s denial of relief is exemplified by the trial judge’s

erroneous determination – and the SJC’s subsequent agreement – not to apply a due process

standard of review because there was “neither a hint of wrongdoing nor of bad faith.” As discussed

above, Brady explicitly held that there was no requirement of bad faith by the prosecution. The

presentation of false evidence may amount to a due process violation “even if the government

unwittingly presents false evidence.” See, e.g., Young,17 F.3d at 1204. Accordingly, the state court’s

decision not to consider these claims due to lack of bad faith was unreasonable.

       Significantly, the SJC explicitly denied relief on the sole ground that the motion judge did

not abuse his discretion in concluding that there was not a “substantial likelihood” that the jury

would have reached a different result. However, this standard is significantly different than the due

process standard, which considers whether there was a “reasonable probability” that the result would

have been different. The SJC’s application of the wrong legal standard is contrary to clearly

established federal law. Pursuant to the analysis above, Greineder is entitled to relief under the due

process “reasonable probability” test, even if he is not entitled to relief under the Massachusetts

“substantial likelihood” test.

V.     GREINEDER’S CONSTITUTIONAL RIGHT TO A FAIR TRIAL WAS VIOLATED
       BASED ON THE ERRONEOUS ADMISSION OF AND PROSECUTORIAL MISUSE
       OF IRRELEVANT AND HIGHLY PREJUDICIAL EVIDENCE ABOUT
       GREINEDER’S EXTRAMARITAL SEXUAL ACTIVITIES.

       A. Statement of Relevant Facts.

               1.      Pretrial proceedings.

       Greineder moved prior to trial to exclude evidence of his extramarital sexual activities. See

Motion to Exclude Evidence of "Other Bad Acts", 2009 R. 320. In opposition, the Commonwealth

argued that such evidence demonstrated "hostility" toward his wife and, therefore, his motive to kill

                                               -169-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 184 of 223



her. Pr. Tr. 1/25/01 at 29-31. Deeming some of the proffered evidence to be probative of "hostility,"

"discord," and "deterioration" of the marriage and hence providing a motive to "be rid of his wife,"

the court admitted evidence of Greineder's extramarital sexual activity during the seven days

immediately preceding his wife's death, as well as his use of an alias to facilitate that activity.

Memorandum of Decision and Order on the Defendant's Motion In Limine To Exclude Prior Bad

Acts Evidence at 7-8, 2009 R. 328-329. The court excluded evidence regarding Greineder's sexual

conduct prior to that seven-day window. Id. at 9-10. Judge Chernoff stated that the defendant’s

rights were saved with respect to all issues on which he had rendered a written ruling, and that there

was no need for defense counsel to object. Tr. VII/56. Accordingly, this issue was fully preserved.

               2.      The Commonwealth's presentation of extramarital sex evidence at trial.

       The prosecutor referred to the extramarital sex evidence in his opening statement, describing

Greineder as "a man of secrets, deeply and closely held secrets." Tr. II/41. During trial, the

Commonwealth presented three days of testimony and numerous exhibits regarding Greineder's

extramarital sex life. The prosecution presented evidence that on October 22-23, 1999, while

attending a conference in New Jersey, Greineder called an escort service, which sent a woman to the

hotel where she engaged in sexual intercourse with him for payment. Tr. XV/133-146, 150-163;

XVI/65-70. Deborah Doolio, a Boston escort, testified that she met Greineder at a hotel in the spring

of 1999, and he subsequently called her several times. In September, he called her and told her not

to call him again. On October 30 and November 1, he called her, but she did not speak to him.Tr.

XVI/72-79. The Commonwealth presented extensive evidence about Greineder's extramarital sexual

activities using the Internet. Between October 24 and 29, 1999, Greineder joined an online dating

service, “people2people,” and communicated with four other members of the site about potential

sexual encounters. The individuals he contacted were called as trial witnesses, and the emails sent


                                               -170-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 185 of 223



to them were read to the jury.65 Tr. XVI/120-164 (am); XVI/1-42. Using an American Express card

he obtained using the name of a college roommate, Greineder registered with "ultimate live.com,"

a website which provides interactive chat and streaming pornographic video, in September 1999. The

membership was cancelled on November 10, 1999. Tr. XVI/131-137.

                  3.        Limiting instruction.

         The court gave a limiting instruction on the evidence regarding Greineder's extramarital

sexual activities following Doolio's testimony and again during the final charge, specifying that such

evidence could be considered by the jury solely on the issue of motive. Tr. XVI/85-86; Tr. XXIV/32.

                  4.        The defendant's response at trial.

         Greineder testified that he and his wife ended their sexual relationship in the mid-1990s by

her choice, when she developed discomfort and pain during sex. Tr. XIX/248. Thereafter, he began

experimenting with phone sex and Internet sex sites. Id. at 248-251. He had sex with a prostitute on

about eight occasions between February 1998 and October 1999. Tr. XX/8-10. He also had sex with

two people he met on the Internet during that same period. Id. at 12.

          Greineder testified that he never thought about asking his wife for a divorce. Id. at 18.

Contrasting his extramarital sexual activities with his marriage, Greineder explained:

         What the family meant to me and means to me is so much more, and you know, my
         wife was the most wonderful person I have ever met. She made me a better person.
         She helped my family become what we became. I was a better doctor because of her,
         and I was a much better father because of her. And in hindsight, it seems so silly, I
         guess immature, but it just didn't seem central.


         65
                     One of several such emails read to the jury, sent by Greineder to a married couple named Page on
"people2people" is as follows: “I am white, married, but she does not play, so I'm looking for a very discrete couple with
whom to play. I also am very oral, both give and receive, and would love to exchange emails to see if we can fit. I'm a
few pounds over weight, really, only a few, love big breasts to suck and love group activities. I'm basically straight but
could be flexible in group situations. I cannot host but would be willing to arrange for hotel accommodations if we got
along. I am 49, clean, disease and drug free, college grad, managerial type. Please email me.” Tr. 16/29. A series of email
exchanges with this couple were introduced, including references to emailed nude photographs and a discussion of
"bondage and discipline," although there was no evidence that Greineder ever actually met with them. The husband
testified as a trial witness. Tr. 16/1-42.
                                                        -171-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 186 of 223



Tr. XIX/259.

       Greineder testified that he was not sure if his wife knew about his sexual activities. Tr.

XX/17. She discovered Viagra in his shaving kit in the summer of 1998. Id. He told her that he

bought it as an experiment, and they never talked about the subject again. Id. at 18. The prosecutor

cross-examined Greineder at length about the details of his extramarital sexual activities. Tr.

XX/165-171; Tr. XXI/159-164, 174-189.

       The Greineders' son, Colin, testified that he asked his mother whether she was happy in her

marriage. Tr. XXIV/54. She said she was, adding "our sex life could be better." Id. at 55. Colin

testified that his mother told him that she and her husband had talked about the problems in their sex

life, adding: "I think your dad has his own way of dealing with that now." Id.

                5.     The prosecutor's closing.

       In his closing argument, the prosecutor did not claim that the evidence about Greineder's

extramarital sexual activities was probative of motive. Instead, he characterized this evidence as "a

window to the relationship that was going on between May and Dirk at that time period." Tr.

XXV/62. He specifically referred to:

       prostitutes whom he told he was getting divorced, that he was separated, and that his
       wife was old and soft, that he was seeking out Elizabeth, who he had a long term
       standing relationship with, that he was seeking out alternative sexual styles, that he
       had at the ready naked pictures of himself to send out to try and bring about further
       meetings, that he's sending out his cell phone number to these people.

Id. at 60-61.

                6.     The SJC’s decision.

       The SJC ruled: “The evidence of the defendant’s extramarital sexual activity was highly

probative of a motive to kill.” Greineder, 458 Mass. at 240. The Court found that “The evidence

supported a reasonable inference that the victim’s presence had become an inconvenience to him,

and an obstacle to a lifestyle he pursued and kept secret from his entire family and the public. The
                                               -172-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 187 of 223



jury could have inferred that when he contacted the prostitute just before and after the murder, the

time had come to kill his wife.. In the words he expressed to the prostitute, the time was now

‘right.’” Id. The SJC ruled that the trial judge did not abuse his discretion by admitting this

evidence, noting that the inference of motive need not be inescapable or necessary, but merely

“reasonable and possible.” Id. The SJC found the probative value of the evidence was very high, and

ruled that the prosecutor did not go too far in closing, did not abandon the motive theory, and that

the prosecutor’s reference to certain statements about extramarital activity had record support and

were not unfair. Id. The SJC decision made no mention of federal constitutional law.

        B.      Summary of Applicable Law.

                1.      Mistaken evidentiary rulings may violate due process.

        Typically, federal habeas relief cannot be granted merely because a state court errs in its

application of state law. Estelle v. McGuire, 502 U.S. 62, 67 (1991); Pulley v. Harris, 465 U.S. 37,

41(1984). However, “a state court’s error in applying a state rule sometimes can have constitutional

implications...[and] [t]hat, in turn, may afford a basis for federal habeas relief.” Sanna, 265 F.3d

at 12. Mistaken state court evidentiary rulings may violate a defendant's right to due process if they

render the trial fundamentally unfair. Dowling v. United States, 493 U.S. 342, 352 (1990). Accord

Lyons v. Brady, 666 F.3d 51, 55 (1st Cir. 2012); Coningford v. Rhode Island, 640 F.3d 478, 484 (1st

Cir. 2011). In order for the erroneous admission of evidence to amount to a constitutional violation,

it “must so infuse the trial with inflammatory prejudice that it renders a fair trial impossible.” Lyons,

666 F.3d at 56 (1st Cir. 2012). Where a trial court commits an evidentiary error, the error is not

necessarily rendered harmless by the fact that there was other, cumulative evidence properly

admitted. See Krulewitch v. United States, 336 U.S. 440, 444-45 (1949) (holding that, in a close

case, erroneously admitted evidence – even if cumulative of other evidence – can “tip[] the scales”

against the defendant); Hawkins v. United States, 358 U.S. 74, 80 (1958) (concluding that
                                         -173-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 188 of 223



erroneously admitted evidence, “though in part cumulative,” may have “tip[ped] the scales against

petitioner on the close and vital issue of his [state of mind]”).

               2.      Prosecutorial misconduct may violate due process.

       A prosecutor “is representative not of an ordinary party to a controversy, but of a sovereignty

whose obligation...in a criminal prosecution is not that it shall win a case, but that justice shall be

done.” Berger v. United States, 295 U.S. 78, 88 (1935). Thus, while a prosecutor “may strike hard

blows, he is not at liberty to strike foul ones.” Id. The Supreme Court has stated:

       [T]he State may not show defendant’s prior trouble with the law, specific criminal
       acts, or ill name among his neighbors, even though such facts might logically be
       persuasive that he is by propensity a probaboly perpetrator of the crime. The inquiry
       is not rejected because character is irrelevant; on the contrary, it is said to weigh too
       much with the jury and to so overpersuade them as to prejudge one with a bad
       general record and deny him a fair opportunity to defend against a particular charge.

Michelson v. United States, 335 U.S. 469, 476 (1948). It is thus well-recognized that a fundamental

rule of evidence is that a defendant’s “bad character” cannot be used to argue that the defendant

committed the crime for which he is being tried, or had the propensity to commit that crime.

Washington v. Hofbauer, 228 F.3d 689, 699 (6th Cir. 2000). It is serious misconduct to engage in a

persistent ad hominem attack on the accused’s character. Cook v. Bordenkircher, 602 F.2d 117 (6th

Cir. 1979). “A prosecutor may not urge the jury to ‘consider [a defendant’s] bad character as a thumb

on the scale in favor of a finding of guilt.’” Simpson v. Warren, 475 Fed. Appx. 51 (6th Cir. 2012)

(citing Hodge v. Hurley, 426 F.3d 368, 385 (6th Cir. 2005).

       Prosecutorial misconduct may “so infect the trial with unfairness as to make the resulting

conviction a denial of due process.” Donnelly v. DeChristoforo, 416 U.S. 637, 643 (1974). Accord

Darden v. Wainwright, 477 U.S. 168, 181 (1986). See e.g. Martin v. Parker, 11 F.3d 613, 615-617

(6th Cir. 1993)(prosecutor’s improper comments, in which he compared defendant to Adolf Hitler,

and his repeated references to defendant’s prior bad acts, combined to deny defendant his right to

                                               -174-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 189 of 223



a fair trial in sexual abuse prosecution in violation of due process). The Supreme Court has

emphasized a series of factors to be evaluated in determining whether prosecutorial misconduct so

infected the trail as to amount to a violation of due process: (1) whether the comments were isolated

or pervasive see Donnelly, 416 U.S. at 646; (2) whether they were deliberately or accidentally placed

before the jury, see Id. at 647; (3) the degree to which the remarks had a tendency to mislead and

prejudice the defendant, see Darden, 477 U.S. at 182; (4) whether the prosecutor manipulated or

misstated the evidence, see Darden, 477 U.S. at 182; Berger, 295 U.S. at 84-85; (5) the strength of

the overall proof establishing guilt, see Darden, 477 U.S. at 182; (6) whether the remarks were

objected to by counsel, Darden, 477 U.S. at 182-83 & n. 14; and (7) whether a curative instruction

was given by the court. See Darden, 477 U.S. at 182.

       A prosecutor commits misconduct during closing argument when he misstates the evidence

presented at trial. Darden, 477 U.S. at 181-82. The prosecution's misuse of evidence introduced for

a limited purpose is error and may create a substantial risk of unfair prejudice. See Washington, 228

F.3d at 699 (improper for prosecutor to misuse character evidence admitted for limited purpose);

Simpson, 475 F. App'x at 63. A prosecutor may not make intentional misrepresentations to the jury.

Davis v. Zant, 36 F.3d 1538 (11th Cir. 1994). “[A] prosecutor’s act of misrepresenting facts in

evidence is improper, since doing so may profoundly impress a jury and may have a significant

impact on the jury’s deliberations.” Walker v. Morrow, 458 Fed. Appx. 475, 490 (6th Cir. 2012).

               3.      Combined effect of trial errors may violate due process.

       Moreover, the combined effect of multiple trial court errors may violate due process where

it renders the resulting criminal trial fundamentally unfair. Chambers, 410 U.S. at 298, 302-303

(combined effect of individual errors “denied [Chambers] a trial in accord with traditional and

fundamental standards of due process” and “deprived Chambers of a fair trial”). The cumulative

effect of multiple errors can violate due process even where no single error rises to the level of a
                                              -175-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 190 of 223



constitutional violation or would independently warrant reversal. Id. at 290 n. 3. Cumulative error

warrants habeas relief where the errors have “so infected the trial with unfairness as to make the

resulting conviction a denial of due process.” Donnelly, 416 U.S. at 643. Such “infection” occurs

where the combined effect of the errors had a “substantial and injurious effect or influence on the

jury’s verdict.” Brecht, 507 U.S. at 637 (internal quotation omitted). See, e.g., Parle v. Runnels, 505

F.3d 922 (9th Cir. 2007)(state court’s conclusion that cumulative effect of multiple evidentiary errors

during homicide trial did not violate defendant’s due process rights was objectively unreasonable

application of clearly established federal law, and thus warranted federal habeas relief, in light of

starkly one-sided impact of errors, in that all of improperly excluded evidence supported defense,

while all of the erroneously admitted evidence undermined the defense and bolstered state’s case).

       C.      Application of Law to Facts.

               1.      The repeated admission of extensive, lurid, prejudicial sex evidence at
                       the trial of this case and the prosecutor’s misuse of this evidence during
                       closing argument deprived Greineder of his right to due process.

       Before Greineder’s trial, the SJC had previously held that "[e]vidence of a hostile relationship

between a defendant and his spouse may be admitted as relevant to the defendant's motive to kill the

victim spouse." Commonwealth v. Rosenthal, 432 Mass. 124, 127 (2000). However, sexual infidelity

alone had never been equated with a "hostile relationship." In every case where the SJC previously

treated extramarital sexual activity as relevant evidence of hostility, the defendant also engaged in

physical abuse or expressed disdain towards the victim. See, e.g., Commonwealth v. Magraw, 426

Mass. 589, 596 n.9 (1998); Commonwealth v. Bonomi, 335 Mass. 327, 340 (1957); Commonwealth

v. Howard, 205 Mass. 128, 133 (1910). As other jurisdictions have recognized, evidence of

extramarital sexual activity is not, without more, probative of a motive to commit uxoricide. In

Casterline v. State, 736 S.W.2d 207, 211-212 (Tex. Ct. App. 1987), the Texas Court of Criminal

Appeals held: “Evidence of a troubled marriage alone does not establish a motive to kill. Spouses
                                            -176-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 191 of 223



in a troubled marriage may be neither jealous nor emotional, and even if they are, that jealousy or

emotion need not necessarily create a homicidal motive. It would be highly speculative to infer that

marital infidelity, standing alone, created a homicidal motive.” See People v. Hendricks, 137 Ill.2d

31, 54-55, 560 N.E.2d 661 (1990).

       Nonetheless, prior to trial, the Commonwealth managed to convince the court to admit

explosive evidence sullying the defendant's character on a false premise. Desperately seeking

admission of such evidence, the prosecutor characterized it as demonstrating a "hostile relationship"

probative of motive. Tr. (1/25/01)/39-40. Yet the plethora of evidence regarding Greineder's

extramarital sexual activities admitted at trial did not provide any link in a chain of evidence proving

that the defendant had a motive to murder his wife. There was no evidence introduced to suggest that

Ms. Greineder intended to leave Greineder, nor was there any evidence of hostility between the two.

Hence, the sex evidence was simply not relevant and should have been excluded.

       Even if Greineder's extramarital sexual activity had some conceivable relevance on the issue

of motive, any probative value was far outweighed by the resulting unfair prejudice. Evidence that

Greineder was involved in extramarital sexual activity, including the use of prostitutes, group sex,

and sadomasochism, was a transparent attack on his character. If Greineder could lead this secret,

repulsive double life, couldn't he also have secret, repulsive plans to murder his wife? That implicit

suggestion permeated the Commonwealth's case, then was hammered home in closing argument. It

was patently improper, but it worked!

       In ruling on Greineder’s motion in limine, the trial court allowed the Commonwealth to

present evidence about his sexual activities during the seven days prior to Ms. Greineder's death.

This putative compromise was wholly ineffectual. The practical result of the ruling was to make it

appear that in the week prior to his wife’s murder, Greineder had suddenly engaged in a wild burst

of extramarital sexual activity. The jury would undoubtedly have been tempted to infer some
                                            -177-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 192 of 223



connection between this unprecedented behavior and the murder. To negate that unfair and erroneous

inference, Greineder was forced to introduce evidence of a longer history of extramarital sexual

activity himself. In the end, the court's ruling did nothing to protect Greineder from an unfair trial.

        Having hoodwinked the court into believing the sex evidence was tied to motive, the

Commonwealth abandoned that bogus theory entirely in closing argument. The prosecutor's inability

to connect the sexual evidence to Ms. Greineder's murder did not deter him from bringing up the

sordid details one more time, improperly connecting Greineder’s sexual activities with the murder:

        I wish I could tell you exactly how a person gets to that point [i.e., to commit murder]
        in their own life. I can't. I can't tell you how a person gets to the point where he's
        doing many things that this Defendant was doing.

Tr. 25/95.66

        To make matters worse, the prosecutor referred to several "facts" which were unsupported

by the evidence. He told the jury that Greineder had described his wife as "old and soft," and that

Greineder had been seeking out a woman named "Elizabeth" with whom he had "a long term

standing relationship." Tr. 25/61. Neither of these "facts" was in evidence.67 The unfair prejudice

resulting from these fabrications was substantial.

                 3.       This Court should grant habeas relief.

        In Gumm v. Mitchell, 775 F.3d 345, 379-385 (6th Cir. 2014), the Sixth Circuit held that a

prosecutor’s misconduct in eliciting testimony of witnesses regarding defendant’s alleged bizarre

sexual habits, including bestiality, together with the prosecutor’s extensive closing arguments

regarding those statements, was flagrant and severe, warranting habeas relief. The same result is

warranted here. Prior to trial, the Commonwealth managed to convince the Court to admit explosive

        66
                  The phrase "many things that this Defendant was doing" cannot have referred to anything but the
extramarital sexual activities highlighted so many times during trial.
        67
                 On cross-examination, Greineder specifically denied that he had made either statement. Tr. 20/169-
170. There was no evidence to the contrary presented at trial.
                                                     -178-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 193 of 223



evidence sullying Greineder’s character on an untenable, invalid premise. Desperately seeking

admission of such evidence, the prosecutor characterized it as demonstrating a “hostile relationship”

probative of motive. Tr. 1/25/01, pp. 39-40. Yet the plethora of evidence regarding Greineder’s

extramarital sexual activities admitted at trial did not provide any link in a chain of evidence proving

that he had a motive to murder his wife. It should have been excluded.

        There was no evidence introduced to suggest that Ms. Greineder intended to leave her

husband. The Commonwealth’s evidence demonstrated none of the hostility or abusiveness of prior

Massachusetts cases where palpable evidence of the defendant’s anger, hatred, or disdain toward the

victim was presented through prior bad acts. No evidence of any hostility Greineder manifested

towards his wife was presented by the Commonwealth. To the contrary, Doolio testified that

Greineder was conflicted about using an escort, and she responded that, perhaps, an escort was not

for him. The Commonwealth read e-mails into evidence in which Greineder explicitly told potential

partners that he was “not ready for a long term relationship” and that he was “married but she does

not play.” After exposing the jury to evidence of Greineder’s extramarital affairs with prostitutes,

reading and then rereading his explicit e-mails soliciting casual sex, and presenting evidence that he

sent a naked picture of himself to a married couple with whom he hoped to engage in

sadomasochistic activity, the Commonwealth argued in closing that this evidence might somehow

assist the jury in determining whether Greineder was the kind of husband who might be willing to

kill his wife. Tr. XXV/60-62. Yet the evidence did no more than besmirch Greineder’s character.

It did not constitute any probative evidence that he had a motive to kill his wife. The SJC’s decision

ruling that the evidence of the defendant’s extramarital sexual activity “was highly probative of a

motive to kill,” Greineder, 458 Mass. at 240, was based on “an unreasonable determination of the

facts in light of the evidence presented in the State court proceeding” under 2254(d)(2), because the

SJC blatantly misstated material evidence in the trial transcript and used that misstatement to form
                                              -179-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 194 of 223



an erroneous adverse legal conclusion.

        Even if evidence of Greineder’s extramarital sexual acts had some conceivable relevance on

the issue of motive, any probative value was far outweighed by the resulting unfair prejudice. Thus

even if some portion of the evidence were admissible, the SJC completely ignored Greineder’s

constitutional claim that the over-the-top admission, repetition, and misuse of this explosive

evidence was a denial of his right to due process. The evidence that Greineder was involved in

extramarital sexual activity, including the use of prostitutes, group sex, and sadomasochism, was

a transparent attack on his character. If Greineder could lead this secret, repulsive, and complicated

double life, couldn’t he also have secret, repulsive and complicated plans to murder his wife? That

implicit and wholly impermissible suggestion permeated the Commonwealth’s case at trial. As in

Hendricks, 560 N.E.2d 661 (evidence of defendants attempts to grope and kiss models could not

explain the murder of his wife and children) and Gumm, 775 F.3d at 379-385 (evidence of

defendant’s alleged bizarre sexual activities improperly injected to inflame jury), the admission of

this evidence dramatically shifted the focus of this trial from Ms. Greineder’s death to Greineder’s

sexual proclivities. Ironically, it also compelled the defense to present even more evidence of

Greineder’s extramarital sexual actities in order to rebut the implicit inference that he became

involved in such activities for the first time right before his wife’s death.

        Evidence regarding Greineder's extramarital sexual activities had no proper place at trial. The

Commonwealth broke its promise to use such evidence solely to establish Greineder's motive to

murder his wife. Nevertheless, the evidence came in, through witness after witness, until the

Commonwealth had achieved its real objective of destroying the defendant's character. See Gumm,

775 F.3d at 379-385. The lurid evidence and remarks regarding Greineder’s extra-marital sexual

activities were pervasive, deliberately placed before the jury, explosively prejudicial to the defendant,

and misstated by the prosecutor. See Donnelly, 416 U.S. at 646-647; Berger, 295 U.S. at 84-85.
                                           -180-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 195 of 223



The erroneous admission and misuse of this toxic bad acts evidence contributed significantly to the

jury's verdict and violated Greineder's constitutional right to a fair trial. Relief is warranted.

VI.    GREINEDER’S FUNDAMENTAL RIGHT TO TRIAL BY JURY WAS DENIED
       BASED ON THE DELIBERATING JURY’S EXPOSURE TO EXTRANEOUS
       INFORMATION THROUGH THE JURY’S UNAUTHORIZED BANANA
       EXPERIMENT.

       A.      Statement of Relevant Facts.

       An important component of the Commonwealth’s case was its effort to tie Greineder to a pair

of bloodstained, dimpled work gloves found at Morse Pond. The Commonwealth claimed that one

key link between Greineder and the gloves was the similarity between a smear on the jacket

Greineder was wearing that day and the pattern of dimples on the gloves. The Commonwealth

presented testimony from a blood spatter expert who opined that a streak on the jacket and the

pattern on the gloves were similar. The defense cross-examined the Commonwealth’s expert and

produced its own expert in response, asserting that the Commonwealth’s proof on this key point was

unscientific and inadequate. This dispute was highlighted in both closing arguments.

       Evidence adduced at a post-verdict hearing established that the deliberating jury conducted

its own experiment on this very issue. A member of the jury intentionally rubbed one of the work

gloves against an unpeeled banana. The resulting bruise on the banana was seen by every juror and

then compared to the streak on Greineder’s jacket. It was noted that the bruise indeed looked like

the streak on the jacket, supporting the Commonwealth’s contention that the work gloves had come

into contact with Greineder and making it seem more likely that he had committed the crime.

               1.      Trial testimony.

       The Commonwealth’s expert, Rod Englert, opined that the pattern of dots on the work gloves

matched the streak on Greineder’s jacket. Tr. XVIII/182-183, 270. Both the gloves and the jacket

were introduced into evidence. On cross-examination, defense counsel established that Englert had

                                               -181-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 196 of 223



neither made any quantitative measurements nor produced overlays to compare the pattern of

dimples on the gloves with the swipe pattern on the jacket. Id. at 253, 263-264, 270, 283.

        Stuart James, the defense blood spatter expert, testified that he could not make a positive

comparison between the dimples on the gloves and the streak on the jacket, calling such a

comparison “speculation.” Tr. XXII/87. James emphasized the absence of overlays comparing the

jacket to the gloves as a significant omission in Englert’s work which precluded a meaningful

comparison. Id. at 86-90.

               2.      Closing arguments.

        In closing argument, defense counsel stressed the failure of Englert to make measurements

or prepare overlays to support his opinion comparing the pattern on the gloves with the streak on

Greineder’s jacket, describing Englert’s testimony as “guesswork and conjecture, not the kind of

evidence that’s required to prove someone guilty beyond a reasonable doubt.” Tr. XXV/42-43.

Defense counsel warned the jury: “You can’t fill in the holes in the case. You can’t fill in the gaps.

You can’t even connect the dots.” Id. at 14-15.

        In his closing argument, the prosecutor emphasized the importance of the swipe pattern on

Greineder’s jacket. He urged the jury to pay special attention to that streak and invited the jury to

make its own comparison:

        I’ll ask you one favor. Each and every morning you find the brightest light in that
        deliberation room. You look at the inner left lapel area here. See those dots. If they
        mean anything to you, you give them the weight that they deserve. If you don’t, you
        think they’re junk, you don’t give them the weight. That’s your option. That’s your
        job as jurors. And again, ladies and gentlemen, right in this light. Again, with the
        patterns, ladies and gentlemen, on the plastic bags, on the hammer, across the plastic
        bag.

Id. at 89.

               3.      Jury’s request for a millimeter ruler.

        On its third day of deliberations, the jury submitted a note to the court, which read:
                                             -182-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 197 of 223



“REQUEST MILLIMETER RULER.” 2009 R. 363. Defense counsel opposed the request, arguing

that it would encourage the jury to perform impermissible tests. He stressed that part of the defense

strategy was to emphasize Englert’s failure to make measurements or create overlays and noted that

the defense expert had testified that such measurements were necessary to an accurate determination.

Tr. XXVII/7. He added:

        I would suggest to the Court that it’s beyond the expertise of the jury and requires the
        special expertise of an expert witness. I think, Your Honor, in addition, that ... the
        jury should not be encouraged to perform its own tests....

Id. at 12-13 (emphasis added). The court responded to the jurors in writing: “I am sorry that I cannot

grant your request for a millimeter ruler.” 2009 R. 364.

                4.      Post-verdict inquiry.

        In his motion for a new trial, Greineder presented an excerpt from a published book about

the case describing an experiment conducted by the jury during its deliberations. Based upon that

showing, the trial court took testimony from the book’s author and admitted a recording of her

interview with one of the deliberating jurors. Thereafter, the court heard sworn testimony from six

deliberating jurors: W. Giesecke, S. Smith, E. Miller, C. Salvi, S. Vitzthum, and S. Barbera.

        Juror Salvi described the jury’s banana experiment. He explained that the jury was “trying

to make the glove print fit certain things on the jacket on the sleeve and glasses.” Tr. (2/24/06) at

28. He noted that after the jury’s request for a millimeter ruler had been denied, he performed an

experiment that enabled the jurors to “see what would have happened if this glove had run across

the slicker.” Id. at 39. Salvi testified that while wearing one of the brown work gloves and holding

an unpeeled banana, he made a “little smear” on the banana. He recalled that the “smear looked like

one of the smears on the sleeve.” Id. at 31-32. He stated that the smear “was a pretty good size. And

it was very obvious.” Id. at 32. Salvi testified that “just about everybody saw it.... It wasn’t exclusive

to me or one or two people.” Id. at 33. He added: “We marveled at the fact that the print on the
                                            -183-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 198 of 223



banana looked just like the print on the sleeve, the streak.” Id. He addressed the other jurors about

the banana experiment, saying: “Look, we don’t really need a ruler. We have got this.” Id. at 38.

        Several other jurors who testified during the post-verdict inquiry also remembered the banana

experiment. Juror Vitzthum testified: “[W]e asked for a ruler, and we were denied the ruler. And

that’s when we used the banana.” She explained that one juror made a swipe on an unpeeled banana,

and about ten minutes later, there was a mark on the banana that looked like a mark on the jacket.

Tr. (3/3/06) at 9-10. She stated that the jurors discussed the mark on the banana after they observed

it. Id. at 16. Juror Barbera remembered that someone rubbed a work glove on the outer skin of a

banana, and the resulting bruise was then compared with Greineder’s jacket. Id. at 19-21.

                5.      The motion judge’s decision.

        The motion judge found that the experiment described by Salvi occurred on the fourth day

of deliberations, that “strong similarities” between the smear on the banana and the streak on

Greineder’s jacket were noted by some jurors, and that there was communication among some jurors

regarding those similarities. Findings of Fact, Rulings of Law, and Order on Defendant’s Motion

for New Trial Based on Jury’s Exposure to Extraneous Information at 3, 2009 R. 775. The judge

further found that the banana experiment was not discussed by the jury thereafter and that the

experiment “had no impact on the resumed deliberations on Day 4 and the deliberations on Day 5

to verdict.” Id. at 4, 2009 R. 776.

        The motion judge characterized the banana experiment as “an experiment within the lines

of the evidence offered at trial,” adding that “the use of the banana, an outside object not part of the

trial evidence, did not make the experiment an improper consideration of extrinsic evidence.” Id. at

7, 9, 2009 R. 779, 781. The judge concluded that the experiment did not constitute extraneous

information. In any event, the judge determined, the experiment would not have influenced a

hypothetical average jury and did not influence this jury. Id. at 10-14, 2009 R. 782-786.
                                             -184-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 199 of 223



               6.      The SJC’s decision.

       On appeal of the motion judge’s decision, the SJC ruled that the experiment was within the

scope of the evidence presented at trial and cumulative of expert testimony, as it was an evaluation

of the testimony of experts who opined on the consistency between the dots on the gloves and

“various pieces of evidence.” The SJC found no abuse of discretion in the motion judge’s

determination that the jury experiment did not constitute extraneous matter. Commonwealth v.

Greineder, 458 Mass. 207, 246-248 (2010).

       B.      Summary of Applicable Law.

               1.      Jury experiment as extraneous information.

       The requirement that a jury’s verdict be based solely upon evidence presented in the

courtroom is guaranteed by the Sixth and Fourteenth Amendments. Turner v. Louisiana, 379 U.S.

466, 472-73 (1965). Accord, Parker v. Gladden, 385 U.S. 363, 364 (1966). The exposure of a

deliberating jury to extrinsic evidence, including that derived from an improper jury experiement,

deprives the defendant of these rights. See, .e.g., Lacy v. Gardino, 791 F.2d 980, 983 (1st Cir. 1986)

(citing Gibson v. Clanon, 633 F.2d 851, 853 (9th Cir. 1980), cert denied 450 U.S. 1035 (1981). See

also Annotation, Propriety of Juror’s Tests or Experiments in Jury Room, 31 A.L.R.4th 566, 593-

597 (1984) (collecting cases). “The theory of our system is that the conclusions to be reached in a

case will be induced only by evidence and argument in open court, and not by any outside influence.”

Patterson v. Colorado, 205 U.S. 454, 464 (1907) (Holmes, J.) The jury’s exposure to information

“raises a presumption of prejudice” and thus “the government bears the burden of showing beyond

a reasonable doubt that the extrinsic information did not contribute to the conviction.” United States

v. Santana, 175 F.3d 57, 65-66 (1st Cir. 1999).

       While it is true that jurors may examine and scrutinize the evidence, they may not experiment

with the evidence in a way that has “the effect of putting them in possession of evidence not offered
                                               -185-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 200 of 223



at trial.” United States v. Beach, 296 F.2d 153, 158 (4th Cir. 1961). For example, jurors are free to

manipulate evidence, even taking an exhibit apart and putting it back together, in order to take a

“closer look” at it. See, e.g., Bogle v. Galaza, 38 Fed. Appx. 437, 438 (9th Cir. 2002) (not improper

for the jury to use a key to unlock a safe, where both items were in evidence). In addition, jurors

may use objects, even those not in evidence, to demonstrate a common sense principle or to illustrate

an argument. See, e.g., Gentry v. State, 236 Ga. App. 820, 823 (1999) (proper for a juror to use a

toy car and a cofee cup to replicate collision at issue, because it was used “as a model to illustrate

trial evidence”). However, when jurors go beyond these acceptable means of evaluating evidence

admitted at trial and conduct experiments that have the effect of producing new evidence, their

actions are improper because the new evidence is not subject to screening by the trial judge nor

testing via cross-examination, thereby exposing the jurors to extraneous information.68

                  2.        Prejudice.

         Such exposure to extrinsic evidence “raises a presumption of prejudice,” Santana, 175 F.3d

at 65-66, and thus the burden is on the “beneficiary of the error” to prove that it was harmless beyond

a reasonable doubt. Chapman v. California, 386 U.S. 18, 24 (1967); Santana, 175 F.3d at 66 (“the


         68
                    See, e.g., Marino v. Vasquez, 812 F.2d 499, 502 (9th Cir. 1987)(relief granted where juror conducted
experiment testing the accuracy of a defense witness’s claim that it would be impossible for an individual to fire a
handgun while it was held in a certain position); Jennings v. Oku, 677 F.Supp. 1061, 1062 (D. Haw. 1988) (relief
required where entire jury conducted experiment aimed at discerning which party’s version of how the defendant’s
fingerprints were placed on victim’s car door was the correct version); Miller v. Harvey, 566 F.2d 879, 881 (4th Cir.
1977) (juror bit another juror on the arm so jury could resulting bruises and compare them to alleged human teeth marks
identified in a photograph by a trial witness); United States v. Castello, 526 F. Supp. 847, 848 (W.D.Tex. 1981) (reversal
where one of the jurors conducted a ballistics experiment to test whether the victim was shot in the back or from the
front); United States v. Navarro-Garcia, 926 F.2d 818 (9th Cir. 1991) (improper for a juror to test whether the defendant
should have known that there was marijuana in his trunk by placing roughly 300 pounds in the trunk of her car and
observing the impact on the vehicle’s driving); Beach, 296 F.2d at 158 (improper for the jury to test the amount of noise
emitted by adding machines in evidence, because the conditions were not exactly as they were when the machines were
in the home); United States v. Welch, 377 F.Supp. 367, 369 (D.S.C. 1971) (aff’d p.c., 496 F.2d 861 (4th Cir. 1973) (use
of adhesive tape by juror to test whether residuewould be left on skin once it was applied and removed as argued by
defendant); United States v. Nevell, 28 F.3d 109 (9th Cir. 1994) (improper for jury to conduct an experiment with M &
M’s to test prosecution’s theory of the case); Carter v. State, 753 S.W.2d 432 (Tex. App. 1988) (improper for jury to
conduct experiment to determine whether defendant’s account of how liquid splashed when he fell was credible); Ex
Parte Thomas, 666 So. 2d 855 (Ala. 1995) (improper for jurors to use rope to tie a juror’s hands and conduct an
experiment to resolve a disputed issue).
                                                        -186-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 201 of 223



government bears the burden of showing beyond a reasonable doubt that the extrinsic information

did not contribute to the conviction”). If “there is a reasonable possibility that the evidence

complained of might have contributed to the conviction,” then the error cannot be considered

harmless. Chapman, 386 U.S. at 23.

       In conducting harmless error review, the court must consider the “connection between the

extrinsic information ... and an issue material to and disputed throughout the trial.” Santana, 175

F.3d at 67. The greater that connection, the greater the prejudice arising from the jury’s exposure

to extrinsic evidence. Id. In addition, the court must consider the “record as a whole to detrmine the

impact of the improper evidence upon the jury....The prejudicial effect of the improper evidence

must be weighed against the weight of the properly admitted evidence.” Lacy, 791 F.2d at 986

(quoting Morgan v. Hall, 569 F.2d 1161, 1166 (1st Cir. 1978)). See also Santana, 175 F.3d at 66.

However, even where the independent evidence against the defendant is strongly indicative of guilty,

“the presence of highly prejudicial extra-record evidence can cast doubt” on the verdict. Lacy, 791

F.2d at 986. See also Gibson, 633 F.2d 851 (despite strong case against the defendant, evidence was

so prejudicial that it could not be considered harmless error). The prejudice arising from extraneous

evidence is more easily recognized when that evidence would not have been admissible at trial. See,

e.g. Marshall v. United States, 360 U.S. 310, 312-313 (1959) (“We have here the exposure of jurors

to information of a character which the trial judge ruled was so prejudicial it could not be directly

offered as evidence. The prejudice to the defendant is almost certain to be as great when that

evidence reaches the jury through news accounts as when it is a part of the prosecution’s evidence.”)

       C.      Application of Law to Facts.

               1.      The banana experiment exposed the jury to extraneous information.

       As pointed out by defense counsel in closing, there was a major hole in the prosecution’s

case: the failure to establish a link between the murderer’s gloves and Greineder. The jury was well
                                                 -187-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 202 of 223



aware of this hole, and attempted to fill that gap themselves. First they requested a millimeter ruler,

which was denied because of the risk that they would use it to attempt to make measurements to

determine whether or not the streaks on Greineder’s jacket were made by the gloves. The importance

of the trial judge’s ruling barring use of the millimeter ruler cannot be overstated: if the use to which

the jury would put the ruler was improper, than an experiment aimed at the same end was equally

– if not more – improper.

        Because the jury was denied the use of the millimeter ruler, they devised an experiment that

would accomplish the same result -- the banana experiment. After performing the experiment, the

jury concluded, based on wholly unreliable and unscientific observations, that the streaks made on

the banana closely resembled the streaks on Greineder’s jacket. The jury’s experiment enabled them

to gain additional evidence that was not presented at trial -- an affirmative match between

Greineder’s jacket and the gloves worn by the murderer. As the motion judge stated, the jury

effectively created its own “transfer exemplars.” 2009 R.779. The fact that there was testimony at

trial that the streaks on the jacket could possibly have been made by the gloves is totally inapposite

because that testimony did not provide the jurors with a first-hand observation that the streaks looked

exactly the same. Indeed, the fact that the jurors were able to observe the results of this experiment

by themselves made the evidence even more damning, since the jurors did not need to question their

own methods and credibility, as they would for an expert’s experiment.

        The SJC’s determination that this experiment did not expose the jury to extraneous evidence

was an unreasonable application of clearly established federal law. Supreme Court precedent clearly

establishes that a verdict must be based solely on evidence presented in the courtroom, and not on

evidence considered for the first time in the jury room. Turner, 379 U.S. at 472-73. The jury’s

experiment essentially created an overlay of the streak from the gloves – a piece of critical evidence

that defense counsel pointed out was missing from the prosecution’s case. The jury-created overlay
                                             -188-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 203 of 223



and the jury’s conclusion that it looked similar to the streak on Greineder’s jacket were considered

for the first time in the jury room without being subject to cross-examination. The only reasonable

conclusion that could have been drawn from a review of the record was that the experiment had the

“effect of putting [the jury] in possession of evidence not offered at the trial,” Beach, 296 F.2d at

158, and any conclusion to the contrary must be rejected as wholly unreasonable.

               2.      The Commonwealth did not prove the absence of prejudice.

       The Commonwealth did not meet its burden of proving beyond a reasonable doubt that the

jury’s exposure to this extraneous evidence was harmless. Indeed, there is no way that it could.

Defense counsel and the defense expert had stressed the absence of quantitative proof or overlays

linking the work gloves to Greineder’s jacket. Having been denied access to a ruler with which to

make its own quantitative assessment, the jury resorted to fabricating the equivalent of an overlay

using a banana and compared its creation to the streaks on the jacket. Armed with the results of its

comparison, the jury was significantly more likely to accept the Commonwealth’s contention that

the murderer’s gloves had created the streaks on Greineder’s jacket, pointing to him as the

perpetrator. The precise evidentiary gap which the defense emphasized in the Commonwealth’s

proof at trial was neatly filled in by the jury itself! The prejudice is palpable.

       The conclusion that an average jury was most likely to have been affected by this experiment

is reinforced by consideration of the factors discussed in Santana. The experiment exposed the jury

to evidence highly related to a material issue at trial -- whether there was any connection between

the murderer’s gloves and Greineder. See Marino, 812 F.2d at 506 (“reversible error commonly

occurs where there is direct and rational connection between the extrinsic material and prejudicial

jury conclusion, and where the misconduct relates directly to a material aspect of the case.”) This

experiment introduced evidence highly probative of this issue, evidence that was highly unreliable,

unscientific, and extraneous. The prejudicial nature of this evidence was reinforced by the trial
                                            -189-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 204 of 223



judge’s prior rulings prohibiting the introduction of expert experiments that were certainly

significantly more reliable than the one performed by the jury. As in Marshall, 360 U.S. at 312-313,

“the prejudice to the defendant is almost certain to be as great when the evidence reaches the jury

[by way of a jury experiment] as when it is a part of the prosecution’s evidence.” Indeed, the jury’s

use of a millimeter ruler would have been significantly more reliable than the experiment they

performed – since it would have allowed them to make objective measurements in lieu of lay

observations, but yet the judge ruled that use of the millimeter ruler would have been improper!

Presumably, the trial judge similarly would have ruled the banana experiment to be improper had

the jury asked permission to perform it. There was no immediate reprimand from another juror after

the extraneous material was presented. On the contrary, many, if not all, of the jurors, looked at the

mark on the banana, noted its similarity to the pattern on the gloves, and talked about it.

       Moreover, there was far from overwhelming evidence of guilt. There were no eyewitnesses

to the crime nor inculpatory admissions. The jury deliberated for five days before reaching a verdict.

There is simply no way of knowing what led each of the 12 jurors to vote to convict. Indeed, it was

on the morning following this improper jury experiment that they delivered their guilty verdict! The

Commonwealth cannot meet its burden of proving beyond a reasonable doubt that there was not a

“reasonable possibility that the evidence complained of might have contributed to the conviction.”

Chapman, 386 U.S. at 23. This inculpatory, extraneous information which filled an important gap

in the Commonwealth’s case and which Greineder had no opportunity to rebut or challenge was

clearly prejudicial. Under de novo review, this Court should so find, but even if this Court concludes

that the prejudice element was adjudicated on the merits, it is clear that the SJC’s decision was an

unreasonable application of clearly established federal law. The motion judge was correct in

observing that “although tying the gloves to Greineder was a significant part of the government’s

case, it was not so crucial that the jury could not have convicted the defendant without it.” A. 784.
                                                -190-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 205 of 223



That, however, is not the applicable legal test!

         The motion judge went beyond the hypothetical jury test under Massachusetts law and sought

to make findings regarding the actual impact of the banana experiment on the jury. Both that

endeavor and the conclusions he reached were flawed. The tainting of even a single juror is sufficient

to invalidate a verdict. Parker, 385 U.S. at 366. Here, there was no evidence about the impact of the

banana experiment on eight of the 12 deliberating jurors.69 Absent blind speculation, the court could

not properly conclude that any or all of those eight jurors was actually unaffected. However, among

the jurors who did testify, there is ample evidence that it had an effect. Juror Salvi stated that the

jurors “marveled” at the similarity between the bruise on the banana and the streak on the jacket. Tr.

(2/24/06)/33. Juror Vitzthum confirmed that all of the jurors saw the bruise on the banana and

compared it to the jacket, that the bruise on the banana looked like the streak on the jacket, and that

they discussed the bruise. Tr. (3/3/06)/10-16. Juror Barbera testified to the same effect, adding that

there was discussion of the comparison among the jurors. Id. at 21-22. During his recorded

interview, conducted far closer to the time of trial than the evidentiary hearing, Juror Giesiecke stated

that the banana experiment was “one of those moments” of insight, which “helped” the jury resolve

the case. A. 750. Accordingly, the motion judge’s determination that “the banana experiment did not

influence the jury’s deliberations or impact their verdict,” A. 786, must be rejected. Indeed, since

there is direct evidence that the experiment actually impacted at least one juror, and since Greineder

“was entitled to be tried by 12, not 9 or even 10, impartial and unprejudiced jurors,” Parker, 385

U.S. at 366, he is entitled to habeas relief.




         69
                  Those eight jurors included the six jurors who did not testify and jurors Smith and Miller, who did not
recall the banana experiment and gave no testimony regarding its effect.
                                                       -191-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 206 of 223



VII.   GREINEDER’S FUNDAMENTAL RIGHT TO TRIAL BY JURY WAS DENIED
       BASED ON THE DELIBERATING JURY’S EXPOSURE TO EXTRANEOUS
       INFORMATION (STAINS ON THE BACK OF GREINEDER’S JACKET) WHICH
       HAD BEEN EXCLUDED FROM THE EVIDENCE AT TRIAL.

       A.      Statement of Relevant Facts.

               1.      Pre-trial proceedings.

       Part of Greineder’s defense was that his jacket became stained with blood during his initial

discovery of his wife, as he attempted to assess her injuries and help her, before summoning police

and medical assistance. Despite extensive examinations by prosecution experts, no blood stains were

observed on the back of the jacket. No tests were conducted to assess the presence of any blood on

this area by either chemical, serological, or DNA testing. However, two months prior to trial, the

jacket was treated with a chemical, amido black, which is a nonspecific stain that is used to detect

the presence of protein, which is found in blood, but also in many other substances of animal and

plant origin. After the amido black treatment, prosecution expert Rod Englert professed to find some

stains on the back of the jacket which he characterized as “cast-off,” stains resulting from blood

flying off a bloody weapon repeatedly swung overhead while striking the victim.

       The defense, in a pre-trial hearing on a motion in limine, argued that the absence of any

scientific testing establishing that these stains actually were bloodstains, and the fact that amido

black is unreliable to establish the presence of blood, precluded admission of the stains into

evidence. No final ruling was made on this motion prior to trial. Tr. 5/17/01 at 14-17.

               2.      Trial proceedings.

       The jacket was introduced into evidence on June 5. Tr. X/189; Exhibit 1B to Memorandum

at 9. As the trial progressed, the Court continued to hear argument about the admissibility of the

stains on the back of the jacket. On June 13, Englert was questioned outside the presence of the jury.

He testified regarding the concept of “cast-off” (i.e. centrifugal force projecting blood off a weapon).

                                               -192-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 207 of 223



Tr. XVI/65. On cross-examination, he admitted that he did not see any stains on the back of the

jacket, despite using four high-intensity lights. “I could testify that it's cast-off, but I cannot say it's

blood.” He noted that the stains had not been tested. Tr. XVI/101-103.

        After the voir dire of Englert on June 13th, the Court acknowledged that there was not

enough evidence to conclude that the stains were blood. Tr. XVI/218-219. The prosecutor argued

that the evidence that the stains were cast-off of a protein was admissible even in the absence of

direct proof that the stain was caused by blood. Tr. XVI/236. The following morning, June 14, the

trial judge again discussed his thinking regarding the back of the jacket, questioning how the jury

could permissibly infer that cast-off protein stains were, in fact, blood, when the Commonwealth’s

experts would not “bridge the gap and say its blood.” Tr. XVII/14-16.

        As the trial progressed, Michael French, a fingerprint examiner, testified to the jury on June

14th about amido black and how it can be used to enhance bloodstains by staining protein a dark blue

or black color so that it can be better visualized. Tr. XVII/21-22. He introduced photographs of

stains from the front of the jacket. With the issues relating to the back of the jacket still unresolved,

Lt. Kenneth Martin testified before the jury regarding bloodstain pattern analysis. He explained the

concept of “cast-off.” Tr. XVII/47-48, 61-62. Lt. Martin then testified on voir dire outside the jury’s

presence about the stains on the back of the jacket, pointing to stains on the back of the jacket and

stating: “these are very, very good, well defined cast-off type of spatters.” Tr. XVII/169-170. He

stated that he could testify to a reasonable degree of scientific certainty that it was cast-off, but could

not say to a “reasonable degree of scientific or forensic certainty that it’s blood.” Id. at 175. After

court concluded that day, Judge Chernoff issued a written ruling admitting evidence regarding the

stains on the back of the jacket. See Ruling dated June 14, 2001. Within a few hours, however,

Judge Chernoff reconsidered and issued a different Order on Reconsideration, in which he ruled that

evidence of the stains was excluded because although the Commonwealth could establish that the
                                            -193-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 208 of 223



jacket was positive for protein and the stains were consistent with a “cast-off” pattern, none of the

Commonwealth’s experts would testify that the cast-off stains were bloodstains. He stated:

       The stains on the back of the jacket are not relevant to the case unless the fact
       finder can draw the inference that they are cast-off blood stains. The
       Commonwealth argues that the jury can make that finding inferentially on facts
       which are not found beyond a reasonable doubt nor even with the standard that
       governs the experts. In other words that, on the same evidence, the jury can reach
       conclusions that the experts cannot.

(Emphasis added.) Judge Chernoff also noted that, although the stain had been “indelibly dyed” by

the amido black reagent, it could still have been further tested for DNA. He concluded:

       As it now stands, the evidence is barely relevant and its prejudicial effect would
       greatly outweigh its probative value. Hence, evidence of the presence of protein
       on the back of the jacket and its cast-off configuration will be excluded.

Id. at 2 (emphasis added).

       Early the next morning, before the jury came in, Judge Chernoff brought up the jacket issue

with counsel again, mentioning his two orders. The possibility of removing the stained area from

the back of the jacket was immediately raised by the prosecutor:

       THE COURT: All right. I sincerely apologize to all of you for changing an order that
       I did last night. It didn't set right with me, so, I made the change. Okay. Thank you.
       MR. GRUNDY: I'm going to ask one consideration that, if we could take a short
       break between this witness and the next and it may fall in an appropriate area for a
       break, but I would just like to get that off of that jacket so that the next witness
       can testify to --
       THE COURT: To get what off the jacket?
       MR. GRUNDY: Cut that out of the jacket.
       THE COURT: Well, I could just simply tell the jury that what's on the back of the
       jacket -- there's no proof that it's blood and so it's irrelevant to this case. Then they
       don't think there's something being kept from them. I could simply say it's
       irrelevant. It's not evidence in this case. If you people have an agreement I'll go
       along with it. If not, I'll make a decision on it.

Tr. XVIII/4-5; Exhibit 1E to Memorandum at 53-54. Later that day, prior to the testimony of Rod

Englert, the parties discussed at sidebar the planned use of the jacket with a mannequin. Both

attorneys appeared willing to have the jacket redacted, but the court again delayed taking any action:

                                               -194-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 209 of 223



       MR. MURPHY: I would just -- would like to give -- have an opportunity to look at
       the dummy dressed up before the jury sees the dummy dressed up. I noticed that on
       that area in the back there's a big piece of measuring tape.
       MR. GRUNDY: I can take that off.
       MR. MURPHY: I would prefer to cut that out of it, the whole area out of the
       jacket. Because if Mr. Englert says anything about cast-off, they're going to draw
       conclusions.
       THE COURT: Well, does he know that the only cast-off he can talk about is
       something that he referred to in the front?
       MR. MURPHY: But I think that they'd be able to jump to their own conclusions
       about the back, if when he starts talking about cast-off, he puts his arm back and
       when --
       THE COURT: Well then why don't we move the dummy over here so the jury won't
       see it and you can take a look at it before you use it.

Tr. XVIII/69; Exhibit 1E to Memorandum at 56. Englert then testified before the jury regarding cast-

off, but made no mention of any possible cast-off on the back of the jacket. Tr. XVIII/83-84.

               3.      Post-conviction developments.

       In 2012, a book entitled A Murder in Wellesley was published regarding the investigation and

trial in this case. Tom Farmer, Marty Foley, A Murder in Wellesley: The Inside Story of an

Ivy-League Doctor's Double Life, His Slain Wife, and the Trial That Gripped the Nation

(Northeastern University Press, 2012). The book was authored by the lead criminal investigator

(Foley), together with the lead reporter (Farmer) covering the trial for the Boston Herald. In chapter

25, the authors elaborate in detail upon the jurors’ activities during deliberations, including what

appear to be direct quotations from at least eight jurors. It also includes the following paragraph:

       Poring over every inch of the bloodstained evidence, the jurors made another startling
       discovery on the back of the nylon windbreaker that they had heard no testimony
       about. Discussing what could have caused the small, circular stains highlighted by
       amido black, they could come to only one conclusion. It had to be blood cast
       from an upraised weapon. Not knowing Marty Murphy had convinced the judge to
       keep the incriminating pattern out of evidence because Grundy could not prove it was
       May’s blood after deciding not to remove the stain and have it tested, the astute
       jurors had found it anyway.

A Murder in Wellesley, pp. 292-293 (emphasis added); Affidavit of Counsel in Support of Application

for Leave to Appeal from Denial of His Motion for New Trial (8/21/14), Exhibit 3, 2014 R. 65-69.
                                            -195-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 210 of 223



                4.      Motion judge’s ruling in denying relief.

        Defendant’s Motion for Post-Verdict Jury Inquiry and New Trial based on these facts was

filed on March 8, 2014. On July 24, 2014, the trial court (Brassard, J.) denied relief in a

Memorandum of Decision and Order on Defendant’s Motion for Post-Verdict Jury Inquiry and New

Trial, 2014 WL 3715033. Judge Brassard initially examined whether there was a waiver of the issue

based on defense counsel’s failure to object or to seek to conceal the back of the jacket or request

a limiting instruction. He concluded, contrary to the Commonwealth’s arguments, that “given the

seriousness of the defendant’s claim, it is better to address the merits than to rest on waiver.” Id. at

11, citing Santana, 175 F.3d at 65. Judge Brassard also rejected the Commonwealth’s argument that

Greineder had waived the issue by failing to raise it in the first motion for new trial. He wrote:

“[T]he defendant was unaware of the jury’s examination of the back of the jacket and discussion of

the cast-off stains at the time he filed and litigated his new trial motion and direct appeal.” Id. at 12.

        Addressing the merits of the issue, Judge Brassard found that the consideration of the stains

did not constitute improper extraneous evidence.           In doing so, he relied on two separate

considerations. First, he reasoned that the real focus of the dispute was not the stains themselves,

but potential expert testimony based thereon. He stated:

        The Commonwealth argues that this ruling excluded only expert testimony
        concerning the stains, not the stains themselves.... There is much force to the
        Commonwealth’s argument. Judge Chernoff’s principal concern was admitting
        expert testimony about the significance of the stains based on the assumption that the
        protein stains were attributable to human blood and in particular, to the blood of the
        victim.... In addition, the Commonwealth’s interpretation arguably is supported by
        the fact that the court sent the jacket to the jury during deliberations without
        concealing the stains on the back.

Id. at 18-19 (italics in original). Second, he reasoned that there had been some discussion of the

stains during trial due to questioning by defense counsel. He said:

        Defense counsel himself drew attention to the back of the jacket in cross-examining
        Englert on June 15, 2001, asking whether he took notes and made diagrams about the
                                             -196-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 211 of 223



       significant stains he observed on the front and the back of the jacket. The stains on
       the back of the jacket thus were mentioned at trial despite the ruling excluding expert
       testimony on the subject.

Id. at 20-21. Based on these two points, Judge Brassard ruled that “even assuming the accuracy of

the events described in the book, Greineder has not demonstrated by a preponderance of the evidence

that the jury was exposed to extraneous evidence in violation of the Sixth Amendment.”Id. at 21.

       Further, Judge Brassard determined that there was no “reasonable possibility of prejudice.”

Id. at 21. He rejected Greineder’s argument that, as the jury took an active role in generating new

evidence against the defendant, prejudice should be presumed. Here, he reasoned, “the jurors did

not actively gather outside information for use in reaching a verdict; rather, they examined evidence

on the back of a jacket which had been admitted as a trial exhibit and sent to [sic] into the jury room

for use in their deliberations.” Id. at 23. He concluded that the evidence of the stains was cumulative

of other similar evidence, and did not “uniquely undermine the defense.” Id. at 25. He rejected the

claims of ineffective assistance of counsel for the same reasons. Id. at 26 n.3.

               5.      The SJC’s denial of Greineder’s gatekeeper application.

       Justice Spina of the SJC denied Greineder’s application under M.G.L. c. 278, §33E for leave

to appeal Judge Brassard’s decision. Justice Spina ruled that Greineder’s argument was neither

“new” nor “substantial,” thus it did not need to be considered by the full court. He ruled that the act

the defendant challenges is not the use of the jacket during deliberations, but rather its unadulterated

submission to the jury. He found that the defendant was aware, or on notice, at the time, that the

jacket was submitted to the jury with the back panel intact, thus his failure to address this oversight

on direct appeal does not render the issue “new” for purposes of G.L. c. 278, § 33E gatekeeper

review. He ruled that the book publication is “immaterial” as its effect was merely to draw the

defendant’s attention belatedly to an issue he could have addressed earlier. Moreover, Justice Spina

ruled that the issue was not “substantial,” finding that (1) the motion judge found that the back panel
                                                -197-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 212 of 223




of the jacket was not extraneous information since the jury had before it information, knowledge,

or specific facts that came from the evidence at trial, and did not actively seek out extraneous

information, and (2) the prejudicial effect was minimal, if not non-existent, and was extremely

unlikely to tip the scales. Memorandum of Decision, No. SJ-2014-0352, dated 12/30/14.

       B.      Summary of Applicable Law.

               1.      Constitutional right to jury trial based on the evidence.

       The requirement that a jury’s verdict be based solely upon evidence presented in the

courtroom, “where there is full judicial protection of the defendant's right of confrontation, of

cross-examination, and of counsel,” is guaranteed by the Sixth and Fourteenth Amendments to the

U.S. Constitution. Turner, 379 U.S. at 472-473. Accord Parker, 385 U.S. at 364; Santana, 175 F.3d

at 65. This is because “[t]he theory of our system is that the conclusions to be reached in a case will

be induced only by evidence and argument in open court, and not by any outside influence.”

Patterson, 205 U.S. at 464. See also United States v. McKinney, 429 F.2d 1019, 1023 (5th Cir.

1970)(“Our adversary system presupposes courtroom testimony only and must reject the transfusion

of testimony adduced beyond the judicial aegis. To the greatest extent possible, all factual testimony

must pass through the judicial sieve, where the fundamental guarantees of procedural law protect the

rights of those accused of crime.”); United States v. Ofray-Campos, 534 F.3d 1 (1st Cir. 2008).

               2.      Extraneous Information.

       “The jury's exposure during its deliberations to extrinsic information, whatever its source,

is an error of constitutional proportions.” Santana, 175 F.3d at 65. “If prejudicial evidence that was

not introduced at trial comes before the jury, the defendant is entitled to a new trial.” United States

v. Barnes, 747 F.2d 246, 250 (4th Cir. 1984). The fact that extrinsic information is brought to the

jury’s attention through inadvertence rather than purposefully is irrelevant to the consideration of


                                               -198-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 213 of 223




whether the defendant is entitled to a new trial. Id. (“Even if inadvertent, sending the unauthorized

exhibits [] to the jury during their deliberation was error” ). See also United States v. Lenz, 383 F.3d

191, 219 (4th Cir. 2004) (“It is not necessary that the defendant prove that the prejudicial evidence

was intentionally placed before the jury to obtain a new trial; accidental or inadvertent submission

of the materials will suffice.”); United States v. Contreras-Matos, 5 F.3d 541 (9th Cir. 1993) (error,

albeit harmless under the facts of the case, when a “packet of extrinsic information was inadvertently

attached to a government exhibit.”); United States v. Greene, 834 F.2d 86, 88 (4th Cir. 1987) (error

even though the extrinsic evidence was “sent to the jury room through inadvertence.”)

        In addition, the fact that the extrinsic information was attached to a properly admitted exhibit

is irrelevant; what matters is the fact that the jury was exposed to the information. See Lacy, 791

F.2d at 986 (Sixth Amendment violation when juror peeled tape off exhibits to unmask information

about defendant’s prior criminal record); United States v. Lee, 573 F.3d 155, 162 (3d Cir. 2009)

(“This rule equally applies to material submitted to the jury through inadvertent attachment to

properly admitted evidence”); Farese v. United States, 428 F.2d 178 (5th Cir. 1970) (reversible error

when jury found previously undetected $750 in cash located in a shirt inside an attache case that was

admitted into evidence). See also Bates v. Preble, 151 U.S. 149 (1893) (reversible error when trial

judge allowed entire book to go to jury without sealing off inadmissible pages).

        This doctrine covers not just information unrelated to trial testimony and exhibits, but also

objects or information submitted with the exhibits or attached thereto. In one particularly

illuminating case, Benjamin v. Fischer, 248 F.Supp.2d 251 (S.D.N.Y. 2002), aff’d, 87 Fed. Appx.

761 (2d Cir. 2004), the trial court ruled that the defendant’s prior convictions were inadmissible.

During trial, defense counsel introduced into evidence a report that included information regarding

the defendant’s prior convictions. There was no objection and indeed no mention at the time that


                                                -199-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 214 of 223




the report included that information. At some point defense counsel -- without informing the court --

used an ink marker to black out the portions of the report referencing the prior charges. After a

guilty verdict, one of the jurors contacted the court and defense counsel and indicated that, during

deliberations, the jurors had held the report up to the light and read through the black ink, thereby

discovering the prior charges. On habeas review, the prosecution argued that the arrest portion of

the police report was not “extrinsic evidence because the report “was admitted as a defense exhibit

without restrictions.” Id. at 260-261. It noted that it had been defense counsel who offered the

exhibit, and claimed that “the exhibit in its entirety was duly admitted evidence because the record

did not indicate that the report was to be redacted before being presented to the jury.”Id. In the course

of finding a Sixth Amendment violation, the habeas court rejected these arguments. It stated first:

        [E]xtrinsic information does not transform itself into admissible evidence simply
        because it is hidden within a properly admitted exhibit introduced into evidence
        without restrictions....Here, in a pretrial hearing, Benjamin's prior criminal
        convictions—a felony conviction for robbery and a misdemeanor conviction for
        assault—were explicitly held inadmissible except for purposes of impeachment by
        the government if Benjamin chose to testify.... The mere fact that defense counsel
        approved of the police report in the form it was admitted does not deprive petitioner
        of his constitutional right not to have extrinsic information considered by the jury.

Id. at 261 (emphasis added). It then noted that the fact that it was defense counsel’s ineffective

redaction was not determinative. It wrote:

        Moreover, the extraneous nature of the redacted portion does not change simply
        because the admitted evidence was a defense exhibit, or the redaction was performed
        by defense counsel. The settled law in this circuit is that it is the “‘nature of the
        matter [discovered by the jury] and its probable effect on a hypothetical average
        jury,’ not the source of the information ... which determines whether [a] defendant
        has been prejudiced.”... Whether the inadequately redacted document at issue here
        was a prosecution or defense exhibit is of no significance. In either case, the hidden
        and inadmissible information is contained in a duly admitted exhibit that both parties
        approved for receipt into evidence.

Id. at 261-262 (italics in original). Having found that extraneous information had come before the

jury, the court then considered the issue of prejudice. It found that the error was not harmless, under
                                                -200-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 215 of 223




the Chapman test (as discussed below), and that the state court’s decision had been contrary to well-

established federal law. See also Eslaminia v. White, 136 F.3d 1234 (9th Cir. 1998) (tape introduced

into evidence as it contained interview with defendant; jury also listened to reverse side, which had

a separate interview with a non-testifying witness that had not been referred to at trial).

               3.      Evaluation of prejudice.

       Exposure to extrinsic evidence “raises a presumption of prejudice.” Santana, 175 F.3d at

65-66 (citing Remmer v. United States, 347 U.S. 227, 299 (1954)). The burden is on the “beneficiary

of the error” to prove that it was harmless beyond a reasonable doubt. Chapman, 386 U.S. at 24;

Santana, 175 F.3d at 66 (“the government bears the burden of showing beyond a reasonable doubt

that the extrinsic information did not contribute to the conviction”). If “there is a reasonable

possibility that the evidence complained of might have contributed to the conviction,” then the error

cannot be considered harmless. Chapman, 386 U.S. at 23. See also Braswell v. United States, 200

F.2d 597, 602 (5th Cir. 1952); United States v. Bradshaw, 281 F.3d 278, 293 n.8 (1st Cir. 2002).

       In conducting harmless error review, the court must consider the “connection between

extrinsic information...and an issue material to and disputed throughout the trial.” Santana, 175 F.3d

at 67. The greater that connection, the greater the prejudice arising from the jury;s exposure to

extrinsic evidence. Id. in addition, the court must consider the “record as a whole to determine the

impact of the improper evidence upon the jury...The prejudicial effect of the improper evidence must

be weighed against the weight of the properly admitted evidence.” Lacy, 791 F.2d at 986. See

Santana, 175 F.3d at 66. However, even where the independent evidence against the defendant is

strongly indicative of guilt, “the presence of highly prejudicial extra-record evidence can cast doubt”

on the verdict. Lacy, 791 F.2d at 986. See also Gibson v Clannon, 633 F.2d 851 (9th Cir. 2011)

(despite strong case against the defendant, the evidence was so prejudicial that it could not be


                                               -201-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 216 of 223




considered harmless error). The prejudice arising from extraneous evidence is more easily

recognized when that evidence was already deemed inadmissible at trial. See, e.g. Marshall, 360

U.S. at 312-313 (“We have here the exposure of jurors to information of a character which the trial

judge ruled was so prejudicial it could not be directly offered as evidence. The prejudice to the

defendant is almost certain to be as great when that evidence reaches the jury through news accounts

as when it is part of the prosecution’s evidence.”).

        C.      Application of Law to Facts.

                1.      The jury was exposed to extraneous material.

        Greineder clearly made a sufficient showing to require a post-verdict inquiry to determine

whether members of the jury inspected and discussed the stains on the back of jacket during

deliberations. The trial judge had specifically ruled that the stains, not just the expert testimony

regarding them, were not relevant and any mention of them during the trial was excluded. Despite

that ruling, the jury discovered those stains, and formed their own unreliable and unscientific

conclusions about what caused them. Because this information was not presented from the witness

stand, the defendant was denied any opportunity to confront or respond to it. He had no opportunity

to emphasize that the stains could have come from a non-blood source, no opportunity to present an

alternative explanation for the protein on the back of the jacket, and no opportunity to even contest

the conclusion that the stains were consistent with cast-off from an upraised weapon. Because there

was no testimony regarding the back of the jacket, the jury was not aware that the stains had not been

visible at all prior to the use of the amido black. Even more importantly, the jury was not aware that,

unlike other stains on the jacket (which were seen to be the color of blood initially or were subjected

to further confirmatory testing), there was no reason to believe that the stains on the back were blood,

rather than some other protein. The jury’s evaluation of this evidence was therefore not only beyond


                                                -202-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 217 of 223




the scope of the evidence properly before it, but also likely based on a fundamentally-flawed and

untested assumption by the jury that the stains were bloodstains. This information did not pass

through the “judicial sieve.” Indeed, unlike most reported cases on the subject of extraneous

information, this information was deliberately filtered out by that sieve!

        This case is on all fours with Benjamin v. Fischer. Here, as there, the evidence was explicitly

held inadmissible, was not rendered admissible simply because it was “hidden within” or attached

to a proper piece of evidence, and the “mere fact” that somehow this information was allowed by

defense counsel -- as well as the prosecutor and the Court -- to make its way into the jury room does

not “deprive [Greineder] of his constitutional right not to have extrinsic information considered by

the jury.” 248 F.Supp.2d at 261. Additionally, as in Santana, 175 F.3d at 65, here the judge’s delay

and indecision contributed significantly to the reasons that the offending items were not excised from

the jacket as specifically requested by both the prosecutor and defense counsel.

                2.      The defendant was prejudiced.

        Once it is established that the jury was exposed to extraneous information, the burden shifts

to the Commonwealth to prove a lack of prejudice beyond a reasonable doubt. The Commonwealth

has utterly failed to satisfy its burden. Since the “connection between the extrinsic information...and

an issue material to and disputed throughout the trial” is extraordinarily high, the prejudice resulting

from this exposure is obvious. Santana, 175 F.3d at 67. The extraneous information fit exactly into

the prosecution’s theory of the case -- that Greineder’s use of a weapon had resulted in cast-off stains

on the back of his jacket -- which is, obviously, why the prosecution fought so hard to have it

admitted, why the defense objected so strenuously, and why the Court properly devoted so much

attention (including two written opinions on the same day during trial) to deciding this precise issue.

The Commonwealth should hardly be heard to contend now that it devoted so much effort to


                                                -203-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 218 of 223




introducing evidence that would have had no effect on the trial. This information was not harmless,

much less harmless beyond a reasonable doubt.

        Having listened to weeks of testimony from lay witnesses and dueling experts, this jury chose

to resolve the case (at least in part) based on its own bloodstain “analysis” of stains that no expert

had discussed. It is mind-boggling that in a case tried with such obvious care on both sides and with

such a wealth of evidence for the jury to properly evaluate, the jury chose to rely on its own

untutored bloodstain analysis, which the defendant had no opportunity to address. Prejudice must

be presumed. There was not overwhelming evidence of guilt in this case; the jury deliberated over

four days before reaching its conclusion. While it may be true that there was a fair amount of

evidence against petitioner, “the presence of highly prejudicial extra-record evidence” such as this

nonetheless casts doubt on the verdict, and relief is required. Lacy, 791 F.2d at 986. The highly

prejudicial nature of this extraneous material is exemplified by the trial judge’s ruling that its

prejudicial value substantially outweighed its probative value.

        The motion judge was wrong that Judge Chernoff only excluded expert opinion regarding

the stains, and did not intend to exclude the stains themselves. First, it is clear that Judge Chernoff

did in fact exclude the stains on the back of the jacket. He explained, at one point: “[W]hat's on the

back of the jacket -- there's no proof that it's blood and so it's irrelevant to this case. Then they don't

think there's something being kept from them. I could simply say it's irrelevant. It's not evidence in

this case.” Tr. XVIII/4-5. This paralleled what he wrote in his ruling, where he stated: “The stains

on the back of the jacket are not relevant to the case [unless the jury could conclude that they were

cast-off, which Judge Chernoff decided that they could not].” Exhibit 2A to Memorandum. In short,

there is no way to read the record as supporting any conclusion other than that the stains themselves

were excluded from evidence. He wrote directly regarding “what’s on the back of the jacket,” that


                                                 -204-
         Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 219 of 223




is, the stains (not the opinions). Judge Brassard’s interpretation of Judge Chernoff’s ruling is

contrary to Judge Chernoff’s plain language. It is also contrary to the obvious interpretation of the

parties (and the court) at the time. There would have been no discussion of cutting parts of the jacket

off had the only issue been the expert opinion testimony.

         Judge Brassard’s further conclusion, adopted by Justice Spina, that this evidence was

cumulative of trial testimony because defense counsel mentioned the notion of stains on the back of

the jacket while cross-examining Englert must be rejected. The question referred to by Judge

Brassard related to notes taken by Englert regarding what he saw on the rear of the jacket prior to

staining it with amido black – which was nothing! See Tr. Vol. XVIII/240-241.70 There was no

discussion whatsoever in front of the jury regarding any cast-off stains on the rear of the

jacket. Judge Brassard’s and Justice Spina’s reliance on this portion of the trial transcript to reject

Greineder’s claim was an unreasonable determination of the facts in light of the record. Moreover,

“to be considered truly cumulative, there must be an extremely close relationship between the

extrinsic evidence and the evidence actually admitted.” Eslamania, 136 F.3d at 1239. A question

about whether any notes were taken about any staining on the back of the jacket can hardly be


         70
                   Murphy questioned Englert, in pertinent part:
         Q:        And you also noted a number of other stains, again, before this jacket was treated with amido
                   black; is that correct?
          A:       That’s correct....
          Q:       And you made some notes and some little diagrams about the stains that you saw on the front
                   and on the back that were the most significant; isn’t that right? When you first examined the
                   items back on?
          A:       I documented everything that I could, yes, sir.
Tr. Vol. XVIII/237-241; attached hereto as Exhibit 3. Murphy then introduced the diagram that Englert had made “of
the stains that you thought were significant on the backside of the jacket.” Id. at 241. It was clear that, during this pre-
amido black examination, Englert did not see the stains that are now in question. During voir dire, Englert had testified,
as to his examination at the time: “I didn’t see any blood-stain, sir. I missed it if it was there I didn’t see it.” Tr. Vol.
XVI/100; Exhibit 1C to Memorandum. He wrote the word “void” in his notes with respect to the back of the jacket.
Id. at 100-101. In short, what happened during cross-examination is merely that Murphy brought out the fact that, in his
examination of the relevant portion of the back of the jacket prior to the application of amido black, Englert did not note
any blood-stains in that area. There is no way that this sequence of questions can be used to support Judge Brassard’s
conclusion that the stains on the back of the jacket that appeared only after the treatment of amido black were discussed
in any way in front of the jury at trial.
                                                         -205-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 220 of 223




considered extremely closely related to the actual stains, which enabled the jury to improperly and

erroneously infer that they were caused by blood cast-off. And further, just because “some

evidence... was properly introduced at trial does not mean that the specific, novel details provided”

by viewing the stains and coming to unscientific conclusions should be considered harmless. Id.

        Finally, Judge Brassard’s conclusion, also adopted by Justice Spina, that the jury’s

consideration of the stains on the back of the jacket was not prejudicial because the stains were

cumulative of other information in the trial, is unreasonable. First, it ignores that the jury apparently

was, in fact, influenced by its consideration of the extraneous evidence. As is stated in A Murder

in Wellesley, the jurors did not merely notice the stains, but rather “discuss[ed]” them and “c[a]me

to [a] conclusion” regarding them. That alone -- reliance upon the extraneous evidence to reach a

conclusion directly implicating Greineder -- is enough to establish prejudice. Evidence that even one

juror was actually effected by the extraneous information is sufficient to invalidate a verdict. As the

Supreme Court has observed, a criminal defendant is "entitled to be tried by twelve, not nine or even

ten, impartial and unprejudiced jurors." Parker, 385 U.S. at 366. This was not idle chitchat, but

rather focused discussion that led to an incriminating conclusion. Second, the motion judge failed

to grasp that while there were many pieces of circumstantial evidence against the defendant, the

defendant had responded to and addressed all of them, either by attacking them in terms of weight

or credibility or by arguing that they were not actually incriminating. The evidence of the stains on

the back of the jacket, however, was not rebutted or attacked by the defense -- because the defense

was not aware that the jury was considering this extraneous material to establish his guilt. Such

unknown and thus unrebutted evidence can hardly be considered cumulative of other pieces of

evidence that were vigorously opposed. Perhaps the best measure of the importance of the excluded

“cast off” evidence is not Judge Brassard’s evaluation, but rather that of the parties at the time. As


                                                -206-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 221 of 223




quoted in detail above, the trial court and the parties spent extensive time discussing the admissibility

of this evidence, and the Commonwealth sought vigorously (though, at the time, unsuccessfully) to

introduce it precisely because it believed that this was significant evidence that would substantially

buttress its case. It would not have devoted this effort to meaningless evidence. The jury’s exposure

to this extraneous evidence was not harmless.

                3.      In the alternative, Greineder’s right to the effective assistance of counsel
                        was violated.

        In the alternative, defense counsel provided ineffective assistance in allowing the jacket to

go to the jury without any objection or attempt to redact or conceal the stains on the back of the

jacket. “[A]s a general proposition, ‘defense counsel [is] as responsible as the prosecutor for seeing

to it that only proper exhibits [are] sent to the jury room.” Barnett v. United States, 870 F. Supp.

1197, 1205 (S.D.N.Y. 1994). Cf. Bustamante v. Quarterman, 284 Fed. Appx. 183, 188 (5th Cir.

2008) (assuming counsel’s failure to ensure only admitted exhibits sent to jury constituted deficient

performance). Once the trial judge ruled that testimony regarding the back of the jacket would be

precluded because of the amido black staining, defense counsel should have ensured that the back

of the jacket was either covered or removed. Indeed, both defense counsel and the prosecutor

realized that the back of the jacket had no place in the case, and the judge specifically requested that

they propose a solution to the problem. Yet this was apparently never done. Trial counsel does not

recall at this point what his thinking was at the time respecting this subject. Affidavit of James L.

Sultan, Exhibit 4 to Memorandum, ¶3. In any event, there was no reasonable tactical reason for such

omission. Indeed, defense counsel accurately realized at the time that, if nothing was done, the jury

would likely reach its own conclusion regarding the back of the jacket, to the defendant’s detriment.

Tr. XVIII/69; Exhibit 1E at 56. As he stated, the jury could apply Englert’s testimony “to jump to

their own conclusions about the back.” Id. Under the circumstances, any strategic decision to allow
                                                -207-
        Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 222 of 223




the jury to consider the stains on the back of the jacket during deliberations would have been

manifestly unreasonable, as no conceivable purpose for the defense would have been served thereby.

        Further, to the extent that this Court were to find that counsel’s actions and omissions with

respect to the jacket did not, standing alone, rise to the level of a constitutional violation, then in the

alternative the defendant argues that the cumulative effect of all counsel’s errors, including those

previously raised in the motion for new trial and this additional error relating to the back of the

jacket, violated his constitutional right to the effective assistance of counsel.

                5.      This Court should order habeas relief.

        Supreme Court precedent clearly establishes that a verdict must be based solely on evidence

presented in the courtroom, and not on evidence considered for the first time in the jury room.

Turner, 379 U.S. at 472-73; Parker, 385 U.S. at 364; Patterson, 205 U.S. at 464. This is a case

where evidence specifically deemed too prejudicial to be admissible was seen and evaluated by the

jury in a manner that influenced their decision. This occurred due to the combined inattention of the

judge (who failed to make a decision) and both prosecuting and defense attorneys. The impermissible

influence of inadmissible evidence upon the jury is an exceptional circumstance that violates due

process and clearly established Supreme Court precedents. Cf. Bouret-Echevarria v. Caribbean

Aviation Maintenance, 784 F.3d 37 (1st Cir. 2015)(juror awareness of external influence is

“extraordinary circumstance” that might justify extraordinary relief of vacating civil judgment under

Fed. R. Civ. P. 60(b)(6), citing Smith v. Phillips, 455 U.S. 209, 217 (1982) (“Due process means a

jury capable and willing to decide the case solely on the evidence before it, and a trial judge ever

watchful to prevent prejudicial occurrences and to determine the effect of such occurrences when

they happen.”)). The state court decision that the jury was not exposed to extraneous evidence and

that any exposure was harmless must be rejected as an unreasonable determination of the facts and


                                                 -208-
       Case 1:15-cv-12978-RGS Document 6 Filed 07/17/15 Page 223 of 223




an unreasonable application of clearly established federal law. Greineder is entitled to habeas relief.

                                          CONCLUSION

        Any criminal defendant disappointed in the outcome of state court proceedings may file a

petition for writ of habeas corpus in federal court. Such petitions, which are commonplace, often

deserve short shrift. The recent trend, both in legislation and in the decisions of the United States

Supreme Court, has been to narrow the availability of habeas corpus relief and to defer to the

decisions of state courts. In some cases, however, constitutional violations of great magnitude occur

which deprive a criminal defendant of a meaningful opportunity to defend himself against the most

serious of criminal charges. In such cases, the fundamental fairness of the criminal justice system

and the reliability of the result rendered by that system are cast into grave doubt. In the most extreme

cases, an innocent person may be wrongfully convicted and sentenced to life imprisonment.

        This is one of those rare cases which cries out for relief. This first degree murder trial was

beset by serious errors by both trial counsel and the trial judge from start to finish. Due to the

combined effect of myriad mistakes by the trial court, defense counsel, the prosecutor, the

Commonwealth’s witnesses, and even the jury, Greineder was deprived of constitutional due

process, and his resulting murder conviction cannot be deemed just or fair. The petition for writ of

habeas corpus should be granted and the state ordered to either release the petitioner from custody

or retry him within a reasonable period of time.

                                        Respectfully submitted,
                                        DIRK GREINEDER
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Dated: July 17, 2015
                                                -209-
